Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 1 of 314 Pageid#: 1


                                                                       JUN 06 2019



                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF VIRGINIA
                         DANVILLE DIVISION



                                      )   Case No.: 4:19CV00025
CITY OF DANVILLE, VIRGINIA            )
                                      )   COMPLAINT FOR DAMAGES AND
      Plaintiff,                      )   DEMAND FOR JURY TRIAL
                                      )
vs.                                   )   (1) Public Nuisance;
                                      )   (2) Violations of Racketeer Influenced
AMERISOURCEBERGEN DRUG                )       and Corrupt Organizations Act
CORPORATION; CARDINAL HEALTH,         )       (RICO), 18 U.S.C. § 1961 et seq.;
INC.; McKESSON CORPORATION;           )   (3) Violations of 18 U.S.C. § 1962 et
PURDUE PHARMA L.P.; PURDUE            )       seq.;
PHARMA, INC.; THE PURDUE              )   (4) Negligence and Negligent
FREDERICK COMPANY, INC.; TEVA         )       Misrepresentation;
PHARMACEUTICAL INDUSTRIES, LTD.;      )   (5) Fraud and Fraudulent
TEVA PHARMACEUTICALS USA, INC.;       )       Misrepresentation;
CEPHALON, INC.; JOHNSON &             )   (6) Unjust Enrichment;
JOHNSON; JANSSEN                      )   (7) Negligence Per Se;
PHARMACEUTICALS, INC.; ORTHO-         )   (8) Civil Conspiracy; and
MCNEIL-JANSSEN PHARMACEUTICALS,       )   (9) Violations of the Virginia Consumer
INC. n/k/a JANSSEN                    )       Protection Act.
PHARMACEUTICALS, INC.; JANSSEN        )
PHARMACEUTICA INC. n/k/a JANSSEN      )
PHARMACEUTICALS, INC.; NORAMCO,       )
INC.; ENDO HEALTH SOLUTIONS INC.;     )
ENDO PHARMACEUTICALS, INC.;           )
ALLERGAN PLC f/k/a ACTAVIS PLS;       )
WATSON PHARMACEUTICALS, INC.          )
n/k/a ACTAVIS, INC.; WATSON           )
LABORATORIES, INC.; ACTAVIS LLC;      )
ACTAVIS PHARMA, INC. f/k/a WATSON     )
PHARMA, INC.;                         )
MALLINCKRODT PLC; MALLINCKRODT        )
LLC,; INSYS THERAPEUTICS, INC; CVS    )
HEALTH CORP.; THE KROGER CO.; RITE    )
AID OF MARYLAND, INC.; THRIFTY        )
PAYLESS, INC.; WALGREENS BOOTS        )
ALLIANCE, INC.; and WAL-MART, INC..   )
                                      )
      Defendants.                     )
                                      )
                                      )
                                      )
                                      )
                                      )
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 2 of 314 Pageid#: 2




                                     TABLE OF CONTENTS
    I.     INTRODUCTION ...............................................................................................................1

    II.    PARTIES .............................................................................................................................2

           A. PLAINTIFF....................................................................................................................2

           B. DEFENDANTS. ............................................................................................................4
                   1. Manufacturer Defendants.............................................................................4

                           2. Distributor Defendants. ..............................................................................10

    III.   JURISDICTION & VENUE ..............................................................................................14

    IV.    FACTUAL BACKGROUND ............................................................................................15

           A. THE OPIOID EPIDEMIC. ..........................................................................................15
                   1. The National Opioid Epidemic. .................................................................15

                           2. The Virginia Opioid Epidemic...................................................................19

                           3. The Opioid Epidemic in Plaintiff’s Community. .......................................22

           B. THE MANUFACTURER DEFENDANTS’ FALSE, DECEPTIVE, AND
              UNFAIR MARKETING OF OPIOIDS. ......................................................................23
                   1. Each Manufacturer Defendant Used Multiple Avenues to
                      Disseminate Their False and Deceptive Statements about Opioids...........26

                                 a) Direct Marketing. .................................................................................27

                                 b) Indirect Marketing. ..............................................................................28

                           2. The Manufacturer Defendants’ Marketing Scheme Misrepresented
                              the Risks and Benefits of Opioids. .............................................................40

                                 i. The Manufacturer Defendants embarked upon a campaign of
                                    false, deceptive, and unfair assurances grossly understating and
                                    misstating the dangerous addiction risks of the opioid drugs. .............40

                                 ii. The Manufacturer Defendants embarked upon a campaign of
                                     false, deceptive, and unfair assurances grossly overstating the
                                     benefits of the opioid drugs..................................................................51
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 3 of 314 Pageid#: 3




                          3. The Manufacturer Defendants Targeted Susceptible Prescribers
                             and Vulnerable Patient Populations. ..........................................................58

                          4. Insys Employed Fraudulent, Illegal, and Misleading Marketing
                             Schemes to Promote Subsys. .....................................................................59

                          5. The Manufacturer Defendants made Materially Deceptive
                             Statements and Concealed Material Facts. ................................................64

                          6. The Manufacturer Defendants Fraudulently Concealed Their
                             Misconduct. ................................................................................................70

          C. THE DISTRIBUTOR DEFENDANTS’ UNLAWFUL DISTRIBUTION OF
             OPIOIDS. .....................................................................................................................72
                  1. Wholesale Drug Distributors Have a Duty under State and Federal
                       Law to Guard Against, and Report, Unlawful Diversion and to
                       Report and Prevent Suspicious Orders. .....................................................73

                          2. The Distributor Defendants Breached Their Duties. .................................81

                          3. The Distributor Defendants Have Sought to Avoid and Have
                             Misrepresented their Compliance with Their Legal Duties. ......................83

                          4. The National Retail Pharmacies Were on Notice of and
                             Contributed to Illegal Diversion of Prescription Opioids ..........................91

          D. THE MANUFACTURER DEFENDANTS’ UNLAWFUL FAILURE TO
             PREVENT DIVERSION AND MONITOR, REPORT, AND PREVENT
             SUSPICIOUS ORDERS. ...........................................................................................104

          E. DEFENDANTS’ UNLAWFUL CONDUCT AND BREACHES OF LEGAL
             DUTIES CAUSED THE HARM ALLEGED HEREIN AND
             SUBSTANTIAL DAMAGES. ..................................................................................110

          F. DEFENDANTS’ FRAUDULENT AND DECEPTIVE MARKETING OF
             OPIOIDS DIRECTLY CAUSED HARM TO THE PLAINTIFF. ............................113
                  1. Increase in Opioid Prescribing Nationally ...............................................113

                          2. The Plaintiff’s Increased Spending on Opioids through Self-
                             Insured Worker’s Compensation Program...............................................115

                               i. Workers’ Compensation Programs ....................................................115

                               ii. The Plaintiff’s Increased Costs Correlate with the Defendants’
                                   Promotion. ..........................................................................................117
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 4 of 314 Pageid#: 4




               G. STATUTES OF LIMITATIONS ARE TOLLED AND DEFENDANTS ARE
                  ESTOPPED FROM ASSERTED STATUTES OF LIMITATIONS AS
                  DEFENSES. ...............................................................................................................118
                       1. Continuing Conduct. ................................................................................118

                               2. Equitable Estoppel. ..................................................................................119

                               3. Fraudulent Concealment ..........................................................................122

    V.         LEGAL CAUSES OF ACTION ......................................................................................123

    COUNT I .....................................................................................................................................123

    PUBLIC NUISANCE ..................................................................................................................123

    (Against all Defendants) ..............................................................................................................123

    COUNT II ....................................................................................................................................131

    RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT 18 U.S.C.
    § 1961, et seq. ..............................................................................................................................131

    (Against Defendants Purdue, Cephalon, Janssen, and Endo) ......................................................131

    (The “Opioid Marketing Enterprise”) ..........................................................................................131

               A.         THE OPIOID MARKETING ENTERPRISE ..................................................135

                    1. The RICO Defendants.......................................................................................137

                    2. The Front Groups ..............................................................................................141

                    3. The KOLs..........................................................................................................152

                    4. Members of the Opioid Marketing Enterprise Furthered the Common Purpose by
                    Making Misrepresentations. ....................................................................................167

               B.         CONDUCT OF THE OPIOID MARKETING ENTERPRISE. .......................230

               C.         PATTERN OF RACKETEERING ACTIVITY ...............................................235

        D.         DAMAGES. ......................................................................................................242
    COUNT III ...................................................................................................................................245

    RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT ............................245

    18 U.S.C. 1961, et seq..................................................................................................................245

    (Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis, McKesson,
    Cardinal, and AmerisourceBergen) .............................................................................................245

    (The “Opioid Diversion Enterprise”) ...........................................................................................245
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 5 of 314 Pageid#: 5




               A.         THE OPIOID DIVERSION ENTERPRISE. ....................................................250

               B.         CONDUCT OF THE OPIOID DIVERSION ENTERPRISE. .........................263

               C.         PATTERN OF RACKETEERING ACTIVITY. ..............................................271

                    1. The RICO Defendants Manufactured, Sold and/or Dealt in Controlled Substances
                    and Their Actions Constitute Crimes Punishable as Felonies. ...............................271

                    2. The RICO Diversion Defendants Engaged in Mail and Wire Fraud. ...............278

        D.       DAMAGES. ......................................................................................................287
    COUNT IV...................................................................................................................................290

               NEGLIGENCE AND NEGLIGENT MISREPRESENTATION .................................290

            (Against All Defendants) ........................................................................................290
    COUNT V ....................................................................................................................................294

    FRAUD AND FRAUDULENT MISREPRESENTATION........................................................294

    (Against All Defendants) .............................................................................................................294

    COUNT VI...................................................................................................................................295

    UNJUST ENRICHMENT ...........................................................................................................295

    (Against All Defendants) .............................................................................................................295

               COUNT IX....................................................................................................................300

               COUNT X .....................................................................................................................301

         PUNITIVE DAMAGES ...............................................................................................305
    RELIEF ........................................................................................................................................306
  Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 6 of 314 Pageid#: 6




         Plaintiff, the CITY OF DANVILLE, brings this Complaint against Defendants Purdue

Pharma L.P.; Purdue Pharma, Inc.; The Purdue Frederick Company, Inc.; Teva Pharmaceutical

Industries, LTD.; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.; Johnson & Johnson; Janssen

Pharmaceuticals,        Inc.;     Ortho-McNeil-Janssen            Pharmaceuticals,         Inc.     n/k/a     Janssen

Pharmaceuticals, Inc.; Janssen Pharmaceutica Inc. n/k/a Janssen Pharmaceuticals, Inc.; Noramco,

Inc.; Endo Health Solutions, Inc.; Endo Pharmaceuticals, Inc.; Allergan PLC f/k/a Actavis PLS;

Watson Pharmaceuticals, Inc. n/k/a Actavis, Inc.; Watson Laboratories, Inc.; Actavis, LLC;

Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.; Mallinckrodt PLC; Mallinckrodt LLC; Insys

Therapeutics, Inc., McKesson Corporation; Cardinal Health, Inc.; AmerisourceBergen Drug

Corporation, CVS Health Corporation; The Kroger Co.; Rite Aid of Maryland, Inc. d/b/a Rite Aid

Mid-Atlantic Customer Support Center, Inc.; Thrifty Payless, Inc.; Walgreens Boots Alliance, Inc.

a/k/a Walgreen Co., and Wal-Mart Inc., f/k/a Wal-Mart Stores, Inc., (collectively “Defendants”)

and allege as follows:

                                           I.     INTRODUCTION

         1.       Plaintiff brings this civil action to eliminate the hazard to public health and safety

caused by the opioid epidemic, to abate the nuisance caused thereby, and to recoup monies that

have been spent and will be spent because of Defendants’ false, deceptive and unfair marketing

and/or unlawful diversion of prescription opioids.1 Such economic damages were foreseeable to

Defendants and were sustained because of Defendants’ intentional and/or unlawful actions and

omissions.




1
  As used herein, the term “opioid” refers to the entire family of opiate drugs including natural, synthetic and semi-
synthetic opiates.




                                                           1
    Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 7 of 314 Pageid#: 7




           2.       Opioid analgesics are widely diverted and improperly used, and the widespread

abuse of opioids has resulted in a national epidemic of opioid overdose deaths and addictions.2

           3.       The opioid epidemic is “directly related to the increasingly widespread misuse of

powerful opioid pain medications.”3

           4.       Plaintiff brings this suit against the manufacturers of prescription opioids. The

manufacturers aggressively pushed highly addictive, dangerous opioids, falsely representing to

doctors that patients would only rarely succumb to drug addiction. These pharmaceutical

companies aggressively advertised to and persuaded doctors to prescribe highly addictive,

dangerous opioids, turning patients into drug addicts for their own corporate profit. Such actions

were intentional and/or unlawful.

           5.       Plaintiff also brings this suit against the wholesale distributors of these highly

addictive drugs. The distributors and manufacturers intentionally and/or unlawfully breached their

legal duties under federal and state law to monitor, detect, investigate, refuse and report suspicious

orders of prescription opiates.


                                                II.    PARTIES
      A. PLAINTIFF.

           6.       Plaintiff, the CITY OF DANVILLE, (“the Plaintiff”) is a municipal corporation

duly chartered and existing under the laws of the Commonwealth of Virginia with its governing

body being the Danville City Council. The Plaintiff has standing to bring this suit. VA. CODE ANN.

§ 15.2-1100 et seq.



2
 See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).
3
    See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).




                                                           2
  Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 8 of 314 Pageid#: 8




       7.      The Plaintiff is authorized to abate and remove public nuisances under Virginia

law. VA. CODE ANN. § 15.2-900 (“In exercising public and essential governmental functions to

provide for the public health and welfare, each authority may sue and be sued. In addition to the

remedy provided by the Code of Virginia § 48-5 and any other remedy provided by law, any

locality may maintain an action to compel a responsible party to abate, raze, or remove a public

nuisance. If the public nuisance presents an imminent and immediate threat to life or property,

then the locality may abate, raze, or remove such public nuisance, and a locality may bring an

action against the responsible party to recover the necessary costs incurred for the provision of

public emergency services reasonably required to abate any such public nuisance.”). Plaintiff

believes, inter alia, that opioid abuse, addiction, morbidity and mortality has created a serious

public health and safety crisis, and is a public nuisance, and that the diversion of legally produced

controlled substances into the illicit market causes or contributes to this public nuisance.

       8.      The Plaintiff is responsible for the public health, safety and welfare of its citizens.

       9.      The distribution and diversion of opioids into Virginia (“the State”), and into

Danville and surrounding areas (collectively, “Plaintiff’s Community”), created the foreseeable

opioid crisis and opioid public nuisance for which the Plaintiff here seeks relief.

       10.     Plaintiff believes that opioid abuse, addiction, morbidity and mortality have created

a serious public health and safety crisis, and is a public nuisance, and that the diversion of legally

produced controlled substances into the illicit market causes or contributes to this public nuisance.

       11.     Plaintiff directly and foreseeably sustained all economic damages alleged herein.

Defendants’ conduct has exacted a financial burden for which the Plaintiff seeks relief. Categories

of past and continuing sustained damages include, inter alia,: (1) costs for providing medical care,

additional therapeutic, and prescription drug purchases, and other treatments for patients suffering

from opioid-related addiction or disease, including overdoses and deaths; (2) costs for providing




                                                  3
  Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 9 of 314 Pageid#: 9




treatment, counseling, and rehabilitation services; (3) costs for providing treatment of infants born

with opioid-related medical conditions; (4) costs associated with law enforcement and public

safety relating to the opioid epidemic; (5) costs associated with providing care for children whose

parents suffer from opioid-related disability or incapacitation and (6) costs associated with the

Plaintiff having to repair and remake its infrastructure, property and systems that have been

damaged by Defendants’ actions, including, inter alia, its property and systems to treat addiction

and abuse, to respond to and manage an elevated level of crime, to treat injuries, and to investigate

and process deaths in Plaintiff’s Community. These damages have been suffered, and continue to

be suffered, directly by the Plaintiff.

          12.      Plaintiff also seeks the means to abate the epidemic created by Defendants’

wrongful and/or unlawful conduct.

          13.      Plaintiff has standing to bring claims under the federal RICO statute, pursuant to

18 U.S.C. § 1961(3) (“persons” include entities which can hold legal title to property) and 18

U.S.C. § 1964 (“persons” have standing).

    B. DEFENDANTS.

                1. Manufacturer Defendants.

          14.      The Manufacturer Defendants are defined below. At all relevant times, the

Manufacturer Defendants have packaged, distributed, supplied, sold, placed into the stream of

commerce, labeled, described, marketed, advertised, promoted and purported to warn or purported

to inform prescribers and users regarding the benefits and risks associated with the use of the

prescription opioid drugs. The Manufacturer Defendants, at all times, have manufactured and sold

prescription opioids without fulfilling their legal duty to prevent diversion and report suspicious

orders.




                                                    4
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 10 of 314 Pageid#: 10




        15.      PURDUE PHARMA L.P. is a limited partnership organized under the laws of

Delaware. PURDUE PHARMA INC. is a New York corporation with its principal place of

business in Stamford, Connecticut, and THE PURDUE FREDERICK COMPANY, INC. is a

Delaware corporation with its principal place of business in Stamford, Connecticut (collectively,

“Purdue”).

        16.      Purdue manufactures, promotes, sells, and distributes opioids such as OxyContin,

MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq ER in the United States.

OxyContin is Purdue’s best-selling opioid. Since 2009, Purdue’s annual nationwide sales of

OxyContin have fluctuated between $2.47 billion and $2.99 billion, up four-fold from its 2006

sales of $800 million. OxyContin constitutes roughly 30% of the entire market for analgesic drugs

(painkillers).

        17.      CEPHALON, INC. is a Delaware corporation with its principal place of business

in Frazer, Pennsylvania. TEVA PHARMACEUTICAL INDUSTRIES, LTD. (“Teva Ltd.”) is an

Israeli corporation with its principal place of business in Petah Tikva, Israel. In 2011, Teva Ltd.

acquired Cephalon, Inc. TEVA PHARMACEUTICALS USA, INC. (“Teva USA”) is a Delaware

corporation and is a wholly owned subsidiary of Teva Ltd. in Pennsylvania. Teva USA acquired

Cephalon in October 2011.

        18.      Cephalon, Inc. manufactures, promotes, sells, and distributes opioids such as Actiq

and Fentora in the United States. Actiq has been approved by the FDA only for the “management

of breakthrough cancer pain in patients 16 years and older with malignancies who are already

receiving and who are tolerant to around-the-clock opioid therapy for the underlying persistent




                                                  5
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 11 of 314 Pageid#: 11




cancer pain.”5 Fentora has been approved by the FDA only for the “management of breakthrough

pain in cancer patients 18 years of age and older who are already receiving and who are tolerant

to around-the-clock opioid therapy for their underlying persistent cancer pain.”6 In 2008, Cephalon

pled guilty to a criminal violation of the Federal Food, Drug and Cosmetic Act for its misleading

promotion of Actiq and two other drugs, and agreed to pay $425 million.7

          19.      Teva Ltd., Teva USA, and Cephalon, Inc. work together closely to market and sell

Cephalon products in the United States. Teva Ltd. conducts all sales and marketing activities for

Cephalon in the United States through Teva USA and has done so since its October 2011

acquisition of Cephalon. Teva Ltd. and Teva USA hold out Actiq and Fentora as Teva products to

the public. Teva USA sells all former Cephalon branded products through its “specialty medicines”

division. The FDA-approved prescribing information and medication guide, which is distributed

with Cephalon opioids, discloses that the guide was submitted by Teva USA, and directs

physicians to contact Teva USA to report adverse events.

          20.      All of Cephalon’s promotional websites, including those for Actiq and Fentora,

display Teva Ltd.’s logo.8 Teva Ltd.’s financial reports list Cephalon’s and Teva USA’s sales as

its own, and its year-end report for 2012 – the year immediately following the Cephalon acquisition

– attributed a 22% increase in its specialty medicine sales to “the inclusion of a full year of




5
  Highlights of Prescribing Information, ACTIQ® (fentanyl citrate) oral transmucosal lozenge, CII (2009),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2009/020747s030lbl.pdf.
6
  Highlights of Prescribing Information, FENTORA® (fentanyl citrate) buccal tablet, CII (2011),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2012/021947s015lbl.pdf.
7
  Press Release, U.S. Dep’t of Justice, Biopharmaceutical Company, Cephalon, to Pay $425 Million & Enter Plea to
Resolve Allegations of Off-Label Marketing (Sept. 29, 2008),
https://www.justice.gov/archive/opa/pr/2008/September/08-civ-860.html.
8
    E.g., ACTIQ, http://www.actiq.com/ (displaying logo at bottom-left) (last visited Jan. 16, 2018).




                                                           6
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 12 of 314 Pageid#: 12




Cephalon’s specialty sales,” including inter alia sales of Fentora®.9 Through interrelated

operations like these, Teva Ltd. operates in the United States through its subsidiaries Cephalon

and Teva USA. The United States is the largest of Teva Ltd.’s global markets, representing 53%

of its global revenue in 2015, and, were it not for the existence of Teva USA and Cephalon, Inc.,

Teva Ltd. would conduct those companies’ business in the United States itself. Upon information

and belief, Teva Ltd. directs the business practices of Cephalon and Teva USA, and their profits

inure to the benefit of Teva Ltd. as controlling shareholder. Teva Pharmaceutical Industries, Ltd.,

Teva Pharmaceuticals USA, Inc., and Cephalon, Inc. are referred to as “Cephalon.”

       21.     JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with its

principal place of business in Titusville, New Jersey, and is a wholly owned subsidiary of

JOHNSON & JOHNSON (J&J), a New Jersey corporation with its principal place of business in

New Brunswick, New Jersey. NORAMCO, INC. (“Noramco”) is a Delaware company

headquartered in Wilmington, Delaware and was a wholly owned subsidiary of J&J until July

2016. ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC., now known as JANSSEN

PHARMACEUTICALS, INC., is a Pennsylvania corporation with its principal place of business

in Titusville, New Jersey. JANSSEN PHARMACEUTICA INC., now known as JANSSEN

PHARMACEUTICALS, INC., is a Pennsylvania corporation with its principal place of business

in Titusville, New Jersey. J&J is the only company that owns more than 10% of Janssen

Pharmaceuticals’ stock, and corresponds with the FDA regarding Janssen’s products. Upon

information and belief, J&J controls the sale and development of Janssen Pharmaceuticals’ drugs




9
  Teva Ltd., Annual Report (Form 20-F) 62 (Feb. 12, 2013),
http://annualreports.com/HostedData/AnnualReportArchive/t/NASDAQ_TEVA_2012.pdf.




                                                  7
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 13 of 314 Pageid#: 13




and Janssen’s profits inure to J&J’s benefit. Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen

Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc., Noramco, and J&J are referred to as “Janssen.”

       22.       Janssen manufactures, promotes, sells, and distributes drugs in the United States,

including the opioid Duragesic (fentanyl). Before 2009, Duragesic accounted for at least $1 billion

in annual sales. Until January 2015, Janssen developed, marketed, and sold the opioids Nucynta

(tapentadol) and Nucynta ER. Together, Nucynta and Nucynta ER accounted for $172 million in

sales in 2014.

       23.       ENDO HEALTH SOLUTIONS INC. is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania. ENDO PHARMACEUTICALS INC. is a wholly

owned subsidiary of Endo Health Solutions Inc. and is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania. Endo Health Solutions Inc. and Endo Pharmaceuticals

Inc. are referred to as “Endo.”

       24.       Endo develops, markets, and sells prescription drugs, including the opioids

Opana/Opana ER, Percodan, Percocet, and Zydone, in the United States. Opioids made up roughly

$403 million of Endo’s overall revenues of $3 billion in 2012. Opana ER yielded $1.15 billion in

revenue from 2010 and 2013, and it accounted for 10% of Endo’s total revenue in 2012. Endo also

manufactures and sells generic opioids such as oxycodone, oxymorphone, hydromorphone, and

hydrocodone products in the United States, by itself and through its subsidiary, Qualitest

Pharmaceuticals, Inc.

       25.       ALLERGAN PLC is a public limited company incorporated in Ireland with its

principal place of business in Dublin, Ireland. ACTAVIS PLC acquired ALLERGAN PLC in

March 2015, and the combined company changed its name to ALLERGAN PLC in January 2013.

Before that, WATSON PHARMACEUTICALS, INC. acquired ACTAVIS, INC. in October 2012,




                                                  8
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 14 of 314 Pageid#: 14




and the combined company changed its name to Actavis, Inc. as of January 2013 and then

ACTAVIS PLC in October 2013. WATSON LABORATORIES, INC. is a Nevada corporation

with its principal place of business in Corona, California, and is a wholly-owned subsidiary of

ALLERGAN PLC (f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.). ACTAVIS

PHARMA, INC. (f/k/a Actavis, Inc.) is a Delaware corporation with its principal place of business

in New Jersey and was formerly known as WATSON PHARMA, INC. ACTAVIS LLC is a

Delaware limited liability company with its principal place of business in Parsippany, New Jersey.

Each of these defendants is owned by ALLERGAN PLC, which uses them to market and sell its

drugs in the United States. Upon information and belief, ALLERGAN PLC exercises control over

these marketing and sales efforts and profits from the sale of Allergan/Actavis products ultimately

inure to its benefit. ALLERGAN PLC, ACTAVIS PLC, ACTAVIS, Inc., Actavis LLC, Actavis

Pharma, Inc., Watson Pharmaceuticals, Inc., Watson Pharma, Inc., and Watson Laboratories, Inc.

are referred to as “Actavis.”

       26.     Actavis manufactures, promotes, sells, and distributes opioids, including the

branded drugs Kadian and Norco, a generic version of Kadian, and generic versions of Duragesic

and Opana, in the United States. Actavis acquired the rights to Kadian from King Pharmaceuticals,

Inc. on December 30, 2008, and began marketing Kadian in 2009.

       27.     MALLINCKRODT, PLC is an Irish public limited company headquartered in

Staines-upon-Thames, United Kingdom, with its U.S. headquarters in St. Louis, Missouri.

MALLINCKRODT, LLC is a limited liability company organized and existing under the laws of

the State of Delaware. Mallinckrodt, LLC is a wholly owned subsidiary of Mallinckrodt, PLC.

Mallinckrodt, PLC and Mallinckrodt, LLC are referred to as “Mallinckrodt.”




                                                9
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 15 of 314 Pageid#: 15




       28.      Mallinckrodt manufactures, markets, and sells drugs in the United States including

generic oxycodone, of which it is one of the largest manufacturers. In July 2017 Mallinckrodt

agreed to pay $35 million to settle allegations brought by the Department of Justice that it failed to

detect and notify the DEA of suspicious orders of controlled substances.

       29.      INSYS THERAPEUTICS, INC. is a Delaware corporation with its principal place

of business in Chandler, Arizona. Insys’s principal product and source of revenue is Subsys.

       30.      Insys made thousands of payments to physicians nationwide, including in the State,

ostensibly for activities including participating on speakers’ bureaus, providing consulting

services, assisting in post-marketing safety surveillance and other services, but in fact to

deceptively promote and maximize the use of opioids.

       31.      Subsys is a transmucosal immediate-release formulation (TIRF) of fentanyl,

contained in a single-dose spray device intended for oral, under the tongue administration. Subsys

was approved by the FDA solely for the treatment of breakthrough cancer pain.

       32.      In 2016, Insys made approximately $330 million in net revenue from Subsys. Insys

promotes, sells, and distributes Subsys throughout the United States, the Plaintiff, and Plaintiff’s

Community.

       33.      Insys’s founder and owner was recently arrested and charged, along with other

Insys executives, with multiple felonies in connection with an alleged conspiracy to bribe

practitioners to prescribe Subsys and defraud insurance companies. Other Insys executives and

managers were previously indicted.

             2. Distributor Defendants.

       34.      The Distributor Defendants also are defined below. At all relevant times, the

Distributor Defendants have distributed, supplied, sold, and placed into the stream of commerce




                                                 10
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 16 of 314 Pageid#: 16




the prescription opioids, without fulfilling the fundamental duty of wholesale drug distributors to

detect and warn of diversion of dangerous drugs for non-medical purposes. The Distributor

Distributors universally failed to comply with federal and/or state law. The Distributor Defendants

are engaged in “wholesale distribution,” as defined under state and federal law. Plaintiff alleges

the unlawful conduct by the Distributor Distributors is responsible for the volume of prescription

opioids plaguing Plaintiff’s Community.

       35.     McKESSON CORPORATION (“McKesson”) at all relevant times, operated as a

licensed distributor in Virginia, licensed by the Virginia State Board of Pharmacy and holding both

wholesaler and out of state wholesaler distributor licenses. McKesson is a Delaware corporation.

McKesson has its principal place of business located in San Francisco, California. McKesson

operates distribution centers in Chino, Fullerton, Sacramento and Visalia, California.

       36.     CARDINAL HEALTH, INC. (“Cardinal”) at all relevant times, operated as a

licensed distributor in Virginia, licensed by the Virginia State Board of Pharmacy and holding both

wholesaler and out of state wholesaler distributor licenses. Cardinal’s principal office is located

in Dublin, Ohio. Cardinal operates a distribution center in Sacramento, California.

       37.     AMERISOURCEBERGEN DRUG CORPORATION (“AmerisourceBergen”) at

all relevant times, operated as a licensed distributor in Virginia, licensed by the Virginia State

Board of Pharmacy and holding both wholesaler and out of state wholesaler distributor licenses.

AmerisourceBergen is a Delaware corporation and its principal place of business is located in

Chesterbrook, Pennsylvania.

       38.     Defendant CVS HEALTH CORPORATION is a Delaware corporation with its

principal place of business in Rhode Island. CVS Health Corporation conducts business as a

licensed wholesale distributor under the following named business entities: CVS Indiana, L.L.C.




                                                11
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 17 of 314 Pageid#: 17




(Va. Lic. No. 0219001400); CVS Orlando FL Distribution (Va. Lic. No. 0219001721); CVS RX

Services, Inc, d/b/a CVS Pharmacy Distribution Center (Va. Lic. No. 0219001580); CVS TN

Distribution, LLC (Va. Lic. No. 0219000998); and CVS PROCARE PHARMACY #2696 (Va.

Lic. No. 0219000508) (collectively “CVS”). At all times relevant to this Complaint, CVS

distributed prescription opioids throughout the United States, including in the State and the

Plaintiff and Plaintiff’s Community specifically. At all relevant times, this Defendant operated as

a licensed distributor in Virginia, licensed by the Virginia State Board of Pharmacy.

       39.     Defendant THE KROGER CO. is an Ohio corporation with headquarters in

Cincinnati, OH. Kroger operates 2,268 pharmacies in the United States, including in Virginia. The

Kroger Co. conducts business as a licensed wholesale distributor under the named business entity

Kroger Limited Partnership II (Va. Lic. No. 0219001036) (collectively “Kroger”). At all times

relevant to this Complaint, Kroger distributed and dispensed prescription opioids throughout the

United States, including in Virginia and Plaintiff’s Community specifically. At all relevant times,

this Defendant operated licensed pharmacies in Virginia, licensed by the Virginia State Board of

Pharmacy.

       40.     Defendant RITE AID OF MARYLAND, INC., d/b/a Rite Aid Mid-Atlantic

Customer Support Center, Inc. is a Maryland corporation with its principal office located in Camp

Hill, Pennsylvania and is a subsidiary of Rite Aid Corporation. Defendant THRIFTY PAYLESS,

INC. is a California corporation with its principal office in located in Camp Hill, Pennsylvania and

is a subsidiary of Rite Aid Corporation. Rite Aid of Maryland, Inc., d/b/a as Rite Aid Mid-Atlantic

Customer Support Center, Inc. and Thrifty Payless, Inc. are referred to as “Rite Aid.” At all times

relevant to this Complaint, Rite Aid distributed prescription opioids throughout the United States,

including in the State, the Plaintiff and Plaintiff’s Community specifically. Rite Aid of Maryland,




                                                12
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 18 of 314 Pageid#: 18




Inc., d/b/a Rite Aid Mid-Atlantic Customer Support Center, Inc. conducts business as a licensed

wholesale distributor under the name Rite Aid Mid-Atlantic Customer Support Center and at all

relevant times, operated as a licensed distributor in Virginia (Va. Lic. No. 0219000278). Upon

information and belief, Rite Aid also conducted business as a licensed wholesale distributor under

business entities Rite Aid Charlotte Distribution Center (#53) (Va. Lic. No. 0219001151) and Rite

Aid Philadelphia Distribution Center #56 (Va. Lic. No. 0219000944).

       41.     Defendant WALGREENS BOOTS ALLIANCE, INC., also known as Walgreen

Co. (“Walgreens”) is a Delaware corporation with its principal place of business in Illinois.

Walgreens Boots Alliance Inc. conducts business as a licensed wholesale distributor under the

following named business entities: WALGREENS (Va. Lic. No. 0219000767); WALGREENS

(Va. Lic. No. 0219000769); Walgreens (Va. Lic. No. 0219001726); and Walgreens Co. (Va. Lic.

No. 0219001196); (collectively “Walgreens”). At all times relevant to this Complaint, Walgreens

distributed prescription opioids throughout the United States, including in the State, the Plaintiff

and Plaintiff’s Community specifically. Upon information and belief, at all relevant times, this

Defendant operated as a licensed distributor in Virginia, licensed by the Virginia State Board of

Pharmacy.

       42.     Defendant WAL-MART INC., formerly known as Wal-Mart Stores, Inc. (“Wal-

Mart”), is a Delaware corporation with its principal place of business in Arkansas. At all times

relevant to this Complaint, Wal-Mart distributed prescription opioids throughout the United States,

including in the State, the Plaintiff and Plaintiff’s Community specifically. Upon information and

belief, Wal-Mart Stores, Inc. conducts business as a licensed wholesale distributor under the

following named non-resident pharmacy business entities: WAL-MART PHARMACY 10-2625




                                                13
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 19 of 314 Pageid#: 19




(Va. Lic. No. 0214000255) and WAL-MART PHARMACY 10-5315 (Va. Lic. No. 0214000705)

(“collectively “Wal-Mart”).

        43.     Collectively, Defendants CVS, Kroger, Rite Aid, Walgreens, Wal-Mart are referred

to as “National Retail Pharmacies.” Cardinal, McKesson, AmerisourceBergen, and the National

Retail Pharmacies are collectively referred to as the “Distributor Defendants.”

        44.     Defendants include the above referenced entities as well as their predecessors,

successors, affiliates, subsidiaries, partnerships and divisions to the extent that they are engaged

in the manufacture, promotion, distribution, sale and/or dispensing of opioids.


                               III.       JURISDICTION & VENUE

        45.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331 based upon the

federal claims asserted under the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C.

§ 1961, et seq. (“RICO”). This Court has supplemental jurisdiction over Plaintiff’s state law claims

pursuant to 28 U.S.C. § 1367 because those claims are so related to Plaintiff’s federal claims that

they form part of the same case or controversy.

        46.     This Court has personal jurisdiction over Defendants because they conduct business

in the State, purposefully direct or directed their actions toward the State, some or all consented to

be sued in the State by registering an agent for service of process, they consensually submitted to

the jurisdiction of the State when obtaining a manufacturer or distributor license, and because they

have the requisite minimum contacts with the State necessary to constitutionally permit the Court

to exercise jurisdiction.

        47.     This Court also has personal jurisdiction over all of the defendants under 18 U.S.C.

§ 1965(b). This Court may exercise nation-wide jurisdiction over the named Defendants where the

“ends of justice” require national service and Plaintiff demonstrates national contacts. Here, the




                                                  14
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 20 of 314 Pageid#: 20




interests of justice require that the Plaintiff be allowed to bring all members of the nationwide

RICO enterprise before the court in a single trial. See, e.g., Iron Workers Local Union No. 17

Insurance Fund v. Philip Morris Inc., 23 F. Supp. 2d 796, 803 (N.D. Ohio 1998) (citing LaSalle

National Bank v. Arroyo Office Plaza, Ltd., 1988 WL 23824, *2 (N.D. Ill. Mar 10, 1988);

Butcher’s Union Local No. 498 v. SDC Invest., Inc., 788 F.2d 535, 539 (9th Cir. 1986)).

        48.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 18 U.S.C. §1965

because a substantial part of the events or omissions giving rise to the claim occurred in this

District and each Defendant transacted affairs and conducted activity that gave rise to the claim of

relief in this District. 28 U.S.C. § 1391(b); 18 U.S.C. §1965(a).

                                IV.      FACTUAL BACKGROUND
     A. THE OPIOID EPIDEMIC.

              1. The National Opioid Epidemic.

        49.      The past two decades have been characterized by increasing abuse and diversion of

prescription drugs, including opioid medications, in the United States.10

        50.      Prescription opioids have become widely prescribed. By 2010, enough prescription

opioids were sold to medicate every adult in the United States with a dose of 5 milligrams of

hydrocodone every 4 hours for 1 month.11




10
 See Richard C. Dart et al., Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N. Eng. J.
Med. 241 (2015).
11
  Katherine M. Keyes at al., Understanding the Rural-Urban Differences in Nonmedical Prescription Opioid Use
and Abuse in the United States, 104 Am. J. Pub. Health e52 (2014).




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Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 21 of 314 Pageid#: 21




           51.      By 2011, the U.S. Department of Health and Human Resources, Centers for Disease

Control and Prevention, declared prescription painkiller overdoses at epidemic levels. The News

Release noted:


           a.       The death toll from overdoses of prescription painkillers has more than tripled in
                    the past decade.

           b.       More than 40 people die every day from overdoses involving narcotic pain relievers
                    like hydrocodone (Vicodin), methadone, oxycodone (OxyContin), and
                    oxymorphone (Opana).

           c.       Overdoses involving prescription painkillers are at epidemic levels and kill more
                    Americans than heroin and cocaine combined.

           d.       The increased use of prescription painkillers for nonmedical reasons, along with
                    growing sales, has contributed to a large number of overdoses and deaths. In 2010,
                    1 in every 20 people in the United States age 12 and older—a total of 12 million
                    people—reported using prescription painkillers non-medically according to the
                    National Survey on Drug Use and Health. Based on the data from the Drug
                    Enforcement Administration, sales of these drugs to pharmacies and health care
                    providers have increased by more than 300 percent since 1999.

           e.       Prescription drug abuse is a silent epidemic that is stealing thousands of lives and
                    tearing apart communities and families across America.

           f.       Almost 5,500 people start to misuse prescription painkillers every day.12

           52.      Through 2016, the number of annual opioid prescriptions written in the United

States was roughly equal to the number of adults in the population.13

           53.      Many Americans are addicted to prescription opioids, and the number of deaths due

to prescription opioid overdose is unacceptable. In 2016, drug overdoses killed roughly 64,000




12
  See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Prescription
Painkiller Overdoses at Epidemic Levels (Nov. 1, 2011),
https://www.cdc.gov/media/releases/2011/p1101_flu_pain_killer_overdose.html.
13
     See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).




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Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 22 of 314 Pageid#: 22




people in the United States, an increase of more than 22 percent over the 52,404 drug deaths

recorded the previous year.14

        54.      Moreover, the CDC has identified addiction to prescription pain medication as the

strongest risk factor for heroin addiction. People who are addicted to prescription opioid

painkillers are forty times more likely to be addicted to heroin.15

        55.      Heroin is pharmacologically similar to prescription opioids. The majority of

current heroin users report having used prescription opioids non-medically before they initiated

heroin use. Available data indicates that the nonmedical use of prescription opioids is a strong

risk factor for heroin use.16

        56.      The CDC reports that drug overdose deaths involving heroin continued to climb

sharply, with heroin overdoses more than tripling in 4 years. This increase mirrors large increases

in heroin use across the country and has been shown to be closely tied to opioid pain reliever

misuse and dependence. Past misuse of prescription opioids is the strongest risk factor for heroin

initiation and use, specifically among persons who report past-year dependence or abuse. The

increased availability of heroin, combined with its relatively low price (compared with diverted

prescription opioids) and high purity appear to be major drivers of the upward trend in heroin use

and overdose.17



14
  See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Provisional Counts of Drug
Overdose Deaths, (August 8, 2016), https://www.cdc.gov/nchs/data/health_policy/monthly-drug-overdose-death-
estimates.pdf.
15
   See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Today’s Heroin Epidemic,
https://www.cdc.gov/vitalsigns/heroin/index.html (last updated July 7, 2015).
16
 See Wilson M. Compton, Relationship Between Nonmedical Prescription-Opioid Use and Heroin, 374 N. Eng. J.
Med. 154 (2016).
17
 See Rose A. Rudd et al., Increases in Drug and Opioid Overdose Deaths—United States, 2000–2014, 64
Morbidity & Mortality Wkly. Rep. 1378 (2016).




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Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 23 of 314 Pageid#: 23




          57.      The societal costs of prescription drug abuse are “huge.”18

          58.      Across the nation, local governments are struggling with a pernicious, ever-

expanding epidemic of opioid addiction and abuse. Every day, more than 90 Americans lose their

lives after overdosing on opioids.19

          59.      The National Institute on Drug Abuse identifies misuse and addiction to opioids as

“a serious national crisis that affects public health as well as social and economic welfare.”20 The

economic burden of prescription opioid misuse alone is $78.5 billion a year, including the costs of

healthcare, lost productivity, addiction treatment, and criminal justice expenditures.21

          60.      The U.S. opioid epidemic is continuing, and drug overdose deaths nearly tripled

during the 1999–2014 period. Among 47,055 drug overdose deaths that occurred in 2014 in the

United States, 28,647 (60.9%) involved an opioid.22

          61.      The rate of death from opioid overdose has quadrupled during the past 15 years in

the United States. Nonfatal opioid overdoses that require medical care in a hospital or emergency

department have increased by a factor of six in the past 15 years.23



18
  See Amicus Curiae Brief of Healthcare Distribution Management Association in Support of Appellant Cardinal
Health, Inc., Cardinal Health, Inc. v. United States Dept. Justice, No. 12-5061 (D.C. Cir. May 9, 2012), 2012 WL
1637016, at *10 [hereinafter Brief of HDMA].
19
  Opioid Crisis, NIH, National Institute on Drug Abuse (available at https://www.drugabuse.gov/drugs-
abuse/opioids/opioid-crisis, last visited Sept. 19, 2017) (“Opioid Crisis, NIH”) (citing at note 1 Rudd RA, Seth P,
David F, Scholl L, Increases in Drug and Opioid-Involved Overdose Deaths — United States, 2010–2015, MMWR
MORB MORTAL WKLY REP. 2016;65, doi:10.15585/mmwr.mm655051e1).
20
     Opioid Crisis, NIH.
21
   Id. (citing at note 2 Florence CS, Zhou C, Luo F, Xu L, The Economic Burden of Prescription Opioid Overdose,
Abuse, and Dependence in the United States, 2013, MED CARE 2016;54(10):901-906,
doi:10.1097/MLR.0000000000000625).
22
 See Rose A. Rudd et al., Increases in Drug and Opioid-Involved Overdose Deaths—United States, 2010–2015, 65
Morbidity & Mortality Wkly. Rep. 1445 (2016).
23
  See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).




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Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 24 of 314 Pageid#: 24




        62.      Every day brings a new revelation regarding the depth of the opioid plague: just to

name one example, the New York Times reported in September 2017 that the epidemic claims

60,000 lives a yearand is killing babies and toddlers because ubiquitous, deadly opioids are

“everywhere” and mistaken as candy.24

        63.      In 2016, the President of the United States declared an opioid and heroin

epidemic.25

        64.      The epidemic of prescription pain medication and heroin deaths is devastating

families and communities across the country.26 Meanwhile, the manufacturers and distributors of

prescription opioids extract billions of dollars of revenue from the addicted American public while

public entities experience hundreds of millions of dollars of injury – if not more – caused by the

reasonably foreseeable consequences of the prescription opioid addiction epidemic.

        65.      The prescription opioid manufacturers and distributors, including the Defendants,

have continued their wrongful, intentional, and unlawful conduct, despite their knowledge that

such conduct is causing and/or contributing to the national, state, and local opioid epidemic.

        2.            The Virginia Opioid Epidemic.

        66.      Virginia has been especially ravaged by the national opioid crisis.

        67.      Between 2007 and 2017, the number of deaths per year in Virginia due to drug

overdoses more than doubled, surpassing motor vehicle-related and gun-related deaths in 2013 to




24
   Julie Turkewitz, ‘The Pills are Everywhere’: How the Opioid Crisis Claims Its Youngest Victims, N.Y. Times,
Sept. 20, 2017 (“‘It’s a cancer,’ said [grandmother of dead one-year old], of the nation’s opioid problem, ‘with
tendrils that are going everywhere.’”).
25
  See Proclamation No. 9499, 81 Fed. Reg. 65,173 (Sept. 16, 2016) (proclaiming “Prescription Opioid and Heroin
Epidemic Awareness Week”).
26
 See Presidential Memorandum – Addressing Prescription Drug Abuse and Heroin Use, 2015 Daily Comp. Pres.
Doc. 743 (Oct. 21, 2015), https://www.gpo.gov/fdsys/pkg/DCPD-201500743/pdf/DCPD-201500743.pdf.




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Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 25 of 314 Pageid#: 25




become         the      Commonwealth’s         most      common        cause      of     unnatural       death:27




         68.         A large part of the increased mortality rate is attributable to the use of prescription

opioids. Since 2007, fatal prescription (Rx) opioid overdoses have been the leading category of

drugs causing or contributing to death in the Commonwealth, with historically, oxycodone being

the most common lethal drug.28



         69.         “Prescription opioids remain the most common category of opioids involved in

overdose deaths” as of 2015 in Virginia:29



27
  Office of the Chief Med. Examiner, Va. Dep’t of Health, Fatal Drug Overdose Quarterly
Report, 1st Quarter 2017, at 4 (2017), http://www.vdh.virginia.gov/content/uploads/sites/18/2016/04/Fatal-Drug-
Overdoses-Quarterly-Report-Q1-2017_Updated.pdf.
28
     Id. at 24.
29
  Va. Dep’t of Health Profs. & Prescription Behavior Surveillance Sys., PBSS Data Brief:Overdose Deaths and
Prescription Risk Measures in Virginia, 2010-2015, at 1 (2016),
https://www.dhp.virginia.gov/dhp_programs/pmp/docs/VirginiaPBSSDataBrief10062016.pdf. 16 Ctrs. for Disease
Control and Prevention, Annual Surveillance Report of Drug-Related Risks and Outcomes 42 (2017),
https://www.cdc.gov/drugoverdose/pdf/pubs/2017-cdc-drugsurveillance-report.pdf.




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Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 26 of 314 Pageid#: 26




        70.      Recent data provides a snap shot of how the opioid crisis plays out in terms of high

opioid prescription rates, high mortality rates from opioid prescription overdoses, and high rates

of Neonatal Abstinence Syndrome (NAS). In 2016, opioids were prescribed in Virginia at a rate
of 63.4 percent per 100 persons.30 In the same year, Virginians were treated by medical

emergency departments for prescription opioid overdoses at a rate of 103.5 visits per 100,000

residents and died from prescription opioid overdoses at a rate of 5.5 per 100,000 residents.31

Also in 2016, 8.1 out of 100 live births were diagnosed with NAS – drug withdrawal in a newborn

attributable to drug abuse during pregnancy.32

        71.      Emergency department visits for prescription opioid overdoses were higher in

every month of 2016 compared to 2015, and continued to increase for several months into 2017.33




30
   Ctrs. for Disease Control and Prevention, Annual Surveillance Report of Drug-Related Risksand Outcomes 42
(2017), https://www.cdc.gov/drugoverdose/pdf/pubs/2017-cdc-drugsurveillance-report.pdf.
31
   Va. Dep’t of Health, Virginia Opioid Addiction Indicators, http://www.vdh.virginia.gov/data/opioid-overdose/
(last visited Sept. 19, 2017).
32
   Va. Hosp. & Healthcare Ass’n, Rise in Neonatal Abstinence Syndrome Cases Outpace Projections (May 26,
2017), http://www.vhha.com/research/2017/05/26/rise-in-neonatalabstinence-syndrome-cases-outpace-projections/.
33
   Va. Dep’t of Health, Emergency Department Visits for Overdose by Opioid, Unspecified Substance and Heroin
Among Virginia Residents 4 (Aug. 2017), http://www.vdh.virginia.gov/content/uploads/sites/13/2017/09/ED-Visits-
for-Opioid-and-Heroin-Overdose-August-2017.pdf.




                                                      21
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 27 of 314 Pageid#: 27




NAS rates increase from 0.7 per 1000 live births in 2000 to 6.1 per live births in 2015.34

Furthermore, due to policies that have made it more difficult for addicts to get prescription pain

killers, addicts are increasingly turning to illicit opioids such as heroin and fentanyl.35 From 2007-

2015, opioid (fentanyl, heroin, U-47700 and one or more prescription opioids) made up

approximately 75% of all fatal drug overdoses in Virginia.

        72.      Thus, prescription opioids pose a triple-threat to the Commonwealth: abuse of and

addiction to opioids by those to whom they are prescribed, diversion of prescription opioids into
illicit channels and progression by addicts of prescription opioids to illegal drugs such as heroin.36


              3. The Opioid Epidemic in Plaintiff’s Community.

        73.      As a result of Defendants’ conduct, the injuries of Plaintiff Danville, Virginia

(“Plaintiff”) reached a point where in 2016, the rate of infants born with neonatal abstinence

syndrome was 10.2 per every 1,000 births. This is nearly a tenfold increase from 2011, which was

1.7 per 1,000 births.37




34
   S. Hughes Melton, Chief Deputy Comm’r, Va. Dep’t of Health, Virginia Opioid and Heroin Stakeholders: Harm
Reduction Activities in the Commonwealth 2 (2017),
https://www.dhp.virginia.gov/taskforce/minutes/20170621/ComprehensiveHarmReductioninVirginia.pdf.
35
   Alanna Durkin Richer, Virginia Emergency Room Visits for Heroin Overdoses Spike, Daily Press, June 1, 2016,
http://www.dailypress.com/health/dp-virginia-emergency-room-visits-forheroin-overdoses-spike-20160601-
story.html (“‘What we’ve done is closed one door and opened a potential door which is now being filled by this
illicit market of heroin,’ said State Health Commissioner Dr. Marissa Levine.”).
36
   Commonwealth of Virginia, Prescription Drug Abuse Reduction Strategy 9 (2012),
https://www.dhp.virginia.gov/dhp_programs/pmp/docs/PrescriptionDrugAbuseReductionPlan.pdf (discussing
increasing diversion arrests and cases from 2005 to 2011); id. at 24 (“Many prescription pain relievers are opioid-
based, and evidence is emerging suggesting that people addicted to these pain drugs may progress to using illegal
street drugs such as heroin.”); see generally Health & Crim. Justice Data Comm., Va. Dep’t of Crim. Justice Servs.,
Report to the Governor’s Task Force on Prescription Drug and Heroin Abuse (2016),
https://www.dhp.virginia.gov/taskforce/minutes/20160504/HealthCriminalJusticeDataCteRpt05042016.pdf.
37
   Virginia Department of Health, Virginia Opioid Addiction Indicators, (2019),
http://www.vdh.virginia.gov/data/opioid-overdose/.




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Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 28 of 314 Pageid#: 28




          74.     Amanda Oakes, director of prevention services for Danville-Pittsylvania County

Community Services, describes the opioid usage in Danville as an emergency. Oakes said, “With

our population,” (of approximately 42,000) “[the rate of fatal overdoses] is considerably high.” In

2016, the rate of opioid-related overdose deaths was 16.5 per 100,000 persons. Plaintiff’s rate was

even higher than the state’s rate of 13.4 for the same year.38

          75.     Plaintiff suffered numerous instances of opioid prescriptions, abuse, and deaths,

which directly contributed to state-wide trends of approximately 200 opioid-related overdose

deaths in 1999 (at a rate of 2.7 deaths per 100,000 people), which increased to 1,130 deaths in

2016 (at a rate of 13.5 deaths per 100,000 people). Plaintiff believes its own overdose rates closely

mirror these state-wide figures.39

          76.     Commensurate with these trends, Danville’s opioid prescription rate generally

rose between 2006 and 2010, reaching as high as 207.2 prescriptions per every 100 persons.


      B. THE MANUFACTURER DEFENDANTS’ FALSE, DECEPTIVE, AND UNFAIR
         MARKETING OF OPIOIDS.

          77.     The opioid epidemic did not happen by accident.

          78.     Before the 1990s, generally accepted standards of medical practice dictated that

opioids should only be used short-term for acute pain, pain relating to recovery from surgery, or

for cancer or palliative (end-of-life) care. Due to the lack of evidence that opioids improved



38
  See Michael Livingston, Official Describes Opioid Addiction in Danville as an “Emergency, June 3, 2017,
Danville Register and Bee, https://www.godanriver.com/news/danville/official-describes-opioid-addiction-in-
danville-as-an-emergency/article_a560c4ce-47c2-11e7-81b8-b7aea9c37d54.html.

39
     National Institute on Drug Abuse, Virginia Opioid Summary, https://www.drugabuse.gov/drugs-
abuse/opioids/opioid-summaries-by-state/virginia-opioid-summary.




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Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 29 of 314 Pageid#: 29




patients’ ability to overcome pain and function, coupled with evidence of greater pain complaints

as patients developed tolerance to opioids over time and the serious risk of addiction and other

side effects, the use of opioids for chronic pain was discouraged or prohibited. As a result, doctors

generally did not prescribe opioids for chronic pain.

       79.     Each Manufacturer Defendant has conducted, and has continued to conduct, a

marketing scheme designed to persuade doctors and patients that opioids can and should be used

for chronic pain, resulting in opioid treatment for a far broader group of patients who are much

more likely to become addicted and suffer other adverse effects from the long-term use of opioids.

In connection with this scheme, each Manufacturer Defendant spent, and continues to spend,

millions of dollars on promotional activities and materials that falsely deny or trivialize the risks

of opioids while overstating the benefits of using them for chronic pain.

       80.     The Manufacturer Defendants have made false and misleading claims, contrary to

the language on their drugs’ labels, regarding the risks of using their drugs that: (1) downplayed

the serious risk of addiction; (2) created and promoted the concept of “pseudoaddiction” when

signs of actual addiction began appearing and advocated that the signs of addiction should be

treated with more opioids; (3) exaggerated the effectiveness of screening tools to prevent

addiction; (4) claimed that opioid dependence and withdrawal are easily managed; (5) denied the

risks of higher opioid dosages; and (6) exaggerated the effectiveness of “abuse-deterrent” opioid

formulations to prevent abuse and addiction. The Manufacturer Defendants have also falsely

touted the benefits of long-term opioid use, including the supposed ability of opioids to improve

function and quality of life, even though there was no scientifically reliable evidence to support

the Manufacturer Defendants’ claims.




                                                 24
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 30 of 314 Pageid#: 30




           81.      The Manufacturer Defendants have disseminated these common messages to

reverse the then-popular medical understanding of opioids and risks of opioid use. They

disseminated these messages directly, through their sales representatives, in speaker groups led by

physicians the Manufacturer Defendants recruited for their support of their marketing messages,

and through unbranded marketing and industry-funded front groups.

           82.      The Defendants’ efforts have been wildly successful. By 2016, opioids were the

most prescribed class of drugs. Globally, opioid sales generated $11 billion in revenue for drug

companies in 2010 alone; sales in the United States have exceeded $8 billion in revenue annually

since 2009.42 In an open letter to the nation’s physicians in August 2016, the then-U.S. Surgeon

General expressly connected this “urgent health crisis” to “heavy marketing of opioids to doctors

. . . [m]any of [whom] were even taught – incorrectly – that opioids are not addictive when

prescribed for legitimate pain.”43 This epidemic has resulted in a flood of prescription opioids

available for illicit use or sale (the supply), and a population of patients physically and

psychologically dependent on them (the demand). And when those patients can no longer afford

or obtain opioids from licensed dispensaries, they often turn to the street to buy prescription opioids

or even non-prescription opioids, like heroin.

           83.      The Manufacturer Defendants intentionally continued their conduct, as alleged

herein, with knowledge that such conduct was creating the opioid nuisance and causing the harms

and damages alleged herein.




42
  See Katherine Eban, Oxycontin: Purdue Pharma’s Painful Medicine, Fortune, Nov. 9, 2011,
http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/; David Crow, Drugmakers Hooked on
$10bn Opioid Habit, Fin. Times, Aug. 10, 2016, https://www. ft.com/content/f6e989a8-5dac-11e6-bb77-
a121aa8abd95.
43
     Letter from Vivek H. Murthy, U.S. Surgeon General (Aug. 2016), http://turnthetiderx.org/.




                                                          25
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 31 of 314 Pageid#: 31




           1. Each Manufacturer Defendant Used Multiple Avenues to Disseminate Their
              False and Deceptive Statements about Opioids.
       84.    The Manufacturer Defendants spread their false and deceptive statements by

marketing their branded opioids directly to doctors and patients in and around the State, including

in Plaintiff’s Community. Defendants also deployed seemingly unbiased and independent third

parties that they controlled to spread their false and deceptive statements about the risks and

benefits of opioids for the treatment of chronic pain throughout the State and Plaintiff’s

Community.

       85.     The Manufacturer Defendants employed the same marketing plans and strategies

and deployed the same messages in and around the State, including in Plaintiff’s Community, as

they did nationwide. Across the pharmaceutical industry, “core message” development is funded

and overseen on a national basis by corporate headquarters. This comprehensive approach ensures

that the Manufacturer Defendants’ messages are accurately and consistently delivered across

marketing channels – including detailing visits, speaker events, and advertising – and in each sales

territory. The Manufacturer Defendants consider this high level of coordination and uniformity

crucial to successfully marketing their drugs.

       86.     The Manufacturer Defendants ensure marketing consistency nationwide through

national and regional sales representative training; national training of local medical liaisons, the

company employees who respond to physician inquiries; centralized speaker training; single sets

of visual aids, speaker slide decks and sales training materials; and nationally coordinated

advertising. The Manufacturer Defendants’ sales representatives and physician speakers were

required to stick to prescribed talking points, sales messages, and slide decks, and supervisors rode

along with them periodically to both check on their performance and compliance.




                                                 26
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 32 of 314 Pageid#: 32




                 a)    Direct Marketing.

       87.     The Manufacturer Defendants’ direct marketing of opioids generally proceeded on

two tracks. First, each Manufacturer Defendant conducted and continues to conduct advertising

campaigns touting the purported benefits of their branded drugs. For example, upon information

and belief, the Manufacturer Defendants spent more than $14 million on medical journal

advertising of opioids in 2011, nearly triple what they spent in 2001.

       88.     Many of the Manufacturer Defendants’ branded ads deceptively portrayed the

benefits of opioids for chronic pain. For example, Endo distributed and made available on its

website opana.com a pamphlet promoting Opana ER with photographs depicting patients with

physically demanding jobs like construction worker, chef, and teacher, misleadingly implying that

the drug would provide long-term pain-relief and functional improvement. Upon information and

belief, Purdue also ran a series of ads, called “Pain vignettes,” for OxyContin in 2012 in medical

journals. These ads featured chronic pain patients and recommended OxyContin for each. One ad

described a “54-year-old writer with osteoarthritis of the hands” and implied that OxyContin would

help the writer work more effectively.

       89.     Second, each Manufacturer Defendant promoted the use of opioids for chronic pain

through “detailers” – sales representatives who visited individual doctors and medical staff in their

offices – and small-group speaker programs. The Manufacturer Defendants have not corrected this

misinformation. Instead, each Defendant devoted massive resources to direct sales contacts with

doctors. Upon information and belief, in 2014 alone, the Manufacturer Defendants spent in excess

of $168 million on detailing branded opioids to doctors, more than twice what they spent on

detailing in 2000.




                                                 27
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 33 of 314 Pageid#: 33




        90.     The Manufacturer Defendants’ detailing to doctors is effective. Numerous studies

indicate that marketing impacts prescribing habits, with face-to-face detailing having the greatest

influence. Even without such studies, the Manufacturer Defendants purchase, manipulate and

analyze some of the most sophisticated data available in any industry, data available from IMS

Health Holdings, Inc., to track, precisely, the rates of initial prescribing and renewal by individual

doctors, which in turn allows them to target, tailor, and monitor the impact of their core messages.

Thus, the Manufacturer Defendants know their detailing to doctors is effective.

        91.     The Manufacturer Defendants’ detailers have been reprimanded for their deceptive

promotions. In March 2010, for example, the FDA found that Actavis had been distributing

promotional materials that “minimize[] the risks associated with Kadian and misleadingly

suggest[] that Kadian is safer than has been demonstrated.” Those materials in particular “fail to

reveal warnings regarding potentially fatal abuse of opioids, use by individuals other than the

patient for whom the drug was prescribed.”44

                        b) Indirect Marketing.

        92.     The Manufacturer Defendants indirectly marketed their opioids using unbranded

advertising, paid speakers and “key opinion leaders” (“KOLs”), and industry-funded organizations

posing as neutral and credible professional societies and patient advocacy groups (referred to

hereinafter as “Front Groups”).

        93.     The Manufacturer Defendants deceptively marketed opioids in the State and

Plaintiff’s Community through unbranded advertising – e.g., advertising that promotes opioid use




44
  Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Commc’ns, U.S. Food & Drug Admin., to
Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010),
http://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf.




                                                    28
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 34 of 314 Pageid#: 34




generally but does not name a specific opioid. This advertising was ostensibly created and

disseminated by independent third parties. But by funding, directing, reviewing, editing, and

distributing this unbranded advertising, the Manufacturer Defendants controlled the deceptive

messages disseminated by these third parties and acted in concert with them to falsely and

misleadingly promote opioids for the treatment of chronic pain. Much as Defendants controlled

the distribution of their “core messages” via their own detailers and speaker programs, the

Manufacturer Defendants similarly controlled the distribution of these messages in scientific

publications, treatment guidelines, Continuing Medical Education (“CME”) programs, and

medical conferences and seminars. To this end, the Manufacturer Defendants used third-party

public relations firms to help control those messages when they originated from third-parties.

       94.     The Manufacturer Defendants marketed through third-party, unbranded advertising

to avoid regulatory scrutiny because that advertising is not submitted to and typically is not

reviewed by the FDA. The Manufacturer Defendants also used third-party, unbranded advertising

to give the false appearance that the deceptive messages came from an independent and objective

source. Like the tobacco companies, the Manufacturer Defendants used third parties that they

funded, directed, and controlled to carry out and conceal their scheme to deceive doctors and

patients about the risks and benefits of long term opioid use for chronic pain.

       95.     Defendants also identified doctors to serve, for payment, on their speakers’ bureaus

and to attend programs with speakers and meals paid for by Defendants. These speaker programs

provided: (1) an incentive for doctors to prescribe a particular opioid (so they might be selected to

promote the drug); (2) recognition and compensation for the doctors selected as speakers; and (3)

an opportunity to promote the drug through the speaker to his or her peers. These speakers give

the false impression that they are providing unbiased and medically accurate presentations when




                                                 29
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 35 of 314 Pageid#: 35




they are, in fact, presenting a script prepared by Defendants. On information and belief, these

presentations conveyed misleading information, omitted material information, and failed to correct

Defendants’ prior misrepresentations about the risks and benefits of opioids.

       96.     Borrowing a page from Big Tobacco’s playbook, the Manufacturer Defendants

worked through third parties they controlled by: (a) funding, assisting, encouraging, and directing

doctors who served as KOLs, and (b) funding, assisting, directing, and encouraging seemingly

neutral and credible Front Groups. The Manufacturer Defendants then worked together with those

KOLs and Front Groups to taint the sources that doctors and patients relied on for ostensibly

“neutral” guidance, such as treatment guidelines, CME programs, medical conferences and

seminars, and scientific articles. Thus, working individually and collectively, and through these

Front Groups and KOLs, the Manufacturer Defendants persuaded doctors and patients that what

they have long known – that opioids are addictive drugs, unsafe in most circumstances for long-

term use – was untrue, and that the compassionate treatment of pain required opioids.

       97.     In 2007, multiple States sued Purdue for engaging in unfair and deceptive practices

in its marketing, promotion, and sale of OxyContin. Certain states settled their claims in a series

of Consent Judgments that prohibited Purdue from making misrepresentations in the promotion

and marketing of OxyContin in the future. By using indirect marketing strategies, however,

Purdue intentionally circumvented these restrictions. Such actions include contributing to the

creation of misleading publications and prescribing guidelines which lack reliable scientific basis,

and promoting prescribing practices which have worsened the opioid crisis.

       98.     Pro-opioid doctors are one of the most important avenues that the Manufacturer

Defendants use to spread their false and deceptive statements about the risks and benefits of long-

term opioid use. The Manufacturer Defendants know that doctors rely heavily and less critically




                                                30
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 36 of 314 Pageid#: 36




on their peers for guidance, and KOLs provide the false appearance of unbiased and reliable

support for chronic opioid therapy. For example, the State of New York found in its settlement

with Purdue that the Purdue website “In the Face of Pain” failed to disclose that doctors who

provided testimonials on the site were paid by Purdue and concluded that Purdue’s failure to

disclose these financial connections potentially misled consumers regarding the objectivity of the

testimonials.

       99.      Defendants utilized many KOLs, including many of the same ones.

       100.     Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL whom the

Manufacturer Defendants identified and promoted to further their marketing campaign. Dr.

Portenoy received research support, consulting fees, and honoraria from Cephalon, Endo, Janssen,

and Purdue (among others), and was a paid consultant to Cephalon and Purdue. Dr. Portenoy was

instrumental in opening the door for the regular use of opioids to treat chronic pain. He served on

the American Pain Society (“APS”) / American Academy of Pain Medicine (“AAPM”) Guidelines

Committees, which endorsed the use of opioids to treat chronic pain, first in 1996 and again in

2009. He was also a member of the board of the American Pain Foundation (“APF”), an advocacy

organization almost entirely funded by the Manufacturer Defendants.

       101.     Dr. Portenoy also made frequent media appearances promoting opioids and

spreading misrepresentations, such as his claim that “the likelihood that the treatment of pain using

an opioid drug which is prescribed by a doctor will lead to addiction is extremely low.” He

appeared on Good Morning America in 2010 to discuss the use of opioids long-term to treat

chronic pain. On this widely-watched program, broadcast across the country, Dr. Portenoy

claimed: “Addiction, when treating pain, is distinctly uncommon. If a person does not have a




                                                 31
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 37 of 314 Pageid#: 37




history, a personal history, of substance abuse, and does not have a history in the family of

substance abuse, and does not have a very major psychiatric disorder, most doctors can feel very

assured that that person is not going to become addicted.”45

           102.    Dr. Portenoy later admitted that he “gave innumerable lectures in the late 1980s

and ‘90s about addiction that weren’t true.” These lectures falsely claimed that fewer than 1% of

patients would become addicted to opioids. According to Dr. Portenoy, because the primary goal

was to “destigmatize” opioids, he and other doctors promoting them overstated their benefits and

glossed over their risks. Dr. Portenoy also conceded that “[d]ata about the effectiveness of opioids

does not exist.”46 Portenoy candidly stated: “Did I teach about pain management, specifically about

opioid therapy, in a way that reflects misinformation? Well, . . . I guess I did.”47

           103.    Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr.

Webster was President of the AAPM in 2013. He is a Senior Editor of Pain Medicine, the same

journal that published Endo special advertising supplements touting Opana ER. Dr. Webster was

the author of numerous CMEs sponsored by Cephalon, Endo, and Purdue. At the same time, Dr.

Webster was receiving significant funding from the Manufacturer Defendants (including nearly

$2 million from Cephalon).

           104.    During a portion of his time as a KOL, Dr. Webster was under investigation for

overprescribing by the U.S. Department of Justice’s Drug Enforcement Agency, which raided his




45
     Good Morning America (ABC television broadcast Aug. 30, 2010).
46
  Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall St. J., Dec. 17, 2012,
https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.
47
     Id.




                                                       32
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 38 of 314 Pageid#: 38




clinic in 2010. Although the investigation was closed without charges in 2014, more than 20 of

Dr. Webster’s former patients at the Lifetree Clinic have died of opioid overdoses.

        105.    Ironically, Dr. Webster created and promoted the Opioid Risk Tool, a five question,

one-minute screening tool relying on patient self-reports that purportedly allows doctors to manage

the risk that their patients will become addicted to or abuse opioids. The claimed ability to pre-sort

patients likely to become addicted is an important tool in giving doctors confidence to prescribe

opioids long-term, and for this reason, references to screening appear in various industry-supported

guidelines. Versions of Dr. Webster’s Opioid Risk Tool appear on, or are linked to, websites run

by Endo, Janssen, and Purdue. Unaware of the flawed science and industry bias underlying this

tool, certain states and public entities have incorporated the Opioid Risk Tool into their own

guidelines, indicating, also, their reliance on the Manufacturer Defendants and those under their

influence and control.

        106.    In 2011, Dr. Webster presented, via webinar, a program sponsored by Purdue

entitled “Managing Patient’s Opioid Use: Balancing the Need and the Risk.” Dr. Webster

recommended use of risk screening tools, urine testing, and patient agreements as a way to prevent

“overuse of prescriptions” and “overdose deaths.” This webinar was available to and was intended

to reach doctors in the State and doctors treating members of Plaintiff’s Community.48

        107.    Dr. Webster also was a leading proponent of the concept of “pseudoaddiction,” the

notion that addictive behaviors should be seen not as warnings, but as indications of undertreated

pain. In Dr. Webster’s description, the only way to differentiate the two was to increase a patient’s




48
  See Emerging Solutions in Pain, Managing Patient’s Opioid Use: Balancing the Need and the Risk,
http://www.emergingsolutionsinpain.com/ce-education/opioid-
management?option=com_continued&view=frontmatter&Itemid=303&course=209 (last visited Aug. 22, 2017).




                                                  33
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 39 of 314 Pageid#: 39




dose of opioids. As he and co-author Beth Dove wrote in their 2007 book Avoiding Opioid Abuse

While Managing Pain—a book that is still available online—when faced with signs of aberrant

behavior, increasing the dose “in most cases . . . should be the clinician’s first response.”49 Upon

information and belief, Endo distributed this book to doctors. Years later, Dr. Webster reversed

himself, acknowledging that “[pseudoaddiction] obviously became too much of an excuse to give

patients more medication.”50

           108.    The Manufacturer Defendants also entered into arrangements with seemingly

unbiased and independent patient and professional organizations to promote opioids for the

treatment of chronic pain. Under the direction and control of the Manufacturer Defendants, these

“Front Groups” generated treatment guidelines, unbranded materials, and programs that favored

chronic opioid therapy. They also assisted the Manufacturer Defendants by responding to negative

articles, by advocating against regulatory changes that would limit opioid prescribing in

accordance with the scientific evidence, and by conducting outreach to vulnerable patient

populations targeted by the Manufacturer Defendants.

           109.    These Front Groups depended on the Manufacturer Defendants for funding and, in

some cases, for survival. The Manufacturer Defendants also exercised control over programs and

materials created by these groups by collaborating on, editing, and approving their content, and by

funding their dissemination. In doing so, the Manufacturer Defendants made sure that the Front

Groups would generate only the messages that the Manufacturer Defendants wanted to distribute.




49
     Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).
50
  John Fauber, Painkiller Boom Fueled by Networking, Milwaukee Wisc. J. Sentinel, Feb. 18, 2012,
http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-dp3p2rn-
139609053.html.




                                                      34
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 40 of 314 Pageid#: 40




Despite this, the Front Groups held themselves out as independent and serving the needs of their

members – whether patients suffering from pain or doctors treating those patients.

        110.    Defendants Cephalon, Endo, Janssen, and Purdue, in particular, utilized many Front

Groups, including many of the same ones. Several of the most prominent are described below, but

there are many others, including the American Pain Society (“APS”), American Geriatrics Society

(“AGS”), the Federation of State Medical Boards (“FSMB”), American Chronic Pain Association

(“ACPA”), the Center for Practical Bioethics (“CPB”), the U.S. Pain Foundation (“USPF”) and

Pain & Policy Studies Group (“PPSG”).51

        111.    The most prominent of the Manufacturer Defendants’ Front Groups was the

American Pain Foundation (“APF”), which, upon information and belief, received more than $10

million in funding from opioid manufacturers from 2007 until it closed its doors in May 2012,

primarily from Endo and Purdue. APF issued education guides for patients, reporters, and

policymakers that touted the benefits of opioids for chronic pain and trivialized their risks,

particularly the risk of addiction. APF also launched a campaign to promote opioids for returning

veterans, which has contributed to high rates of addiction and other adverse outcomes – including

death – among returning soldiers. APF also engaged in a significant multimedia campaign –

through radio, television and the internet – to educate patients about their “right” to pain

treatment, namely opioids. All of the programs and materials were available nationally and were

intended to reach citizens of the State and Plaintiff’s Community.

        112.    In 2009 and 2010, more than 80% of APF’s operating budget came from

pharmaceutical industry sources. Including industry grants for specific projects, APF received



51
  See generally, e.g., Letter from Sen. Ron Wyden, U.S. Senate Comm. on Fin., to Sec. Thomas E. Price, U.S.
Dep’t of Health and Human Servs., (May 5, 2015),
https://www.finance.senate.gov/imo/media/doc/050517%20Senator%20Wyden%20to%20Secretary%20Price%20re
%20FDA%20Opioid%20Prescriber%20Working%20Group.pdf.




                                                    35
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 41 of 314 Pageid#: 41




about $2.3 million from industry sources out of total income of about $2.85 million in 2009; its

budget for 2010 projected receipts of roughly $2.9 million from drug companies, out of total

income of about $3.5 million. By 2011, upon information and belief, APF was entirely dependent

on incoming grants from defendants Purdue, Cephalon, Endo, and others to avoid using its line

of credit.

        113.    APF held itself out as an independent patient advocacy organization. It often

engaged in grassroots lobbying against various legislative initiatives that might limit opioid

prescribing, and thus the profitability of its sponsors. Upon information and belief, it was often

called upon to provide “patient representatives” for the Manufacturer Defendants’ promotional

activities, including for Purdue’s Partners Against Pain and Janssen’s Let’s Talk Pain. APF

functioned largely as an advocate for the interests of the Manufacturer Defendants, not patients.

Indeed, upon information and belief, as early as 2001, Purdue told APF that the basis of a grant

was Purdue’s desire to “strategically align its investments in nonprofit organizations that share

[its] business interests.”

        114.    Plaintiff is informed and believes that on several occasions, representatives of the

Manufacturer Defendants, often at informal meetings at conferences, suggested activities and

publications for APF to pursue. APF then submitted grant proposals seeking to fund these activities

and publications, knowing that drug companies would support projects conceived as a result of

these communications.

        115.    The U.S. Senate Finance Committee began looking into APF in May 2012 to

determine the links, financial and otherwise, between the organization and the manufacturers of

opioid painkillers. The investigation caused considerable damage to APF’s credibility as an

objective and neutral third party, and the Manufacturer Defendants stopped funding it. Within days




                                                 36
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 42 of 314 Pageid#: 42




of being targeted by Senate investigation, APF’s board voted to dissolve the organization “due to

irreparable economic circumstances.” APF “cease[d] to exist, effective immediately.”52

        116.     Another front group for the Manufacturer Defendants was the American Academy

of Pain Medicine (“AAPM”). With the assistance, prompting, involvement, and funding of the

Manufacturer Defendants, the AAPM issued purported treatment guidelines and sponsored and

hosted medical education programs essential to the Manufacturer Defendants’ deceptive marketing

of chronic opioid therapy.

        117.     AAPM received substantial funding from opioid manufacturers. For example,

AAPM maintained a corporate relations council, whose members paid $25,000 per year (on top of

other funding) to participate. The benefits included allowing members to present educational

programs at off-site dinner symposia in connection with AAPM’s marquee event – its annual

meeting held in Palm Springs, California, or other resort locations. AAPM describes the annual

event as an “exclusive venue” for offering education programs to doctors. Membership in the

corporate relations council also allows drug company executives and marketing staff to meet with

AAPM executive committee members in small settings. Defendants Endo, Purdue, and Cephalon

were members of the council and presented deceptive programs to doctors who attended this

annual event.

        118.     Upon information and belief, AAPM is viewed internally by Endo as “industry

friendly,” with Endo advisors and speakers among its active members. Endo attended AAPM

conferences, funded its CMEs, and distributed its publications. The conferences sponsored by




52
   Charles Ornstein & Tracy Weber, Senate Panel Investigates Drug Companies’ Ties to Pain Groups, Wash. Post,
May 8, 2012, https://www.washingtonpost.com/national/health-science/senate-panel-investigates-drug-companies-
ties-to-pain-groups/2012/05/08/gIQA2X4qBU_story.html.




                                                      37
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 43 of 314 Pageid#: 43




AAPM heavily emphasized sessions on opioids – 37 out of roughly 40 at one conference alone.

AAPM’s presidents have included top industry-supported KOLs Perry Fine and Lynn Webster.

Dr. Webster was even elected president of AAPM while under a DEA investigation.

        119.     The Manufacturer Defendants were able to influence AAPM through both their

significant and regular funding and the leadership of pro-opioid KOLs within the organization.

        120.     In 1996, AAPM and APS jointly issued a consensus statement, “The Use of Opioids

for the Treatment of Chronic Pain,” which endorsed opioids to treat chronic pain and claimed that

the risk of a patients’ addiction to opioids was low. Dr. Haddox, who co-authored the AAPM/APS

statement, was a paid speaker for Purdue at the time. Dr. Portenoy was the sole consultant. The

consensus statement remained on AAPM’s website until 2011, and, upon information and belief,

was taken down from AAPM’s website only after a doctor complained.53

        121.     AAPM and APS issued their own guidelines in 2009 (“AAPM/APS Guidelines”)

and continued to recommend the use of opioids to treat chronic pain.54 Treatment guidelines have

been relied upon by doctors, especially the general practitioners and family doctors targeted by the

Manufacturer Defendants. Treatment guidelines not only directly inform doctors’ prescribing

practices, but are cited throughout the scientific literature and referenced by third-party payors in

determining whether they should cover treatments for specific indications. Pharmaceutical sales

representatives employed by Endo, Actavis, and Purdue discussed treatment guidelines with

doctors during individual sales visits.




53
  The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement From the American Academy of
Pain Medicine and the American Pain Society, 13 Clinical J. Pain 6 (1997).
54
   Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain, 10 J.
Pain 113 (2009).




                                                        38
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 44 of 314 Pageid#: 44




           122.   At least fourteen of the 21 panel members who drafted the AAPM/APS Guidelines,

including KOLs Dr. Portenoy and Dr. Perry Fine of the University of Utah, received support from

Janssen, Cephalon, Endo, and Purdue. The 2009 Guidelines promote opioids as “safe and

effective” for treating chronic pain, despite acknowledging limited evidence, and conclude that the

risk of addiction is manageable for patients regardless of past abuse histories.55 One panel member,

Dr. Joel Saper, Clinical Professor of Neurology at Michigan State University and founder of the

Michigan Headache & Neurological Institute, resigned from the panel because of his concerns that

the 2009 Guidelines were influenced by contributions that drug companies, including

Manufacturer Defendants, made to the sponsoring organizations and committee members. These

AAPM/APS Guidelines have been a particularly effective channel of deception and have

influenced not only treating physicians, but also the body of scientific evidence on opioids; the

Guidelines have been cited hundreds of times in academic literature, were disseminated in the

State and/or Plaintiff’s Community during the relevant time period, are still available online, and

were reprinted in the Journal of Pain. The Manufacturer Defendants widely referenced and

promoted the 2009 Guidelines without disclosing the lack of evidence to support them or the

Manufacturer Defendants’ financial support to members of the panel.

           123.   The Manufacturer Defendants worked together, through Front Groups, to spread

their deceptive messages about the risks and benefits of long-term opioid therapy. For example,

Defendants combined their efforts through the Pain Care Forum (“PCF”), which began in 2004 as

an APF project. PCF is comprised of representatives from opioid manufacturers (including

Cephalon, Endo, Janssen, and Purdue) and various Front Groups, almost all of which received



55
     Id.




                                                39
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 45 of 314 Pageid#: 45




substantial funding from the Manufacturer Defendants. Among other projects, PCF worked to

ensure that an FDA-mandated education project on opioids was not unacceptably negative and did

not require mandatory participation by prescribers, which the Manufacturer Defendants

determined would reduce prescribing.

           2. The Manufacturer Defendants’ Marketing Scheme Misrepresented the Risks
              and Benefits of Opioids.

                   i. The Manufacturer Defendants embarked upon a campaign of false,
                      deceptive, and unfair assurances grossly understating and misstating
                      the dangerous addiction risks of the opioid drugs.

       124.    To falsely assure physicians and patients that opioids are safe, the Manufacturer

Defendants deceptively trivialized and failed to disclose the risks of long-term opioid use,

particularly the risk of addiction, through a series of misrepresentations that have been

conclusively debunked by the FDA and CDC. These misrepresentations – which are described

below – reinforced each other and created the dangerously misleading impression that: (1) starting

patients on opioids was low risk because most patients would not become addicted, and because

those at greatest risk for addiction could be identified and managed; (2) patients who displayed

signs of addiction probably were not addicted and, in any event, could easily be weaned from the

drugs; (3) the use of higher opioid doses, which many patients need to sustain pain relief as they

develop tolerance to the drugs, do not pose special risks; and (4) abuse-deterrent opioids both

prevent abuse and overdose and are inherently less addictive. The Manufacturer Defendants have

not only failed to correct these misrepresentations, they continue to make them today.

       125.    Opioid manufacturers, including Defendants Endo Pharmaceuticals, Inc. and

Purdue Pharma L.P., have entered into settlement agreements with public entities that prohibit

them from making many of the misrepresentations identified in this Complaint. Yet even

afterward, each Manufacturer Defendant continued to misrepresent the risks and benefits of long-




                                               40
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 46 of 314 Pageid#: 46




term opioid use in the State and Plaintiff’s Community and each continues to fail to correct its past

misrepresentations.

        126.    Some illustrative examples of the Manufacturer Defendants’ false, deceptive, and

unfair claims about the purportedly low risk of addiction include:


            a. Actavis’s predecessor caused a patient education brochure, Managing Chronic
               Back Pain, to be distributed beginning in 2003 that admitted that opioid addiction
               is possible, but falsely claimed that it is “less likely if you have never had an
               addiction problem.” Based on Actavis’s acquisition of its predecessor’s marketing
               materials along with the rights to Kadian, it appears that Actavis continued to use
               this brochure in 2009 and beyond.

            b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
               Living with Pain (2007), which suggested that addiction is rare and limited to
               extreme cases of unauthorized dose escalations, obtaining duplicative opioid
               prescriptions from multiple sources, or theft. This publication is still available
               online.56

            c. Endo sponsored a website, “PainKnowledge,” which, upon information and belief,
               claimed in 2009 that “[p]eople who take opioids as prescribed usually do not
               become addicted.” Upon information and belief, another Endo website,
               PainAction.com, stated “Did you know? Most chronic pain patients do not become
               addicted to the opioid medications that are prescribed for them.” Endo also
               distributed an “Informed Consent” document on PainAction.com that misleadingly
               suggested that only people who “have problems with substance abuse and
               addiction” are likely to become addicted to opioid medications.

            d. Upon information and belief, Endo distributed a pamphlet with the Endo logo
               entitled Living with Someone with Chronic Pain, which stated that: “Most health
               care providers who treat people with pain agree that most people do not develop an
               addiction problem.”

            e. Janssen reviewed, edited, approved, and distributed a patient education guide
               entitled Finding Relief: Pain Management for Older Adults (2009), which
               described as “myth” the claim that opioids are addictive, and asserted as fact that
               “[m]any studies show that opioids are rarely addictive when used properly for the
               management of chronic pain.”



56
 Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.




                                                     41
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 47 of 314 Pageid#: 47




               f. Janssen currently runs a website, Prescriberesponsibly.com (last updated July 2,
                  2015), which claims that concerns about opioid addiction are “overestimated.”

               g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
                  Management, which claims that less than 1% of children prescribed opioids will
                  become addicted and that pain is undertreated due to “[m]isconceptions about
                  opioid addiction.”57

               h. In 2010, Mallinckrodt sponsored an initiative “Collaborating and Acting
                  Responsibly to Ensure Safety (C.A.R.E.S.), through which it published and
                  promoted the book “Defeat Chronic Pain Now!” aimed at chronic pain patients.
                  The book, which is still available for sale in New Mexico and elsewhere, and is
                  promoted online at www.defeatchronicpainnow.com, advises laypeople who are
                  considering taking opioid drugs that “[o]nly rarely does opioid medication cause a
                  true addiction.”58 Further, the book advises that even the issue of tolerance is
                  “overblown,” because “[o]nly a minority of chronic pain patients who are taking
                  long-term opioids develop tolerance.” In response to a hypothetical question from
                  a chronic back pain patient who expresses a fear of becoming addicted, the book
                  advises that “[i]t is very uncommon for a person with chronic pain to become
                  ‘addicted’ to narcotics IF (1) he doesn’t have a prior history of any addiction and
                  (2) he only takes the medication to treat pain.”

               i. Consistent with the Manufacturer Defendants’ published marketing materials,
                  upon information and belief, detailers for Purdue, Endo, Janssen, and Cephalon in
                  the State and Plaintiff’s Community minimized or omitted any discussion with
                  doctors of the risk of addiction; misrepresented the potential for abuse of opioids
                  with purportedly abuse-deterrent formulations; and routinely did not correct the
                  misrepresentations noted above.

               j. Seeking to overturn the criminal conviction of a doctor for illegally prescribing
                  opioids, the Manufacturer Defendants’ Front Groups APF and NFP argued in an
                  amicus brief to the United States Fourth Circuit Court of Appeals that “patients
                  rarely become addicted to prescribed opioids,” citing research by their KOL, Dr.
                  Portenoy.59




57
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf.
58
     Charles E. Argoff & Bradley S. Galer, Defeat Chronic Pain Now! (2010).
59
  Brief of the American Pain Foundation, the National Pain Foundation, and the National Foundation for the
Treatment of Pain in Support of Appellant and Reversal of the Conviction, United States v. Hurowitz, No. 05-4474
(4th Cir. Sept. 8, 2005) [hereinafter Brief of APF] at 9.




                                                         42
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 48 of 314 Pageid#: 48




            127.     These claims are contrary to longstanding scientific evidence. A 2016 opioid-

prescription guideline issued by the CDC (the “2016 CDC Guideline”) explains that there is

“[e]xtensive evidence” of the “possible harms of opioids (including opioid use disorder [an

alternative term for opioid addiction], [and] overdose . . .).”60 The 2016 CDC Guideline further

explains that “[o]pioid pain medication use presents serious risks, including overdose and opioid

use disorder” and that “continuing opioid therapy for 3 months substantially increases risk for

opioid use disorder.”61

            128.     The FDA further exposed the falsity of Defendants’ claims about the low risk of

addiction when it announced changes to the labels for extended-release and long-acting (“ER/LA”)

opioids in 2013 and for immediate release (“IR”) opioids in 2016. In its announcements, the FDA

found that “most opioid drugs have ‘high potential for abuse’” and that opioids “are associated

with a substantial risk of misuse, abuse, NOWS [neonatal opioid withdrawal syndrome], addiction,

overdose, and death.” According to the FDA, because of the “known serious risks” associated with

long-term opioid use, including “risks of addiction, abuse, and misuse, even at recommended

doses, and because of the greater risks of overdose and death,” opioids should be used only “in

patients for whom alternative treatment options” like non-opioid drugs have failed.62



60
  Deborah Dowell et al., CDC Guideline for Prescribing Opioids for Chronic Pain—United States, 2016, Morbidity
& Mortality Wkly. Rep., Mar. 18, 2016, at 15 [hereinafter 2016 CDC Guideline],
https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.
61
     Id. at 2, 25.
62
  Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin.,
U.S. Dep’t of Health and Human Servs., to Andrew Koldny, M.D., President, Physicians for Responsible Opioid
Prescribing (Sept. 10, 2013), https://www.regulations.gov/contentStreamer?documentId=FDA-2012-P-0818-
0793&attachmentNumber=1&contentType=pdf.; Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation
and Research, U.S. Food and Drug Admin., U.S. Dep’t of Health and Human Servs., to Peter R. Mathers & Jennifer
A. Davidson, Kleinfeld, Kaplan and Becker, LLP (Mar. 22, 2016),
https://www.regulations.gov/contentStreamer?documentId=FDA-2014-P-0205-
0006&attachmentNumber=1&contentType=pdf.




                                                     43
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 49 of 314 Pageid#: 49




        129.     The State of New York, in a 2016 settlement agreement with Endo, found that

opioid “use disorders appear to be highly prevalent in chronic pain patients treated with opioids,

with up to 40% of chronic pain patients treated in specialty and primary care outpatient centers

meeting the clinical criteria for an opioid use disorder.”63 Endo had claimed on its www.opana.com

website that “[m]ost healthcare providers who treat patients with pain agree that patients treated

with prolonged opioid medicines usually do not become addicted,” but the State of New York

found that Endo had no evidence for that statement. Consistent with this, Endo agreed not to “make

statements that . . . opioids generally are non-addictive” or “that most patients who take opioids

do not become addicted” in New York. Endo remains free, however, to make those statements in

this State.

        130.     In addition to mischaracterizing the highly addictive nature of the drugs they were

pushing, the Manufacturer Defendants also fostered a fundamental misunderstanding of the signs

of addiction. Specifically, the Manufacturer Defendants misrepresented, to doctors and patients,

that warning signs and/or symptoms of addiction were, instead, signs of undertreated pain (i.e.

pseudoaddiction) – and instructed doctors to increase the opioid prescription dose for patients who

were already in danger.

        131.     To this end, one of Purdue’s employees, Dr. David Haddox, invented a

phenomenon called “pseudoaddiction.” KOL Dr. Portenoy popularized the term. Examples of the

false, misleading, deceptive, and unfair statements regarding pseudoaddiction include:


              a. Cephalon and Purdue sponsored Responsible Opioid Prescribing (2007), which
                 taught that behaviors such as “requesting drugs by name,” “demanding or
                 manipulative behavior,” seeing more than one doctor to obtain opioids, and

63
  Assurance of Discontinuance, In re Endo Health Solutions Inc. and Endo Pharm. Inc. (Assurance No. 15-228), at
16, https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.




                                                      44
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 50 of 314 Pageid#: 50




                    hoarding, are all signs of pseudoaddiction, rather than true addiction.64 The 2012
                    edition, which remains available for sale online, continues to teach that
                    pseudoaddiction is real.65

               b. Janssen sponsored, funded, and edited the Let’s Talk Pain website, which in 2009
                  stated: “pseudoaddiction . . . refers to patient behaviors that may occur when pain
                  is under-treated . . . . Pseudoaddiction is different from true addiction because such
                  behaviors can be resolved with effective pain management.”

               c. Endo sponsored a National Initiative on Pain Control (“NIPC”) CME program in
                  2009 entitled “Chronic Opioid Therapy: Understanding Risk While Maximizing
                  Analgesia,” which, upon information and belief, promoted pseudoaddiction by
                  teaching that a patient’s aberrant behavior was the result of untreated pain. Endo
                  appears to have substantially controlled NIPC by funding NIPC projects;
                  developing, specifying, and reviewing content; and distributing NIPC materials.

               d. Purdue published a pamphlet in 2011 entitled Providing Relief, Preventing Abuse,
                  which, upon information and belief, described pseudoaddiction as a concept that
                  “emerged in the literature” to describe the inaccurate interpretation of [drug-
                  seeking behaviors] in patients who have pain that has not been effectively treated.”

               e. Upon information and belief, Purdue sponsored a CME program titled “Path of the
                  Patient, Managing Chronic Pain in Younger Adults at Risk for Abuse”. In a role
                  play, a chronic pain patient with a history of drug abuse tells his doctor that he is
                  taking twice as many hydrocodone pills as directed. The narrator notes that because
                  of pseudoaddiction, the doctor should not assume the patient is addicted even if he
                  persistently asks for a specific drug, seems desperate, hoards medicine, or
                  “overindulges in unapproved escalating doses.” The doctor treats this patient by
                  prescribing a high-dose, long-acting opioid.

               f. In 2010, Mallinckrodt sponsored an initiative “Collaborating and Acting
                  Responsibly to Ensure Safety (C.A.R.E.S.), through which it published and
                  promoted the book “Defeat Chronic Pain Now!” aimed at chronic pain patients.
                  The book, which is still available for sale, and is promoted online at
                  www.defeatchronicpainnow.com, teaches laypeople that “pseudoaddiction” is
                  “caused by their doctor not appropriately prescribing the opioid medication.” It
                  teaches that “[p]seudoaddiction happens when a patient’s opioid medication is not
                  being prescribed in doses strong enough to provide good pain relief, or if the drug
                  is not being prescribed often enough throughout the day. . . When a pseudoaddicted
                  patient is prescribed the proper amount of opioid medication, he or she doesn’t take
                  any extra pills because his or her pain is relieved.”



64
     Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2007) at 62.
65
     See Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2d ed. 2012).




                                                         45
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 51 of 314 Pageid#: 51




        132.   In the 2016 CDC Guideline, the CDC rejects the validity of the pseudoaddiction

fallacy invented by a Purdue employee as a reason to push more opioid drugs onto already addicted

patients.

        133.   In addition to misstating the addiction risk and inventing the pseudoaddiction

falsehood, a third category of false, deceptive, and unfair practice is the Manufacturer Defendants’

false instructions that addiction risk screening tools, patient contracts, urine drug screens, and

similar strategies allow them to reliably identify and safely prescribe opioids to patients

predisposed to addiction. These misrepresentations were especially insidious because the

Manufacturer Defendants aimed them at general practitioners and family doctors who lack the

time and expertise to closely manage higher-risk patients on opioids. The Manufacturer

Defendants’ misrepresentations made these doctors feel more comfortable prescribing opioids to

their patients, and patients more comfortable starting on opioid therapy for chronic pain.

Illustrative examples include:

            a. Endo paid for a 2007 supplement in the Journal of Family Practice written by a
               doctor who became a member of Endo’s speakers bureau in 2010. The supplement,
               entitled Pain Management Dilemmas in Primary Care: Use of Opioids, emphasized
               the effectiveness of screening tools, claiming that patients at high risk of addiction
               could safely receive chronic opioid therapy using a “maximally structured
               approach” involving toxicology screens and pill counts.

            b. Purdue, upon information and belief, sponsored a 2011 webinar, Managing
               Patient’s Opioid Use: Balancing the Need and Risk, which claimed that screening
               tools, urine tests, and patient agreements prevent “overuse of prescriptions” and
               “overdose deaths.”

            c. As recently as 2015, upon information and belief, Purdue has represented in
               scientific conferences that “bad apple” patients – and not opioids – are the source
               of the addiction crisis and that once those “bad apples” are identified, doctors can
               safely prescribe opioids without causing addiction.




                                                 46
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 52 of 314 Pageid#: 52




            134.   The 2016 CDC Guideline confirms the falsity of these claims. The Guideline

explains that there are no studies assessing the effectiveness of risk mitigation strategies “for

improving outcomes related to overdose, addiction, abuse or misuse.”66

            135.   A fourth category of deceptive messaging regarding dangerous opioids is the

Manufacturer Defendants’ false assurances regarding the alleged ease of eliminating opioid

dependence. The Manufacturer Defendants falsely claimed that opioid dependence can easily be

addressed by tapering and that opioid withdrawal is not a problem, but they failed to disclose the

increased difficulty of stopping opioids after long-term use. In truth, the 2016 CDC Guideline

explains that the symptoms of opioid withdrawal include abdominal pain, vomiting, diarrhea,

sweating, tremor, tachycardia, drug cravings, anxiety, insomnia, spontaneous abortion and

premature labor in pregnant women.67

            136.   The Manufacturer Defendants nonetheless downplayed the severity of opioid

detoxification. For example, upon information and belief, a CME sponsored by Endo, entitled

Persistent Pain in the Older Adult, claimed that withdrawal symptoms can be avoided by tapering

a patient’s opioid dose by 10%-20% for 10 days. And Purdue sponsored APF’s A Policymaker’s

Guide to Understanding Pain & Its Management, which claimed that “[s]ymptoms of physical

dependence can often be ameliorated by gradually decreasing the dose of medication during

discontinuation” without mentioning any hardships that might occur.68 Similarly, in the 2010

Mallinckrodt/C.A.R.E.S. publication “Defeat Chronic Pain Now!” potential opioid users are




66
     Id. at 11.
67
     Id. at 26.
68
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf., at 32.




                                                     47
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 53 of 314 Pageid#: 53




advised that tolerance to opioids is “easily remedied,” and that “[a]ll patients can be safely taken

off opioid medication if the dose is slowly tapered down by their doctor.”

        137.    A fifth category of false, deceptive, and unfair statements the Manufacturer

Defendants made to sell more drugs is that opioid dosages could be increased indefinitely without

added risk. The ability to escalate dosages was critical to Defendants’ efforts to market opioids for

long-term use to treat chronic pain because, absent this misrepresentation, doctors would have

abandoned treatment when patients built up tolerance and lower dosages did not provide pain

relief. The Manufacturer Defendants’ deceptive claims include:




            a. Upon information and belief, Actavis’s predecessor created a patient brochure for
               Kadian in 2007 that stated, “Over time, your body may become tolerant of your
               current dose. You may require a dose adjustment to get the right amount of pain
               relief. This is not addiction.” Based on Actavis’s acquisition of its predecessor’s
               marketing materials along with the rights to Kadian, Actavis appears to have
               continued to use these materials in 2009 and beyond.

            b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
               Living with Pain (2007), which claims that some patients “need” a larger dose of
               an opioid, regardless of the dose currently prescribed. The guide stated that opioids
               have “no ceiling dose” and insinuated that they are therefore the most appropriate
               treatment for severe pain.69 This publication is still available online.

            c. Endo sponsored a website, “PainKnowledge,” which, upon information and belief,
               claimed in 2009 that opioid dosages may be increased until “you are on the right
               dose of medication for your pain.”

            d. Endo distributed a pamphlet edited by a KOL entitled Understanding Your Pain:
               Taking Oral Opioid Analgesics (2004 Endo Pharmaceuticals PM-0120). In Q&A
               format, it asked “If I take the opioid now, will it work later when I really need it?”




69
 Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf., at 12.




                                                     48
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 54 of 314 Pageid#: 54




                     The response is, “The dose can be increased. . . . You won’t ‘run out’ of pain
                     relief.”70

                e. Janssen sponsored a patient education guide entitled Finding Relief: Pain
                   Management for Older Adults (2009), which was distributed by its sales force. This
                   guide listed dosage limitations as “disadvantages” of other pain medicines but
                   omitted any discussion of risks of increased opioid dosages.

                f. Upon information and belief, Purdue’s In the Face of Pain website promoted the
                   notion that if a patient’s doctor does not prescribe what, in the patient’s view, is a
                   sufficient dosage of opioids, he or she should find another doctor who will.

                g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
                   Management, which taught that dosage escalations are “sometimes necessary,” and
                   that “the need for higher doses of medication is not necessarily indicative of
                   addiction,” but inaccurately downplayed the risks from high opioid dosages.71

                h. In 2007, Purdue sponsored a CME entitled “Overview of Management Options”
                   that was available for CME credit and available until at least 2012. The CME was
                   edited by a KOL and taught that Non-steroidal Anti-inflammatory Drugs
                   (“NSAIDs”) and other drugs, but not opioids, are unsafe at high dosages.

                i. Purdue presented a 2015 paper at the College on the Problems of Drug Dependence,
                   “the oldest and largest organization in the US dedicated to advancing a scientific
                   approach to substance use and addictive disorders,” challenging the correlation
                   between opioid dosage and overdose.72

                j. Seeking to overturn the criminal conviction of a doctor for illegally prescribing
                   opioids, the Manufacturer Defendants’ Front Groups APF and NFP argued in an
                   amicus brief to the United States Fourth Circuit Court of Appeals that “there is no
                   ‘ceiling dose’” for opioids.73

                k. In the 2010 Mallinckrodt/C.A.R.E.S. publication “Defeat Chronic Pain Now!”,
                   potential opioid users are warned about the risk of “[p]seudoaddiction [b]ecause of
                   a [l]ow [d]ose,” and advised that this condition may be corrected through the
                   prescription of a higher dose. Similarly, the book recommends that for chronic pain
                   patients, the opioid dose should be “gradually increased to find the best daily dose,



70
  Margo McCaffery & Chris Pasero, Endo Pharm., Understanding Your Pain: Taking Oral Opioid Analgesics
(Russell K Portenoy, M.D., ed., 2004).
71
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf., at 32.
72
     The College on Problems of Drug Dependence, About the College, http://cpdd.org (last visited Aug. 21, 2017).
73
     Brief of APF, at 9.




                                                          49
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 55 of 314 Pageid#: 55




                     as is done with all the other oral drugs.” The book discusses the risks of NSAIDs
                     and other drugs at higher doses, but not explain this risk for opioids.
            138.     Once again, the 2016 CDC Guideline reveals that the Manufacturer Defendants’

representations regarding opioids were lacking in scientific evidence. The 2016 CDC Guideline

clarifies that the “[b]enefits of high-dose opioids for chronic pain are not established” while the

“risks for serious harms related to opioid therapy increase at higher opioid dosage.”74 More
specifically, the CDC explains that “there is now an established body of scientific evidence

showing that overdose risk is increased at higher opioid dosages.”75 The CDC also states that

there is an increased risk “for opioid use disorder, respiratory depression, and death at higher

dosages.”76 That is why the CDC advises doctors to “avoid increasing dosage” to above 90

morphine milligram equivalents per day.77

            139.     Defendants’ deceptive marketing of the so-called abuse-deterrent properties of

some of their opioids has created false impressions that these opioids can cure addiction and abuse.

            140.     The Manufacturer Defendants made misleading claims about the ability of their so-

called abuse-deterrent opioid formulations to deter abuse. For example, Endo’s advertisements for

the 2012 reformulation of Opana ER claimed that it was designed to be crush resistant, in a way

that suggested it was more difficult to abuse. This claim was false. The FDA warned in a 2013

letter that Opana ER Extended-Release Tablets’ “extended-release features can be compromised,

causing the medication to ‘dose dump,’ when subject to . . . forms of manipulation such as cutting,




74
     2016 CDC Guideline at 22–23.
75
     Id. at 23–24.
76
     Id. at 21.
77
     Id. at 16.




                                                     50
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 56 of 314 Pageid#: 56




grinding, or chewing, followed by swallowing.”78 Also troubling, Opana ER can be prepared for

snorting using commonly available methods and “readily prepared for injection.”79 The letter

discussed “the troubling possibility that a higher (and rising) percentage of [Opana ER Extended-

Release Tablet] abuse is occurring via injection.”80 Endo’s own studies, which it failed to disclose,

showed that Opana ER could still be ground and chewed. In June 2017, the FDA requested that

Opana ER be removed from the market.




                                 ii.    The Manufacturer Defendants embarked upon a campaign
                                        of false, deceptive, and unfair assurances grossly
                                        overstating the benefits of the opioid drugs.

            141.      To convince doctors and patients that opioids should be used to treat chronic pain,

the Manufacturer Defendants also had to persuade them that there was a significant upside to long-

term opioid use. But as the CDC Guideline makes clear, “[n]o evidence shows a long-term benefit

of opioids in pain and function versus no opioids for chronic pain with outcomes examined at least

1 year later (with most placebo-controlled randomized trials ≤ 6 weeks in duration)” and that other

treatments were more or equally beneficial and less harmful than long-term opioid use.81 The FDA,

too, has recognized the lack of evidence to support long-term opioid use. Despite this, Defendants

falsely and misleadingly touted the benefits of long-term opioid use and falsely and misleadingly

suggested that these benefits were supported by scientific evidence.



78
  Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin.,
U.S. Dep’t of Health and Human Servs., to Robert Barto, Vice President, Reg. Affairs, Endo Pharm. Inc. (May 10,
2013), at 5.
79
     Id. at 6.
80
     Id. at 6 n.21.
81
     Id. at 15.




                                                       51
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 57 of 314 Pageid#: 57




        142.    Some illustrative examples of the Manufacturer Defendants’ false claims are:

            a. Upon information and belief, Actavis distributed an advertisement claiming that the
               use of Kadian to treat chronic pain would allow patients to return to work, relieve
               “stress on your body and your mental health,” and help patients enjoy their lives.

            b. Endo distributed advertisements that claimed that the use of Opana ER for chronic
               pain would allow patients to perform demanding tasks like construction work or
               work as a chef and portrayed seemingly healthy, unimpaired subjects.

            c. Janssen sponsored and edited a patient education guide entitled Finding Relief:
               Pain Management for Older Adults (2009) – which states as “a fact” that “opioids
               may make it easier for people to live normally.” The guide lists expected functional
               improvements from opioid use, including sleeping through the night, returning to
               work, recreation, sex, walking, and climbing stairs.

            d. Janssen promoted Ultracet for everyday chronic pain and distributed posters, for
               display in doctors’ offices, of presumed patients in active professions; the caption
               read, “Pain doesn’t fit into their schedules.”

            e. Upon information and belief, Purdue ran a series of advertisements for OxyContin
               in 2012 in medical journals entitled “Pain vignettes,” which were case studies
               featuring patients with pain conditions persisting over several months and
               recommending OxyContin for them. The ads implied that OxyContin improves
               patients’ function.

            f. Responsible Opioid Prescribing (2007), sponsored and distributed by Cephalon,
               Endo and Purdue, taught that relief of pain by opioids, by itself, improved patients’
               function.

            g. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
               Living with Pain (2007), which counseled patients that opioids “give [pain patients]
               a quality of life we deserve.”82 This publication is still available online.

            h. Endo’s NIPC website “PainKnowledge” claimed in 2009, upon information and
               belief, that with opioids, “your level of function should improve; you may find you
               are now able to participate in activities of daily living, such as work and hobbies,
               that you were not able to enjoy when your pain was worse.” Elsewhere, the website
               touted improved quality of life (as well as “improved function”) as benefits of
               opioid therapy. The grant request that Endo approved for this project specifically
               indicated NIPC’s intent to make misleading claims about function, and Endo
               closely tracked visits to the site.


82
 Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.




                                                     52
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 58 of 314 Pageid#: 58




            i. Endo was the sole sponsor, through NIPC, of a series of CMEs entitled “Persistent
               Pain in the Older Patient.”83 Upon information and belief, a CME disseminated via
               webcast claimed that chronic opioid therapy has been “shown to reduce pain and
               improve depressive symptoms and cognitive functioning.”

            j. Janssen sponsored and funded a multimedia patient education campaign called
               “Let’s Talk Pain.” One feature of the campaign was to complain that patients were
               under-treated. In 2009, upon information and belief, a Janssen-sponsored website,
               part of the “Let’s Talk Pain” campaign, featured an interview edited by Janssen
               claiming that opioids allowed a patient to “continue to function.”

            k. Purdue sponsored the development and distribution of APF’s A Policymaker’s
               Guide to Understanding Pain & Its Management, which claimed that “[m]ultiple
               clinical studies” have shown that opioids are effective in improving “[d]aily
               function,” “[p]sychological health,” and “[o]verall health-related quality of life for
               chronic pain.”84 The Policymaker’s Guide was originally published in 2011.

            l. Purdue’s, Cephalon’s, Endo’s, and Janssen’s sales representatives have conveyed
               and continue to convey the message that opioids will improve patient function.

        143.    As the FDA and other agencies have made clear for years, these claims have no

support in the scientific literature.

        144.    In 2010, the FDA warned Actavis, in response to its advertising of Kadian described

above, that “we are not aware of substantial evidence or substantial clinical experience

demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating pain, taken

together with any drug-related side effects patients may experience . . . results in any overall

positive impact on a patient’s work, physical and mental functioning, daily activities, or enjoyment

of life.”85 And in 2008, upon information and belief, the FDA sent a warning letter to an opioid




83
  E.g., NIPC, Persistent Pain and the Older Patient (2007),
https://www.painedu.org/Downloads/NIPC/Activities/B173_Providence_RI_%20Invite.pdf.
84
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf., at 29.
85
  Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Commc’ns, U.S. Food & Drug Admin., to
Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010),
http://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf.




                                                     53
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 59 of 314 Pageid#: 59




manufacturer, making it clear “that [the claim that] patients who are treated with the drug

experience an improvement in their overall function, social function, and ability to perform daily

activities . . . has not been demonstrated by substantial evidence or substantial clinical experience.”

           145.    The Manufacturer Defendants also falsely and misleadingly emphasized or

exaggerated the risks of competing medications like NSAIDs, so that doctors and patients would

look to opioids first for the treatment of chronic pain. Once again, these misrepresentations by the

Manufacturer Defendants contravene pronouncements by and guidance from the FDA and CDC

based on the scientific evidence. Indeed, the FDA changed the labels for extended-release and

long-acting (“ER/LA”) opioids in 2013 and immediate-release (“IR”) opioids in 2016 to state that

opioids should only be used as a last resort “in patients for which alternative treatment options”

like non-opioid drugs “are inadequate.” And the 2016 CDC Guideline states that NSAIDs, not

opioids, should be the first-line treatment for chronic pain, particularly arthritis and lower back

pain.86 Purdue misleadingly promoted OxyContin as being unique among opioids in providing 12

continuous hours of pain relief with one dose. In fact, OxyContin does not last for 12 hours – a

fact that Purdue has known at all times relevant to this action. Upon information and belief,

Purdue’s own research shows that OxyContin wears off in under six hours in one quarter of patients

and in under 10 hours in more than half. This is because OxyContin tablets release approximately

40% of their active medicine immediately, after which release tapers. This triggers a powerful

initial response, but provides little or no pain relief at the end of the dosing period, when less

medicine is released. This phenomenon is known as “end of dose” failure, and the FDA found in

2008 that a “substantial proportion” of chronic pain patients taking OxyContin experience it. This



86
     2016 CDC Guideline at 12.




                                                  54
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 60 of 314 Pageid#: 60




not only renders Purdue’s promise of 12 hours of relief false and deceptive, it also makes

OxyContin more dangerous because the declining pain relief patients experience toward the end

of each dosing period drives them to take more OxyContin before the next dosing period begins,

quickly increasing the amount of drug they are taking and spurring growing dependence.

        146.     Purdue’s competitors were aware of this problem. For example, upon information

and belief, Endo ran advertisements for Opana ER referring to “real” 12-hour dosing.

Nevertheless, Purdue falsely promoted OxyContin as if it were effective for a full 12 hours. Upon

information and belief, Purdue’s sales representatives continue to tell doctors that OxyContin lasts

a full 12 hours.

        147.     Front Groups supported by Purdue likewise echoed these representations. For

example, in an amicus brief submitted to the Supreme Court of Ohio by the American Pain

Foundation, the National Foundation for the Treatment of Pain and the Ohio Pain Initiative in

support of Purdue, those amici represented:

        OxyContin is particularly useful for sustained long-term pain because it comes in
        higher, compact pills with a slow release coating. OxyContin pills can work for 12
        hours. This makes it easier for patients to comply with dosing requirements without
        experiencing a roller-coaster of pain relief followed quickly by pain renewal that
        can occur with shorter acting medications. It also helps the patient sleep through
        the night, which is often impossible with short-acting medications. For many of
        those serviced by Pain Care Amici, OxyContin has been a miracle medication.87

        148.     Cephalon deceptively marketed its opioids Actiq and Fentora for chronic pain even

though the FDA has expressly limited their use to the treatment of cancer pain in opioid tolerant

individuals. Both Actiq and Fentora are extremely powerful fentanyl-based IR opioids. Neither is




87
   Reply Brief of Amicus Curiae of the American Pain Foundation, The National Foundation for the Treatment of
Pain and the Ohio Pain Initiative Supporting Appellants, Howland v. Purdue Pharma L.P., No. 2003-1538 (Ohio
Apr. 13, 2004), 2004 WL 1637768, at *4 (footnote omitted).




                                                      55
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 61 of 314 Pageid#: 61




approved for or has been shown to be safe or effective for chronic pain. Indeed, the FDA expressly

prohibited Cephalon from marketing Actiq for anything but cancer pain, and refused to approve

Fentora for the treatment of chronic pain because of the potential harm, including the high risk of

“serious and life-threatening adverse events” and abuse – which are greatest in non-cancer patients.

The FDA also issued a Public Health Advisory in 2007 emphasizing that Fentora should only be

used for cancer patients who are opioid-tolerant and should not be used for any other conditions,

such as migraines, post-operative pain, or pain due to injury.88 Specifically, the FDA advised that

Fentora “is only approved for breakthrough cancer pain in patients who are opioid-tolerant,

meaning those patients who take a regular, daily, around-the-clock narcotic pain medication.”89

           149.   Despite this, Cephalon conducted and continues to conduct a well-funded campaign

to promote Actiq and Fentora for chronic pain and other non-cancer conditions for which it was

not approved, appropriate, and for which it is not safe. As part of this campaign, Cephalon used

CMEs, speaker programs, KOLs, journal supplements, and detailing by its sales representatives to

give doctors the false impression that Actiq and Fentora are safe and effective for treating non-

cancer pain. For example:

              a. Cephalon paid to have a CME it sponsored, Opioid-Based Management of
                 Persistent and Breakthrough Pain, published in a supplement of Pain Medicine
                 News in 2009. The CME instructed doctors that “[c]linically, broad classification
                 of pain syndromes as either cancer- or non-cancer-related has limited utility” and
                 recommended Actiq and Fentora for patients with chronic pain.

              b. Upon information and belief, Cephalon’s sales representatives set up hundreds of
                 speaker programs for doctors, including many non-oncologists, which promoted
                 Actiq and Fentora for the treatment of non-cancer pain.


88
   See U.S. Food & Drug Admin., Public Health Advisory: Important Information for the Safe Use of Fentora
(fentanyl buccal tablets) (Sept. 26, 2007),
https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm051273.htm.
89
     Id.




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Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 62 of 314 Pageid#: 62




           c. In December 2011, Cephalon widely disseminated a journal supplement entitled
              “Special Report: An Integrated Risk Evaluation and Mitigation Strategy for
              Fentanyl Buccal Tablet (FENTORA) and Oral Transmucosal Fentanyl Citrate
              (ACTIQ)” to Anesthesiology News, Clinical Oncology News, and Pain Medicine
              News – three publications that are sent to thousands of anesthesiologists and other
              medical professionals. The Special Report openly promotes Fentora for “multiple
              causes of pain” – and not just cancer pain.

       150.    Cephalon’s deceptive marketing gave doctors and patients the false impression that

Actiq and Fentora were not only safe and effective for treating chronic pain, but were also

approved by the FDA for such uses.

       151.    Purdue also unlawfully and unfairly failed to report or address illicit and unlawful

prescribing of its drugs, despite knowing about it for years. Purdue’s sales representatives have

maintained a database since 2002 of doctors suspected of inappropriately prescribing its drugs.

Rather than report these doctors to state medical boards or law enforcement authorities (as Purdue

is legally obligated to do) or cease marketing to them, Purdue used the list to demonstrate the high

rate of diversion of OxyContin – the same OxyContin that Purdue had promoted as less addictive

– in order to persuade the FDA to bar the manufacture and sale of generic copies of the drug

because the drug was too likely to be abused. In an interview with the Los Angeles Times, Purdue’s

senior compliance officer acknowledged that in five years of investigating suspicious pharmacies,

Purdue failed to take action – even where Purdue employees personally witnessed the diversion of

its drugs. The same was true of prescribers; despite its knowledge of illegal prescribing, Purdue

did not report that a Los Angeles clinic prescribed more than 1.1 million OxyContin tablets and

that Purdue’s district manager described it internally as “an organized drug ring” until years after




                                                57
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 63 of 314 Pageid#: 63




law enforcement shut it down. In doing so, Purdue protected its own profits at the expense of

public health and safety.90

        152.     Like Purdue, Endo has been cited for its failure to set up an effective system for

identifying and reporting suspicious prescribing. In its settlement agreement with Endo, the State

of New York found that Endo failed to require sales representatives to report signs of abuse,

diversion, and inappropriate prescribing; paid bonuses to sales representatives for detailing

prescribers who were subsequently arrested or convicted for illegal prescribing; and failed to

prevent sales representatives from visiting prescribers whose suspicious conduct had caused them

to be placed on a no-call list.

            3. The Manufacturer Defendants Targeted Susceptible Prescribers and
               Vulnerable Patient Populations.

        153.     As a part of their deceptive marketing scheme, the Manufacturer Defendants

identified and targeted susceptible prescribers and vulnerable patient populations in the U.S.,

including this State and Plaintiff’s Community. For example, the Manufacturer Defendants

focused their deceptive marketing on primary care doctors, who were more likely to treat chronic

pain patients and prescribe them drugs, but were less likely to be educated about treating pain and

the risks and benefits of opioids and therefore more likely to accept the Manufacturer Defendants’

misrepresentations.

        154.     The Manufacturer Defendants also targeted vulnerable patient populations like the

elderly and veterans, who tend to suffer from chronic pain. The Manufacturer Defendants targeted

these vulnerable patients even though the risks of long-term opioid use were significantly greater




90
  Harriet Ryan et al., More Than 1 Million Oxycontin Pills Ended Up in the Hands of Criminals and Addicts. What
the Drugmaker Knew, L.A. Times, July 10, 2016, http://www.latimes.com/projects/la-me-oxycontin-part2/.




                                                       58
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 64 of 314 Pageid#: 64




for them. For example, the 2016 CDC Guideline observes that existing evidence confirms that

elderly patients taking opioids suffer from elevated fall and fracture risks, reduced renal function

and medication clearance, and a smaller window between safe and unsafe dosages.91 The 2016

CDC Guideline concludes that there must be “additional caution and increased monitoring” to

minimize the risks of opioid use in elderly patients. Id. at 27. The same is true for veterans, who

are more likely to use anti-anxiety drugs (benzodiazepines) for post-traumatic stress disorder,

which interact dangerously with opioids.

               4. Insys Employed Fraudulent, Illegal, and Misleading Marketing Schemes to
                  Promote Subsys.

           155.    Insys’s opioid, Subsys, was approved by the FDA in 2012 for “management of

breakthrough pain in adult cancer patients who are already receiving and who are tolerant to

around-the-clock opioid therapy for their underlying persistent cancer pain.” Under FDA rules,

Insys could only market Subsys for this use. Subsys consists of the highly addictive narcotic,

fentanyl, administered via a sublingual (under the tongue) spray, which provides rapid-onset pain

relief. It is in the class of drugs described as Transmucosal Immediate-Release Fentanyl (“TIRF”).

           156.    To reduce the risk of abuse, misuse, and diversion, the FDA instituted a Risk

Evaluation and Mitigation Strategy (“REMS”) for Subsys and other TIRF products, such as

Cephalon’s Actiq and Fentora. The purpose of REMS was to educate “prescribers, pharmacists,

and patients on the potential for misuse, abuse, addiction, and overdose” for this type of drug and

to “ensure safe use and access to these drugs for patients who need them.”92 Prescribers must

enroll in the TIRF REMS before writing a prescription for Subsys.



91
     2016 CDC Guideline at 13.
92
     Press Release, FDA, FDA Approves Shared System REMS for TIRF Products, Dec. 29, 2011.




                                                       59
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 65 of 314 Pageid#: 65




        157.    Since its launch, Subsys has been an extremely expensive medication, and its price

continues to rise each year. Depending on a patient’s dosage and frequency of use, a month’s

supply of Subsys could cost in the thousands of dollars.

        158.    Due to its high cost, in most instances prescribers must submit Subsys prescriptions

to insurance companies or health benefit payors for prior authorization to determine whether they

will pay for the drug prior to the patient attempting to fill the prescription. According to the U.S.

Senate Homeland Security and Governmental Affairs Committee Minority Staff Report (“Staff

Report”), the prior authorization process includes “confirmation that the patient had an active

cancer diagnosis, was being treated by an opioid (and, thus, was opioid tolerant), and was being

prescribed Subsys to treat breakthrough pain that the other opioid could not eliminate. If any one

of these factors was not present, the prior authorization would be denied . . . .” 93

        159.    These prior authorization requirements proved to be daunting. Subsys received

reimbursement approval in only approximately 30% of submitted claims. In order to increase

approvals, Insys created a prior authorization unit, called the Insys Reimbursement Center

(“IRC”), to obtain approval for Subsys reimbursements. This unit employed a number of

fraudulent and misleading tactics to secure reimbursements, including falsifying medical histories

of patients, falsely claiming that patients had cancer, and providing misleading information to

insurers and payors regarding patients’ diagnoses and medical conditions.




93
  U.S. Senate Homeland Security & Governmental Affairs Committee, Fueling an Epidemic, Insys Therapeutics
and the Systemic Manipulation of Prior Authorization, https://www.documentcloud.org/documents/3987564-
REPORT-Fueling-an-Epidemic-Insys-Therapeutics.html.




                                                     60
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 66 of 314 Pageid#: 66




           160.   Subsys has proved to be extremely profitable for Insys. Insys made approximately

$330 million in net revenue from Subsys last year. Between 2013 and 2016, the value of Insys

stock rose 296%.

           161.   Since its launch in 2012, Insys aggressively worked to grow its profits through

fraudulent, illegal, and misleading tactics, including its reimbursement-related fraud. Through its

sales representatives and other marketing efforts, Insys deceptively promoted Subsys as safe and

appropriate for uses such as neck and back pain, without disclosing the lack of approval or

evidence for such uses, and misrepresented the appropriateness of Subsys for treatment those

conditions. It implemented a kickback scheme wherein it paid prescribers for fake speakers

programs in exchange for prescribing Subsys. All of these fraudulent and misleading schemes had

the effect of pushing Insys’s dangerous opioid onto patients who did not need it.

           162.   Insys incentivized its sales force to engage in illegal and fraudulent conduct. Many

of the Insys sales representatives were new to the pharmaceutical industry and their base salaries

were low compared to industry standard. The compensation structure was heavily weighted

toward commissions and rewarded reps more for selling higher (and more expensive) doses of

Subsys, a “highly unusual” practice because most companies consider dosing a patient-specific

decision that should be made by a doctor.94

           163.   The Insys “speakers program” was perhaps its most widespread and damaging

scheme. A former Insys salesman, Ray Furchak, alleged in a qui tam action that the sole purpose

of the speakers program was “in the words of his then supervisor Alec Burlakoff, ‘to get money in

the doctor’s pocket.’” Furchak went on to explain that “[t]he catch . . . was that doctors who



94
     Id.




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Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 67 of 314 Pageid#: 67




increased the level of Subsys prescriptions, and at higher dosages (such as 400 or 800 micrograms

instead of 200 micrograms), would receive the invitations to the program—and the checks.”95 It

was a pay-to-prescribe program.

        164.     Insys’s sham speaker program and other fraudulent and illegal tactics have been

outlined in great detail in indictments and guilty pleas of Insys executives, employees, and

prescribers across the country, as well as in a number of lawsuits against the company itself.

        165.     In May of 2015, two Alabama pain specialists were arrested and charged with

illegal prescription drug distribution, among other charges. The doctors were the top prescribers

of Subsys, though neither were oncologists. According to prosecutors, the doctors received illegal

kickbacks from Insys for prescribing Subsys. Both doctors had prescribed Subsys to treat neck,

back, and joint pain. In February of 2016, a former Insys sales manager pled guilty to conspiracy

to commit health care fraud, including engaging in a kickback scheme in order to induce one of

these doctors to prescribe Subsys. The plea agreement states that nearly all of the Subsys

prescriptions written by the doctor were off-label to non-cancer patients. In May of 2017, one of

the doctors was sentenced to 20 years in prison.

        166.     In June of 2015, a nurse practitioner in Connecticut described as the state’s highest

Medicare prescriber of narcotics, pled guilty to receiving $83,000 in kickbacks from Insys for

prescribing Subsys. Most of her patients were prescribed the drug for chronic pain. Insys paid the

nurse as a speaker for more than 70 dinner programs at approximately $1,000 per event; however,

she did not give any presentations. In her guilty plea, the nurse admitted receiving the speaker

fees in exchange for writing prescriptions for Subsys.


95
  Roddy Boyd, Insys Therapeutics and the New ‘Killing It’”, Southern Investigative Reporting Foundation, The
Investigator, April 24, 2015.




                                                      62
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 68 of 314 Pageid#: 68




       167.    In August of 2015, Insys settled a complaint brought by the Oregon Attorney

General. In its complaint, the Oregon Department of Justice cited Insys for, among other things,

misrepresenting to doctors that Subsys could be used to treat migraine, neck pain, back pain, and

other uses for which Subsys is neither safe nor effective, and using speaking fees as kickbacks to

incentivize doctors to prescribe Subsys.

       168.    In August of 2016, the State of Illinois sued Insys for similar deceptive and illegal

practices. The Complaint alleged that Insys marketed Subsys to high-volume prescribers of opioid

drugs instead of to oncologists whose patients experienced the breakthrough cancer pain for which

the drug is indicated. The Illinois Complaint also details how Insys used its speaker program to

pay high volume prescribers to prescribe Subsys. The speaker events took place at upscale

restaurants in the Chicago area, and Illinois speakers received an “honorarium” ranging from $700

to $5,100, and they were allowed to order as much food and alcohol as they wanted. At most of

the events, the “speaker” being paid by Insys did not speak, and, on many occasions, the only

attendees at the events were the speaker and an Insys sales representative.

       169.    In December of 2016, six Insys executives and managers were indicted and then,

in October 2017, Insys’s founder and owner was arrested and charged with multiple felonies in

connection with an alleged conspiracy to bribe practitioners to prescribe Subsys and defraud

insurance companies. A U.S. Department of Justice press release explained that, among other

things: “Insys executives improperly influenced health care providers to prescribe a powerful

opioid for patients who did not need it, and without complying with FDA requirements, thus




                                                63
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 69 of 314 Pageid#: 69




putting patients at risk and contributing to the current opioid crisis.”96 A Drug Enforcement

Administration (“DEA”) Special Agent in Charge further explained that: “Pharmaceutical

companies whose products include controlled medications that can lead to addiction and overdose

have a special obligation to operate in a trustworthy, transparent manner, because their customers’

health and safety and, indeed, very lives depend on it.”97

              5. The Manufacturer Defendants made Materially Deceptive Statements and
                 Concealed Material Facts.

           170.   As alleged herein, the Manufacturer Defendants made and/or disseminated

deceptive statements regarding material facts and further concealed material facts, in the course of

manufacturing, marketing, and selling prescription opioids. The Manufacturer Defendants’ actions

were intentional and/or unlawful. Such statements include, but are not limited to, those set out

below and alleged throughout this Complaint.

           171.   Defendant Purdue made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:


              a. Creating, sponsoring, and assisting in the distribution of patient education materials
                 distributed to consumers that contained deceptive statements;

              b. Creating and disseminating advertisements that contained deceptive statements
                 concerning the ability of opioids to improve function long-term and concerning the
                 evidence supporting the efficacy of opioids long-term for the treatment of chronic
                 non-cancer pain;

              c. Disseminating misleading statements concealing the true risk of addiction and
                 promoting the deceptive concept of pseudoaddiction through Purdue’s own


96
  Press Release, DOJ, U.S. Attorney’s Office, Dist. of Mass., Founder and Owner of Pharmaceutical Company
Insys Arrested and Charged with Racketeering (Oct. 26, 2017), available at https://www.justice.gov/usao-
ma/pr/founder-and-owner-pharmaceutical-company-insys-arrested-and-charged-racketeering.
97
     Id.




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Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 70 of 314 Pageid#: 70




           unbranded publications and on internet sites Purdue operated that were marketed to
           and accessible by consumers;

        d. Distributing brochures to doctors, patients, and law enforcement officials that
           included deceptive statements concerning the indicators of possible opioid abuse;

        e. Sponsoring, directly distributing, and assisting in the distribution of publications
           that promoted the deceptive concept of pseudoaddiction, even for high-risk
           patients;

        f. Endorsing, directly distributing, and assisting in the distribution of publications that
           presented an unbalanced treatment of the long-term and dose-dependent risks of
           opioids versus NSAIDs;

        g. Providing significant financial support to pro-opioid KOL doctors who made
           deceptive statements concerning the use of opioids to treat chronic non-cancer pain;

        h. Providing needed financial support to pro-opioid pain organizations that made
           deceptive statements, including in patient education materials, concerning the use
           of opioids to treat chronic non-cancer pain;

        i. Assisting in the distribution of guidelines that contained deceptive statements
           concerning the use of opioids to treat chronic non-cancer pain and misrepresented
           the risks of opioid addiction;

        j. Endorsing and assisting in the distribution of CMEs containing deceptive
           statements concerning the use of opioids to treat chronic non-cancer pain;

        k. Developing and disseminating scientific studies that misleadingly concluded
           opioids are safe and effective for the long-term treatment of chronic non-cancer
           pain and that opioids improve quality of life, while concealing contrary data;

        l. Assisting in the dissemination of literature written by pro-opioid KOLs that
           contained deceptive statements concerning the use of opioids to treat chronic
           noncancer pain;

        m. Creating, endorsing, and supporting the distribution of patient and prescriber
           education materials that misrepresented the data regarding the safety and efficacy
           of opioids for the long-term treatment of chronic non-cancer pain, including known
           rates of abuse and addiction and the lack of validation for long-term efficacy;

        n. Targeting veterans by sponsoring and disseminating patient education marketing
           materials that contained deceptive statements concerning the use of opioids to treat
           chronic non-cancer pain;




                                              65
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 71 of 314 Pageid#: 71




             o. Targeting the elderly by assisting in the distribution of guidelines that contained
                deceptive statements concerning the use of opioids to treat chronic non-cancer pain
                and misrepresented the risks of opioid addiction in this population;

             p. Exclusively disseminating misleading statements in education materials to hospital
                doctors and staff while purportedly educating them on new pain standards;

             q. Making deceptive statements concerning the use of opioids to treat chronic
                noncancer pain to prescribers through in-person detailing; and

             r. Withholding from law enforcement the names of prescribers Purdue believed to be
                facilitating the diversion of its opioid, while simultaneously marketing opioids to
                these doctors by disseminating patient and prescriber education materials and
                advertisements and CMEs they knew would reach these same prescribers.


       172.     Defendant Endo made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:


             a. Creating, sponsoring, and assisting in the distribution of patient education materials
                that contained deceptive statements;

             b. Creating and disseminating advertisements that contained deceptive statements
                concerning the ability of opioids to improve function long-term and concerning the
                evidence supporting the efficacy of opioids long-term for the treatment of chronic
                non-cancer pain;

             c. Creating and disseminating paid advertisement supplements in academic journals
                promoting chronic opioid therapy as safe and effective for long term use for high
                risk patients;

             d. Creating and disseminating advertisements that falsely and inaccurately conveyed
                the impression that Endo’s opioids would provide a reduction in oral, intranasal, or
                intravenous abuse;

             e. Disseminating misleading statements concealing the true risk of addiction and
                promoting the misleading concept of pseudoaddiction through Endo’s own
                unbranded publications and on internet sites Endo sponsored or operated;

             f. Endorsing, directly distributing, and assisting in the distribution of publications that
                presented an unbalanced treatment of the long-term and dose-dependent risks of
                opioids versus NSAIDs;




                                                   66
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 72 of 314 Pageid#: 72




             g. Providing significant financial support to pro-opioid KOLs, who made deceptive
                statements concerning the use of opioids to treat chronic non-cancer pain;

             h. Providing needed financial support to pro-opioid pain organizations – including
                over $5 million to the organization responsible for many of the most egregious
                misrepresentations – that made deceptive statements, including in patient education
                materials, concerning the use of opioids to treat chronic non-cancer pain;

             i. Targeting the elderly by assisting in the distribution of guidelines that contained
                deceptive statements concerning the use of opioids to treat chronic non-cancer pain
                and misrepresented the risks of opioid addiction in this population;

             j. Endorsing and assisting in the distribution of CMEs containing deceptive
                statements concerning the use of opioids to treat chronic non-cancer pain;

             k. Developing and disseminating scientific studies that deceptively concluded opioids
                are safe and effective for the long-term treatment of chronic non-cancer pain and
                that opioids improve quality of life, while concealing contrary data;

             l. Directly distributing and assisting in the dissemination of literature written by pro-
                opioid KOLs that contained deceptive statements concerning the use of opioids to
                treat chronic non-cancer pain, including the concept of pseudoaddiction;

             m. Creating, endorsing, and supporting the distribution of patient and prescriber
                education materials that misrepresented the data regarding the safety and efficacy
                of opioids for the long-term treatment of chronic non-cancer pain, including known
                rates of abuse and addiction and the lack of validation for long-term efficacy; and

             n. Making deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain to prescribers through in-person detailing.

       173.     Defendant Janssen made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a. Creating, sponsoring, and assisting in the distribution of patient education materials
                that contained deceptive statements;

             b. Directly disseminating deceptive statements through internet sites over which
                Janssen exercised final editorial control and approval stating that opioids are safe
                and effective for the long-term treatment of chronic non-cancer pain and that
                opioids improve quality of life, while concealing contrary data;




                                                  67
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 73 of 314 Pageid#: 73




        c. Disseminating deceptive statements concealing the true risk of addiction and
           promoting the deceptive concept of pseudoaddiction through internet sites over
           which Janssen exercised final editorial control and approval;

        d. Promoting opioids for the treatment of conditions for which Janssen knew, due to
           the scientific studies it conducted, that opioids were not efficacious and concealing
           this information;

        e. Sponsoring, directly distributing, and assisting in the dissemination of patient
           education publications over which Janssen exercised final editorial control and
           approval, which presented an unbalanced treatment of the long-term and dose
           dependent risks of opioids versus NSAIDs;

        f. Providing significant financial support to pro-opioid KOLs, who made deceptive
           statements concerning the use of opioids to treat chronic non-cancer pain;

        g. Providing necessary financial support to pro-opioid pain organizations that made
           deceptive statements, including in patient education materials, concerning the use
           of opioids to treat chronic non-cancer pain;

        h. Targeting the elderly by assisting in the distribution of guidelines that contained
           deceptive statements concerning the use of opioids to treat chronic non-cancer pain
           and misrepresented the risks of opioid addiction in this population;

        i. Targeting the elderly by sponsoring, directly distributing, and assisting in the
           dissemination of patient education publications targeting this population that
           contained deceptive statements about the risks of addiction and the adverse effects
           of opioids, and made false statements that opioids are safe and effective for the
           long-term treatment of chronic non-cancer pain and improve quality of life, while
           concealing contrary data;

        j. Endorsing and assisting in the distribution of CMEs containing deceptive
           statements concerning the use of opioids to treat chronic non-cancer pain;

        k. Directly distributing and assisting in the dissemination of literature written by pro-
           opioid KOLs that contained deceptive statements concerning the use of opioids to
           treat chronic non-cancer pain, including the concept of pseudoaddiction;

        l. Creating, endorsing, and supporting the distribution of patient and prescriber
           education materials that misrepresented the data regarding the safety and efficacy
           of opioids for the long-term treatment of chronic non-cancer pain, including known
           rates of abuse and addiction and the lack of validation for long-term efficacy;

        m. Targeting veterans by sponsoring and disseminating patient education marketing
           materials that contained deceptive statements concerning the use of opioids to treat
           chronic non-cancer pain; and




                                             68
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 74 of 314 Pageid#: 74




           n. Making deceptive statements concerning the use of opioids to treat chronic non-
              cancer pain to prescribers through in-person detailing.

       174.    Defendant Cephalon made and/or disseminated untrue, false and deceptive

statements, and concealed material facts in such a way to make their statements deceptive,

including, but not limited to, the following:

           a. Creating, sponsoring, and assisting in the distribution of patient education materials
              that contained deceptive statements;

           b. Sponsoring and assisting in the distribution of publications that promoted the
              deceptive concept of pseudoaddiction, even for high-risk patients;

           c. Providing significant financial support to pro-opioid KOL doctors who made
              deceptive statements concerning the use of opioids to treat chronic non-cancer pain
              and breakthrough chronic non-cancer pain;

           d. Developing and disseminating scientific studies that deceptively concluded opioids
              are safe and effective for the long-term treatment of chronic non-cancer pain in
              conjunction with Cephalon’s potent rapid-onset opioids;

           e. Providing needed financial support to pro-opioid pain organizations that made
              deceptive statements, including in patient education materials, concerning the use
              of opioids to treat chronic non-cancer pain;

           f. Endorsing and assisting in the distribution of CMEs containing deceptive
              statements concerning the use of opioids to treat chronic non-cancer pain;

           g. Endorsing and assisting in the distribution of CMEs containing deceptive
              statements concerning the use of Cephalon’s rapid-onset opioids;

           h. Directing its marketing of Cephalon’s rapid-onset opioids to a wide range of
              doctors, including general practitioners, neurologists, sports medicine specialists,
              and workers’ compensation programs, serving chronic pain patients;

           i. Making deceptive statements concerning the use of Cephalon’s opioids to treat
              chronic non-cancer pain to prescribers through in-person detailing and speakers’
              bureau events, when such uses are unapproved and unsafe; and

           j. Making deceptive statements concerning the use of opioids to treat chronic non-
              cancer pain to prescribers through in-person detailing and speakers’ bureau events.




                                                69
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 75 of 314 Pageid#: 75




       175.     Defendant Actavis made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

             a. Making deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain to prescribers through in-person detailing;

             b. Creating and disseminating advertisements that contained deceptive statements that
                opioids are safe and effective for the long-term treatment of chronic non-cancer
                pain and that opioids improve quality of life;

             c. Creating and disseminating advertisements that concealed the risk of addiction in
                the long-term treatment of chronic, non-cancer pain; and

             d. Developing and disseminating scientific studies that deceptively concluded opioids
                are safe and effective for the long-term treatment of chronic non-cancer pain and
                that opioids improve quality of life while concealing contrary data.
       6.     The Manufacturer Defendants Fraudulently Concealed Their Misconduct.

       176.     The Manufacturer Defendants, both individually and collectively, made, promoted,

and profited from their misrepresentations about the risks and benefits of opioids for chronic pain

even though they knew that their misrepresentations were false and deceptive. The history of

opioids, as well as research and clinical experience establish that opioids are highly addictive and

are responsible for a long list of very serious adverse outcomes. The FDA warned Defendants of

this, and Defendants had access to scientific studies, detailed prescription data, and reports of

adverse events, including reports of addiction, hospitalization, and death – all of which clearly

described the harm from long-term opioid use and that patients were suffering from addiction,

overdose, and death in alarming numbers. More recently, the FDA and CDC have issued

pronouncements, based on medical evidence, that conclusively expose the falsity of Defendants’

misrepresentations, and Endo and Purdue have recently entered into agreements in New York

prohibiting them from making some of the same misrepresentations described in this Complaint.




                                                70
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 76 of 314 Pageid#: 76




        177.   At all times relevant to this Complaint, the Manufacturer Defendants took steps to

avoid detection of and to fraudulently conceal their deceptive marketing and unlawful, unfair, and

fraudulent conduct. For example, the Manufacturer Defendants disguised their role in the

deceptive marketing of chronic opioid therapy by funding and working through third parties like

Front Groups and KOLs. The Manufacturer Defendants purposefully hid behind the assumed

credibility of these individuals and organizations and relied on them to vouch for the accuracy and

integrity of the Manufacturer Defendants’ false and deceptive statements about the risks and

benefits of long-term opioid use for chronic pain. Defendants also never disclosed their role in

shaping, editing, and approving the content of information and materials disseminated by these

third parties. The Manufacturer Defendants exerted considerable influence on these promotional

and “educational” materials in emails, correspondence, and meetings with KOLs, Front Groups,

and public relations companies that were not, and have not yet become, public. For example,

PainKnowledge.org, which is run by the NIPC, did not disclose Endo’s involvement. Other

Manufacturer Defendants, such as Purdue and Janssen, ran similar websites that masked their own

role.

        178.   Finally, the Manufacturer Defendants manipulated their promotional materials and

the scientific literature to make it appear that these documents were accurate, truthful, and

supported by objective evidence when they were not. The Manufacturer Defendants distorted the

meaning or import of studies they cited and offered them as evidence for propositions the studies

did not support. The Manufacturer Defendants invented “pseudoaddiction” and promoted it to an

unsuspecting medical community. The Manufacturer Defendants provided the medical community

with false and misleading information about ineffectual strategies to avoid or control opioid

addiction. The Manufacturer Defendants recommended to the medical community that dosages be




                                                71
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 77 of 314 Pageid#: 77




increased, without disclosing the risks. The Manufacturer Defendants spent millions of dollars

over a period of years on a misinformation campaign aimed at highlighting opioids’ alleged

benefits, disguising the risks, and promoting sales. The lack of support for the Manufacturer

Defendants’ deceptive messages was not apparent to medical professionals who relied upon them

in making treatment decisions, nor could it have been detected by the Plaintiff or Plaintiff’s

Community. Thus, the Manufacturer Defendants successfully concealed from the medical

community, patients, and health care payors facts sufficient to arouse suspicion of the claims that

the Plaintiff now assert. Plaintiff did not know of the existence or scope of the Manufacturer

Defendants’ industry-wide fraud and could not have acquired such knowledge earlier through the

exercise of reasonable diligence.

   C. THE DISTRIBUTOR               DEFENDANTS’         UNLAWFUL          DISTRIBUTION         OF
      OPIOIDS.

       179.    The Distributor Defendants owe a duty under both federal law (21 U.S.C. § 823, 21

CFR 1301.74) and Virginia law (e.g., VA. CODE ANN. § 54.1-2400 et seq., VA. CODE ANN. § 54.1-

3300 et seq., VA. CODE ANN. § 54.1-3400 et seq., 18 VA. ADMIN. CODE 110-50-10 et seq.) to

monitor, detect, investigate, refuse to fill, and report suspicious orders of prescription opioids

originating from Plaintiff’s Community as well as those orders which the Distributor Defendants

knew or should have known were likely to be diverted into Plaintiff’s Community.

       180.    The foreseeable harm from a breach of these duties is the diversion of prescription

opioids for nonmedical purposes.

       181.    Each Distributor Defendant repeatedly and purposefully breached its duties under

state and federal law. Such breaches are a direct and proximate cause of the widespread diversion

of prescription opioids for nonmedical purposes into Plaintiff’s Community.




                                                72
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 78 of 314 Pageid#: 78




       182.    The unlawful diversion of prescription opioids is a direct and proximate cause

and/or substantial contributing factor to the opioid epidemic, prescription opioid abuse, addiction,

morbidity and mortality in the State and in Plaintiff’s Community. This diversion and the epidemic

are direct causes of harms for which Plaintiff seeks to recover here.

       183.    The opioid epidemic in the State, including inter alia in Plaintiff’s Community,

remains an immediate hazard to public health and safety.

       184.    The opioid epidemic in Plaintiff’s Community is a temporary and continuous

public nuisance and remains unabated.

       185.    The Distributor Defendants intentionally continued their conduct, as alleged herein,

with knowledge that such conduct was creating the opioid nuisance and causing the harms and

damages alleged herein.

           1. Wholesale Drug Distributors Have a Duty under State and Federal Law to
              Guard Against, and Report, Unlawful Diversion and to Report and Prevent
              Suspicious Orders.

       186.     As under federal law, opioids are a Schedule II controlled substance under Virginia

law. See VA. CODE ANN. § 54.1-3400 et seq. Opioids are categorized as “Schedule II” drugs

because they have a “high potential for abuse” and the potential to cause “severe psychic or

physical dependence” and/or “severe psychological . . . dependence.” 21 U.S.C. § 812(b)(2)(A)-

(C).

       187.    Each Distributor Defendant was further required to register with the DEA, pursuant

to the federal Controlled Substance Act. See 21 U.S.C. § 823(b), (e); 28 C.F.R. § 0.100. Each

Distributor Defendant is a “registrant” as a wholesale distributor in the chain of distribution of

Schedule II controlled substances with a duty to comply with all security requirements imposed




                                                73
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 79 of 314 Pageid#: 79




under that statutory scheme. Those requirements are adopted and incorporated into Virginia law.

18 VA. ADMIN. CODE 110-50-30(D).

       188.    Each Distributor Defendant has an affirmative duty under federal and Virginia law

to act as a gatekeeper guarding against the diversion of the highly addictive, dangerous opioid

drugs. Federal law requires that Distributors of Schedule II drugs, including opioids, must maintain

“effective control against diversion of particular controlled substances into other than legitimate

medical, scientific, and industrial channels.” 21 U.S.C. §§ 823(b)(1). Virginia incorporates these

requirements through Virginia’s Pharmacy Board Regulations, which mandate that “[w]holesale

drug distributors shall operate in compliance with applicable federal, state, and local laws and

regulations.” 18 VA. ADMIN. CODE 110-50-30

       189.    The Virginia Board of Pharmacy requires that drug wholesalers “shall establish

and maintain inventories and records of all transactions regarding the receipt and distribution or

other disposition of dangerous drugs,” and that, as a minimum requirement of wholesale

distribution in this State, “[a] system shall be designed and operated to disclose orders for

controlled substances and other dangerous drugs subject to abuse.” 18 VA. ADMIN. CODE 110-50-

90, 110-50-130.

       190.    Virginia laws further mandate that suspicious orders, defined as unusual in size or

frequency or deviation from buying patterns, be reported to the Virginia Board of Pharmacy:


       A wholesale distributor that ceases distribution of Schedule II through V drugs to
       a pharmacy, licensed physician dispenser, or licensed physician dispensing
       facility located in the Commonwealth due to suspicious order of controlled
       substances shall notify the Board within five days of the cessation. For the
       purposes of this section, "suspicious orders of controlled substances" means,
       relative to the pharmacy's, licensed physician dispenser's, or licensed physician
       dispensing facility's order history and the order history of similarly situated
       pharmacies, licensed physician dispensers, or licensed physician dispensing




                                                74
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 80 of 314 Pageid#: 80




       facilities, (i) orders of unusual size, (ii) orders deviating substantially from a
       normal pattern, and (iii) orders of unusual frequency.

VA. CODE ANN. § 54.1-3435(B).


       191.    Federal regulations incorporated by Virginia law (VA. CODE ANN. § 54.1-2400,

VA. CODE ANN. § 54.1-3300, VA. CODE ANN. § 54.1-3400, VA. CODE ANN.; 18 VA. ADMIN. CODE

110-50-10 et seq.) similarly impose a non-delegable duty upon wholesale drug distributors to

“design and operate a system to disclose to the registrant suspicious orders of controlled

substances. The registrant [distributor] shall inform the Field Division Office of the Administration

in his area of suspicious orders when discovered by the registrant. Suspicious orders include orders

of unusual size, orders deviating substantially from a normal pattern, and orders of unusual

frequency.” 21 C.F.R. § 1301.74(b).

       192.    “Suspicious orders” include orders of an unusual size, orders of unusual frequency

or orders deviating substantially from a normal pattern. See 21 CFR 1301.74(b); see also VA. CODE

ANN. § 54.1-3435(B). These criteria are disjunctive and are not all inclusive. For example, if an

order deviates substantially from a normal pattern, the size of the order does not matter and the

order should be reported as suspicious. Likewise, a wholesale distributor need not wait for a normal

pattern to develop over time before determining whether a particular order is suspicious. The size

of an order alone, regardless of whether it deviates from a normal pattern, is enough to trigger the

wholesale distributor’s responsibility to report the order as suspicious. The determination of

whether an order is suspicious depends not only on the ordering patterns of the particular customer

but also on the patterns of the entirety of the wholesale distributor’s customer base and the patterns

throughout the relevant segment of the wholesale distributor industry.




                                                  75
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 81 of 314 Pageid#: 81




          193.    In addition to reporting all suspicious orders, distributors must also stop shipment

on any order which is flagged as suspicious and only ship orders which were flagged as potentially

suspicious if, after conducting due diligence, the distributor can determine that the order is not

likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed. Reg. 36,487,

36,501 (Drug Enf’t Admin. July 3, 2007); Masters Pharmaceutical, Inc. v. Drug Enforcement

Administration, No. 15-11355 (D.C. Cir. June 30, 2017). Regardless, all flagged orders must be

reported. Id.

          194.    These prescription drugs are regulated for the purpose of providing a “closed”

system intended to reduce the widespread diversion of these drugs out of legitimate channels

into the illicit market, while at the same time providing the legitimate drug industry with a unified

approach to narcotic and dangerous drug control.98

          195.    Different entities supervise the discrete links in the chain that separate a consumer

from a controlled substance. Statutes and regulations define each participant’s role and

responsibilities.99

          196.    As the DEA advised the Distributor Defendants in a letter to them dated September

27, 2006, wholesale distributors are “one of the key components of the distribution chain. If the



98
     See 1970 U.S.C.C.A.N. 4566, 4571-72.
99
  Brief for Healthcare Distribution Management Association and National Association of Chain Drug Stores as
Amici Curiae in Support of Neither Party, Masters Pharm., Inc. v. U.S. Drug Enf’t Admin. (No. 15-1335) (D.C. Cir.
Apr. 4, 2016), 2016 WL 1321983, at *22 [hereinafter Brief for HDMA and NACDS]. The Healthcare Distribution
Management Association (HDMA or HMA)—now known as the Healthcare Distribution Alliance (HDA)—is a
national, not-for-profit trade association that represents the nation’s primary, full-service healthcare distributors
whose membership includes, among others: AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and
McKesson Corporation. See generally HDA, About, https://www.healthcaredistribution.org/about (last visited Aug.
21, 2017). The National Association of Chain Drug Stores (NACDS) is a national, not-for-profit trade association
that represents traditional drug stores and supermarkets and mass merchants with pharmacies whose membership
includes, among others: Walgreen Company, CVS Health, Rite Aid Corporation and Walmart. See generally
NACDS, Mission, https://www.nacds.org/ about/mission/ (last visited Aug. 21, 2017).




                                                         76
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 82 of 314 Pageid#: 82




closed system is to function properly … distributors must be vigilant in deciding whether a

prospective customer can be trusted to deliver controlled substances only for lawful purposes.

This responsibility is critical, as … the illegal distribution of controlled substances has a

substantial and detrimental effect on the health and general welfare of the American people.”100
       197. The Distributor Defendants have admitted that they are responsible for reporting

suspicious orders.101

            198.    The DEA sent a letter to each of the Distributor Defendants on September 27, 2006,

warning that it would use its authority to revoke and suspend registrations when appropriate. The

letter expressly states that a distributor, in addition to reporting suspicious orders, has a “statutory

responsibility to exercise due diligence to avoid filling suspicious orders that might be diverted

into other than legitimate medical, scientific, and industrial channels.”102 The letter also instructs

that “distributors must be vigilant in deciding whether a prospective customer can be trusted to

deliver controlled substances only for lawful purposes.”103 The DEA warns that “even just one

distributor that uses its DEA registration to facilitate diversion can cause enormous harm.”104




100
    See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug. Enf’t
Admin., U.S. Dep’t of Justice, to Cardinal Health (Sept. 27, 2006) [hereinafter Rannazzisi Letter] (“This letter is
being sent to every commercial entity in the United States registered with the Drug Enforcement Agency (DEA) to
distribute controlled substances. The purpose of this letter is to reiterate the responsibilities of controlled substance
distributors in view of the prescription drug abuse problem our nation currently faces.”), filed in Cardinal Health,
Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-51.
101
   See Brief for HDMA and NACDS, 2016 WL 1321983, at *4 (“[R]egulations . . . in place for more than 40 years
require distributors to report suspicious orders of controlled substances to DEA based on information readily
available to them (e.g., a pharmacy’s placement of unusually frequent or large orders).”).
102
      Rannazzisi Letter, at 2.
103
      Id. at 1.
104
       Id. at 2.




                                                           77
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 83 of 314 Pageid#: 83




            199.   The DEA sent a second letter to each of the Distributor Defendants on December

27, 2007.105 This letter reminds the Defendants of their statutory and regulatory duties to “maintain

effective controls against diversion” and “design and operate a system to disclose to the registrant

suspicious orders of controlled substances.”106 The letter further explains:

            The regulation also requires that the registrant inform the local DEA Division
            Office of suspicious orders when discovered by the registrant. Filing a monthly
            report of completed transactions (e.g., “excessive purchase report” or “high unity
            purchases”) does not meet the regulatory requirement to report suspicious orders.
            Registrants are reminded that their responsibility does not end merely with the
            filing of a suspicious order report. Registrants must conduct an independent
            analysis of suspicious orders prior to completing a sale to determine whether the
            controlled substances are likely to be diverted from legitimate channels. Reporting
            an order as suspicious will not absolve the registrant of responsibility if the
            registrant knew, or should have known, that the controlled substances were being
            diverted.

            The regulation specifically states that suspicious orders include orders of unusual
            size, orders deviating substantially from a normal pattern, and orders of an unusual
            frequency. These criteria are disjunctive and are not all inclusive. For example, if
            an order deviates substantially from a normal pattern, the size of the order does not
            matter and the order should be reported as suspicious. Likewise, a registrant need
            not wait for a “normal pattern” to develop over time before determining whether a
            particular order is suspicious. The size of an order alone, whether or not it deviates
            from a normal pattern, is enough to trigger the registrant’s responsibility to report
            the order as suspicious. The determination of whether an order is suspicious
            depends not only on the ordering patterns of the particular customer, but also on
            the patterns of the registrant’s customer base and the patterns throughout the
            segment of the regulated industry.

            Registrants that rely on rigid formulas to define whether an order is suspicious may
            be failing to detect suspicious orders. For example, a system that identifies orders
            as suspicious only if the total amount of a controlled substance ordered during one
            month exceeds the amount ordered the previous month by a certain percentage or
            more is insufficient. This system fails to identify orders placed by a pharmacy if
            the pharmacy placed unusually large orders from the beginning of its relationship
            with the distributor. Also, this system would not identify orders as suspicious if the

105
  See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug. Enf’t Admin.,
U.S. Dep’t of Justice, to Cardinal Health (Dec. 27, 2007), filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-
00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-8.
106
      Id.




                                                       78
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 84 of 314 Pageid#: 84




            order were solely for one highly abused controlled substance if the orders never
            grew substantially. Nevertheless, ordering one highly abused controlled substance
            and little or nothing else deviates from the normal pattern of what pharmacies
            generally order.

            When reporting an order as suspicious, registrants must be clear in their
            communication with DEA that the registrant is actually characterizing an order as
            suspicious. Daily, weekly, or monthly reports submitted by registrant indicating
            “excessive purchases” do not comply with the requirement to report suspicious
            orders, even if the registrant calls such reports “suspicious order reports.”

            Lastly, registrants that routinely report suspicious orders, yet fill these orders
            without first determining that order is not being diverted into other than legitimate
            medical, scientific, and industrial channels, may be failing to maintain effective
            controls against diversion. Failure to maintain effective controls against diversion
            is inconsistent with the public interest as that term is used in 21 USC 823 and 824,
            and may result in the revocation of the registrant’s DEA Certificate of
            Registration.107

Finally, the DEA letter references the Revocation of Registration issued in Southwood

Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which discusses the obligation to

report suspicious orders and “some criteria to use when determining whether an order is

suspicious.”108

            200.   The Distributor Defendants admit that they “have not only statutory and regulatory

responsibilities to detect and prevent diversion of controlled prescription drugs, but undertake such

efforts as responsible members of society.”109

            201.   The Distributor Defendants knew they were required to monitor, detect, and halt

suspicious orders. Industry compliance guidelines established by the Healthcare Distribution

Management Association, the trade association of pharmaceutical distributors, explain that




107
      Id.
108
      Id.
109
      See Brief of HDMA, 2012 WL 1637016, at *2.




                                                     79
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 85 of 314 Pageid#: 85




distributors are “[a]t the center of a sophisticated supply chain” and therefore “are uniquely situated

to perform due diligence in order to help support the security of the controlled substances they

deliver to their customers.” The guidelines set forth recommended steps in the “due diligence”

process, and note in particular: If an order meets or exceeds a distributor’s threshold, as defined in

the distributor’s monitoring system, or is otherwise characterized by the distributor as an order of

interest, the distributor should not ship to the customer, in fulfillment of             that order, any units

of the specific drug code product as to which the order met or exceeded a threshold or as to which

the order was otherwise characterized as an order of interest.110

        202.     Each of the Distributor Defendants sold prescription opioids, including

hydrocodone and/or oxycodone, to retailers in Plaintiff’s Community and/or to retailers from

which Defendants knew prescription opioids were likely to be diverted to Plaintiff’s Community.

        203.     Each Distributor Defendant owes a duty to monitor and detect suspicious orders of

prescription opioids.

        204.     Each Distributor Defendant owes a duty under federal and state law to investigate

and refuse suspicious orders of prescription opioids.

        205.     Each Distributor Defendant owes a duty under federal and state law to report

suspicious orders of prescription opioids.

        206.     Each Distributor Defendant owes a duty under federal and state law to prevent the

diversion of prescription opioids into illicit markets in the State and Plaintiff’s Community.




110
   Healthcare Distribution Management Association (HDMA) Industry Compliance Guidelines: Reporting
Suspicious Orders and Preventing Diversion of Controlled Substances, filed in Cardinal Health, Inc. v. Holder, No.
12-5061 (D.C. Cir. Mar. 7, 2012), Doc. No. 1362415 (App’x B).




                                                        80
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 86 of 314 Pageid#: 86




        207.     The foreseeable harm resulting from a breach of these duties is the diversion of

prescription opioids for nonmedical purposes and subsequent plague of opioid addiction.

        208.     The foreseeable harm resulting from the diversion of prescription opioids for

nonmedical purposes is abuse, addiction, morbidity and mortality in Plaintiff’s Community and

the damages caused thereby.

             2. The Distributor Defendants Breached Their Duties.

        209.     Because distributors handle such large volumes of controlled substances, and are

the first major line of defense in the movement of legal pharmaceutical controlled substances from

legitimate channels into the illicit market, it is incumbent on distributors to maintain effective

controls to prevent diversion of controlled substances. Should a distributor deviate from these

checks and balances, the closed system collapses.111

        210.     Upon information and belief, the sheer volume of prescription opioids distributed

to pharmacies in the Plaintiff’s Community, and/or to pharmacies from which the Distributor

Defendants knew the opioids were likely to be diverted into Plaintiff’s Community, is excessive

for the medical need of the community and facially suspicious. Some red flags are so obvious that

no one who engages in the legitimate distribution of controlled substances can reasonably claim

ignorance of them.112

        211.     Upon information and belief, the Distributor Defendants failed to report

“suspicious orders” originating from Plaintiff’s Community, or which the Distributor Defendants




111
   See Rannazzisi Decl. ¶ 10, filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10,
2012), ECF No. 14-2.
112
    Masters Pharmaceuticals, Inc., 80 Fed. Reg. 55,418-01, 55,482 (Sept. 15, 2015) (citing Holiday CVS, L.L.C.,
d/b/a CVS/Pharmacy Nos. 219 and 5195, 77 Fed. Reg. 62,316, 62,322 (2012)).




                                                        81
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 87 of 314 Pageid#: 87




knew were likely to be diverted to Plaintiff’s Community, to the federal and state authorities,

including the DEA and/or the state Board of Pharmacy.

           212.     Upon information and belief, the Distributor Defendants unlawfully filled

suspicious orders of unusual size, orders deviating substantially from a normal pattern and/or

orders of unusual frequency in Plaintiff’s Community, and/or in areas from which the Distributor

Defendants knew opioids were likely to be diverted to Plaintiff’s Community.

           213.     The Distributor Defendants breached their duty to monitor, detect, investigate,

refuse and report suspicious orders of prescription opiates originating from Plaintiff’s Community,

and/or in areas from which the Distributor Defendants knew opioids were likely to be diverted to

Plaintiff’s Community.

           214.     The Distributor Defendants breached their duty to maintain effective controls

against diversion of prescription opiates into other than legitimate medical, scientific, and

industrial channels.

           215.     The Distributor Defendants breached their duty to “design and operate a system to

disclose to the registrant suspicious orders of controlled substances” and failed to inform the

authorities including the DEA of suspicious orders when discovered, in violation of their duties

under federal and state law.

           216.     The Distributor Defendants breached their duty to exercise due diligence to avoid

filling suspicious orders that might be diverted into channels other than legitimate medical,

scientific and industrial channels.113

           217.     The federal and state laws at issue here are public safety laws.



113
      See Cardinal Health, Inc. v. Holder, 846 F. Supp. 2d 203, 206 (D.D.C. 2012).




                                                          82
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 88 of 314 Pageid#: 88




       218.    The Distributor Defendants’ violations of public safety statutes constitute prima

facie evidence of negligence under State law.

       219.    The Distributor Defendants supplied prescription opioids to obviously suspicious

physicians and pharmacies, enabled the illegal diversion of opioids, aided criminal activity, and

disseminated massive quantities of prescription opioids into the black market.

       220.    The unlawful conduct by the Distributor Defendants is purposeful and intentional.

The Distributor Defendants refuse to abide by the duties imposed by federal and state law which

are required to legally acquire and maintain a license to distribute prescription opiates.

       221.    The Distributor Defendants acted with actual malice in breaching their duties, i.e.,

they have acted with a conscious disregard for the rights and safety of other persons, and said

actions have a great probability of causing substantial harm.

       222.    The Distributor Defendants’ repeated shipments of suspicious orders, over an

extended period of time, in violation of public safety statutes, and without reporting the suspicious

orders to the relevant authorities demonstrates wanton, willful, or reckless conduct or criminal

indifference to civil obligations affecting the rights of others.

           3. The Distributor Defendants Have Sought to Avoid and Have Misrepresented
              their Compliance with Their Legal Duties.

       223.    The Distributor Defendants have repeatedly misrepresented their compliance with

their legal duties under state and federal law and have wrongfully and repeatedly disavowed those

duties in an effort to mislead regulators and the public regarding the Distributor Defendants’

compliance with their legal duties.

       224.    Distributor Defendants have refused to recognize any duty beyond reporting

suspicious orders. In Masters Pharmaceuticals, the HDMA, a trade association run by the

Distributor Defendants, and the NACDS submitted amicus briefs regarding the legal duty of




                                                  83
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 89 of 314 Pageid#: 89




wholesale distributors. Inaccurately denying the legal duties that the wholesale drug industry has

been tragically recalcitrant in performing, they argued as follows:


                    a. The Associations complained that the “DEA has required distributors not only to
                       report suspicious orders, but to investigate orders (e.g., by interrogating pharmacies
                       and physicians) and take action to halt suspicious orders before they are filled.”114

                    b. The Associations argued that, “DEA now appears to have changed its position to
                       require that distributors not only report suspicious orders, but investigate and halt
                       suspicious orders. Such a change in agency position must be accompanied by an
                       acknowledgment of the change and a reasoned explanation for it. In other words,
                       an agency must display awareness that it is changing position and show that there
                       are good reasons for the new policy. This is especially important here, because
                       imposing intrusive obligations on distributors threatens to disrupt patient access to
                       needed prescription medications.”115

                    c. The Associations alleged (inaccurately) that nothing “requires distributors to
                       investigate the legitimacy of orders, or to halt shipment of any orders deemed to be
                       suspicious.”116

                    d. The Association complained that the purported “practical infeasibility of requiring
                       distributors to investigate and halt suspicious orders (as well as report them)
                       underscores the importance of ensuring that DEA has complied with the APA
                       before attempting to impose such duties.”117

                    e. The Associations alleged (inaccurately) that “DEA’s regulations [] sensibly
                       impose[] a duty on distributors simply to report suspicious orders, but left it to DEA
                       and its agents to investigate and halt suspicious orders.”118

                    f. Also inaccurately, the Associations argued that, “[i]mposing a duty on distributors
                       – which lack the patient information and the necessary medical expertise – to
                       investigate and halt orders may force distributors to take a shot-in-the-dark
                       approach to complying with DEA’s demands.”119




114
      Brief for HDMA and NACDS, 2016 WL 1321983, at *4–5.
115
      Id. at *8 (citations and quotation marks omitted).
116
      Id. at *14.
117
      Id. at *22.
118
      Id. at *24–25.
119
      Id. at *26.




                                                           84
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 90 of 314 Pageid#: 90




        225.     The positions taken by the trade groups are emblematic of the position taken by the

Distributor Defendants in a futile attempt to deny their legal obligations to prevent diversion of

the dangerous drugs.120

        226.     The Court of Appeals for the District of Columbia recently issued its opinion

affirming that a wholesale drug distributor does, in fact, have duties beyond reporting. Masters

Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d 206 (D.C. Cir. 2017). The D.C. Circuit Court upheld

the revocation of Master Pharmaceutical’s license and determined that DEA regulations require

that in addition to reporting suspicious orders, distributors must “decline to ship the order, or

conduct some ‘due diligence’ and—if it is able to determine that the order is not likely to be

diverted into illegal channels—ship the order.” Id. at 212. Master Pharmaceutical was in violation

of legal requirements because it failed to conduct necessary investigations and filled suspicious

orders. Id. at 218–19, 226. A distributor’s investigation must dispel all the red flags giving rise to

suspicious circumstances prior to shipping a suspicious order. Id. at 226. The Circuit Court also

rejected the argument made by the HDMA and NACDS (quoted above), that, allegedly, the DEA

had created or imposed new duties. Id. at 220.

        227.     Wholesale Distributor McKesson has recently been forced to specifically admit to

breach of its duties to monitor, report, and prevent suspicious orders. Pursuant to an Administrative

Memorandum of Agreement (“2017 Agreement”) entered into between McKesson and the DEA

in January 2017, McKesson admitted that, at various times during the period from January 1, 2009

through the effective date of the Agreement (January 17, 2017) it “did not identify or report to

[the] DEA certain orders placed by certain pharmacies which should have been detected by


120
    See Brief of HDMA, 2012 WL 1637016, at *3 (arguing the wholesale distributor industry “does not know the
rules of the road because” they claim (inaccurately) that the “DEA has not adequately explained them”).




                                                      85
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 91 of 314 Pageid#: 91




McKesson as suspicious based on the guidance contained in the DEA Letters.”121 Further, the

2017 Agreement specifically finds that McKesson “distributed controlled substances to

pharmacies even though those McKesson Distribution Centers should have known that the

pharmacists practicing within those pharmacies had failed to fulfill their corresponding

responsibility to ensure that controlled substances were dispensed pursuant to prescriptions issued

for legitimate medical purposes by practitioners acting in the usual course of their professional

practice, as required by 21 C.F.R § 1306.04(a).”122 McKesson admitted that, during this time

period, it “failed to maintain effective controls against diversion of particular controlled substances

into other than legitimate medical, scientific and industrial channels by sales to certain of its

customers in violation of the CSA and the CSA’s implementing regulations, 21 C.F.R. Part 1300

et seq., at the McKesson Distribution Centers.”123 Due to these violations, McKesson agreed that

its authority to distribute controlled substances from numerous facilities would be partially

suspended.124

            228.   The 2017 Memorandum of Agreement followed a 2008 Settlement Agreement in

which McKesson also admitted failure to report suspicious orders of controlled substances to the

DEA.125 In the 2008 Settlement Agreement, McKesson “recognized that it had a duty to monitor

its sales of all controlled substances and report suspicious orders to DEA,” but had failed to do




121
    See Administrative Memorandum of Agreement between the U.S. Dep’t of Justice, the Drug Enf’t Admin., and
the McKesson Corp. (Jan. 17, 2017), https://www.justice.gov/opa/press-release/file/928476/download.
122
      Id. at 4.
123
      Id.
124
      Id. at 6.
125
      Id. at 4.




                                                      86
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 92 of 314 Pageid#: 92




so.126 The 2017 Memorandum of Agreement documents that McKesson continued to breach its

admitted duties by “fail[ing] to properly monitor its sales of controlled substances and/or report

suspicious orders to DEA, in accordance with McKesson’s obligations.”127 As a result of these

violations, McKesson was fined and required to pay to the United States $150,000,000.128

              229.   Even though McKesson had been sanctioned in 2008 for failure to comply with its

legal obligations regarding controlling diversion and reporting suspicious orders, and even though

McKesson had specifically agreed in 2008 that it would no longer violate those obligations,

McKesson continued to violate the laws in contrast to its written agreement not to do so.

              230.   Because of the Distributor Defendants’ refusal to abide by their legal obligations,

the DEA has repeatedly taken administrative action to attempt to force compliance. For example,

in May 2014, the United States Department of Justice, Office of the Inspector General, Evaluation

and Inspections Divisions, reported that the DEA issued final decisions in 178 registrant actions

between 2008 and 2012.129 The Office of Administrative Law Judges issued a recommended

decision in a total of 117 registrant actions before the DEA issued its final decision, including 76

actions involving orders to show cause and 41 actions involving immediate suspension orders.130

These actions include the following:




126
      Id.
127
   Id.; see also Settlement Agreement and Release between the U.S. and McKesson Corp., at 5 (Jan. 17, 2017)
[hereinafter 2017 Settlement Agreement and Release] (“McKesson acknowledges that, at various times during the
Covered Time Period [2009-2017], it did not identify or report to DEA certain orders placed by certain pharmacies,
which should have been detected by McKesson as suspicious, in a manner fully consistent with the requirements set
forth in the 2008 MOA.”), https://www.justice.gov/opa/press-release/file/928471/download.
128
      See 2017 Settlement Agreement and Release, at 6.
129
  Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
130
        Id.




                                                         87
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 93 of 314 Pageid#: 93




        a. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate
           Suspension Order against the AmerisourceBergen Orlando, Florida distribution
           center (“Orlando Facility”) alleging failure to maintain effective controls against
           diversion of controlled substances. On June 22, 2007, AmerisourceBergen entered
           into a settlement that resulted in the suspension of its DEA registration;

        b. On November 28, 2007, the DEA issued an Order to Show Cause and Immediate
           Suspension Order against the Cardinal Health Auburn, Washington Distribution
           Center (“Auburn Facility”) for failure to maintain effective controls against
           diversion of hydrocodone;

        c. On December 5, 2007, the DEA issued an Order to Show Cause and Immediate
           Suspension Order against the Cardinal Health Lakeland, Florida Distribution
           Center (“Lakeland Facility”) for failure to maintain effective controls against
           diversion of hydrocodone;

        d. On December 7, 2007, the DEA issued an Order to Show Cause and Immediate
           Suspension Order against the Cardinal Health Swedesboro, New Jersey
           Distribution Center (“Swedesboro Facility”) for failure to maintain effective
           controls against diversion of hydrocodone;

        e. On January 30, 2008, the DEA issued an Order to Show Cause and Immediate
           Suspension Order against the Cardinal Health Stafford, Texas Distribution Center
           (“Stafford Facility”) for failure to maintain effective controls against diversion of
           hydrocodone;

        f. On May 2, 2008, McKesson Corporation entered into an Administrative
           Memorandum of Agreement (“2008 MOA”) with the DEA which provided that
           McKesson would “maintain a compliance program designed to detect and prevent
           the diversion of controlled substances, inform DEA of suspicious orders required
           by 21 C.F.R. § 1301.74(b), and follow the procedures established by its Controlled
           Substance Monitoring Program”;

        g. On September 30, 2008, Cardinal Health entered into a Settlement and Release
           Agreement and Administrative Memorandum of Agreement with the DEA related
           to its Auburn Facility, Lakeland Facility, Swedesboro Facility and Stafford Facility.
           The document also referenced allegations by the DEA that Cardinal failed to
           maintain effective controls against the diversion of controlled substances at its
           distribution facilities located in McDonough, Georgia (“McDonough Facility”),
           Valencia, California (“Valencia Facility”) and Denver, Colorado (“Denver
           Facility”);

        h. On February 2, 2012, the DEA issued an Order to Show Cause and Immediate
           Suspension Order against the Cardinal Health Lakeland, Florida Distribution
           Center (“Lakeland Facility”) for failure to maintain effective controls against
           diversion of oxycodone;




                                             88
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 94 of 314 Pageid#: 94




             i. On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to the
                DEA to resolve the civil penalty portion of the administrative action taken against
                its Lakeland, Florida Distribution Center; and

             j. On January 5, 2017, McKesson Corporation entered into an Administrative
                Memorandum Agreement with the DEA wherein it agreed to pay a $150 million
                civil penalty for violation of the 2008 MOA as well as failure to identify and report
                suspicious orders at its facilities in Aurora CO, Aurora IL, Delran NJ, LaCrosse
                WI, Lakeland FL, Landover MD, La Vista NE, Livonia MI, Methuen MA, Santa
                Fe Springs CA, Washington Courthouse OH and West Sacramento CA.

        231.     Rather than abide by their non-delegable duties under public safety laws, the

Distributor Defendants, individually and collectively through trade groups in the industry,

pressured the U.S. Department of Justice to “halt” prosecutions and lobbied Congress to strip the

DEA of its ability to immediately suspend distributor registrations. The result was a “sharp drop

in enforcement actions” and the passage of the “Ensuring Patient Access and Effective Drug

Enforcement Act” which, ironically, raised the burden for the DEA to revoke a distributor’s license

from “imminent harm” to “immediate harm” and provided the industry the right to “cure” any

violations of law before a suspension order can be issued.131

        232.     In addition to taking actions to limit regulatory prosecutions and suspensions, the

Distributor Defendants undertook to fraudulently convince the public that they were complying

with their legal obligations, including those imposed by licensing regulations. Through such




131
    See Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid Epidemic
Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-
enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had No
Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.




                                                       89
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 95 of 314 Pageid#: 95




statements, the Distributor Defendants attempted to assure the public they were working to curb

the opioid epidemic.

        233.     For example, a Cardinal Health executive claimed that it uses “advanced analytics”

to monitor its supply chain, and represented that it was being “as effective and efficient as possible

in constantly monitoring, identifying, and eliminating any outside criminal activity.”132 Given the

sales volumes and the company’s history of violations, this executive was either not telling the

truth, or, if Cardinal Health had such a system, it ignored the results.

        234.     Similarly, Defendant McKesson publicly stated that it has a “best-in-class

controlled substance monitoring program to help identify suspicious orders,” and claimed it is

“deeply passionate about curbing the opioid epidemic in our country.”133 Again, given

McKesson’s historical conduct, this statement is either false, or the company ignored outputs of

the monitoring program.

        235.     By misleading the public about the effectiveness of their controlled substance

monitoring programs, the Distributor Defendants successfully concealed the facts sufficient to

arouse suspicion of the claims that the Plaintiffs now assert. The Plaintiffs did not know of the

existence or scope of Defendants’ industry-wide fraud and could not have acquired such

knowledge earlier through the exercise of reasonable diligence.




132
   Lenny Bernstein et al., How Drugs Intended for Patients Ended Up in the Hands of Illegal Users: “No One Was
Doing Their Job,” Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/how-drugs-intended-
for-patients-ended-up-in-the-hands-of-illegal-users-no-one-was-doing-their-job/2016/10/22/10e79396-30a7-11e6-
8ff7-7b6c1998b7a0_story.html.
133
   Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency Tried to Curb Opioid
Abuse, Wash. Post, Dec. 22, 2016, https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-
dea-to-pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-949c5893595e_story.html.




                                                       90
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 96 of 314 Pageid#: 96




         236.     Meanwhile, the opioid epidemic rages unabated in the Nation, the State, and in

Plaintiff’s Community.

         237.     The epidemic still rages because the fines and suspensions imposed by the DEA do

not change the conduct of the industry. The distributors, including the Distributor Defendants, pay

fines as a cost of doing business in an industry that generates billions of dollars in annual revenue.

They hold multiple DEA registration numbers and when one facility is suspended, they simply

ship from another facility.

         238.     The wrongful actions and omissions of the Distributor Defendants which have

caused the diversion of opioids and which have been a substantial contributing factor to and/or

proximate cause of the opioid crisis are alleged in greater detail in the racketeering allegations

below.

         239.     The Distributor Defendants have abandoned their duties imposed under federal and

state law, taken advantage of a lack of DEA law enforcement, and abused the privilege of

distributing controlled substances in the State and Plaintiff’s Community.

              4. The National Retail Pharmacies Were on Notice of and Contributed to Illegal
                 Diversion of Prescription Opioids

         240.     National retail pharmacy chains earned enormous profits by flooding the country

with prescription opioids.134 They were keenly aware of the oversupply of prescription opioids

through the extensive data and information they developed and maintained as both distributors and

dispensaries. Yet, instead of taking any meaningful action to stem the flow of opioids into

communities, they continued to participate in the oversupply and profit from it.



134
    The allegations contained in this Complaint are based, in part, on discovery that is in its infancy. Plaintiffs do not
have access to transactional ARCOS data for Virginia. Accordingly, Plaintiffs reserve their right to further amend
this complaint to add supporting allegations, claims and parties.




                                                           91
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 97 of 314 Pageid#: 97




       241.    Each of the National Retail Pharmacies does substantial business throughout the

United States. This business includes the distribution and dispensing of prescription opioids.

       242.    On information and belief, the National Retail Pharmacies distributed and

dispensed substantial quantities of prescription opioids, including fentanyl, hydrocodone, and

oxycodone in Virginia. In addition, they distributed and dispensed substantial quantities of

prescription opioids in other states, and these drugs were diverted from these other states to

Virginia. The National Retail Pharmacies failed to take meaningful action to stop this diversion

despite their knowledge of it, and contributed substantially to the diversion problem.

       243.    The National Retail Pharmacies developed and maintained extensive data on

opioids they distributed and dispensed. Through this data, National Retail Pharmacies had direct

knowledge of patterns and instances of improper distribution, prescribing, and use of prescription

opioids in communities throughout the country, and in Virginia in particular. They used the data

to evaluate their own sales activities and workforce. On information and belief, the National Retail

Pharmacies also provided Defendants with data regarding, inter alia, individual doctors in

exchange for rebates or other forms of consideration. The National Retail Pharmacies’ data is a

valuable resource that they could have used to help stop diversion, but failed to do so.

           a. The National Retail Pharmacies Have a Duty to Prevent Division

       244.    Each participant in the supply chain of opioid distribution, including the National

Retail Pharmacies, is responsible for preventing diversion of prescription opioids into the illegal

market by, among other things, monitoring and reporting suspicious activity.

       245.    The National Retail Pharmacies, like manufacturers and other distributors, are

registrants under the CSA. 21 C.F.R. § 1301.11. Under the CSA, pharmacy registrants are

required to “provide effective controls and procedures to guard against theft and diversion of




                                                92
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 98 of 314 Pageid#: 98




controlled substances.” See 21 C.F.R. § 1301.71(a). In addition, 21 C.F.R. § 1306.04(a) states,

“[t]he responsibility for the proper prescribing and dispensing of controlled substances is upon the

prescribing practitioner, but a corresponding responsibility rests with the pharmacist who fills the

prescription.” Because pharmacies themselves are registrants under the CSA, the duty to prevent

diversion lies with the pharmacy entity, not the individual pharmacist alone.

          246.   The DEA, among others, has provided extensive guidance to pharmacies

concerning their duties to the public. The guidance advises pharmacies how to identify suspicious

orders and other evidence of diversion.

          247.   Suspicious pharmacy orders include orders of unusually large size, orders that are

disproportionately large in comparison to the population of a community served by the pharmacy,

orders that deviate from a normal pattern and/or orders of unusual frequency and duration, among

others.

          248.   Additional types of suspicious orders include: (1) prescriptions written by a doctor

who writes significantly more prescriptions (or in larger quantities or higher doses) for controlled

substances compared to other practitioners in the area; (2) prescriptions which should last for a

month in legitimate use, but are being refilled on a shorter basis; (3) prescriptions for antagonistic

drugs, such as depressants and stimulants, at the same time; (4) prescriptions that look “too good”

or where the prescriber’s handwriting is too legible; (5) prescriptions with quantities or doses that

differ from usual medical usage; (6) prescriptions that do not comply with standard abbreviations

and/or contain no abbreviations; (7) photocopied prescriptions; or (8) prescriptions containing

different handwriting. Most of the time, these attributes are not difficult to detect and should be

easily recognizable by pharmacies.

          249.   Suspicious pharmacy orders are red flags for if not direct evidence of diversion.




                                                  93
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 99 of 314 Pageid#: 99




       250.    Other signs of diversion can be observed through data gathered, consolidated, and

analyzed by the National Retail Pharmacies themselves. That data allows them to observe patterns

or instances of dispensing that are potentially suspicious, of oversupply in particular stores or

geographic areas, or of prescribers or facilities that seem to engage in improper prescribing.

       251.    According to industry standards, if a pharmacy finds evidence of prescription

diversion, the local Board of Pharmacy and DEA must be contacted.

       252.    Despite their legal obligations as registrants under the CSA, the National Retail

Pharmacies allowed widespread diversion to occur—and they did so knowingly.

       253.    Performance metrics and prescription quotas adopted by the National Retail

Pharmacies for their retail stores contributed to their failure. Under CVS’s Metrics System, for

example, pharmacists are directed to meet high goals that make it difficult, if not impossible, to

comply with applicable laws and regulations. There is no measurement for pharmacy accuracy or

customer safety. Moreover, the bonuses for pharmacists are calculated, in part, on how many

prescriptions that pharmacist fills within a year. The result is both deeply troubling and entirely

predictable: opioids flowed out of National Retail Pharmacies and into communities throughout

the country. The policies remained in place even as the epidemic raged.

       254.    Upon information and belief, this problem was compounded by the Pharmacies’

failure to adequately train their pharmacists and pharmacy technicians on how to properly and

adequately handle prescriptions for opioid painkillers, including what constitutes a proper inquiry

into whether a prescription is legitimate, whether a prescription is likely for a condition for which

the FDA has approved treatments with opioids, and what measures and/or actions to take when a

prescription is identified as phony, false, forged, or otherwise illegal, or when suspicious




                                                 94
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 100 of 314 Pageid#: 100




circumstances are present, including when prescriptions are procured and pills supplied for the

purpose of illegal diversion and drug trafficking.

       255.    Upon information and belief, the National Retail Pharmacies also failed to

adequately use data available to them to identify doctors who were writing suspicious numbers of

prescriptions and/or prescriptions of suspicious amounts of opioids, or to adequately use data

available to them to do statistical analysis to prevent the filling of prescriptions that were illegally

diverted or otherwise contributed to the opioid crisis.

       256.    Upon information and belief, the National Retail Pharmacies failed to analyze: (a)

the number of opioid prescriptions filled by individual pharmacies relative to the population of the

pharmacy's community; (b) the increase in opioid sales relative to past years; (c) the number of

opioid prescriptions filled relative to other drugs; and (d) the increase in annual opioid sales

relative to the increase in annual sales of other drugs.

       257.    Upon information and belief, the National Retail Pharmacies also failed to conduct

adequate internal or external audits of their opioid sales to identify patterns regarding prescriptions

that should not have been filled and to create policies accordingly, or if they conducted such audits,

they failed to take any meaningful action as a result.

       258.    Upon information and belief, the National Retail Pharmacies also failed to

effectively respond to concerns raised by their own employees regarding inadequate policies and

procedures regarding the filling of opioid prescriptions.

       259.    The National Retail Pharmacies were, or should have been, fully aware that the

quantity of opioids being distributed and dispensed by them was untenable, and in many areas

patently absurd; yet, they did not take meaningful action to investigate or to ensure that they were

complying with their duties and obligations under the law with regard to controlled substances.




                                                  95
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 101 of 314 Pageid#: 101




       b.      Multiple Enforcement Actions against the National Retail Pharmacies
               Confirm their Compliance Failures.

       260.    The National Retail Pharmacies have long been on notice of their failure to abide

by state and federal law and regulations governing the distribution and dispensing of prescription

opioids. Indeed, several of the National Retail Pharmacies have been repeatedly penalized for their

illegal prescription opioid practices. Upon information and belief, based upon the widespread

nature of these violations, these enforcement actions are the product of, and confirm, national

policies and practices of the National Retail Pharmacies.

                   i. CVS

       261.    CVS is one of the largest companies in the world, with annual revenue of more than

$150 billion. According to news reports, it manages medications for nearly 90 million customers

at 9,700 retail locations. CVS could be a force for good in connection with the opioid crisis, but

like other Defendants, CVS sought profits over people.

       262.    CVS is a repeat offender and recidivist: the company has paid fines totaling over

$40 million as the result of a series of investigations by the DEA and the United States Department

of Justice (“DOJ”). It nonetheless treated these fines as the cost of doing business and has allowed

its pharmacies to continue dispensing opioids in quantities significantly higher than any plausible

medical need would require, and to continue violating its recordkeeping and dispensing obligations

under the CSA.




                                                96
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 102 of 314 Pageid#: 102




        263.     As recently as July 2017, CVS entered into a $5 million settlement with the U.S.

Attorney’s Office for the Eastern District of California regarding allegations that its pharmacies

failed to keep and maintain accurate records of Schedule II, III, IV, and V controlled substances.135

        264.     This fine was preceded by numerous others throughout the country.

        265.     In February 2016, CVS paid $8 million to settle allegations made by the DEA and

the DOJ that from 2008-2012, CVS stores and pharmacists in Maryland violated their duties under

the CSA and filled prescriptions with no legitimate medical purpose.136

        266.     In October 2016, CVS paid $600,000 to settle allegations by the DOJ that stores in

Connecticut failed to maintain proper records in accordance with the CSA.137

        267.     In September 2016, CVS entered into a $795,000 settlement with the Massachusetts

Attorney General wherein CVS agreed to require pharmacy staff to access the state’s prescription

monitoring program website and review a patient’s prescription history before dispensing certain

opioid drugs.138




135
    Press Release, U.S. Attorney’s Office E. Dist. of Cal., CVS Pharmacy Inc. Pays $5M to Settle Alleged Violations
of the Controlled Substance Act, U.S. Dep’t of Just. (July 11, 2017), https://www.justice.gov/usao-edca/pr/cvs-
pharmacy-inc-pays-5m-settle-alleged-violations-controlled-substance-act.
136
    Press Release, U.S. Attorney’s Office Dist. of Md., United States Reaches $8 Million Settlement Agreement with
CVS for Unlawful Distribution of Controlled Substances, U.S. Dep’t of Just. (Feb. 12, 2016),
https://www.justice.gov/usao-md/pr/united-states-reaches-8-million-settlement-agreement-cvs-unlawful-
distribution-controlled.
137
   Press Release, U.S. Attorney’s Office Dist. of Conn., CVS Pharmacy Pays $600,000 to Settle Controlled
Substances Act Allegations, U.S. Dep’t of Just. (Oct. 20, 2016), https://www.justice.gov/usao-ct/pr/cvs-pharmacy-
pays-600000-settle-controlled-substances-act-allegations.
138
    Dialynn Dwyer, CVS will pay $795,000, strengthen policies around dispensing opioids in agreement with state,
Boston.com (Sept. 1, 2016), https://www.boston.com/news/local-news/2016/09/01/cvs-will-pay-795000-strengthen-
policies-around-dispensing-opioids-in-agreement-with-state.




                                                        97
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 103 of 314 Pageid#: 103




        268.     In June 2016, CVS agreed to pay the DOJ $3.5 million to resolve allegations that

50 of its stores violated the CSA by filling forged prescriptions for controlled substances—mostly

addictive painkillers—more than 500 times between 2011 and 2014.139

        269.     In August 2015, CVS entered into a $450,000 settlement with the U.S. Attorney’s

Office for the District of Rhode Island to resolve allegations that several of its Rhode Island stores

violated the CSA by filling invalid prescriptions and maintaining deficient records. The United

States alleged that CVS retail pharmacies in Rhode Island filled a number of forged prescriptions

with invalid DEA numbers, and filled multiple prescriptions written by psychiatric nurse

practitioners for hydrocodone, despite the fact that these practitioners were not legally permitted

to prescribe that drug.        Additionally, the government alleged that CVS had recordkeeping

deficiencies.140

        270.     In May 2015, CVS agreed to pay a $22 million penalty following a DEA

investigation that found that employees at two pharmacies in Sanford, Florida, had dispensed

prescription opioids, “based on prescriptions that had not been issued for legitimate medical

purposes by a health care provider acting in the usual course of professional practice. CVS also

acknowledged that its retail pharmacies had a responsibility to dispense only those prescriptions

that were issued based on legitimate medical need.”141



139
    Press Release, U.S. Attorney’s Office Dist. of Mass., CVS to Pay $3.5 Million to Resolve Allegations that
Pharmacists Filled Fake Prescriptions, U.S. Dep’t of Just. (June 30, 2016), https://www.justice.gov/usao-ma/pr/cvs-
pay-35-million-resolve-allegations-pharmacists-filled-fake-prescriptions.
140
   Press Release, U.S. Attorney’s Office Dist. of R.I., Drug Diversion Claims Against CVS Health Corp. Resolved
With $450,000 Civil Settlement, U.S. Dep’t of Just. (Aug. 10, 2015), https://www.justice.gov/usao-ri/pr/drug-
diversion-claims-against-cvs-health-corp-resolved-450000-civil-settlement.
141
   Press Release, U.S. Attorney’s Office M. Dist. of Fla., United States Reaches $22 Million Settlement Agreement
With CVS For Unlawful Distribution of Controlled Substances, U.S. Dep’t of Just. (May 13, 2015),
https://www.justice.gov/usao-mdfl/pr/united-states-reaches-22-million-settlement-agreement-cvs-unlawful-
distribution.




                                                        98
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 104 of 314 Pageid#: 104




        271.     In September 2014, CVS agreed to pay $1.9 million in civil penalties to resolve

allegations it filled prescriptions written by a doctor whose controlled-substance registration had

expired.142

        272.     In August 2013, CVS was fined $350,000 by the Oklahoma Pharmacy Board for

improperly selling prescription narcotics in at least five locations in the Oklahoma City

metropolitan area.143

        273.     Dating back to 2006, CVS retail pharmacies in Oklahoma and elsewhere

intentionally violated the CSA by filling prescriptions signed by prescribers with invalid DEA

registration numbers.144

                      ii. Walgreens

        274.     Walgreens is the second-largest pharmacy store chain in the United States behind

CVS, with annual revenue of more than $118 billion. According to its website, Walgreens operates

more than 8,100 retail locations and filled 990 million prescriptions on a 30-day adjusted basis in

fiscal 2017.

        275.     Walgreens also has been penalized for serious and flagrant violations of the CSA.

Indeed, Walgreens agreed to the largest settlement in DEA history—$80 million—to resolve

allegations that it committed an unprecedented number of recordkeeping and dispensing violations




142
    Patrick Danner, H-E-B, CVS Fined Over Prescriptions, San Antonio Express-News (Sept. 5, 2014),
http://www.expressnews.com/business/local/article/H-E-BCVS-fined-over-prescriptions-5736554.php.
143
  Andrew Knittle, Oklahoma pharmacy board stays busy, hands out massive fines at times, NewsOK (May 3,
2015), http://newsok.com/article/5415840.
144
   Press Release, U.S. Attorney’s Office W. Dist. of Okla., CVS to Pay $11 Million To Settle Civil Penalty Claims
Involving Violations of Controlled Substances Act, U.S. Dep’t of Just. (Apr. 3, 2013), https://www.justice.gov/usao-
wdok/pr/cvs-pay-11-million-settle-civil-penalty-claims-involving-violations-controlled.




                                                        99
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 105 of 314 Pageid#: 105




of the CSA, including negligently allowing controlled substances such as oxycodone and other

prescription painkillers to be diverted for abuse and illegal black market sales.145

            276.   The settlement resolved investigations into and allegations of CSA violations in

Florida, New York, Michigan, and Colorado that resulted in the diversion of millions of opioids

into illicit channels.

            277.   Walgreens’ Florida operations at issue in this settlement highlight its egregious

conduct regarding diversion of prescription opioids. Walgreens’ Florida pharmacies each allegedly

ordered more than one million dosage units of oxycodone in 2011—more than ten times the

average amount.146

            278.   They increased their orders over time, in some cases as much as 600% in the space

of just two years, including, for example, supplying a town of 3,000 with 285,800 orders of

oxycodone in a one-month period. Yet Walgreens corporate officers turned a blind eye to these

abuses. In fact, corporate attorneys at Walgreens suggested, in reviewing the legitimacy of

prescriptions coming from pain clinics, that “if these are legitimate indicators of inappropriate

prescriptions perhaps we should consider not documenting our own potential noncompliance,”

underscoring Walgreens’ attitude that profit outweighed compliance with the CSA or the health of

communities.147




145
   Press Release, U.S. Attorney’s Office S. Dist. of Fla., Walgreens Agrees To Pay A Record Settlement Of $80
Million For Civil Penalties Under The Controlled Substances Act, U.S. Dep’t of Just. (June 11, 2013),
https://www.justice.gov/usao-sdfl/pr/walgreens-agrees-pay-record-settlement-80-million-civil-penalties-under-
controlled.
146
    Order to Show Cause and Immediate Suspension of Registration, In the Matter of Walgreens Co. (Drug Enf’t
Admin. Sept. 13, 2012).
147
      Id.




                                                       100
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 106 of 314 Pageid#: 106




            279.   Defendant Walgreens’ settlement with the DEA stemmed from the DEA’s

investigation into Walgreens’ distribution center in Jupiter, Florida, which was responsible for

significant opioid diversion in Florida. According to the Order to Show Cause, Defendant

Walgreens’ corporate headquarters pushed to increase the number of oxycodone sales to

Walgreens’ Florida pharmacies, and provided bonuses for pharmacy employees based on number

of prescriptions filled at the pharmacy in an effort to increase oxycodone sales. In July 2010,

Defendant Walgreens ranked all of its Florida stores by number of oxycodone prescriptions

dispensed in June of that year, and found that the highest-ranking store in oxycodone sales sold

almost 18 oxycodone prescriptions per day. All of these prescriptions were filled by the Jupiter

Center.148

            280.   Walgreens has also settled with a number of state attorneys general, including West

Virginia ($575,000) and Massachusetts ($200,000).149

            281.   The Massachusetts Attorney General’s Medicaid Fraud Division found that, from

2010 through most of 2015, multiple Walgreens stores across the state failed to monitor the opioid

use of some Medicaid patients who were considered high-risk.

            282.   In January 2017, an investigation by the Massachusetts Attorney General found that

some Walgreens pharmacies failed to monitor patients’ drug use patterns and didn’t use sound

professional judgment when dispensing opioids and other controlled substances—despite the




148
      Id.
149
    Walgreens to pay $200,000 settlement for lapses with opioids, APhA (Jan. 25, 2017),
https://www.pharmacist.com/article/walgreens-pay-200000-settlement-lapses-opioids.




                                                       101
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 107 of 314 Pageid#: 107




context of soaring overdose deaths in Massachusetts. Walgreens agreed to pay $200,000 and

follow certain procedures for dispensing opioids.150

                             iii.   Rite Aid

            283.   With approximately 4,600 stores in 31 states and the District of Columbia, Rite Aid

is the largest drugstore chain on the East Coast and the third-largest in the United States, with

annual revenue of more than $21 billion.

            284.   In 2009, as a result of a multi-jurisdictional investigation by the DOJ, Rite Aid and

nine of its subsidiaries in eight states were fined $5 million in civil penalties for its violations of

the CSA.151

            285.   The investigation revealed that from 2004 onwards, Rite Aid pharmacies across the

country had a pattern of non-compliance with the requirements of the CSA and federal regulations

that led to the diversion of prescription opioids in and around the communities of the Rite Aid

pharmacies investigated. Rite Aid also failed to notify the DEA of losses of controlled substances

in violation of 21 USC 842(a)(5) and 21 C.F.R 1301.76(b).152

            286.   Numerous state and federal drug diversion prosecutions have occurred in which

prescription opioid pills were procured from National Retail Pharmacies. The allegations in this

Complaint do not attempt to identify all these prosecutions, and the information above is merely

by way of example.




150
      Id.
151
   Press Release, Dep’t of Just., Rite Aid Corporation and Subsidiaries Agree to Pay $5 Million in Civil Penalties to
Resolve Violations in Eight States of the Controlled Substances Act, U.S. Dep’t of Just. (Jan. 12, 2009),
https://www.justice.gov/opa/pr/rite-aid-corporation-and-subsidiaries-agree-pay-5-million-civil-penalties-resolve-
violations.
152
      Id.




                                                        102
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 108 of 314 Pageid#: 108




       287.    The litany of state and federal actions against the National Retail Pharmacies

demonstrate that they routinely, and as a matter of standard operating procedure, violated their

legal obligations under the CSA and other laws and regulations that govern the distribution and

dispensing of prescription opioids.

       288.    Throughout the country and the State, the National Retail Pharmacies were or

should have been aware of numerous red flags of potential suspicious activity and diversion.

       289.    On information and belief, from the catbird seat of their retail pharmacy operations,

the National Retail Pharmacies knew or reasonably should have known about the disproportionate

flow of opioids into Virginia and the operation of “pill mills” that generated opioid prescriptions

that, by their quantity or nature, were red flags for if not direct evidence of illicit supply and

diversion. Additional information was provided by news reports, and state and federal regulatory

actions, including prosecutions of pill mills in the area.

       290.    On information and belief, the National Retail Pharmacies knew or reasonably

should have known about the devastating consequences of the oversupply and diversion of

prescription opioids, including spiking opioid overdose rates in the community.

       291.    On information and belief, because of (among others sources of information)

regulatory and other actions taken against the National Retail Pharmacies directly, actions taken

against others pertaining to prescription opioids obtained from their retail stores, complaints and

information from employees and other agents, and the massive volume of opioid prescription drug

sale data that they developed and monitored, the National Retail Pharmacies were well aware that

their distribution and dispensing activities fell far short of legal requirements.




                                                 103
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 109 of 314 Pageid#: 109




       292.    The National Retail Pharmacies’ actions and omission in failing to effectively

prevent diversion and failing to monitor, report, and prevent suspicious orders have contributed

significantly to the opioid crisis by enabling, and failing to prevent, the diversion of opioids.

   D. THE MANUFACTURER DEFENDANTS’ UNLAWFUL FAILURE TO PREVENT
      DIVERSION AND MONITOR, REPORT, AND PREVENT SUSPICIOUS
      ORDERS.

       293.    The same legal duties to prevent diversion, and to monitor, report, and prevent

suspicious orders of prescription opioids that were incumbent upon the Distributor Defendants

were also legally required of the Manufacturer Defendants under federal law.

       294.    Under federal law, the Manufacturing Defendants were required to comply with the

same licensing requirements and with the same rules regarding prevention of diversion and

reporting suspicious orders, as set out above.

       295.    Like the Distributor Defendants, the Manufacturer Defendants were required to

register with the DEA to manufacture schedule II controlled substances, like prescription opioids.

See 21 U.S.C. § 823(a). A requirement of such registration is the:

       maintenance of effective controls against diversion of particular controlled
       substances and any controlled substance in schedule I or II compounded therefrom
       into other than legitimate medical, scientific, research, or industrial channels, by
       limiting the importation and bulk manufacture of such controlled substances to a
       number of establishments which can produce an adequate and uninterrupted supply
       of these substances under adequately competitive conditions for legitimate medical,
       scientific, research, and industrial purposes . . . .

21 U.S.C. § 823(a)(1) (emphasis added).

       296.    Additionally, as “registrants” under Section 823, the Manufacturer Defendants

were also required to monitor, report, and prevent suspicious orders of controlled substances:

       The registrant shall design and operate a system to disclose to the registrant
       suspicious orders of controlled substances. The registrant shall inform the Field
       Division Office of the Administration in his area of suspicious orders when
       discovered by the registrant. Suspicious orders include orders of unusual size,




                                                 104
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 110 of 314 Pageid#: 110




       orders deviating substantially from a normal pattern, and orders of unusual
       frequency.

21 C.F.R. § 1301.74. See also 21 C.F.R. § 1301.02 (“Any term used in this part shall have the

definition set forth in section 102 of the Act (21 U.S.C. 802) or part 1300 of this chapter.”); 21

C.F.R. § 1300.01 (“Registrant means any person who is registered pursuant to either section 303

or section 1008 of the Act (21 U.S.C. 823 or 958).” Like the Distributor Defendants, the

Manufacture Defendants breached these duties.

       297.     The Manufacturer Defendants had access to and possession of the information

necessary to monitor, report, and prevent suspicious orders and to prevent diversion. The

Manufacturer Defendants engaged in the practice of paying “chargebacks” to opioid distributors.

A chargeback is a payment made by a manufacturer to a distributor after the distributor sells the

manufacturer’s product at a price below a specified rate. After a distributor sells a manufacturer’s

product to a pharmacy, for example, the distributor requests a chargeback from the manufacturer

and, in exchange for the payment, the distributor identifies to the manufacturer the product, volume

and the pharmacy to which it sold the product. Thus, the Manufacturer Defendants knew – just as

the Distributor Defendants knew – the volume, frequency, and pattern of opioid orders being

placed and filled. The Manufacturer Defendants built receipt of this information into the payment

structure for the opioids provided to the opioid distributors.

       298.     Federal statutes and regulations are clear: just like opioid distributors, opioid

manufacturers are required to “design and operate a system to disclose . . . suspicious orders of

controlled substances” and to maintain “effective controls against diversion.” 21 C.F.R. § 1301.74;

21 U.S.C. § 823(a)(1).

       299.    The Department of Justice has recently confirmed the suspicious order obligations

clearly imposed by federal law upon opioid manufacturers, fining Mallinckrodt $35 million for




                                                 105
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 111 of 314 Pageid#: 111




failure to report suspicious orders of controlled substances, including opioids, and for violating

recordkeeping requirements.153

            300.   In the press release accompanying the settlement, the Department of Justice stated:

Mallinckrodt “did not meet its obligations to detect and notify DEA of suspicious orders of

controlled substances such as oxycodone, the abuse of which is part of the current opioid epidemic.

These suspicious order monitoring requirements exist to prevent excessive sales of controlled

substances, like oxycodone . . . . Mallinckrodt’s actions and omissions formed a link in the chain

of supply that resulted in millions of oxycodone pills being sold on the street. . . . ‘Manufacturers

and distributors have a crucial responsibility to ensure that controlled substances do not get into

the wrong hands. . . .’”154

            301.    Among the allegations resolved by the settlement, the government alleged

“Mallinckrodt failed to design and implement an effective system to detect and report ‘suspicious

orders’ for controlled substances – orders that are unusual in their frequency, size, or other patterns

. . . [and] Mallinckrodt supplied distributors, and the distributors then supplied various U.S.

pharmacies and pain clinics, an increasingly excessive quantity of oxycodone pills without

notifying DEA of these suspicious orders.”155

            302.   The Memorandum of Agreement entered into by Mallinckrodt (“2017 Mallinckrodt

MOA”) avers “[a]s a registrant under the CSA, Mallinckrodt had a responsibility to maintain




153
   See Press Release, U.S. Dep’t of Justice, Mallinckrodt Agrees to Pay Record $35 Million Settlement for Failure
to Report Suspicious Orders of Pharmaceutical Drugs and for Recordkeeping Violations (July 11, 2017),
https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-record-35-million-settlement-failure-report-suspicious-
orders.
154
      Id. (quoting DEA Acting Administrator Chuck Rosenberg).
155
      Id.




                                                       106
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 112 of 314 Pageid#: 112




effective controls against diversion, including a requirement that it review and monitor these sales

and report suspicious orders to DEA.”156

           303.    The 2017 Mallinckrodt MOA further details the DEA’s allegations regarding

Mallinckrodt’s failures to fulfill its legal duties as an opioid manufacturer:

           With respect to its distribution of oxycodone and hydrocodone products,
           Mallinckrodt’s alleged failure to distribute these controlled substances in a manner
           authorized by its registration and Mallinckrodt's alleged failure to operate an
           effective suspicious order monitoring system and to report suspicious orders to the
           DEA when discovered as required by and in violation of 21 C.F.R. § 1301.74(b).
           The above includes, but is not limited to Mallinckrodt's alleged failure to:
                          i. conduct adequate due diligence of its customers;
                         ii. detect and report to the DEA orders of unusual size and frequency;
                        iii. detect and report to the DEA orders deviating substantially from normal
                             patterns including, but not limited to, those identified in letters from the
                             DEA Deputy Assistant Administrator, Office of Diversion Control, to
                             registrants dated September 27, 2006 and December 27, 2007:
                               1. orders that resulted in a disproportionate amount of a substance
                                   which is most often abused going to a particular geographic region
                                   where there was known diversion,
                               2. orders that purchased a disproportionate amount of a substance
                                   which is most often abused compared to other products, and
                               3. orders from downstream customers to distributors who were
                                   purchasing from multiple different distributors, of which
                                   Mallinckrodt was aware;
                        iv. use "chargeback" information from its distributors to evaluate suspicious
                             orders. Chargebacks include downstream purchasing information tied to
                             certain discounts, providing Mallinckrodt with data on buying patterns for
                             Mallinckrodt products; and
                         v. take sufficient action to prevent recurrence of diversion by downstream
                             customers after receiving concrete information of diversion of
                             Mallinckrodt product by those downstream customers.157




156
   Administrative Memorandum of Agreement between the United States Department of Justice, the Drug
Enforcement Agency, and Mallinckrodt, plc. and its subsidiary Mallinckrodt, LLC (July 10, 2017),
https://www.justice.gov/usao-edmi/press-release/file/986026/download (“2017 Mallinckrodt MOA”).

157
      2017 Mallinckrodt MOA at 2-3.




                                                    107
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 113 of 314 Pageid#: 113




            304.    Mallinckrodt agreed that its “system to monitor and detect suspicious orders did

not meet the standards outlined in letters from the DEA Deputy Administrator, Office of Diversion

Control, to registrants dated September 27, 2006 and December 27, 2007.” Mallinckrodt further

agreed that it “recognizes the importance of the prevention of diversion of the controlled

substances they manufacture” and would “design and operate a system that meets the requirements

of 21 CFR 1301.74(b) . . . [such that it would] utilize all available transaction information to

identify suspicious orders of any Mallinckrodt product. Further, Mallinckrodt agrees to notify

DEA of any diversion and/or suspicious circumstances involving any Mallinckrodt controlled

substances that Mallinckrodt discovers.”158

            305.    Mallinckrodt acknowledged that “[a]s part of their business model Mallinckrodt

collects transaction information, referred to as chargeback data, from their direct customers

(distributors). The transaction information contains data relating to the direct customer sales of

controlled substances to ‘downstream’ registrants.” Mallinckrodt agreed that, from this data, it

would “report to the DEA when Mallinckrodt concludes that the chargeback data or other

information indicates that a downstream registrant poses a risk of diversion.”159

            306.    The same duties imposed by federal law on Mallinckrodt were imposed upon all

Manufacturer Defendants.

            307.    The same business practices utilized by Mallinckrodt regarding “charge backs” and

receipt and review of data from opioid distributors regarding orders of opioids were utilized




158
      Id. at 3-4.
159
      Id. at 5.




                                                   108
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 114 of 314 Pageid#: 114




industry-wide among opioid manufacturers and distributors, including, upon information and

belief, the other Manufacturer Defendants.

         308.    Through, inter alia, the charge back data, the Manufacturer Defendants could

monitor suspicious orders of opioids.

         309.    The Manufacturer Defendants failed to monitor, report, and halt suspicious orders

of opioids as required by federal and state law.

         310.    The Manufacturer Defendants’ failures to monitor, report, and halt suspicious

orders of opioids were intentional and unlawful.

         311.    The Manufacturer Defendants have misrepresented their compliance with federal

and state law.

         312.    The Manufacturer Defendants enabled the supply of prescription opioids to

obviously suspicious physicians and pharmacies, enabled the illegal diversion of opioids, aided

criminal activity, and disseminated massive quantities of prescription opioids into the black

market.

         313.    The wrongful actions and omissions of the Manufacturer Defendants which have

caused the diversion of opioids and which have been a substantial contributing factor to and/or

proximate cause of the opioid crisis are alleged in greater detail in the racketeering allegations

below.

         314.    The Manufacturer Defendants’ actions and omissions in failing to effectively

prevent diversion and failing to monitor, report, and prevent suspicious orders have enabled the

unlawful diversion of opioids into Plaintiff’s Community.




                                                   109
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 115 of 314 Pageid#: 115




      E. DEFENDANTS’ UNLAWFUL CONDUCT AND BREACHES OF LEGAL DUTIES
         CAUSED THE HARM ALLEGED HEREIN AND SUBSTANTIAL DAMAGES.

        315.     As the Manufacturer Defendants’ efforts to expand the market for opioids increased

so have the rates of prescription and sale of their products — and the rates of opioid-related

substance abuse, hospitalization, and death among the people of the State and the Plaintiff’s

Community. The Distributor Defendants have continued to unlawfully ship these massive

quantities of opioids into communities like the Plaintiff’s Community, fueling the epidemic.

        316.     There is a “parallel relationship between the availability of prescription opioid

analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

associated adverse outcomes.”160

        317.     Opioid analgesics are widely diverted and improperly used, and the widespread use

of the drugs has resulted in a national epidemic of opioid overdose deaths and addictions.161

        318.     The epidemic is “directly related to the increasingly widespread misuse of powerful

opioid pain medications.”162

        319.     The increased abuse of prescription painkillers along with growing sales has

contributed to a large number of overdoses and deaths.163




160
  See Richard C. Dart et al., Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N. Eng. J.
Med. 241 (2015).
161
    See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).
162
   See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480
(2016).
163
    See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs.,
Prescription Painkiller Overdoses at Epidemic Levels (Nov. 1, 2011),
https://www.cdc.gov/media/releases/2011/p1101_flu_pain_killer_overdose.html.




                                                       110
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 116 of 314 Pageid#: 116




       320.    As shown above, the opioid epidemic has escalated in Plaintiff’s Community with

devastating effects. Substantial opiate-related substance abuse, hospitalization and death mirrors

Defendants’ increased distribution of opiates.

       321.    Because of the well-established relationship between the use of prescription opiates

and the use of non-prescription opioids, like heroin, the massive distribution of opioids to

Plaintiff’s Community and areas from which such opioids are being diverted into Plaintiff’s

Community, has caused the Defendant-caused opioid epidemic to include heroin addiction, abuse,

and death.

       322.    Prescription opioid abuse, addiction, morbidity, and mortality are hazards to public

health and safety in the State and in Plaintiff’s Community.

       323.    Heroin abuse, addiction, morbidity, and mortality are hazards to public health and

safety in the State and in Plaintiff’s Community.

       324.    Defendants repeatedly and purposefully breached their duties under state and

federal law, and such breaches are direct and proximate causes of, and/or substantial factors

leading to, the widespread diversion of prescription opioids for nonmedical purposes into the

Plaintiff’s Community.

       325.    The unlawful diversion of prescription opioids is a direct and proximate cause of,

and/or substantial factor leading to, the opioid epidemic, prescription opioid abuse, addiction,

morbidity and mortality in the State and Plaintiff’s Community. This diversion and the epidemic

are direct causes of foreseeable harms incurred by the Plaintiff and Plaintiff’s Community.

       326.    Defendants’ intentional and/or unlawful conduct resulted in direct and foreseeable,

past and continuing, economic damages for which Plaintiff seeks relief, as alleged herein. Plaintiff




                                                 111
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 117 of 314 Pageid#: 117




also seeks the means to abate the epidemic created by Defendants’ wrongful and/or unlawful

conduct.

        327.     The Plaintiff seeks economic damages from the Defendants as reimbursement for

the costs associated with damage to its property and past efforts to eliminate the hazards to public

health and safety.

        328.     Plaintiff seeks economic damages from the Defendants to pay for the cost to

permanently eliminate the hazards to public health and safety and abate the temporary public

nuisance.

        329.     To eliminate the hazard to public health and safety, and abate the public nuisance,

a “multifaceted, collaborative public health and law enforcement approach is urgently needed.”164

        330.     A comprehensive response to this crisis must focus on preventing new cases of

opioid addiction, identifying early opioid-addicted individuals, and ensuring access to effective

opioid addiction treatment while safely meeting the needs of patients experiencing pain.165

        331.     These community-based problems require community-based solutions that have

been limited by “budgetary constraints at the state and Federal levels.”166

        332.     Having profited enormously through the aggressive sale, misleading promotion,

and irresponsible distribution of opiates, Defendants should be required to take responsibility for

the financial burdens their conduct has inflicted upon the Plaintiff and Plaintiff’s Community.



164
  See Rose A. Rudd et al., Increases in Drug and Opioid Overdose Deaths—United States, 2000–2014, 64
Morbidity & Mortality Wkly. Rep. 1378 (2016), at 1145.
165
   See Johns Hopkins Bloomberg School of Public Health, The Prescription Opioid Epidemic: An Evidence-Based
Approach (G. Caleb Alexander et al. eds., 2015), http://www.jhsph.edu/research/centers-and-institutes/center-for-
drug-safety-and-effectiveness/research/prescription-opioids/JHSPH_OPIOID_EPIDEMIC_REPORT.pdf.
166
   See Office of Nat’l Drug Control Policy, Exec. Office of the President, Epidemic: Responding to America’s
Prescription Drug Abuse Crisis (2011), https://www.ncjrs.gov/pdffiles1/ondcp/rx_abuse_plan.pdf.




                                                       112
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 118 of 314 Pageid#: 118




   F. DEFENDANTS’ FRAUDULENT AND DECEPTIVE MARKETING OF OPIOIDS
      DIRECTLY CAUSED HARM TO THE PLAINTIFF.

       333.    In the first instance, the Plaintiff was damaged directly, through its payments of

false claims for chronic opioid therapy by its workers’ compensation program.

       334.    The Defendants’ marketing of opioids caused health care providers to prescribe and

the Plaintiff, through its workers’ compensation program, to pay for prescriptions of opioids to

treat chronic pain. Because of the Defendants’ unbranded marketing, health care providers wrote

and the Plaintiff paid for prescriptions opioids for chronic pain that were filled not only with their

drugs, but with opioids sold by other manufacturers. All of these prescriptions were caused by

Defendants’ fraudulent marketing and therefore all of them constitute false claims. Because, as

laid out below, The Plaintiff is obligated to cover medically necessary and reasonably required

care, it had no choice but to pay these false and fraudulent claims.

       335.    The fact that the Plaintiff would pay for these ineligible prescriptions is both the

foreseeable and intended consequence of the Defendants’ fraudulent marketing scheme. The

Defendants set out to change the medical and general consensus supporting chronic opioid therapy

so that doctors would prescribe and government payors, such as the Plaintiff, would pay for long-

term prescriptions of opioids to treat chronic pain despite the absence of genuine evidence

supporting chronic opioid therapy and the contrary evidence regarding the significant risks and

limited benefits from long-term use of opioids.

       1. Increase in Opioid Prescribing Nationally

       336.    Defendants’ scheme to change the medical consensus regarding opioid therapy for

chronic pain worked. During the year 2000, outpatient retail pharmacies filled 174 million

prescriptions for opioids nationwide. During 2009, they provided 83 million more.




                                                  113
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 119 of 314 Pageid#: 119




           337.    Opioid prescriptions increased even as the percentage of patients visiting the doctor

for pain remained constant.

           338.    A study of 7.8 million doctor visits between 2000 and 2010 found that opioid

prescriptions increased from 11.3% to 19.6% of visits, as NSAID and acetaminophen prescriptions

fell from 38% to 29%, driven primarily by the decline in NSAID prescribing.167

           339.    Approximately 20% of the population between the ages of 30 and 44 and nearly

30% of the population over 45 have used opioids. Indeed, “[o]pioids are the most common means

of treatment for chronic pain.”168 From 1980 to 2000, opioid prescriptions for chronic pain visits

doubled. This is the result not of an epidemic of pain, but an epidemic of prescribing. A study of

7.8 million doctor visits found that prescribing for pain increased by 73% between 2000 and 2010

– even though the number of office visits in which patients complained of pain did not change and

prescribing of non-opioid pain medications decreased. For back pain alone – one of the most

common chronic pain conditions – the percentage of patients prescribed opioids increased from

19% to 29% between 1999 and 2010, even as the use of NSAIDs, or acetaminophen declined and

referrals to physical therapy remained steady – and climbing.

           340.    This increase corresponds with, and was caused by, the Defendants’ massive

marketing push. The industry’s spending nationwide on marketing of opioids stood at more than

$20 million per quarter and $91 million annually in 2000. By 2011, that figure hit its peak of more

than $70 million per quarter and $288 million annually, a more than three-fold increase. By 2014,

the figures dropped to roughly $45 million per quarter and $182 million annually, as the



167
   Matthew Daubress et al., Ambulatory Diagnosis and Treatment of Nonmalignant Pain in the United States,
2000-2010, 51 (10) Med. Care 870 (2013).
168
      Deborah Grady et al., Opioids for Chronic Pain, 171 (16) Arch. Intern. Med. 1426 (2011).




                                                         114
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 120 of 314 Pageid#: 120




Defendants confronted increased concern regarding opioid addiction, abuse, and diversion. Even

so, the Defendants still spend double what they spent in 2000 on opioid marketing.

       341.     By far the largest component of this spending was opioid drug makers’ detailing

visits to individual doctors, with total detailing expenditures more than doubling between 2000

and 2014 and now standing at $168 million annually.
       2. The Plaintiff’s Increased Spending on Opioids through Self-Insured Worker’s
          Compensation Program.

       342.     Commensurate with the Defendants’ heavy promotion of opioids and the resultant

massive upswing in prescribing of opioids nationally, the Plaintiff has seen its own spending on

opioids – through claims paid by its worker’s compensation program – increase.


           i.   Workers’ Compensation Programs

       343.     The Plaintiff, through a fully self-insured program, provides health insurance and

workers’ compensation coverage along with prescription drug benefits, to eligible employees

injured in the course of their employment. When an employee is injured on the job, he or she may

file a claim for workers’ compensation, and if the injury is deemed work-related, The Plaintiff is

responsible for paying its share of the employee’s medical costs and lost wages.

       344.     The Plaintiff uses a third party vendor to help manage medical benefits under the

workers’ compensation program. Doctors submit claims to the Plaintiff’s workers’ compensation

program for the costs associated with prescribing opioids, including office visits and toxicology

screens for patients prescribed opioids.

       345.     Upon information and belief, the Plaintiff’s vendor uses a pharmacy and drug

utilization management program to manage prescriptions for the Plaintiff’s workers’ compensation

program.




                                               115
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 121 of 314 Pageid#: 121




       346.    The Plaintiff’s workers’ compensation program covers all costs associated with

opioids, including treatment related to any adverse outcomes from chronic opioid therapy, such as

addiction treatment.

       347.    The Defendants cause doctors and pharmacies to submit, and the Plaintiff to pay

claims to its workers’ compensation program that were false by: (a) causing doctors to write

prescriptions for chronic opioid therapy based on deceptive representations regarding the risks,

benefits, and superiority of those drugs; (b) causing doctors to certify that these prescriptions and

associated services were medically necessary; (c) causing claims to be submitted for drugs that

were promoted for off-label uses and misbranded, and therefore not FDA-approved; and (d)

distorting the standard of care for treatment of chronic pain so that doctors would feel not only

that it was appropriate, but required, that they prescribe and continue prescriptions for opioids

long-term to treat chronic pain. Each – or any – of these factors made claims to the Plaintiff for

chronic opioid therapy false.

       348.    The Virginia Workers’ Compensation law requires employers or their insurers to

pay for, inter alia, medical and surgical services, hospital and nursing services, and medicines that

are reasonably required to cure or relieve the injured worker from the effects of his or her injury.

VA. CODE ANN. § 65.2-300 et seq.

       349.    In prescribing opioids for chronic pain, doctors certify that the treatment is

medically necessary and reasonably required, and the workers’ compensation program authorizes

payment from the Plaintiff’s funds.

       350.    The Plaintiff’s workers’ compensation program is obligated to cover all “medically

necessary” and “reasonably required” treatment arising from a compensable work-related injury.




                                                116
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 122 of 314 Pageid#: 122




       351.    As described above, however, the use of opioids to treat chronic pain is not

medically necessary or reasonably required in that their risks materially exceed their benefits; they

do not improve physiological function; and their use is not consistent with guidelines that are

scientifically based (as opposed to marketing driven).

       352.    Nevertheless, the amount of such prescriptions paid by worker’s compensation

programs is monumental. A study of the National Council on Compensation Insurance (“NCCI”)

concluded that, in 2011, approximately 38% of pharmacy costs in workers’ compensation are for

opioids and opioid combinations, amounting to approximately $1.4 billion.

       353.    Upon information and belief, those trends are reflected in the Plaintiff’s experience

with paying for opioids through its worker’s compensation plan.

       354.    The Plaintiff incurred costs associated with the prescribing of opioids, such as

doctors’ visits or toxicology screens, and the costs of treating the adverse effects of prescribing

opioids long-term such as overdose and addiction.

       355.    However, the costs of long-term opioid use are not limited to costs of opioid

prescriptions. Long-term opioid use is accompanied by a host of consequential costs, including

costs related to abuse, addiction, and death.

       356.    These claims – and their attendant and consequential costs – for opioids prescribed

for chronic pain, as opposed to acute and cancer or end-of-life pain, were ineligible for payment

and the result of the Defendant’s fraudulent scheme.

         ii.   The Plaintiff’s Increased Costs Correlate with the Defendants’ Promotion.

       357.    Upon information and belief, a review of the Plaintiff’s costs related to opioid

prescriptions, and the costs associated with those prescriptions, will show that as the Defendants




                                                117
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 123 of 314 Pageid#: 123




spent more to promote their drugs, doctors began prescribing them more often and as a result, the

costs to the Plaintiff went up.

       358.    It is also distressing (and a sign of further problems ahead) that the drop in opioid

prescribing beginning in 2014 has been accompanied by a corresponding increase in the

Defendants’ promotional spending, which is headed towards a new high, despite evidence of the

grave toll that opioids are taking on law enforcement, public health, and individual lives.

       359.    The Plaintiff asserts that each Defendant made misrepresentations or

misrepresentation by omission of material facts by their employees, agents, or co-conspirators to

prescribing physicians who then wrote opioid prescriptions for which the Plaintiff paid.

Furthermore, the Plaintiff asserts that specific details about the names of the employees, agents, or

co-conspirators, the substance of the misrepresentations or omissions, the time and date and

location of said misrepresentations or omissions, and the names of the prescribing physicians who

were exposed to each Defendants’ misrepresentations or omissions were closely tracked by the

Defendants, are in the exclusive possession of the Defendants and the Plaintiff reasonably believes

that such information will be disclosed in discovery.

   G. STATUTES OF LIMITATIONS ARE TOLLED AND DEFENDANTS ARE
      ESTOPPED FROM ASSERTED STATUTES OF LIMITATIONS AS DEFENSES.

           1. Continuing Conduct.

       360.    Plaintiff contends it continues to suffer harm from the unlawful actions by the

Defendants.

       361.    The continued tortious and unlawful conduct by the Defendants causes a repeated

or continuous injury. The damages have not occurred all at once but have continued to occur and

have increased as time progresses. The tort is not completed nor have all the damages been

incurred until the wrongdoing ceases. The wrongdoing and unlawful activity by Defendants has




                                                118
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 124 of 314 Pageid#: 124




not ceased. The public nuisance remains unabated. The conduct causing the damages remains

unabated.

                 2. Equitable Estoppel.

            362.     To the extent any statute of limitations defense would apply, Defendants are

equitably estopped from relying upon a statute of limitations defense because they undertook

active efforts to deceive Plaintiff and to purposefully conceal their unlawful conduct and

fraudulently assure the public, including the State, the Plaintiff, and Plaintiff’s Community, that

they were undertaking efforts to comply with their obligations under the state and federal

controlled substances laws, all with the goal of protecting their registered manufacturer or

distributor status in the State and to continue generating profits. Notwithstanding the allegations

set forth above, the Defendants affirmatively assured the public, including the State, the Plaintiff,

and Plaintiff’s Community, that they are working to curb the opioid epidemic.

            363.     For example, a Cardinal Health executive claimed that it uses “advanced analytics”

to monitor its supply chain, and assured the public it was being “as effective and efficient as

possible in constantly monitoring, identifying, and eliminating any outside criminal activity.”169

            364.     Similarly, McKesson publicly stated that it has a “best-in-class controlled substance

monitoring program to help identify suspicious orders,” and claimed it is “deeply passionate about

curbing the opioid epidemic in our country.”170




169
      Bernstein et al., supra.
170
   Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency Tried to Curb Opioid
Abuse, Wash. Post, Dec. 22, 2016, https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-
dea-to-pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-949c5893595e_story.html.




                                                      119
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 125 of 314 Pageid#: 125




           365.    Moreover, in furtherance of their effort to affirmatively conceal their conduct and

avoid detection, the Distributor Defendants, through their trade associations, HDMA and NACDS,

filed an amicus brief in Masters Pharmaceuticals, which made the following statements:171

               a. “HDMA and NACDS members not only have statutory and regulatory
                  responsibilities to guard against diversion of controlled prescription drugs, but
                  undertake such efforts as responsible members of society.”

               b. “DEA regulations that have been in place for more than 40 years require distributors
                  to report suspicious orders of controlled substances to DEA based on information
                  readily available to them (e.g., a pharmacy’s placement of unusually frequent or
                  large orders).”

               c. “Distributors take seriously their duty to report suspicious orders, utilizing both
                  computer algorithms and human review to detect suspicious orders based on the
                  generalized information that is available to them in the ordering process.”

               d. “A particular order or series of orders can raise red flags because of its unusual size,
                  frequency, or departure from typical patterns with a given pharmacy.”

               e. “Distributors also monitor for and report abnormal behavior by pharmacies placing
                  orders, such as refusing to provide business contact information or insisting on
                  paying in cash.”

Through the above statements made on their behalf by their trade associations, and other similar

statements assuring their continued compliance with their legal obligations, the Distributor

Defendants not only acknowledged that they understood their obligations under the law, but they

further affirmed that their conduct was in compliance with those obligations.

           366.    The Distributor Defendants have also concealed and prevented discovery of

information, including data from the ARCOS database that will confirm their identities and the

extent of their wrongful and illegal activities.




171
      Brief for HDMA and NACDS, 2016 WL 1321983, at *3-4, *25.




                                                    120
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 126 of 314 Pageid#: 126




       367.    The Manufacturer Defendants distorted the meaning or import of studies they cited

and offered them as evidence for propositions the studies did not support. The Manufacturer

Defendants invented “pseudoaddiction” and promoted it to an unsuspecting medical community.

The Manufacturer Defendants provided the medical community with false and misleading

information about ineffectual strategies to avoid or control opioid addiction. The Manufacturer

Defendants recommended to the medical community that dosages be increased, without disclosing

the risks. The Manufacturer Defendants spent millions of dollars over a period of years on a

misinformation campaign aimed at highlighting opioids’ alleged benefits, disguising the risks, and

promoting sales. The medical community, consumers, the State, and Plaintiff’s Community were

duped by the Manufacturer Defendants’ campaign to misrepresent and conceal the truth about the

opioid drugs that they were aggressively pushing in the State and in Plaintiff’s Community.

       368.    Defendants intended that their actions and omissions would be relied upon,

including by Plaintiff and Plaintiff’s Community. Plaintiff and Plaintiff’s Community did not

know, and did not have the means to know, the truth due to Defendants’ actions and omissions.

       369.    The Plaintiff and Plaintiff’s Community reasonably relied on Defendants’

affirmative statements regarding their purported compliance with their obligations under the law

and consent orders. To the extent statutes of limitations could apply to Plaintiff’s claims, Plaintiff

failed to commence an action within the statutory periods because of reliance on Defendants’

wrongful conduct.

       370.    Defendants are estopped from asserting a statute of limitations defense because

their conduct and misrepresentations were so unfair and misleading as to outweigh the public’s

interest in setting limitations on bringing actions.




                                                 121
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 127 of 314 Pageid#: 127




             3. Fraudulent Concealment.

       371.     To the extent any statute of limitations defense would apply, Plaintiff’s claims are

further subject to equitable tolling, stemming from Defendants’ knowing and fraudulent

concealment of the facts alleged herein. As alleged herein, Defendants knew of the wrongful acts

set forth above, had material information pertinent to their discovery, and concealed them from

the Plaintiff and Plaintiff’s Community. The Plaintiff did not know, or could not have known

through the exercise of reasonable diligence, of its causes of action, as a result of Defendants’

conduct.

       372.     The purposes of the statutes of limitations period, if any, are satisfied because

Defendants cannot claim prejudice due to a late filing where the Plaintiff filed suit promptly upon

discovering the facts essential to their claims, described herein, which Defendants knowingly

concealed.

       373.     In light of their statements to the media, in legal filings and in settlements, it is clear

that Defendants had actual or constructive knowledge that their conduct was deceptive, in that they

consciously concealed the schemes set forth herein.

       374.     Defendants continually and secretly engaged in their scheme to avoid compliance

with their legal obligations. Only Defendants and their agents knew or could have known about

Defendants’ unlawful actions because Defendants made deliberate efforts to conceal their conduct.

As a result of the above, the Plaintiff was unable to obtain vital information bearing on their claims

absent any fault or lack of diligence on their part.




                                                   122
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 128 of 314 Pageid#: 128




                             V.    LEGAL CAUSES OF ACTION
                                         COUNT I
                                     PUBLIC NUISANCE
                                      (Against all Defendants)

       375.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further allege as follows.

       376.    Virginia common law and VIRGINIA CODE ANN. §15.2-900 provide that “In

addition to the remedy provided by § 48-5 and any other remedy provided by law, any locality

may maintain an action to compel a responsible party to abate, raze, or remove a public nuisance.

If the public nuisance presents an imminent and immediate threat to life or property, then the

locality may abate, raze, or remove such public nuisance, and a locality may bring an action against

the responsible party to recover the necessary costs incurred for the provision of public emergency

services reasonably required to abate any such public nuisance.”

       377.    By causing dangerously addictive drugs to flood the community, and to be diverted

for illicit purposes, in contravention of federal and state law, each Defendant has injuriously

affected rights common to the general public, specifically including Plaintiff’s Community, to

public health, public safety, public peace, public comfort, and public convenience. The public

nuisance caused by Defendants’ diversion of dangerous drugs has caused substantial annoyance,

inconvenience, and injury to the public.

       378.    By selling dangerously addictive opioid drugs diverted from a legitimate medical,

scientific, or industrial purpose, Defendants have committed a course of conduct that injuriously

affects the safety, health, and morals in Plaintiff’s Community.

       379.    By failing to maintain a closed system that guards against diversion of dangerously

addictive drugs for illicit purposes, Defendants injuriously affected public rights, including the

right to public health, public safety, public peace, and public comfort in Plaintiff’s Community.




                                                 123
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 129 of 314 Pageid#: 129




       380.    By affirmatively promoting opioids for use for chronic pain, affirmatively

promoting opioids as not addictive, affirmatively fostering a misunderstanding of the signs of

addiction and how to reliably identify and safely prescribe opioids to patients predisposed to

addiction, affirmatively exaggerating the risks of competing medications like NSAIDs,

affirmatively promoting their so-called abuse-deterrent opioid formulations and affirmatively

identifying and targeting susceptible prescribers and vulnerable patient populations, Defendants

injuriously affected public rights, including the right to public health, public safety, public peace,

and public comfort in the Plaintiff’s Community. The public nuisance caused by Defendants’

affirmative promotion of opioids has caused substantial annoyance, inconvenience, and injury to

the public.

       381.    Defendants’ interference with the comfortable enjoyment of life in the Plaintiff’s

Community is unreasonable because there is little social utility to opioid diversion and abuse, and

any potential value is outweighed by the gravity of the harm inflicted by Defendants’ actions.

       382.    The Plaintiff alleges that Defendants’ wrongful and illegal actions have created a

public nuisance. Each Defendant is liable for public nuisance because its conduct at issue has

caused an unreasonable and substantial interference with a right common to the general public.

       383.    The Defendants have intentionally and/or unlawfully created a nuisance.

       384.    The residents of Plaintiff’s Community have a common right to be free from

conduct that creates an unreasonable jeopardy to the public health, welfare and safety, and to be

free from conduct that creates a disturbance and reasonable apprehension of danger to person and

property.

       385.    Defendants intentionally, unlawfully, and recklessly manufacture, market,

distribute, promote and sell prescription opioids that Defendants know, or reasonably should know,




                                                 124
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 130 of 314 Pageid#: 130




will be diverted, causing widespread distribution of prescription opioids in and/or to Plaintiff’s

Community, resulting in addiction and abuse, an elevated level of crime, death and injuries to the

residents of Plaintiff’s Community, a higher level of fear, discomfort and inconvenience to the

residents of Plaintiff’s Community, and direct costs to Plaintiff’s Community.

       386.    Defendants have unlawfully and/or intentionally caused and permitted dangerous

drugs under their control to be diverted such as to injure the Plaintiff’s Community and its

residents.

       387.    Defendants have unlawfully and/or intentionally promoted and distributed opioids

or caused opioids to be distributed without maintaining effective controls against diversion. Such

conduct was illegal. Defendants’ failures to maintain effective controls against diversion include

Defendants’ failure to effectively monitor for suspicious orders, report suspicious orders, and/or

stop shipment of suspicious orders.

       388.    Defendants have caused a significant and unreasonable interference with the public

health, safety, welfare, peace, comfort and convenience, and ability to be free from disturbance

and reasonable apprehension of danger to person or property.

       389.    Defendants’ conduct in illegally distributing and selling prescription opioids, or

causing such opioids to be distributed and sold, where Defendants know, or reasonably should

know, such opioids will be diverted and possessed and/or used illegally in Plaintiff’s Community

is of a continuing nature.

       390.    Defendants’ actions have been of a continuing nature and have produced a

significant effect upon the public’s rights, including the public’s right to health and safety.

       391.    A violation of any rule or law controlling the distribution of a drug of abuse in

Plaintiff’s Community and the State is a public nuisance.




                                                 125
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 131 of 314 Pageid#: 131




       392.     Defendants’ distribution of opioids while failing to maintain effective controls

against diversion was proscribed by statute and regulation.

       393.     Defendants’ ongoing conduct produces an ongoing nuisance, as the prescription

opioids that they allow and/or cause to be illegally distributed and possessed in Plaintiff’s

Community will be diverted, leading to abuse, addiction, crime, and public health costs.

       394.     Because of the continued use and addiction caused by these illegally distributed

opioids, residents of Plaintiff’s Community will continue to fear for their health, safety and

welfare, and will be subjected to conduct that creates a disturbance and reasonable apprehension

of danger to person and property.

       395.     Defendants know, or reasonably should know, that their conduct will have an

ongoing detrimental effect upon the public health, safety and welfare, and the public’s ability to

be free from disturbance and reasonable apprehension of danger to person and property.

       396.     Defendants know, or reasonably should know, that their conduct causes an

unreasonable and substantial invasion of the public right to health, safety and welfare and the

public’s ability to be free from disturbance and reasonable apprehension of danger to person and

property.

       397.     Defendants are aware, and at a bare minimum certainly should be aware, of the

unreasonable interference that their conduct has caused in Plaintiff’s Community. Defendants are

in the business of manufacturing, marketing, selling, and distributing prescription drugs, including

opioids, which are specifically known to Defendants to be dangerous because inter alia these drugs

are defined under federal and state law as substances posing a high potential for abuse and severe

addiction.    See, e.g., 21 U.S.C. § 812 (b)(2). Defendants created an intentional nuisance.




                                                126
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 132 of 314 Pageid#: 132




Defendants’ actions created and expanded the abuse of opioids, drugs specifically codified as

constituting severely harmful substances.

       398.    Defendants’ conduct in promoting, marketing, distributing, and selling prescription

opioids which the Defendants know, or reasonably should know, will likely be diverted for non-

legitimate, non-medical use, creates a strong likelihood that these illegal distributions of opioids

will cause death and injuries to residents in Plaintiff’s Community and otherwise significantly and

unreasonably interfere with public health, safety and welfare, and with the public’s right to be free

from disturbance and reasonable apprehension of danger to person and property.

       399.    It is, or should be, reasonably foreseeable to defendants that their conduct will cause

deaths and injuries to residents in Plaintiff’s Community, and will otherwise significantly and

unreasonably interfere with public health, safety and welfare, and with the public’s right to be free

from disturbance and reasonable apprehension of danger to person and property.

       400.    The prevalence and availability of diverted prescription opioids in the hands of

irresponsible persons and persons with criminal purposes in Plaintiff’s Community not only causes

deaths and injuries, but also creates a palpable climate of fear among residents in Plaintiff’s

Community where opioid diversion, abuse, addiction are prevalent and where diverted opioids

tend to be used frequently.

       401.    Defendants’ conduct makes it easier for persons to divert prescription opioids,

constituting a dangerous threat to the public.

       402.    Defendants’ actions were, at the least, a substantial factor in opioids becoming

widely available and widely used for non-medical purposes. Because of Defendants’ affirmative

promotion of opioids and special positions within the closed system of opioid distribution, without

Defendants’ actions, opioid use would not have become so widespread, and the enormous public




                                                 127
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 133 of 314 Pageid#: 133




health hazard of prescription opioid and heroin overuse, abuse, and addiction that now exists would

have been averted.

       403.    The presence of diverted prescription opioids in Plaintiff’s Community, and the

consequence of prescription opioids having been diverted in Plaintiff’s Community, proximately

results in and/or substantially contributes to the creation of significant future costs to the Plaintiff

and to Plaintiff’s Community in order to enforce the law, equip its police force and treat the victims

of opioid abuse and addiction.

       404.    Stemming the flow of illegally distributed prescription opioids, and abating the

nuisance caused by the illegal flow of opioids, will help to alleviate this problem, save lives,

prevent injuries and make Plaintiff’s Community a safer place to live.

       405.    Defendants’ conduct is a direct and proximate cause of and/or a substantial

contributing factor to opioid addiction and abuse in Plaintiff’s Community, costs that will be borne

by Plaintiff and Plaintiff’s Community, and a significant and unreasonable interference with public

health, safety and welfare, and with the public’s right to be free from disturbance and reasonable

apprehension of danger to person and property.

       406.    Defendants’ conduct constitutes a public nuisance and, if unabated, will continue

to threaten the health, safety and welfare of the residents of Plaintiff’s Community, creating an

atmosphere of fear and addiction that tears at the residents’ sense of well-being and security.

Plaintiff has a clearly ascertainable right to prospectively abate conduct that perpetuates this

nuisance.

       407.    Defendants created an intentional nuisance. Defendants’ actions created and

expanded the abuse of opioids, which are dangerously addictive, and the ensuing associated plague

of prescription opioid and heroin addiction. Defendants knew the dangers to public health and




                                                  128
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 134 of 314 Pageid#: 134




safety that diversion of opioids would create in Plaintiff’s Community; however, Defendants

intentionally and/or unlawfully failed to maintain effective controls against diversion through

proper monitoring, reporting and refusal to fill suspicious orders of opioids. Defendants

intentionally and/or unlawfully distributed opioids or caused opioids to be distributed without

reporting or refusing to fill suspicious orders or taking other measures to maintain effective

controls against diversion. Defendants intentionally and/or unlawfully continued to ship and failed

to halt suspicious orders of opioids, or caused such orders to be shipped. Defendants intentionally

and/or unlawfully promoted and marketed opioids in manners they knew to be false and

misleading. Such actions were inherently dangerous.

       408.    Defendants knew the prescription opioids have a high likelihood of being diverted.

It was foreseeable to Defendants that where Defendants distributed prescription opioids or caused

such opioids to be distributed without maintaining effective controls against diversion, including

monitoring, reporting, and refusing shipment of suspicious orders, that the opioids would be

diverted, and create an opioid abuse nuisance in Plaintiff’s Community.

       409.    Defendants’ actions also created a nuisance by acting recklessly, negligently and/or

carelessly, in breach of their duties to maintain effective controls against diversion, thereby

creating an unreasonable and substantial risk of harm.

       410.    Defendants acted with actual malice because Defendants acted with a conscious

disregard for the rights and safety of other persons, and said actions have a great probability of

causing substantial harm.

       411.    The public nuisance created, perpetuated and maintained by Defendants can be

prospectively abated and further reoccurrence of such harm and inconvenience can be prevented.




                                               129
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 135 of 314 Pageid#: 135




       412.    The Plaintiff further seeks to prospectively abate the nuisance created by the

Defendants’ unreasonable, unlawful, intentional, ongoing, continuing, substantial and persistent

actions and omissions and interference with a right common to the public.

       413.    Defendants’ intentional and unlawful actions and omissions and unreasonable

interference with a right common to the public are of a continuing nature.

       414.    The public nuisance created by Defendants’ actions is substantial and unreasonable

– it has caused and continues to cause significant harm to the community, and the harm inflicted

outweighs any offsetting benefit. The staggering rates of opioid and heroin use resulting from the

Defendants’ abdication of their gate-keeping and diversion prevention duties, and the

Manufacturer Defendants’ fraudulent marketing activities, have caused harm to the entire

community that includes, but is not limited to the following:


           a. The high rates of use leading to unnecessary opioid abuse, addiction, overdose,
              injuries, and deaths.

           b. Even children have fallen victim to the opioid epidemic. Easy access to prescription
              opioids made opioids a recreational drug of choice among teenagers. Even infants
              have been born addicted to opioids due to prenatal exposure, causing severe
              withdrawal symptoms and lasting developmental impacts.

           c. Even those residents of Plaintiff’s Community who have never taken opioids have
              suffered from the public nuisance arising from Defendants’ abdication of their gate-
              keeper duties and fraudulent promotions. Many residents have endured and will
              endure both the emotional and financial costs of caring for loved ones addicted to
              or injured by opioids, and the loss of companionship, wages, or other support from
              family members who have used, abused, become addicted to, overdosed on, or been
              killed by opioids.

           d. The opioid epidemic has increased and will increase health care costs.

           e. Employers have lost and will continue to lose the value of productive and healthy
              employees.

           f. Defendants’ conduct created and continues to create an abundance of drugs
              available for criminal use and fueled a new wave of addiction, abuse, and injury.




                                               130
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 136 of 314 Pageid#: 136




           g. Defendants’ dereliction of duties and/or fraudulent misinformation campaign
              pushing dangerous drugs resulted in a diverted supply of narcotics to sell, and the
              ensuing demand of addicts to buy them. More prescription opioids sold by
              Defendants led to more addiction, with many addicts turning from prescription
              opioids to heroin. People addicted to opioids frequently require increasing levels of
              opioids, and many are turning to heroin as a foreseeable result.

           h. The diversion of opioids into the secondary, criminal market and the increased
              number of individuals who abuse or are addicted to opioids has increased and
              continues to increase the demands on health care services and law enforcement.

           i. The significant and unreasonable interference with the public rights caused by
              Defendants’ conduct has taxed and continues to tax the human, medical, public
              health, law enforcement, and financial resources of the Plaintiff’s Community.

       415.    The Plaintiff and Plaintiff’s Community have sustained specific and special injuries

because its damages include inter alia health services and law enforcement expenditures, as

described in this Complaint.

       416.    Each Defendant created or assisted in the creation of the epidemic of opioid use

and injury and each Defendant is jointly and severally liable for abating it.

                                  COUNT II
   RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT 18 U.S.C.
                                § 1961, et seq.
           (Against Defendants Purdue, Cephalon, Janssen, and Endo)
                     (The “Opioid Marketing Enterprise”)

       417.     Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

       418.    Plaintiff brings this Count on behalf of itself against the following Defendants, as

defined above: Purdue, Cephalon, Janssen, and Endo (referred to collectively for this Claim as the

“RICO Marketing Defendants”).

       419.    At all relevant times, the RICO Marketing Defendants were and are “persons”

under 18 U.S.C. § 1961(3) because they are entities capable of holding, and do hold, “a legal or

beneficial interest in property.”




                                                    131
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 137 of 314 Pageid#: 137




       420.    Section 1962(c) of RICO makes it unlawful “for any person employed by or

associated with any enterprise engaged in, or the activities of which affect, interstate or foreign

commerce, to conduct or participate, directly or indirectly, in the conduct of such enterprise’s

affairs through a pattern of racketeering activity.” 18 U.S.C. § 1962(c).

       421.    The term “enterprise” is defined as including “any individual, partnership,

corporation, association, or other legal entity, and any union or group of individuals associated in

fact although not a legal entity.” 18 U.S.C. § 1961(4). The definition of “enterprise” in Section

1961(4) includes legitimate and illegitimate enterprises within its scope. Specifically, the section

“describes two separate categories of associations that come within the purview of an ‘enterprise’

-- the first encompassing organizations such as corporations, partnerships, and other ‘legal

entities,’ and the second covering ‘any union or group of individuals associated in fact although

not a legal entity.’” United State v. Turkette, 452 U.S. 576, 577 (1981).

       422.    Beginning in the early 1990s, the RICO Marketing Defendants aggressively sought

to bolster their revenue, increase profit, and grow their share of the prescription painkiller market

by unlawfully increasing the volume of opioids they sold. The RICO Marketing Defendants knew

that they could not increase their profits without misrepresenting that opioids were non-addictive

and safe for the long-term treatment of chronic pain.

       423.    The generally accepted standards of medical practice prior to the 1990s dictated

that opioids should only be used in short durations to treat acute pain, pain relating to recovery

from surgery, or for cancer or palliative (end-of-life) care. Due to the evidence of addiction and

lack of evidence indicating that opioids improved patients’ ability to overcome pain and function,

the use of opioids for chronic pain was discouraged or prohibited. As a result, doctors generally

did not prescribe opioids for chronic pain.




                                                132
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 138 of 314 Pageid#: 138




        424.    Knowing that their products were highly addictive, ineffective and unsafe for the

treatment of long-term chronic pain, non-acute and non-cancer pain, the RICO Marketing

Defendants formed an association-in-fact enterprise and engaged in a scheme to unlawfully

increase their profits and sales, and grow their share of the prescription painkiller market, through

repeated and systematic misrepresentations about the safety and efficacy of opioids for treating

long-term chronic pain.

        425.    The RICO Marketing Defendants formed an association-in-fact enterprise

consisting of “advocacy groups and professional societies” (“Front Groups”) and paid “physicians

affiliated with these groups” (KOLs”) in order to unlawfully increase the demand for opioids.

Through their personal relationships, the RICO Marketing Defendants and members of the Opioid

Marketing Enterprise had the opportunity to form and take actions in furtherance of the Opioid

Marketing Enterprise’s common purpose. The RICO Marketing Defendants’ substantial financial

contribution to the Opioid Marketing Enterprise, and the advancement of opioids-friendly

messaging, fueled the U.S. opioids epidemic.172

        426.    The RICO Marketing Defendants, through the Opioid Marketing Enterprise, made

misleading statements and misrepresentations about opioids that downplayed the risk of addiction

and exaggerated the benefits of opioid use, including: (1) downplaying the serious risk of

addiction; (2) creating and promoting the concept of “pseudoaddiction” when signs of actual

addiction began appearing and advocated that the signs of addiction should be treated with more

opioids; (3) exaggerating the effectiveness of screening tools to prevent addiction; (4) claiming




172
    Fueling an Epidemic: Exposing the Financial Ties Between Opioid Manufacturers and Third Party Advocacy
Groups, U.S. Senate Homeland Security & Governmental Affairs Committee, Ranking Members’ Office, February
12, 2018 https://www.hsdl.org/?abstract&did=808171 (“Fueling an Epidemic”), at 1.




                                                    133
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 139 of 314 Pageid#: 139




that opioid dependence and withdrawal are easily managed; (5) denying the risks of higher opioid

dosages; and (6) exaggerating the effectiveness of “abuse-deterrent” opioid formulations to

prevent abuse and addiction.

          427.   The RICO Marketing Defendants also falsely touted the benefits of long-term

opioid use, including the supposed ability of opioids to improve function and quality of life, even

though there was no scientifically reliable evidence to support the RICO Marketing Defendants’

claims.

          428.   The RICO Marketing Defendants’ scheme, and the common purpose of the Opioid

Marketing Enterprise, has been wildly successful. Opioids are now the most prescribed class of

drugs. Globally, opioid sales generated $11 billion in revenue for drug companies in 2010 alone;

sales in the United States have exceeded $8 billion in revenue annually since 2009.173 In an open

letter to the nation’s physicians in August 2016, the then-U.S. Surgeon General expressly

connected this “urgent health crisis” to “heavy marketing of opioids to doctors . . . [m]any of

[whom] were even taught – incorrectly – that opioids are not addictive when prescribed for

legitimate pain.”174

          429.   The scheme devised and implemented by the RICO Marketing Defendants

amounted to a common course of conduct designed to ensure that the RICO Marketing Defendants

unlawfully increased their sales and profits through misrepresentations about the addictive nature




173
   See Katherine Eban, OxyContin: Purdue Pharma’s Painful Medicine, Fortune, Nov. 9, 2011,
http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/; David Crow, Drugmakers Hooked on
$10bn Opioid Habit, Fin. Times, Aug. 10, 2016, https://www. ft.com/content/f6e989a8-5dac-11e6-bb77-
a121aa8abd95.
174
    Letter from Vivek H. Murthy, U.S. Surgeon General (Aug. 2016), http://turnthetiderx.org/; Fueling An Epidemic,
supra n.3, at 1.




                                                       134
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 140 of 314 Pageid#: 140




and effective use of the RICO Marketing Defendants’ drugs. As Senator McCaskill aptly

recognized:

        The opioid epidemic is the direct result of a calculated marketing and sales
        strategy developed in the 90’s, which delivered three simple messages to
        physicians. First, that chronic pain was severely undertreated in the United
        States. Second, that opioids were the best tool to address that pain. And
        third, that opioids could treat pain without risk of serious addiction. As it
        turns out, these messages were exaggerations at best and outright lies at
        worst.175

        A.      THE OPIOID MARKETING ENTERPRISE

        430.    The Opioid Marketing Enterprise consists of the RICO Marketing Defendants, the

Front Groups, and the KOLs – each of whom is identified below:

               The RICO Defendants

        o       Purdue

        o       Cephalon

        o       Janssen

        o       Endo

               The Front Groups

        o       American Pain Foundation (“APF”)

        o       American Academy of Pain Medicine (“AAPM”)

        o       American Pain Society (“APS”)

        o       Federation of State Medical Boards (“FSMB”)

        o       U.S. Pain Foundation (“USPF”)

        o       American Geriatrics Society (“AGS”)


175
    See, LIVESTREAM: Insys Opioid Sales and Marketing Practices Roundtable, September 12, 2017, at 31:03-
31:37, https://www.youtube.com/watch?v=k9mrQa8_vAo (accessed on March 1, 2018).




                                                     135
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 141 of 314 Pageid#: 141




              The KOLs

       o       Dr. Russell Portenoy (“Dr. Portenoy”)

       o       Dr. Lynn Webster (“Dr. Webster”)

       o       Dr. Perry Fine (“Dr. Fine”)

       o       Dr. Scott M. Fishman (“Dr. Fishman”)

       431.    The Opioid Marketing Enterprise is an ongoing and continuing business

organization that created and maintained systematic links, interpersonal relationships and engaged

in a pattern of predicate acts (i.e. racketeering activity) in order to further the common purpose of

the enterprise: unlawfully increasing profits and revenues from the continued prescription and use

of opioids for long-term chronic pain. Each of the individuals and entities who formed the Opioid

Marketing Enterprise is an entity or person within the meaning of 18 U.S.C. § 1961(3) and acted

to enable the common purpose and fraudulent scheme of the Opioid Marketing Enterprise.

       432.    In order to accomplish the common purpose, members of the Opioid Marketing

Enterprise repeatedly and systematically misrepresented – affirmatively, and through half-truths

and omissions – that opioids are non-addictive and safe for the effective treatment of long-term,

chronic, non-acute and non-cancer pain, and for other off-label uses not approved by the FDA.

The Opioid Marketing Enterprise misrepresented and concealed the serious risks and lack of

corresponding benefits of using opioids for long-term chronic pain.              By making these

misrepresentations, the Opioid Marketing Enterprise ensured that a large number of opioid

prescriptions would be written and filled for chronic pain.

       433.    At all relevant times, the Opioid Marketing Enterprise: (a) had an existence separate

and distinct from each RICO Marketing Defendant and its members; (b) was separate and distinct

from the pattern of racketeering in which the RICO Defendants engaged; (c) was an ongoing and




                                                136
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 142 of 314 Pageid#: 142




continuing organization consisting of individuals, persons, and legal entities, including each of the

RICO Marketing Defendants; (d) was characterized by interpersonal relationships between and

among each member of the Opioid Marketing Enterprise, including between the RICO Marketing

Defendants and each of the Front Groups and KOLs; (e) had sufficient longevity for the enterprise

to pursue its purpose; and (f) functioned as a continuing unit.

       434.    The persons and entities engaged in the Opioid Marketing Enterprise are

systematically linked through contractual relationships, financial ties, personal relationships, and

continuing coordination of activities, as spearheaded by the RICO Marketing Defendants.

       435.    Each of the RICO Marketing Defendants, and each member of the Opioid

Marketing Enterprise had systematic links to and personal relationships with each other through

joint participation in lobbying groups, trade industry organizations, contractual relationships and

continuing coordination of activities. Each of the RICO Marketing Defendants coordinated their

marketing efforts through the same KOLs and Front Groups, based on their agreement and

understanding that the Front Groups and KOLs were industry friendly and would work together

with the RICO Marketing Defendants to advance the common purpose of the Opioid Marketing

Enterprise.

                           1. The RICO Marketing Defendants

       436.    In addition to their systematic links to and personal relationships with the Front

Groups and KOLS, described below, the RICO Marketing Defendants had systematic links to and

personal relationships with each other through their participation in lobbying groups, trade industry

organizations, contractual relationships and continuing coordination of activities, including but not

limited to, the Pain Care Forum (“PCF”) and the Healthcare Distribution Alliance (“HDA”).




                                                137
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 143 of 314 Pageid#: 143




            437.   The PCF has been described as a coalition of drug makers, trade groups and dozens

of non-profit organizations supported by industry funding. Plaintiff is informed and believe that

the PCF was created with the stated goal of offering a “setting where multiple organizations can

share information” and “promote and support taking collaborative action regarding federal pain

policy issues.” Plaintiff is informed and believe that past APF President Will Rowe described the

PCF as “a deliberate effort to positively merge the capacities of industry, professional associations,

and patient organizations.”

            438.   The PCF recently became a national news story when it was discovered that

lobbyists for members of the PCF, including the RICO Marketing Defendants, quietly shaped

federal and state policies regarding the use of prescription opioids for more than a decade.

            439.   The Center for Public Integrity and The Associated Press obtained “internal

documents shed[ding] new light on how drug makers and their allies shaped the national response

to the ongoing wave of prescription opioid abuse.”176 Specifically, PCF members spent over $740

million lobbying in the nation’s capital and in all 50 statehouses on an array of issues, including

opioid-related measures.177

            440.   Not surprisingly, each of the RICO Marketing Defendants who stood to profit from

lobbying in favor of prescription opioid use is a member of and/or participant in the PCF.178 In

2012, membership and participating organizations in the PCF included the HDA (of which all the



176
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public
Integrity (September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-
chamber-shaped-policy-amid-drug-epidemic (emphasis added).
177
      Id.
178
   PAIN CARE FORUM 2012 Meetings Schedule, (last updated December 2011),
https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-Meetings-Schedule-amp.pdf (last
visited March 8, 2018).




                                                       138
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 144 of 314 Pageid#: 144




RICO Marketing Defendants are members), Endo, Purdue, Johnson & Johnson (the parent

company for Janssen Pharmaceuticals), and Teva (the parent company of Cephalon).179 Each of

the RICO Marketing Defendants worked together through the PCF to advance the interests of the

Opioid Marketing Enterprise. But, the RICO Marketing Defendants were not alone, many of the

RICO Marketing Defendants’ Front Groups were also members of the PCF, including the

American Academy of Pain Management, the American Pain Foundation, and the American Pain

Society. Upon information and belief, the RICO Marketing Defendants’ KOLs were also members

of and participated in the PCF.

            441.    Through the Pain Care Forum, the RICO Marketing Defendants met regularly and

in person to form and take action to further the common purpose of the Opioid Marketing

Enterprise and shape the national response to the ongoing prescription opioid epidemic.

            442.    Through the HDA – or Healthcare Distribution Alliance – the RICO Marketing

Defendants “strengthen[ed] . . . alliances”180 and took actions to further the common purpose of

the Opioid Marketing Enterprise.

            443.    Beyond strengthening alliances, the benefits of HDA membership included the

ability to, among other things, “network one on one with manufacturer executives at HDA’s

members-only Business and Leadership Conference,” “participate on HDA committees, task

forces and working groups with peers and trading partners,” and “make connections.”181 Clearly,




179
      Id. Upon information and belief, Mallinckrodt became an active member of the PCF sometime after 2012.
180
   Manufacturer Membership Benefits, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-benefits.ashx?la=en
(emphasis added).
181
      Id.




                                                        139
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 145 of 314 Pageid#: 145




membership in the HDA was an opportunity to create interpersonal and ongoing organizational

relationships and “alliances” between the RICO Marketing Defendants.

        444.     The closed meetings of the HDA’s councils, committees, task forces and working

groups provided the RICO Marketing Defendants with the opportunity to work closely together,

confidentially, to develop and further the common purpose and interests of the Opioid Marketing

Enterprise.

        445.     The HDA also offered multiple conferences, including annual business and

leadership conferences through which the RICO Marketing Defendants had an opportunity to

“bring together high-level executives, thought leaders and influential managers . . . to hold strategic

business discussions on the most pressing industry issues.”182 The HDA and its conferences were

significant opportunities for the RICO Marketing Defendants to interact at the executive level and

form and take actions in furtherance of the common purpose of the Opioid Marketing Enterprise.

It is clear that the RICO Marketing Defendants embraced this opportunity by attending and

sponsoring these events.183

        446.     The systematic contacts and personal relationships developed by the RICO

Marketing Defendants through the PCF and the HDA furthered the common purpose of the Opioid

Marketing Enterprise because it allowed the RICO Marketing Defendants to coordinate the

conduct of the Opioid Marketing Enterprise by, including but not limited to, coordinating their

interaction and development of relationships with the Front Groups and KOLs.



182
   Business and Leadership Conference – Information for Manufacturers, Healthcare Distribution
Alliancehttps://www.healthcaredistribution.org/events/2015-business-and-leadership-conference/blc-for-
manufacturers (last accessed on September 14, 2017).
183
   2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance,
https://www.healthcaredistribution.org/events/2015-distribution-management-conference (last accessed on
September 14, 2017).




                                                       140
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 146 of 314 Pageid#: 146




                              2.      The Front Groups

             447.    Each of the RICO Marketing Defendants had systematic links to and personal

relationships with Front Groups that operated as part of the Opioid Marketing Enterprise to further

the common purpose of unlawfully increasing sales by misrepresenting the non-addictive and

effective use of opioids for the treatment of long-term chronic pain. As recently reported by the

U.S. Senate in “Fueling an Epidemic”:

        The fact that these same manufacturers provided millions of dollars to the groups
described below suggests, at the very least, a direct link between corporate donations and
the advancement of opioids-friendly messaging. By aligning medical culture with industry
goals in this way, many of the groups described in this report may have played a significant
role in creating the necessary conditions for the U.S. opioids epidemic.184

             448.    “Patient advocacy organizations and professional societies like the Front Groups

'play a significant role in shaping health policy debates, setting national guidelines for patient

treatment, raising disease awareness, and educating the public.”185 “Even small organizations—

with ‘their large numbers and credibility with policymakers and the public’—have ‘extensive

influence in specific disease areas.’ Larger organizations with extensive funding and outreach

capabilities ‘likely have a substantial effect on policies relevant to their industry sponsors.’”186

Indeed, as reflected below, the U.S. Senate’s report found that the RICO Marketing Defendants

made nearly $9 million worth of contributions to various Front Groups, including members of the

Opioid Marketing Enterprise.187




184
      Fueling an Epidemic, at p. 1.
185
      Id. at p. 2
186
      Id.
187
      Id. at p. 3.




                                                    141
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 147 of 314 Pageid#: 147




       449.    The Front Groups included in the Opioid Marketing Enterprise “have promoted

messages and policies favorable to opioid use while receiving millions of dollars in payments from

opioid manufacturers. Through criticism of government prescribing guidelines, minimization of

opioid addiction risk, and other efforts, ostensibly neutral advocacy organizations have often




                                               142
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 148 of 314 Pageid#: 148




supported industry interests at the expense of their own constituencies.188 And, as reflected below,

many of the RICO Marketing Defendants’ Front Groups received the largest contributions:




             450.     But, the RICO Marketing Defendants connection with and control over the Front

Groups did not end with financial contributions. Rather, the RICO Marketing Defendants made

substantial contributions to physicians affiliated with the Front Groups totaling more than $1.6

million.189 Moreover, the RICO Marketing Defendants “made substantial payments to individual

group executives, staff members, board members, and advisory board members” affiliated with

the Front Groups subject to the Senate Committee’s study.190




188
      Id. at p. 3.
189
      Id. at p. 3.
190
      Id. at p. 10.




                                                    143
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 149 of 314 Pageid#: 149




            451.      As described in more detail below191, the RICO Marketing Defendants “amplified

or issued messages that reinforce industry efforts to promote opioid prescription and use, including

guidelines and policies minimizing the risk of addiction and promoting opioids for chronic

pain.”192 They also “lobbied to change laws directed at curbing opioid use, strongly criticized

landmark CDC guidelines on opioid prescribing, and challenged legal efforts to hold physicians

and industry executives responsible for overprescription and misbranding.”193




191
    The activities that the Front Groups engaged in, and the misrepresentations that they made, in furtherance of the
common purpose of the Opioid Marketing Enterprise are alleged more fully below, under the heading “Conduct of
the Opioid Marketing Enterprise.”
192
      Id. at 12-15.
193
      Id. at 12.




                                                         144
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 150 of 314 Pageid#: 150




        452.   The systematic contacts and interpersonal relationships of the RICO Marketing

Defendants, and the Front Groups are further described below:

        453.   The American Pain Foundation (“APF”) – The American Pain Foundation was the

most prominent member of the RICO Defendants’ Front Groups and was funded almost

exclusively by the RICO Marketing Defendants. Plaintiff is informed and believe that APF

received more than $10 million in funding from the RICO Marketing Defendants between 2007

and the close of its business in May 2012. The APF had multiple contacts and personal

relationships with the RICO Marketing Defendants through its many publishing and educational

programs, funded and supported by the RICO Marketing Defendants. Plaintiff is further informed

and believe that between 2009 and 2010, APF received more than eighty percent (80%) of it

operating budget from pharmaceutical industry sources. Including industry grants for specific

projects, APF received about $2.3 million from industry sources out of total income of about $2.85

million in 2009; its budget for 2010 projected receipts of roughly $2.9 million from drug

companies, out of total income of about $3.5 million. By 2011, upon information and belief, APF

was entirely dependent on incoming grants from Defendants Purdue, Cephalon, Endo, and others.

        454.   On information and belief, APF was often called upon to provide “patient

representatives” for the RICO Marketing Defendants’ promotional activities, including for

Purdue’s “Partners Against Pain” and Janssen’s “Let’s Talk Pain.” APF functioned largely as an

advocate for the interests of the RICO Marketing Defendants, not patients. Indeed, upon

information and belief, as early as 2001, Purdue told APF that the basis of a grant was Purdue’s

desire to “strategically align its investments in nonprofit organizations that share [its] business

interests.”




                                               145
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 151 of 314 Pageid#: 151




        455.     APF is also credited with creating the PCF in 2004. Plaintiff is informed and

believes that the PCF was created with the stated goal of offering a “setting where multiple

organizations can share information” and “promote and support taking collaborative action

regarding federal pain policy issues.” Plaintiff is informed and believes that past APF President

Will Rowe described the PCF as “a deliberate effort to positively merge the capacities of industry,

professional associations, and patient organizations.”

        456.     Upon information and belief, representatives of the RICO Marketing Defendants,

often at informal meetings at conferences, suggested activities and publications for APF to pursue.

APF then submitted grant proposals seeking to fund these activities and publications, knowing that

drug companies would support projects conceived as a result of these communications.

        457.     Furthermore, APF’s Board of Directors was largely comprised of doctors who were

on Defendants’ payrolls, either as consultants or speakers at medical events. 194 As described

below, many of the KOLs involved in the Opioid Marketing Enterprise also served in leadership

positions within the APF.

        458.     In December 2011, a ProPublica investigation found that in 2010, nearly 90% of

APF’s funding came from the drug and medical device community, including the RICO Marketing

Defendants.195 More specifically, APF received approximately $2.3 million from industry sources

out of total income of $2.85 million in 2009. Its budget for 2010 projected receipt of approximately

$2.9 million from drug companies, out of total income of approximately $3.5 million. In May



194
   Charles Ornstein and Tracy Weber, The Champion of Painkillers, ProPublica (Dec. 23, 2011),
https://www.propublica.org/article/the-champion-of-painkillers.
195
   Charles Ornstein & Tracy Weber, Patient advocacy group funded by success of painkiller drugs, probe finds,
Wash. Post (Dec. 23, 2011), https://www.washingtonpost.com/national/healthscience/patient-advocacy-group-
funded-by-success-of-painkiller-drugs-probefinds/2011/12/20/gIQAgvczDP_story. html?utm_term=.
22049984c606.




                                                      146
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 152 of 314 Pageid#: 152




2012, the U.S. Senate Finance Committee began looking into APF to determine the links, financial

and otherwise, between the organization and the manufacturers of opioid painkillers. Within days

of being targeted by the Senate investigation, APF’s Board voted to dissolve the organization “due

to irreparable economic circumstances.” APF “cease[d] to exist, effective immediately.”196

        459.     The American Academy of Pain Medicine (“AAPM”) – The AAPM was another

Front Group that had systematic ties and personal relationships with the RICO Defendants. AAPM

received over $2.2 million in funding since 2009 from opioid manufacturers. AAPM maintained

a corporate relations council, whose members paid $25,000 per year (on top of other funding) to

participate. The benefits included allowing members to present educational programs at off-site

dinner symposia in connection with AAPM’s marquee event – its annual meeting held in Palm

Springs, California, or other resort locations. AAPM describes the annual event as an “exclusive

venue” for offering education programs to doctors. Membership in the corporate relations council

also allowed drug company executives and marketing staff to meet with AAPM executive

committee members in small settings. The RICO Marketing Defendants were all members of the

council and presented deceptive programs to doctors who attended this annual event.197

        460.     The RICO Marketing Defendants internally viewed AAPM as “industry friendly,”

with RICO Defendants’ advisors and speakers among its active members. The RICO Marketing

Defendants attended AAPM conferences, funded its CMEs and satellite symposia, and distributed




196
    Charles Ornstein & Tracy Weber, Senate Panel Investigates Drug Companies’ Ties to Pain Groups, Wash. Post,
May 8, 2012, https://www.washingtonpost.com/national/health-science/senate-panel-investigates-drug-companies-
ties-to-pain-groups/2012/05/08/gIQA2X4qBU_story.html.
197
   The American Academy of Pain Medicine, Pain Medicine DC The Governing Voices of Pain: Medicine,
Science, and Government, March 24-27, 2011, http://www.painmed.org/files/2011-annual-meeting-program-
book.pdf.




                                                     147
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 153 of 314 Pageid#: 153




its publications. AAPM conferences heavily emphasized sessions on opioids. AAPM presidents

have included top industry-supported KOLs like Perry Fine and Lynn Webster.

        461.     Upon information and belief, representatives of the RICO Marketing Defendants,

often at informal meetings at conferences, suggested activities and publications for AAPM to

pursue. AAPM then submitted grant proposals seeking to fund these activities and publications,

knowing that drug companies would support projects conceived as a result of these

communications.

        462.     Plaintiff is informed and believes that members of AAPM’s Board of Directors

were doctors who were on the RICO Marketing Defendants’ payrolls, either as consultants or

speakers at medical events. As described below, many of the KOLs involved in the Opioid

Marketing Enterprise also served in leadership positions within the AAPM.

        463.     The American Pain Society (“APS”) – The APS was another Front Group with

systematic connections and interpersonal relationships with the RICO Marketing Defendants.

APS was one of the Front Groups investigated by Senators Grassley and Baucus, as evidenced by

their May 8, 2012 letter arising out of their investigation of “extensive ties between companies that

manufacture and market opioids and non-profit organizations” that “helped created a body of

dubious information favoring opioids.”198

        464.     Upon information and belief, representatives of the RICO Marketing Defendants,

often at informal meetings at conferences, suggested activities and publications for APS to pursue.




198
   Letter from U.S. Senators Charles E. Grassley and Max Baucus to Catherine Underwood, Executive Director
(May 8, 2012), American Pain Society,
https://www.finance.senate.gov/imo/media/doc/05092012%20Baucus%20Grassley%
20Opioid%20Investigation%20Letter%20to%20American %20Pain%20Society.pdf.




                                                     148
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 154 of 314 Pageid#: 154




APS then submitted grant proposals seeking to fund these activities and publications, knowing that

drug companies would support projects conceived as a result of these communications.

           465.     Plaintiff is informed and believes that members of APS’s Board of Directors were

doctors who were on the RICO Marketing Defendants’ payrolls, either as consultants or speakers

at medical events. As described below, many of the KOLs involved in the Opioid Marketing

Enterprise also served in leadership positions within the APS.

           466.     The Federation of State Medical Boards (“FSMB”) – FSMB was another Front

Group with systematic connections and interpersonal relationships with the RICO Marketing

Defendants. In addition to the contributions reported in Fueling an Epidemic, a June 8, 2012 letter

submitted by FSMB to the Senate Finance Committee disclosed substantial payments from the

RICO Marketing Defendants beginning in 1997 and continuing through 2012. 199 Not surprisingly,

the FSMB was another one of the Front Groups investigated by Senators Grassley and Baucus, as

evidenced by their May 8, 2012 letter arising out of their investigation of “extensive ties between

companies that manufacture and market opioids and non-profit organizations” that “helped created

a body of dubious information favoring opioids.”200

           467.     The U.S. Pain Foundation (“USPF”) – The USPF was another Front Group with

systematic connections and interpersonal relationships with the RICO Marketing Defendants. The

USPF was one of the largest recipients of contributions from the RICO Marketing Defendants,




199
      June 8, 2012 Letter from Federation of State Medical Boards to U.S. Senators Max Baucus and Charles Grassley.
200
   Letter from U.S. Senators Charles E. Grassley and Max Baucus to Catherine Underwood, Executive Director
(May 8, 2012), American Pain Society,
https://www.finance.senate.gov/imo/media/doc/05092012%20Baucus%20Grassley%
20Opioid%20Investigation%20Letter%20to%20American %20Pain%20Society.pdf.




                                                         149
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 155 of 314 Pageid#: 155




collection nearly $3 million in payments between 2012 and 2015 alone.201 The USPF was also a

critical component of the Opioid Marketing Enterprise’s lobbying efforts to reduce the limits on

over-prescription. The U.S. Pain Foundation advertises its ties to the RICO Marketing Defendants,

listing opioid manufacturers like Pfizer, Teva, Depomed, Endo, Purdue, McNeil (i.e. Janssen), and

Mallinckrodt as “Platinum,” “Gold,” and “Basic” corporate members.202 Industry Front Groups

like the American Academy of Pain Management, the American Academy of Pain Medicine, the

American Pain Society, and PhRMA are also members of varying levels in the USPF.

           468.     American Geriatrics Society (“AGS”) – The AGS was another Front Group with

systematic connections and interpersonal relationships with the RICO Defendants. The AGS was

a large recipient of contributions from the RICO Marketing Defendants, including Endo, Purdue

and Janssen. AGS contracted with the RICO Marketing Defendants to disseminate guidelines

regarding the use of opioids for chronic pain in 2002 (The Management of Persistent Pain in Older

Persons, hereinafter “2002 AGS Guidelines”) and 2009 (Pharmacological Management of

Persistent Pain in Older Persons,203 hereinafter “2009 AGS Guidelines”). According to news

reports, AGS has received at least $344,000 in funding from opioid manufacturers since 2009.204

AGS’s complicity in the common purpose of the Opioid Marketing Enterprise is evidenced by the

fact that AGS internal discussions in August 2009 reveal that it did not want to receive-up front




201
      Fueling an Epidemic, at p. 4.
202
  Id. at 12; Transparency, U.S. Pain Foundation, https://uspainfoundation.org/transparency/ (last accessed on
March 9, 2018).
203
   Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics Soc’y 1331, 1339, 1342
(2009), available at https://www.nhqualitycampaign.org/files/AmericanGeriatricSociety-PainGuidelines2009.pdf
(last accessed on March 9, 2018).
204
  John Fauber & Ellen Gabler, Narcotic Painkiller Use Booming Among Elderly, Milwaukee J. Sentinel, May 30,
2012.




                                                        150
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 156 of 314 Pageid#: 156




funding from drug companies, which would suggest drug company influence, but would instead

accept commercial support to disseminate pro-opioid publications.

       469.    Upon information and belief, representatives of the RICO Marketing Defendants,

often at informal meetings at conferences, suggested activities, lobbying efforts and publications

for AGS to pursue. AGS then submitted grant proposals seeking to fund these activities and

publications, knowing that drug companies would support projects conceived as a result of these

communications.

       470.    Plaintiff is informed and believes that members of AGS Board of Directors were

doctors who were on the RICO Marketing Defendants’ payrolls, either as consultants or speakers

at medical events. As described below, many of the KOLs involved in the Opioid Marketing

Enterprise also served in leadership positions within the AGS.

       471.    There was regular communication between each of the RICO Marketing

Defendants, Front Groups and KOLs, in which information was shared, misrepresentations were

coordinated, and payments were exchanged. Typically, the coordination, communication and

payment occurred, and continues to occur, through the use of the wires and mail in which the RICO

Markets Defendants, Front Groups, and KOLs share information necessary to overcome objections

and resistance to the use of opioids for chronic pain. The RICO Marketing Defendants, Front

Groups and KOLs functioned as a continuing unit for the purpose of implementing the Opioid

Marketing Enterprise’s scheme and common purpose, and each agreed to take actions to hide the

scheme and continue its existence.

       472.    At all relevant times, the Front Groups were aware of the RICO Marketing

Defendants’ conduct, were knowing and willing participants in that conduct, and reaped benefits

from that conduct. Each Front Group also knew, but did not disclose, that the other Front Groups




                                               151
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 157 of 314 Pageid#: 157




were engaged in the same scheme, to the detriment of consumers, prescribers, and the Plaintiff.

But for the Opioid Marketing Enterprise’s unlawful fraud, the Front Groups would have had

incentive to disclose the deceit by the RICO Marketing Defendants and the Opioid Marketing

Enterprise to their members and constituents. By failing to disclose this information, Front Groups

perpetuated the Opioid Marketing Enterprise’s scheme and common purpose, and reaped

substantial benefits.

               3.       The KOLs

       473.    Similarly, each of the RICO Marketing Defendants financed, supported, utilized

and relied on the same KOLs by paying, financing, supporting, managing, directing, or overseeing,

and/or relying on their work. On Information and belief, the RICO Marketing Defendants

cultivated this small circle of doctors solely because they favored the aggressive treatment of

chronic pain with opioids.

       474.    The RICO Marketing Defendants and the Opioid Marketing Enterprise relied on

their KOLs to serve as part of their speakers bureaus and to attend programs with speakers bureaus.

The RICO Marketing Defendants graded their KOLs on performance, post-program sales, and

product usage. Furthermore, the RICO Marketing Defendants expected their KOLs to stay “on

message,” and obtained agreements from them, in writing, that “all slides must be presented in

their entirety and without alterations . . . and in sequence.”

       475.    The RICO Marketing Defendants’ KOLs have been at the center of the Opioid

Marketing Enterprise’s marketing efforts, presenting the false appearance of unbiased and reliable

medical research supporting the broad use of opioid therapy for chronic pain. As described in

more detail below, the KOLs have written, consulted, edited, and lent their names to books and

articles, and given speeches, and CMEs supporting chronic opioid therapy. They have served on




                                                  152
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 158 of 314 Pageid#: 158




committees that developed treatment guidelines that strongly encourage the use of opioids to treat

chronic pain (even while acknowledging the lack of evidence in support of that position) and on

the boards of the pro-opioid Front Groups identified above.

        476.     The RICO Marketing Defendants and KOLS all had systematic connections and

interpersonal relationships, as described below, through the KOLs receipt of payments from the

RICO Marketing Defendants and Front Groups, the KOLs’ authoring, publishing, speaking, and

educating on behalf of the RICO Marketing Defendants, and their leadership roles and

participation in the activities of the Front Groups, which were in turn financed by the RICO

Marketing Defendants.

        477.     The systematic contacts and interpersonal relationships of the KOLs with the RICO

Marketing Defendants and Front Groups are described below:

        478.     Dr. Russell Portenoy – Dr. Portenoy was one of the main KOLs that the RICO

Marketing Defendants identified and promoted to further the common purpose of the Opioid

Marketing Enterprise. Dr. Portenoy received research support, consulting fees, and honoraria from

the RICO Defendants, and was a paid consultant to various RICO Marketing Defendants. Dr.

Portenoy was instrumental in opening the door for the regular use of opioids to treat chronic pain.

Dr. Portenoy is credited as one of the authors on a primary pillar of the RICO Marketing

Defendants’ misrepresentation regarding the risks and benefits of opioid use.205 Dr. Portenoy had



205
    In 1986, the medical journal Pain, which would eventually become the official journal of the American Pain
Society (“APS”), published an article by Portenoy and Foley summarizing the results of a “study” of 38 chronic
non-cancer pain patients who had been treated with opioid painkillers. Portenoy and Foley concluded that, for non-
cancer pain, opioids “can be safely and effectively prescribed to selected patients with relatively little risk of
producing the maladaptive behaviors which define opioid abuse.” However, their study was neither scientific nor did
it meet the rigorous standards commonly used to evaluate the validity and strength of such studies in the medical
community. For instance, there was no placebo control group, and the results were retroactive (asking patients to
describe prior experiences with opioid treatment rather than less biased, in-the-moment reports). The authors
themselves advised caution, stating that the drugs should be used as an “alternative therapy” and recognizing that




                                                       153
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 159 of 314 Pageid#: 159




financial relationships with at least a dozen pharmaceutical companies, most of which produced

prescription opioids.206

        479.     In exchange for the payments he received from the RICO Marketing Defendants,

Dr. Portenoy is credited as one of the authors on a primary pillar of the RICO Marketing

Defendants’ misrepresentation regarding the risks and benefits of opioids.207 Dr. Portenoy,

published, spoke, consulted, appeared in advertisements and on television broadcasts, and traveled

the country to promote more liberal prescribing for many types of pain and conduct continuing

medical education (“CME”) seminars sponsored by the RICO Marketing Defendants and Front

Groups.

        480.     Dr. Portenoy was also a critical component of the RICO Marketing Defendants’

control over their Front Groups, and the Front Groups support of the Opioid Marketing

Enterprise’s common purpose. Specifically, Dr. Portenoy sat as a Director on the board of the

APF. He was also the President of the APS.




longer term studies of patients on opioids would have to be performed. None were. See Russell K. Portenoy &
Kathleen M. Foley, Chronic use of opioid analgesics in non-malignant pain: report of 38 cases, 25(2) Pain 171-86
(May 1986).
206
   Anna Lembke, Drug Dealer, MD: How Doctors Were Duped, Patients Got Hooked, and Why It’s So Hard to
Stop, (Johns Hopkins University Press 2016), at 59 (citing Barry Meier, Pain Killer: A “Wonder” Drug’s Trail of
Addiction and Death (St. Martin’s Press, 1st Ed 2003).
207
    In 1986, the medical journal Pain, which would eventually become the official journal of the American Pain
Society (“APS”), published an article by Portenoy and Foley summarizing the results of a “study” of 38 chronic
non-cancer pain patients who had been treated with opioid painkillers. Portenoy and Foley concluded that, for non-
cancer pain, opioids “can be safely and effectively prescribed to selected patients with relatively little risk of
producing the maladaptive behaviors which define opioid abuse.” However, their study was neither scientific nor did
it meet the rigorous standards commonly used to evaluate the validity and strength of such studies in the medical
community. For instance, there was no placebo control group, and the results were retroactive (asking patients to
describe prior experiences with opioid treatment rather than less biased, in-the-moment reports). The authors
themselves advised caution, stating that the drugs should be used as an “alternative therapy” and recognizing that
longer term studies of patients on opioids would have to be performed. None were. See Russell K. Portenoy &
Kathleen M. Foley, Chronic use of opioid analgesics in non-malignant pain: report of 38 cases, 25(2) Pain 171-86
(May 1986).




                                                       154
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 160 of 314 Pageid#: 160




        481.    In a 2011 interview released by Physicians for Responsible Opioid Prescribing, Dr.

Portenoy admitted that his earlier work relied on evidence that was not “real” and left real evidence

behind, all in furtherance of the Opioid Marketing Enterprise’s common purpose:

        I gave so many lectures to primary care audiences in which the Porter and Jick
        article was just one piece of data that I would then cite, and I would cite six, seven,
        maybe ten different avenues of thought or avenues of evidence, none of which
        represented real evidence, and yet what I was trying to do was to create a narrative
        so that the primary care audience would look at this information in [total] and feel
        more comfortable about opioids in a way they hadn’t before. In essence this was
        education to destigmatize [opioids], and because the primary goal was to
        destigmatize, we often left evidence behind.208

        482.    Dr. Lynn Webster – Dr. Webster was a critical component of the Opioid Marketing

Enterprise, including advocating the RICO Marketing Defendants’ fraudulent messages regarding

prescription opioids and had systematic contacts and personal relationships with the RICO

Marketing Defendants and the Front Groups.

        483.    Dr. Webster was the co-founder and Chief Medical Director of an otherwise

unknown pain clinic in Salt Lake City, Utah (Lifetree Clinical Research), who went on to become

one of the RICO Marketing Defendants’ main KOLs. Dr. Webster was the President of American

Academy of Pain Medicine (“AAPM”) in 2013. He is a Senior Editor of Pain Medicine, the same

journal that published Endo special advertising supplements touting Opana ER. Dr. Webster was

the author of numerous CMEs sponsored by Cephalon, Endo, and Purdue. At the same time, Dr.

Webster was receiving significant funding from the RICO Marketing Defendants (including nearly

$2 million from Cephalon alone).




208
    Andrew Kolodny, Opioids for Chronic Pain: Addiction is NOT Rare, YouTube (Oct. 30, 2011),
https://www.youtube.com/watch?v=DgyuBWN9D4w&feature=youtu.be.




                                                     155
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 161 of 314 Pageid#: 161




       484.    During a portion of his time as a KOL, Dr. Webster was under investigation for

overprescribing by the U.S. Department of Justice’s Drug Enforcement Agency, which raided his

clinic in 2010. Although the investigation was closed without charges in 2014, more than twenty

(20) of Dr. Webster’s former patients at the Lifetree Clinic have died of opioid overdoses.

       485.    Dr. Webster created and promoted the Opioid Risk Tool, a five question, one-

minute screening tool relying on patient self-reports that purportedly allows doctors to manage the

risk that their patients will become addicted to or abuse opioids. The claimed ability to pre-sort

patients likely to become addicted is an important tool in giving doctors confidence to prescribe

opioids long-term, and, for this reason, references to screening appear in various industry-

supported guidelines. Versions of Dr. Webster’s Opioid Risk Tool appear on, or are linked to,

websites run by Endo, Janssen, and Purdue.

       486.    Dr. Webster is also credited as one of the leading proponents of “pseudoaddiction”

that the RICO Marketing Defendants, Front Groups and KOLs disseminated as part of the common

purpose of the Opioid Marketing Enterprise.

       487.    Plaintiff is informed and believes that in exchange for the payments he received

from the RICO Marketing Defendants, Dr. Webster published, spoke, consulted, appeared in

advertisements and on television broadcasts, and traveled the country to promote more liberal

prescribing of opioids for many types of pain and conduct CME seminars sponsored by the RICO

Marketing Defendants and Front Groups.

       488.    Like Dr. Portenoy, Dr. Webster later reversed his opinion and disavowed his

previous work on and opinions regarding pseudoaddiction.              Specifically, Dr. Webster




                                               156
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 162 of 314 Pageid#: 162




acknowledged that “[pseudoaddiction] obviously became too much of an excuse to give patients

more medication.”209

        489.     Dr. Perry Fine – Dr. Webster was a critical component of the Opioid Marketing

Enterprise, including advocating the RICO Marketing Defendants’ fraudulent messages regarding

prescription opioids and had systematic contacts and personal relationships with the RICO

Marketing Defendants and the Front Groups.

        490.     Dr. Fine was originally a doctor practicing in Utah, who received support from the

RICO Marketing Defendants, including Janssen, Cephalon, Endo, and Purdue. Dr. Fine’s ties to

the RICO Marketing Defendants have been well documented.210 He has authored articles and

testified in court cases and before state and federal committees, and he served as president of the

AAPM, and argued against legislation restricting high-dose opioid prescription for non-cancer

patients. Multiple videos featured Fine delivering educational talks about prescription opioids. He

even testified in a trial that the 1,500 pills a month prescribed to celebrity Anna Nicole Smith for

pain did not make her an addict before her death.211 He has also acknowledged having failed to

disclose numerous conflicts of interest.

        491.     Dr. Fine was also a critical component of the RICO Marketing Defendants’ control

over their Front Groups, and the Front Groups support of the Opioid Marketing Enterprise’s




209
   John Fauber, Painkiller Boom Fueled by Networking, Milwaukee Wisc. J. Sentinel, Feb. 18, 2012,
http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-dp3p2rn-
139609053.html.
210
   Tracy Weber & Charles Ornstein, Two Leaders in Pain Treatment Have Long Ties to Drug Industry, ProPublica
(Dec. 23, 2011, 2:14 PM), https://www.propublica.org/article/two-leaders-in-pain-treatment-have-long-ties-to-drug-
industry
211
   Linda Deutsch, Doctor: 1,500 pills don’t prove Smith was addicted, Seattle Times (Sept. 22, 2010, 5:16 PM),
http://www.seattletimes.com/entertainment/doctor-1500-pills-dont-prove-smithwas-addicted/.




                                                       157
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 163 of 314 Pageid#: 163




common purpose. Specifically, Dr. Fine served on the Board of Directors of APF and served as

the President of the AAPM in 2011.

            492.   Plaintiff is informed and believes that in exchange for the payments he received

from the RICO Marketing Defendants, Dr. Fine published, spoke, consulted, appeared in

advertisements and on television broadcasts, and traveled the country to promote more liberal

prescribing of opioids for many types of pain and conduct CME seminars sponsored by the RICO

Marketing Defendants and Front Groups.

            493.   Dr. Scott M. Fishman – Dr. Fishman was a critical component of the Opioid

Marketing Enterprise, including advocating for the RICO Marketing Defendants’ fraudulent

messages regarding prescription opioids and had systematic contacts and personal relationships

with the RICO Marketing Defendants and the Front Groups.

            494.   Although Dr. Fishman did not receive direct financial payments from the RICO

Marketing Defendants, his ties to the opioid drug industry are legion.212

            495.   As Dr. Fishman’s personal biography indicates, he is a critical component of the

RICO Marketing Defendants’ control over their Front Groups, and the Front Groups support of

the Opioid Marketing Enterprise’s common purpose.                    Specifically, Dr. Fishman is an

“internationally recognized expert on pain and pain management” who has served in “numerous

leadership roles with the goal to alleviate pain.”213 Dr. Fishman’s roles in the pain industry include

“past president of the American Academy of Pain Medicine [AAPM], past chairman of the board




212
   Scott M. Fishman, M.D., Professor, U.C. Davis Health, Center for Advancing Pain Relief,
https://www.ucdmc.ucdavis.edu/advancingpainrelief/our_team/Scott_Fishman.html (accessed on February 28,
2018).
213
      Id.




                                                    158
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 164 of 314 Pageid#: 164




of directors of the American Pain Foundation [APF], and past board member of the American Pain

Society [APS].”214 Dr. Fishman is also “the immediate past chair and current member of the Pain

Care Coalition of the American Society of Anesthesiologists, American Pain Society, and

Academy of Pain Medicine.”215 Dr. Fishman’s leadership positions within the central core of the

RICO Marketing Defendants’ Front Groups were a direct result of his participation in the Opioid

Marketing Enterprise and agreement to cooperate with the RICO Marketing Defendants’ pattern

of racketeering activity.

            496.   Plaintiff is informed and believes that in exchange for the payments he received

from the RICO Marketing Defendants, Dr. Fishman published, spoke, consulted, appeared in

advertisements and on television broadcasts, and traveled the country to promote more liberal

prescribing of opioids for many types of pain and conduct CME seminars sponsored by the RICO

Marketing Defendants and Front Groups.

            497.   There was regular communication between each of the RICO Marketing

Defendants, Front Groups and KOLs, in which information was shared, misrepresentations were

coordinated, and payments were exchanged. Typically, the coordination, communication and

payment occurred, and continues to occur, through the use of the wires and mail in which the RICO

Marketing Defendants, Front Groups, and KOLs share information regarding overcoming

objections and resistance to the use of opioids for chronic pain. The RICO Marketing Defendants,

Front Groups and KOLs functioned as a continuing unit for the purpose of implementing the




214
      Id.
215
      Id.




                                                  159
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 165 of 314 Pageid#: 165




Opioid Marketing Enterprise’s scheme and common purpose, and each agreed to take actions to

hide the scheme and continue its existence.

       498.    At all relevant times, the KOLs were aware of the RICO Marketing Defendants’

conduct, were knowing and willing participants in that conduct, and reaped benefits from that

conduct. The RICO Marketing Defendants selected KOLs solely because they favored the

aggressive treatment of chronic pain with opioids. The RICO Marketing Defendants’ support

helped the KOLs become respected industry experts. And, as they rose to prominence, the KOLs

falsely touted the benefits of using opioids to treat chronic pain, repaying the RICO Marketing

Defendants by advancing their marketing goals. The KOLs also knew, but did not disclose, that

the other KOLS and Front Groups were engaged in the same scheme, to the detriment of

consumers, prescribers, and the Plaintiff. But for the Opioid Marketing Enterprise’s unlawful

conduct, the KOLs would have had incentive to disclose the deceit by the RICO Marketing

Defendants and the Opioid Marketing Enterprise, and to protect their patients and the patients of

other physicians. By failing to disclose this information, KOLs furthered the Opioid Marketing

Enterprise’s scheme and common purpose, and reaped substantial benefits.

       499.    As public scrutiny and media coverage focused on how opioids ravaged

communities in Virginia and throughout the United States, the Front Groups and KOLS did not

challenge the RICO Marketing Defendants’ misrepresentations, seek to correct their previous

misrepresentations, terminate their role in the Opioid Marketing Enterprise, nor disclose publicly

that the risks of using opioids for chronic pain outweighed their benefits and were not supported

by medically acceptable evidence.

       500.    The RICO Marketing Defendants, Front Groups and KOLs engaged in certain

discrete categories of activities in furtherance of the common purpose of the Opioid Marketing




                                               160
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 166 of 314 Pageid#: 166




Enterprise. As reported in Fueling an Epidemic, the Opioid Marketing Enterprise’s conduct in

furtherance of the common purpose of the Opioid Marketing Enterprise involved: (1)

misrepresentations regarding the risk of addiction and safe use of prescription opioids for long-

term chronic pain; (2) lobbying to defeat measures to restrict over-prescription; (3) efforts to

criticize or undermine CDC guidelines; and (4) efforts to limit prescriber accountability. The

misrepresentations made in these publications are described in the following section.

          501.   Efforts to Minimize the Risk of Addiction and Promote Opioid Use As Safe for

Long-Term Treatment of Chronic Pain – Members of the Opioid Marketing Enterprise furthered

the common purpose of the enterprise by publishing and disseminating statements that minimized

the risk of addiction and misrepresented the safety of using prescription opioids for long-term

treatment of chronic, non-acute, and non-cancer pain. The categories of misrepresentations made

by the Opioid Marketing Enterprise and the RICO Defendants included the following:216

         The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement from the

          American Academy of Pain Medicine and the American Pain Society, 13 Clinical J. Pain

          6 (1997). The “landmark consensus” was published by the AAPM and APS. Dr. Portenoy

          was the sole consultant. A member of Purdue’s speaker bureau authored the consensus.

         Model Guidelines for the Use of Controlled Substances for the Treatment of Pain (1998,

          2004, 2007).217 These guidelines, originally published by the FSMB in collaboration with




216
  As noted below, the earliest misrepresentations disseminated by the RICO Defendants and the Opioid Marketing
Enterprise began in 1997 and has continued unabated since that time. Therefore, this list is alleged as fully and
completely as possible.
217
   Model Policy for the Use of Controlled Substances for the Treatment of Pain, Federation of State Medical Boards
of the United States, May 2004,
https://www.ihs.gov/painmanagement/includes/themes/newihstheme/display_objects/documents/modelpolicytreatm
entpain.pdf (last accessed on March 9, 2018).




                                                       161
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 167 of 314 Pageid#: 167




          RICO Defendants, advocated that opioids were “essential” and that “misunderstanding of

          addiction” contributed to undertreated pain.

         Oxycontin: Balancing Risks and Benefits: Hearing of the S. Comm. on Health, Education,

          Labor and Pensions, Testimony by John D. Giglio, M.A., J.D., Executive Direction of the

          APF (2002.)218

         The Management of Persistent Pain in Older Persons (2002). These guidelines were

          published by AGS with substantial funding from Endo, Purdue and Janssen.

         Overview of Management Options (2003, 2007, 2010, and 2013).219 This CME was edited

          by Dr. Portenoy, sponsored by Purdue, and published by the American Medical

          Association. It taught that opioids, unlike non-prescription pain medication, are safe at

          high doses.

         Understanding Your Pain: Taking Oral Opioid Analgesics (2004).220                       This article,

          published by Endo Pharmaceuticals advocated that withdrawal and needing to take higher

          dosages are not signs of addiction.

         Interview by Paula Moyer with Scott M. Fishman, M.D. (2005). Dr. Fishman advocated

          that “the risks of addiction are . . . small and can be managed.”221



218
  Oxycontin: Balancing Risks and Benefits: Hearing of the S. Comm. on Health, Education, Labor and Pensions,
Testimony by John D. Giglio, M.A., J.D., Executive Direction of the APF (2002.)
219
   Portenoy, et al., Overview of Management Options, https://cme.ama-assn.org/activity/1296783/detail.aspx. On
information and belief, this CME was published by the American Medical Association in 2003, 2007, 2010, and
2013.
220
   Margo McCaffery & Chris Pasero, Understanding Your Pain: Taking Oral Opioid Analgesics, Endo
Pharmaceuticals (2004), https://www.yumpu.com/en/document/view/35479278/understanding-your-pain-taking-
oral-opioid-analgesics (last accessed March 8, 2018).
221
    Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain Medicine, Chief
of the Division of Pain Medicine, Univ. of Cal., Davis (2005), available at
http://www.medscape.org/viewarticle/500829.




                                                      162
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 168 of 314 Pageid#: 168




          Open-label study of fentanyl effervescent buccal tablets in patients with chronic pain and

           breakthrough pain: interim safety and tolerability results (2006).222 Dr. Webster gave this

           CME, sponsored by Cephalon that misrepresented that opioids were safe for the treatment

           of non-cancer pain.

          Treatment Options: A Guide for People Living With Pain (2007). This document was

           published by the APF and sponsored by Cephalon and Purdue.223

          Responsible Opioid Prescribing: A Physician’s Guide (2007).224 This book, authored by

           Dr. Fishman was financed by the FSMB with funding from Cephalon, Endo and Purdue.

          Avoiding Opioid Abuse While Managing Pain (2007).225 This book, co-authored by Dr.

           Webster, misrepresented that for prescribers facing signs of aberrant behavior, increasing

           the dose in “most cases . . . should be a clinician’s first response.”

          Screener and Opioid Assessment for Patients with Pain (SOAPP)® Version 1.0-SF

           (2008).226 This screening tool was published by the National Institutes of Health with

           support from Endo through an educational grant, and advocated that most patients are able

           to successfully remain on long-term opioid therapy without significant problems.




222
    Hale ME, Webster LR, Peppin JF, Messina J. Open-label study of fentanyl effervescent buccal tablets in patients
with chronic pain and breakthrough pain: interim safety and tolerability results. Program and abstracts of the annual
meeting of the American Academy of Pain Medicine; February 22-25, 2006; San Diego, California. Abstract 120.
Published with permission of Lynn R. Webster, MD, https://www.medscape.org/viewarticle/524538_2 (accessed on
March 6, 2018).
223
  Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf (last accessed on March 8,
2018).
224
      Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life Sciences 2007).
225
      Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).
226
    Screener and Opioid Assessment for Patients with Pain (SOAPP)® Version 1.0-SF, PainEdu.org, 2008,
https://www.nhms.org/sites/default/files/Pdfs/SOAPP-5.pdf (last accessed on March 8, 2018).




                                                         163
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 169 of 314 Pageid#: 169




         Case Challenges in Pain Management: Opioid Therapy for Chronic Pain (2007).227 This

          article, sponsored by Endo, misrepresented that opioids are a highly effective class of

          analgesic drugs.

         Opioid-Based Management of Persistent and Breakthrough Pain (2008).228                             This

          document was written by Dr. Fine and sponsored by an educational grant from Cephalon.

          Dr. Fine advocated for the prescription of rapid onset opioids “in patients with non-cancer

          pain.”

         Optimizing Opioid Treatment for Breakthrough Pain (2008).229 Dr. Webster presented an

          online seminar (webinar) sponsored by Cephalon, that misrepresented that non-opioid

          analgesics and combination opioids containing non-opioids are less effective because of

          dose limitations.

         Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain

          (2009).230 These guidelines were published by AAPM and APS. Fourteen of the twenty-

          one panel members, including Dr. Portenoy and Dr. Fine, received support from the RICO

          Defendants.




227
   Charles E. Argoff, Case Challenges in Pain Management: Opioid Therapy for Chronic Pain, Pain Med. News,
https://www.painmedicinenews.com/download/BtoB_Opana_WM.pdf (last visited on March 8, 2018).
228
    Perry G Fine, MD, et al. Opioid-Based Management of Persistent and Breakthrough Pain, Pain Medicine News,
https://www.yumpu.com/en/document/view/11409251/opioid-based-management-of-persistent-and-breakthrough-
pain (accessed on February 27, 2018).
229
   Lynn Webster, Optimizing Opioid Treatment for Breakthrough Pain, Medscape,
http://www.medscape.org/viewarticle/563417_6 (last visited Dec. 11, 2017).
230
    Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain, 10 J.
Pain 113 (2009).




                                                       164
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 170 of 314 Pageid#: 170




          Pharmacological Management of Persistent Pain in Older Persons (2009).231 These

           guidelines were published by AGS, with substantial funding from Endo, Purdue, and

           Janssen, updated the 2002 guidelines and misrepresented that the risks of addiction are

           exceedingly low.

          Iraq War Veteran Amputee, Pain Advocate and New Author Release Exit Wounds: A

           Survival Guide to Pain Management for Returning Veterans and Their Families,232

           American Pain Foundation, 2009. This article was published in 2009 and sponsored by

           Purdue.

          Finding Relief: Pain Management for Older Adults, (2009).233                  This article was a

           collaboration between the American Geriatrics Society, AAPM and Janssen.

          Good Morning America (2010). Dr. Portenoy appeared on Good Morning America and

           stated that “Addiction, when treating pain, is distinctly uncommon.”234

          A Policymaker’s Guide to Understanding Pain & Its Management, American Pain

           Foundation (2011).235 APF published this document, which was sponsored by Purdue, that

           argued that the notion of strong pain leading to addiction is a common misconception.



231
   Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics Soc’y 1331, 1339, 1342
(2009), available at https://www.nhqualitycampaign.org/files/AmericanGeriatricSociety-PainGuidelines2009.pdf
(last accessed on March 9, 2018).
232
    Iraq War Veteran Amputee, Pain Advocate and New Author Release Exit Wounds: A Survival Guide to Pain
Management for Returning Veterans and Their Families, Coalition for Iraq + Afghanistan Veterans,
http://web.archive.org/web/20100308224011/http://coalitionforveterans.org:80/2009/10/iraq-war-veteran-amputee-
pain-advocate-and-new-author-releases-exit-wounds-a-survival-guide-to-pain-management-for-returning-veterans-
and-their-families (last visited March 1, 2018)
233
      Finding Relief, Pain Management for Older Adults, (2009).
234
      Good Morning America (ABC television broadcast Aug. 30, 2010).
235
      A Policymaker’s Guide to Understanding Pain & Its Management, American Pain Foundation (2011) at
5, http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf (last visited March 6, 2018).




                                                         165
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 171 of 314 Pageid#: 171




         Managing Patient’s Opioid Use: Balancing the Need and the Risk (2011).236 Dr. Webster

          presented a webinar, sponsored by Purdue, which misrepresented the ability to use risk

          screen tools, urine samples and patient agreements to prevent overuse and overdose death.

         Safe and Effective Opioid Rotation (2012).237 This CME, delivered by Dr. Fine, that is also

          available online, advocated for the safe and non-addictive use of opioids to treat cancer and

          non-cancer patients over a person’s “lifetime.”

         Pain: Opioid Facts (2012).238 This document was published online on Endo’s website

          painknowledge.org and advocated for the use of opioids and downplayed the risk of

          addiction, even for people with a history of addiction and opioid use, and supported the

          concept of pseudoaddiction.

          502.   Efforts to Criticize or Undermine CDC Guidelines – Members of the Opioid

Marketing Enterprise criticized or undermined the CDC Guidelines which represented “an

important step – and perhaps the first major step from the federal government – toward limiting

opioid prescriptions for chronic pain.” The following are examples of the actions taken by Opioid

Marketing Enterprise members to prevent restriction on over-prescription:

         Several Front Groups, including the U.S. Pain Foundation, and the AAPM criticized the

          draft guidelines in 2015, arguing that the “CDC slides presented on Wednesday were not




236
    See, Managing Patient’s Opioid Use: Balancing the Need and the Risk, Emerging Solutions in Pain
http://www.emergingsolutionsinpain.com/ce-education/opioid-
management?option=com_continued&view=frontmatter&Itemid=303&course=209 (last visited Aug. 22, 2017).
237
   Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI.
238
   Pain: Opioid Facts,
http://web.archive.org/web/20120112051109/http://www.painknowledge.org/patiented/pdf/Patient%20Education%2
0b380_b385%20%20pf%20opiod.pdf (last visited March 6, 2018).




                                                      166
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 172 of 314 Pageid#: 172




          transparent relative to process and failed to disclose the names, affiliation, and conflicts of

          interest of the individuals who participated in the construction of these guidelines.”239

         The AAPM criticized the prescribing guidelines in 2016, through its immediate past

          president,   stating   “that    the   CDC      guideline     makes     disproportionately       strong

          recommendations based upon a narrowly selected portion of the available clinical

          evidence.”240

          503.   In each of the actions performed by members of the Opioid Marketing Enterprise,

described above, the members of the Opioid Marketing Enterprise made branded and unbranded

marketing claims about prescription opioids that misrepresented prescription opioids as non-

addictive and safe for use as identified in following section.

                 4.       Members of the Opioid Marketing Enterprise Furthered the Common
                          Purpose by Making Misrepresentations.

          504.   The RICO Marketing Defendants, Front Groups and KOLs participated in the

conduct of the Opioid Marketing Enterprise and shared in the common purpose of marketing

opioids for chronic pain through a pattern of racketeering activity (including multiple instances of

mail and wire fraud) by knowingly making material misrepresentations or omissions to Virginia

prescribers, consumers, the general public, regulators and the Plaintiff.                          All of the

misrepresentations made by members of the Opioid Marketing Enterprise furthered the common

purpose of the Enterprise.




239
   Pat Anson, Chronic Pain Group Blasts CDC for Opioid Guidelines, Pain News Networks,
https://www.painnewsnetwork.org/stories/2015/9/22/chronic-pain-groups-blast-cdc-for-opioid-guidelines (last
accessed on March 8, 2018).
240
   Practical Pain Management, Responses and Criticisms Over New CDC Opioid Prescribing Guidelines
(https://www.practicalpainmanagement.com/resources/news-and-research/responses-criticisms-over-new-cdc-
opioid-prescribing-guidelines) (accessed Sept. 28, 2017).




                                                      167
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 173 of 314 Pageid#: 173




          505.   Members of the Opioid Marketing Enterprise, including the RICO Marketing

Defendants, Front Groups and KOLs made multiple unbranded marketing misrepresentations

about the benefits and risks of opioid use, in furtherance of the Opioid Marketing Enterprise’s

common purpose, as follows:

          506.   Members of the Opioid Marketing Enterprise minimized the risks of addiction

and/or construed opioids as non-addictive:

         AAMP and APS endorsed the use of opioids to treat chronic pain and claimed that the risk

          of a patients’ addiction to opioids was low.241

         “[O]pioids are safe and effective, and only in rare cases lead to addiction.”242

         “[T]he risks of addiction are . . . small and can be managed.”243




241
    The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement From the American Academy of
Pain Medicine and the American Pain Society, 13 Clinical J. Pain 6 (1997).
242
  Oxycontin: Balancing Risks and Benefits: Hearing of the S. Comm. on Health, Education, Labor and Pensions,
107th Cong. 2 (Feb. 12, 2002) (testimony of John D. Giglio, M.A., J.D., Executive Director, American Pain
Foundation), https://www.help.senate.gov/imo/media/doc/Giglio.pdf.
243
    Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain Medicine, Chief
of the Division of Pain Medicine, Univ. of Cal., Davis (2005), available at
http://www.medscape.org/viewarticle/500829.




                                                      168
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 174 of 314 Pageid#: 174




          Represented that calling opioids “‘narcotics’ reinforces myths and misunderstandings as it

           places emphasis on their potential abuse rather than on the importance of their use as pain

           medicines.”244

          “Addiction, when treating pain, is distinctly uncommon. If a person does not have a history,

           a personal history, of substance abuse, and does not have a history in the family of

           substance abuse, and does not have a very major psychiatric disorder, most doctors can feel

           very assured that that person is not going to become addicted.”245




          The risk of addiction is manageable for patients regardless of past abuse histories.246

          “[T]he likelihood that the treatment of pain using an opioid drug which is prescribed by a

           doctor will lead to addiction is extremely low.”247




244
   APF, Treatment Options, https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf (last
accessed on March 8, 2018).
245
      Good Morning America (ABC television broadcast Aug. 30, 2010).
246
   Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain, 10 J.
Pain 113 (2009).
247
    Thomas Catan and Evan Perez, A Pain-Drug Champion Has Second Thoughts, The Wall Street Journal (Dec. 17,
2012), https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.




                                                       169
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 175 of 314 Pageid#: 175




         Patients might experience withdrawal symptoms associated with physical dependence as

          the decrease their dose, “[b]ut unlike actual addicts, such individuals, if they resume their

          opioid use, will only take enough medication to alleviate their pain.”248

         The notion that “strong pain medication leads to addiction” is a “common

          misconception.”249

         Addiction to an opioid would mean that your pain has gone away but you still take the

          medicine regularly when you don’t need it for pain, maybe just to escape your

          problems.”250

         Even for patients assessed to have a risk of abuse, “it does not mean that opioid use will

          become problematic or that opioids are contraindicated.” 251

         [P]eople who have no history of drug abuse, including tobacco, and use their opioid

          medication as directed will probably not become addicted.”252




248
    Brief Amici Curiae of American Pain Foundation, National Foundation for the Treatment of Pain, and The Ohio
Pain Initiative, in Support of Defendants/Appellants, Howland v. Purdue Pharma, L.P., et al., Appeal No. CA 2002
09 0220 (Butler Co., Ohio 12th Court of Appeals, Dec. 23, 2002), https://ia801005.us.archive.org/23/items/279014-
howland-apf-amicus/279014-howland-apf-amicus.pdf.
249
   A Policymaker’s Guide to Understanding Pain & Its Management, American Pain Foundation (2011) at 5,
http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf (last visited March 6, 2018).
250
    Margo McCaffery & Chris Pasero, Understanding Your Pain: Taking Oral Opioid Analgesics, Endo
Pharmaceuticals (2004), https://www.yumpu.com/en/document/view/35479278/understanding-your-pain-taking-
oral-opioid-analgesics (last accessed March 8, 2018).
251
  Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9
(Waterford Life Sciences 2007).
252
   Pain: Opioid Facts,
http://web.archive.org/web/20120112051109/http://www.painknowledge.org/patiented/pdf/Patient%20Education%2
0b380_b385%20%20pf%20opiod.pdf (last visited March 6, 2018).




                                                       170
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 176 of 314 Pageid#: 176




           “A history of addiction would not rule out the use of opioid pain relievers.”253




           APF published exit wounds, wherein it represented that “[l]ong experience with opioids

            shows that people who are not predisposed to addiction are very unlikely to become

            addicted to opioid pain medications.”254




           Patients rarely become addicted to prescribed opioids.255




253
      Id.
254
    Iraq War Veteran Amputee, Pain Advocate and New Author Release Exit Wounds: A Survival Guide to Pain
Management for Returning Veterans and Their Families, Coalition for Iraq + Afghanistan Veterans,
http://web.archive.org/web/20100308224011/http://coalitionforveterans.org:80/2009/10/iraq-war-veteran-amputee-
pain-advocate-and-new-author-releases-exit-wounds-a-survival-guide-to-pain-management-for-returning-veterans-
and-their-families (last visited March 1, 2018).
255
   Brief of Amici the American Pain Foundation, the National Pain Foundation, and the National Foundation for the
Treatment of Pain, 2005 WL 2405247, *9 (citing Portenoy, Russell, et al., Acute and Chronic Pain, in
COMPREHENSIVE TEXTBOOK OF SUBSTANCE ABUSE, 863-903 (Lowinson et al. eds., 4th ed. 2005), United




                                                      171
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 177 of 314 Pageid#: 177




           Concern about patients becoming addicted reflects widespread failure to appreciate the

            distinction between “(1) tolerance – the body’s tendency to become accustomed to a

            substance so that, over time, a larger amount is needed to produce the same physical effect

            (pain relief) and physical dependence – the state defined by the experience of adverse

            symptoms if a drug is abruptly withdrawn . . . each of which is common with pain

            patients” . . . “and, on the other hand, (2) the psychological and behavioral patterns – an

            unhealthy craving for, compulsive use of, and unhealthy fixation – that characterize

            addiction.”256

           Evidence establishes that the risk of drug addiction (historically the principal medical

            justification for withholding or limiting opioids) is far less substantial than long and widely

            assumed.257

           The “risks [of addiction] are exceedingly low in older patients with no current or past

            history of substance abuse.”258

            507.     Members of the Opioid Marketing Enterprise advocated that opioids were safe and

effective for long-term treatment of chronic, non-acute and non-cancer pain:




States v. Hurowitz, 459 F.3d 463 (2006) (citing Portenoy et. al, Chronic Use of Opioid Analgesics in Non-Malignant
Pain: Report of 38 Cases, PAIN, Vol. 25, 171-186, (1986)).
256
    Brief of Amici Russel K. Portenoy, et al., 2005 WL 2405249, United States v. Hurwitz, 459 F.3d 463 (2006)
(emphasis in original).
257
      Id. and sources cited at note 9.
258
   Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics Soc’y 1331, 1339, 1342
(2009), available at https://www.nhqualitycampaign.org/files/AmericanGeriatricSociety-PainGuidelines2009.pdf
(last accessed on March 9, 2018).




                                                       172
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 178 of 314 Pageid#: 178




           “Opioids are an essential option for treating moderate to severe pain associated with

            surgery or trauma. They may also be an important part of the management of persistent

            pain unrelated to cancer.”259

           Opioids were a safe and effective treatment for of pain as part of a physicians’ treatment

            guidelines.260

           The “small risk of abuse does not justify the withholding of these highly effective

            analgesics from chronic pain patients.”261

           Opioids, unlike some non-prescription pain medications, are safe at high doses.262

           Falsely representing “recent findings suggesting that most patients are able to successfully

            remain on long-term opioid therapy without significant problems.”263

           Opioid therapy is an appropriate treatment for chronic, non-cancer pain and integral to

            good medical practice.264

           Even for patients assessed to have a risk of abuse, “it does not mean that opioid use will

            become problematic or that opioids are contraindicated.”265




259
      APF, Treatment Options, https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.
260
    Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain, 10 J.
Pain 113 (2009).
261
   Brief Amici Curiae of American Pain Foundation, National Foundation for the Treatment of Pain, and The Ohio
Pain Initiative, in Support of Defendants/Appellants, Howland v. Purdue Pharma, L.P., et al., Appeal No. CA 2002
09 0220 (Butler Co., Ohio 12th Court of Appeals, Dec. 23, 2002), https://ia801005.us.archive.org/23/items/279014-
howland-apf-amicus/279014-howland-apf-amicus.pdf.
262
   Portenoy, et al., Overview of Management Options, https://cme.ama-assn.org/activity/1296783/detail.aspx. On
information and belief, this CME was published in 2003, 2007, 2010, and 2013.
263
   Screener and Opioid Assessment for Patients with Pain (SOAPP)® Version 1.0-SF, PainEdu.org, 2008,
https://www.nhms.org/sites/default/files/Pdfs/SOAPP-5.pdf (last accessed on March 8, 2018).
264
      Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life Sciences 2007).
265
      Id.




                                                         173
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 179 of 314 Pageid#: 179




         Opioid therapy is an appropriate treatment for chronic, non-cancer pain and integral to

          good medical practice.266

         Broadly classifying pain syndromes as “either cancer- or non-cancer-related has limited

          utility,” and recommended dispensing rapid onset opioids “in patients with non-cancer




          pain.”267

         Opioids are safe and well-tolerated in patients with chronic pain and break through pain.268

         Non-opioid analgesics and combination opioids containing non-opioids such as aspirin and

          acetaminophen are less effective than opioids because of dose limitations on non-

          opioids.269




266
   Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life
Sciences 2007).
267
    Perry G Fine, MD, et al. Opioid-Based Management of Persistent and Breakthrough Pain, Pain Medicine News,
https://www.yumpu.com/en/document/view/11409251/opioid-based-management-of-persistent-and-breakthrough-
pain (accessed on February 27, 2018).
268
   Hale ME, Webster LR, Peppin JF, Messina J. Open-label study of fentanyl effervescent buccal tablets in patients
with chronic pain and breakthrough pain: interim safety and tolerability results. Program and abstracts of the annual
meeting of the American Academy of Pain Medicine; February 22-25, 2006; San Diego, California. Abstract 120.
Published with permission of Lynn R. Webster, MD, https://www.medscape.org/viewarticle/524538_2 (accessed on
March 6, 2018).
269
    Lynn Webster, Optimizing Opioid Treatment for Breakthrough Pain, Medscape,
http://www.medscape.org/viewarticle/563417_6 (last visited Dec. 11, 2017).




                                                         174
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 180 of 314 Pageid#: 180




           Opioids can safely alleviate chronic pain unresponsive to other medication.270

           Medical organization and government-sponsored clinical guidelines support and encourage

            opioid treatment for chronic pain.271

           Respiratory depression, even at extremely high levels, does not occur in the context of

            appropriate clinical treatment.272

           There is no “ceiling dose” for opioids.273

           Opioid analgesics are the most effective way to treat pain of moderate to severe intensity

            and often the only treatment that provides significant relief.274

           “Opioid rotations” (switching from one opioid to another) not only for cancer patients, but

            also for non-cancer patients, may need to occur four or five times over a person’s “lifetime”

            to manage pain.275




270
   Brief of Amici the American Pain Foundation, the National Pain Foundation, and the National Foundation for the
Treatment of Pain, 2005 WL 2405247, *8, United States v. Hurowitz, 459 F.3d 463 (2006) (citing Portenoy et. al,
Chronic Use of Opioid Analgesics in Non-Malignant Pain: Report of 38 Cases, PAIN, Vol. 25, 171-186, (1986)).
271
      Id. at *8, and sources cited in note 11.
272
      Id.
273
      Id.
274
      Brief of Amici Russel K. Portenoy, et al., 2005 WL 2405249, United States v. Hurwitz, 459 F.3d 463.
275
   Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI.




                                                          175
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 181 of 314 Pageid#: 181




         Opioids represent a highly effective . . . class of analgesic medications for controlling both

          chronic and acute pain. The phenomenon of tolerance to opioids – the gradual waning of

          relief at a given dose – and fears of abuse, diversion, and misuse of these medications by

          patients have led many clinicians to be wary of prescribing these drugs, and/or to restrict

          dosages to levels that may be insufficient to provide meaningful relief.276




          508.   Members of the Opioid Marketing Enterprise created and championed the concept

of “pseudoaddiction,” advocating that signs of addiction were actually pseudoaddiction that

required prescribing additional opioids:




276
  Charles E. Argoff, Case Challenges in Pain Management: Opioid Therapy for Chronic Pain, Pain Med. News,
2007, https://www.painmedicinenews.com/download/BtoB_Opana_WM.pdf (last visited on March 8, 2018).




                                                    176
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 182 of 314 Pageid#: 182




       Patients might experience withdrawal symptoms associated with physical dependence as

        the decrease their dose, “[b]ut unlike actual addicts, such individuals, if they resume their

        opioid use, will only take enough medication to alleviate their pain.”277

       Addiction IS NOT when a person develops ‘withdrawal’ (such as abdominal cramping or

        sweating) after the medicine is stopped or the dose is reduced by a large amount. . . .

        Addiction also IS NOT what happens when some people taking opioids need to take a

        higher dose after a period of time in order for it to continue to relieve their pain. This




277
    Brief Amici Curiae of American Pain Foundation, National Foundation for the Treatment of Pain, and The Ohio
Pain Initiative, in Support of Defendants/Appellants, Howland v. Purdue Pharma, L.P., et al., Appeal No. CA 2002
09 0220 (Butler Co., Ohio 12th Court of Appeals, Dec. 23, 2002), https://ia801005.us.archive.org/23/items/279014-
howland-apf-amicus/279014-howland-apf-amicus.pdf.




                                                       177
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 183 of 314 Pageid#: 183




            normal ‘tolerance’ to opioid medications doesn’t affect everyone who takes them and does

            not, by itself, imply addiction.”



           “Addiction to an opioid would mean that your pain has gone away but you still take the




            medicine regularly when you don’t need it for pain, maybe just to escape your

            problems.”278




278
      Id.




                                                  178
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 184 of 314 Pageid#: 184




          Behaviors such as “[r]equesting [drugs] by name,” “[d]emanding or manipulative

           behavior,” “[o]btaining drugs from more than one physician,” and “[h]oarding opioids,”

           are all really signs of pseudoaddiction, rather than genuine addiction.” 279

          “Sometimes people behave as if they are addicted, when they are really in need of more

           medication.”280




          For prescribers facing signs of aberrant behavior, increasing the does “in most cases . . .

           should be the clinician’s first response.”281




279
      Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life Sciences 2007).
280
   Pain: Opioid Facts,
http://web.archive.org/web/20120112051109/http://www.painknowledge.org/patiented/pdf/Patient%20Education%2
0b380_b385%20%20pf%20opiod.pdf (last visited March 6, 2018).
281
      Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).




                                                         179
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 185 of 314 Pageid#: 185




           509.     Members of the Opioid Marketing Enterprise advocated that long-term use of

prescription opioids would improve function, including but not limited to, psychological health,

and health-related quality of life:

          When opioids are managed, properly prescribed and taken as directed, they are effective in

           improving daily function, psychological health and health-related quality of life. 282

          Opioid therapy to relieve pain and improve function is a legitimate medical practice for

           acute and chronic pain of both cancer and non-cancer origins.283




          “[Y]our level of function should improve, you may find you are now able to participate in

           activities of daily living, such as work and hobbies, that you were not able to enjoy when

           your pain was worse.”284




282
      A Policymaker’s Guide to Understanding Pain & Its Management, American Pain Foundation (2011) at
5, http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf (last visited March 6, 2018).
283
  Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life Sciences 2007);
Scott M. Fishman, Responsible Opioid Prescribing: A Clinician’s Guide, 10-11 (2d ed. 2012).
284
      Plaintiffs are informed and believe that this misrepresentation was made on the website painknowledge.org.




                                                          180
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 186 of 314 Pageid#: 186




         “The goal of opioid therapy is to . . . improve your function.”285




         The “goal” for chronic pain patients is to “improve effectiveness which is different from

          efficacy and safety.”286

          510.   Members of the Opioid Marketing Enterprise represented that screening questions

and professional guidelines would help curb addiction and potential abuse:




285
   Pain: Opioid Facts,
http://web.archive.org/web/20120112051109/http://www.painknowledge.org/patiented/pdf/Patient%20Education%2
0b380_b385%20%20pf%20opiod.pdf (last visited March 6, 2018).
286
   Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI.




                                                      181
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 187 of 314 Pageid#: 187




          Screening questions and professional guidelines will “easily and efficiently” allow

           physicians to manage risk and “minimize the potential for abuse.”287

          Risk screening tools, urine testing, and patient agreements are a way to prevent “overuse

           of prescriptions” and “overdose deaths.”288




          The risks of addiction and abuse can be managed by doctors and evaluated with “tools.”289

           511.     In addition to the unbranded marketing misrepresentations made by members of the

Opioid Marketing Enterprise, the RICO Marketing Defendants made misrepresentations in their

branded marketing activities.               The RICO Marketing Defendants’ branded marketing

misrepresentations furthered the common purpose of the Opioid Marketing Enterprise because

they advanced the common messages of the Opioid Marketing Enterprise. For example:

           512.     The RICO Marketing Defendants misrepresented that opioids were non-addictive

or posed less risk of addiction or abuse:

                   Purdue:




287
      Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide, 8-9 (Waterford Life Sciences 2007).
288
   See, Managing Patient’s Opioid Use: Balancing the Need and the Risk, Emerging Solutions in Pain
http://www.emergingsolutionsinpain.com/ce-education/opioid-
management?option=com_continued&view=frontmatter&Itemid=303&course=209 (last visited Aug. 22, 2017).
         289
             Perry A. Fine, Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI.




                                                         182
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 188 of 314 Pageid#: 188




             o “Fear of addiction is exaggerated.”290




             o “[W]e’ve discovered that the simplicity and convenience of twice-daily dosing also

                 enhances patient compliance with their doctor’s instructions.”291

             o Long-acting, extended release formulations are safe and “less prone” to abuse by

                 patients and addiction.292

             o OxyContin is safe and non-addictive when using extended release formulations,

                 and appropriate for use in non-cancer patients.293




290
  Harriet Ryan, et al., “You Want A Description of Hell?” OxyContin’s 12-Hour Problem, L.A. Times (May 5,
2016), http://documents.latimes.com/oxycontin-press-release-1996/ (hereinafter “Ryan, Description of Hell”).
291
      Id.
292
    Barry Meier, In Guilty Plea, OxyContin Maker to Pay $600 Million, N.Y. Times (May 10, 2007),
http://www.nytimes.com/2007/05/10/business/11drug-web.html (hereinafter “Meier, Guilty Plea”).
293
    Charles Ornstein & Tracy Weber, American Pain Foundation Shuts Down as Senators Launch Investigation of
Prescription Narcotics, ProPublica (May 8, 2012, 8:57 PM),
http://www.opb.org/news/article/america_pain_foundation_shuts_down_as_senators_launch_investigation_of_pres
cription_narcotis/ (hereinafter “Ornstein, American Pain Foundation”).




                                                      183
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 189 of 314 Pageid#: 189




            o Consistently minimizing the risk of addiction in the use of opioids for the treatment

                of chronic non-cancer-related pain.294

            o OxyContin is virtually non-addicting.295

            o “Assur[ing] doctors – repeatedly and without evidence – that ‘fewer than one

                percent’ of patients who took OxyContin became addicted.”296




            o OxyContin was addiction resistant and had “abuse-deterrent properties.”297




294
  Art Van Zee, The Promotion and Marketing of OxyContin: Commercial Triumph, Public Health Tragedy, 99(2)
Am. J. Pub. Health 221-27 (Feb. 2009) (hereinafter, “Van Zee, Promotion and Marketing”).
295
   Patrick Keefe, The Family that Built an Empire of Pain, New Yorker (Oct. 30, 2017),
https://www.newyorker.com/magazine/2017/10/30/the-family-that-built-an-empire-of-pain
296
   Id.; see also “I got my life back,” OxyContin Promotional Video, 1998,
https://www.youtube.com/watch?v=Er78Dj5hyeI (last accessed on March 8, 2018).
297
      Id.




                                                     184
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 190 of 314 Pageid#: 190




             o Misrepresented the risk of addiction using misleading and inaccurate promotions

               of OxyContin that were unsupported by science.298
             o It was more difficult to extract the oxycodone from an OxyContin tablet for

                 intravenous abuse.299

             o OxyContin created fewer chances for addiction than immediate-release opioids.300

             o OxyContin had fewer “peak and trough” effects than immediate-release opioids

                 resulting in less euphoria and less potential for abuse than short-acting opioids.301

             o Patients could abruptly stop opioid therapy without experiencing withdrawal

                 symptoms, and patients who took OxyContin would not develop tolerance.302

             o OxyContin did not cause a “buzz,” caused less euphoria, had less addiction

                 potential, had less abuse potential, was less likely to be diverted than immediate-

                 release opioids, and could be used to “weed out” addicts and drug seekers.303

             o Purdue published a prescriber and law enforcement education pamphlet in 2011

                 entitled Providing Relief, Preventing Abuse, which under the heading, “Indications

                 of Possible Drug Abuse,” shows pictures of the stigmata of injecting or snorting

                 opioids—skin popping, track marks, and perforated nasal septa. In fact, opioid

                 addicts who resort to these extremes are uncommon; the far more typical reality is




298
  Press Release, U.S. Attorney for the Western District of Virginia, Statement of United States Attorney John
Brownlee on the Guilty Plea of the Purdue Frederick Company and Its Executives for Illegally Misbranding
OxyContin (May 10, 2007), https://assets.documentcloud.org/documents/279028/purdue-guilty-plea.pdf.
299
      Id.
300
      Id.
301
      Id.
302
      Id.
303
      Id.




                                                       185
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 191 of 314 Pageid#: 191




                  patients who become dependent and addicted through oral use. Thus, these

                  misrepresentations wrongly reassured doctors that as long as they do not observe

                  those signs, they need not worry that their patients are abusing or addicted to

                  opioids.

             o Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

                  Management, which inaccurately claimed that less than 1% of children prescribed

                  opioids will become addicted. This publication is still available online. This

                  publication also asserted that pain is undertreated due to “misconceptions about

                  opioid addiction.”

             o Purdue sponsored APF’s Treatment Options: A Guide for People Living with Pain

                  (2007), which asserted that addiction is rare and limited to extreme cases of

                  unauthorized dose escalations, obtaining opioids from multiple sources, or theft.

             o A Purdue-funded study with a Purdue co-author claimed that “evidence that the risk

                  of psychological dependence or addiction is low in the absence of a history of

                  substance abuse.”304 The study relied only on the 1980 Porter-Jick letter to the

                  editor concerning a chart review of hospitalized patients, not patients taking

                  Purdue’s long-acting, take-home opioid. Although the term “low” is not defined,

                  the overall presentation suggests the risk is so low as not to be a worry.

             o Purdue contracted with AGS to produce a CME promoting the 2009 guidelines for

                  the Pharmacological Management of Persistent Pain in Older Persons. These

                  guidelines falsely claim that “the risks [of addiction] are exceedingly low in older


304
    C. Peter N. Watson et al., Controlled-release oxycodone relieves neuropathic pain: a randomized controlled trial I
painful diabetic neuropathy, 105 Pain 71 (2003).




                                                         186
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 192 of 314 Pageid#: 192




            patients with no current or past history of substance abuse.” None of the references

            in the guidelines corroborates the claim that elderly patients are less likely to

            become addicted to opioids and the claim is, in fact, untrue. Purdue was aware of

            the AGS guidelines’ content when it agreed to provide this funding, and AGS

            drafted the guidelines with the expectation it would seek drug company funding to

            promote them after their completion.

         o Purdue sponsored APF’s Exit Wounds (2009), which counseled veterans that

            “[l]ong experience with opioids shows that people who are not predisposed to

            addiction are very unlikely to become addicted to opioid pain medications.”

            Although the term “very unlikely” is not defined, the overall presentation suggests

            it is so low as not to be a worry.

         o Purdue sales representatives told prescribers that its drugs were “steady state,” the

            implication of which was that they did not produce a rush or euphoric effect, and

            therefore were less addictive and less likely to be abused.

         o Purdue sales representatives told prescribers that Butrans has a lower abuse

            potential than other drugs because it was essentially tamperproof and, after a certain

            point, patients no longer experience a “buzz” from increased dosage.

         o Advertisements that Purdue sent to prescribers stated that OxyContin ER was less

            likely to be favored by addicts, and, therefore, less likely to be abused or diverted,

            or result in addiction.

         o In discussions with prescribers, Purdue sales representatives omitted discussion of

            addiction risks related to Purdue’s drugs.




                                                 187
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 193 of 314 Pageid#: 193




                   Janssen:

                o Myth: Opioid medications are always addictive.

                Fact: Many studies show that opioids are rarely addictive when used properly for the

                    management of chronic pain.305

                o Myth: Opioid doses have to get bigger over time because the body gets used to

                    them.

                Fact: Unless the underlying cause of your pain gets worse (such as with cancer or

                    arthritis), you will probably remain on the same dose or need only small increases

                    over time.306

                o “[Q]uestions of addiction,” “are often overestimated” because, “[a]ccording to

                    clinical opinion polls, true addiction occurs only in a small percentage of patients

                    with chronic pain who receive chronic opioid analgesics.”307

                o Janssen sponsored a patient education guide titled Finding Relief: Pain




                    Management for Older Adults (2009), which its personnel reviewed and approved



305
      Finding Relief, Pain Management for Older Adults, (2009) (emphasis in original).
306
      Finding Relief, Pain Management for Older Adults, (2009) (emphasis in original).
307
    Use of Opioid Analgesics in Pain Management, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/opioid-pain-management (last visited Dec. 11, 2017).




                                                          188
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 194 of 314 Pageid#: 194




            and which its sales force distributed. This guide described a “myth” that opioids are

            addictive, and asserts as fact that “[m]any studies show that opioids are rarely

            addictive when used properly for the management of chronic pain.” Although the

            term “rarely” is not defined, the overall presentation suggests the risk is so low as

            not to be a worry. The language also implies that as long as a prescription is given,

            opioid use is not a problem.

         o Janssen contracted with AGS to produce a CME promoting the 2009 guidelines for

            the Pharmacological Management of Persistent Pain in Older Persons. These

            guidelines falsely claim that “the risks [of addiction] are exceedingly low in older

            patients with no current or past history of substance abuse.” The study supporting

            this assertion does not analyze addiction rates by age and, as already noted,

            addiction remains a significant risk for elderly patients. Janssen was aware of the

            AGS guidelines’ content when it agreed to provide this funding, and AGS drafted

            the guidelines with the expectation it would seek drug company funding to promote

            them after their completion.

         o Janssen provided grants to APF to distribute Exit Wounds (2009) to veterans, which

            taught that [l]ong experience with opioids shows that people who are not

            predisposed to addiction are very unlikely to become addicted to opioid pain

            medications.” Although the term “very unlikely” is not defined, the overall

            presentation suggests the risk is so low as not to be a worry.

         o Janssen currently runs a website, Prescriberesponsibly.com (last modified July 2,

            2015), which claims that concerns about opioid addiction are “overstated.”




                                             189
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 195 of 314 Pageid#: 195




          o A June 2009 Nucynta Training module warns Janssen’s sales force that physicians

             are reluctant to prescribe controlled substances like Nucynta, but this reluctance is

             unfounded because “the risks . . . are much smaller than commonly believed.”

          o Janssen sales representatives told prescribers that its drugs were “steady state,” the

             implication of which was that they did not produce a rush or euphoric effect, and

             therefore were less addictive and less likely to be abused.

          o Janssen sales representatives told prescribers that Nucynta and Nucynta ER were

             “not opioids,” implying that the risks of addiction and other adverse outcomes

             associated with opioids were not applicable to Janssen’s drugs. In truth, however,

             as set out in Nucynta’s FDA-mandated label, Nucynta “contains tapentadol, an

             opioid agonist and Schedule II substance with abuse liability similar to other opioid

             agonists, legal or illicit.”

          o Janssen’s sales representatives told prescribers that Nucynta’s unique properties

             eliminated the risk of addiction associated with the drug.

          o In discussions with prescribers, Janssen sales representatives omitted discussion of

             addiction risks related to Janssen’s drugs.

            Cephalon:

          o Cephalon sponsored and facilitated the development of a guidebook, Opioid

             Medications and REMS: A Patient’s Guide, which claims, among other things, that

             “patients without a history of abuse or a family history of abuse do not commonly

             become addicted to opioids.”




                                              190
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 196 of 314 Pageid#: 196




                  o Cephalon sponsored APF’s Treatment Options: A Guide for People Living with

                     Pain (2007), which taught that addiction is rare and limited to extreme cases of

                     unauthorized dose escalations, obtaining opioids from multiple sources, or theft.

                  o In discussions with prescribers, Cephalon sales representatives omitted any

                     discussion of addiction risks related to Cephalon’s drugs.

                    Endo:

                  o Opana ER was designed to be crush resistant

                  o Opana ER was crush and abuse resistant and not addictive.308

                  o “[T]he Reformulated Opana ER as ‘designed to be’ crush resistant.”309

                  o “[P]atients treated with prolonged opioid medicines usually do not become

                     addicted.”310

                  o Endo trained its sales force in 2012 that use of long-acting opioids resulted in

                     increased patient compliance, without any supporting evidence.

                  o Endo’s advertisements for the 2012 reformulation of Opana ER claimed it was

                     designed to be crush resistant, in a way that conveyed that it was less likely to be

                     abused. This claim was false; the FDA warned in a May 10, 2013 letter that there

                     was no evidence Endo’s design “would provide a reduction in oral, intranasal or

                     intravenous abuse” and Endo’s “post-marketing data submitted are insufficient to



308
    In the Matter of Endo Health Solutions Inc. and Endo Pharmaceuticals Inc., Assurance No. 15-228, Assurance of
Discontinuance Under Executive Law Section 63, Subdivision 15, at 5 (Mar. 1, 2016),
https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.
309
      Id. at 6.
310
    In the Matter of Endo Health Solutions Inc. and Endo Pharmaceuticals Inc., Assurance No. 15-228, Assurance of
Discontinuance Under Executive Law Section 63, Subdivision 15, at 5 (Mar. 1, 2016),
https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.




                                                      191
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 197 of 314 Pageid#: 197




            support any conclusion about the overall or route-specific rates of abuse.” Further,

            Endo instructed its sales representatives to repeat this claim about “design,” with

            the intention of conveying Opana ER was less subject to abuse.

         o Endo sponsored a website, painknowledge.com, through APF and NIPC, which

            claimed in 2009 that: “[p]eople who take opioids as prescribed usually do not

            become addicted.” Although the term “usually” is not defined, the overall

            presentation suggests the risk is so low as not to be a worry. The language also

            implies that as long as a prescription is given, opioid use will not become

            problematic. Endo continued to provide funding for this website through 2012, and

            closely tracked unique visitors to it.

         o Endo sponsored a website, PainAction.com, which stated “Did you know? Most

            chronic pain patients do not become addicted to the opioid medications that are

            prescribed for them.”

         o Endo sponsored CMEs published by APF’s NIPC, of which Endo was the sole

            funder, titled Persistent Pain in the Older Adult and Persistent Pain in the Older

            Patient. These CMEs claimed that opioids used by elderly patients present

            “possibly less potential for abuse than in younger patients[,]” which lacks

            evidentiary support and deceptively minimizes the risk of addiction for elderly

            patients.

         o Endo distributed an education pamphlet with the Endo logo titled Living with

            Someone with Chronic Pain, which inaccurately minimized the risk of addiction:

            “Most health care providers who treat people with pain agree that most people do

            not develop an addiction problem.”




                                              192
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 198 of 314 Pageid#: 198




         o Endo distributed a patient education pamphlet edited by key opinion leader Dr.

            Russell Portenoy titled Understanding Your Pain: Taking Oral Opioid Analgesics.

            It claimed that “[a]ddicts take opioids for other reasons [than pain relief], such as

            unbearable emotional problems.” This implies that pain patients prescribed opioids

            will not become addicted, which is unsupported and untrue.

         o Endo contracted with AGS to produce a CME promoting the 2009 guidelines for

            the Pharmacological Management of Persistent Pain in Older Persons. These

            guidelines falsely claim that “the risks [of addiction] are exceedingly low in older

            patients with no current or past history of substance abuse.” None of the references

            in the guidelines corroborates the claim that elderly patients are less likely to

            become addicted to opioids, and there is no such evidence. Endo was aware of the

            AGS guidelines’ content when it agreed to provide this funding, and AGS drafted

            the guidelines with the expectation it would seek drug company funding to promote

            them after their completion.

         o Endo sales representatives told prescribers that its drugs were “steady state,” the

            implication of which was that they did not produce a rush or euphoric effect, and

            therefore were less addictive and less likely to be abused.

         o Endo provided grants to APF to distribute Exit Wounds (2009) to veterans, which

            taught that “[l]ong experience with opioids shows that people who are not

            predisposed to addiction are very unlikely to become addicted to opioid pain

            medications.” Although the term “very unlikely” is not defined, the overall

            presentation suggests that the risk is so low as not to be a worry.




                                             193
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 199 of 314 Pageid#: 199




                o In discussions with prescribers, Endo sales representatives omitted discussion of

                    addiction risks related to Endo’s drugs.

           513.     The RICO Marketing Defendants misrepresented that opioids improved function

and quality of life:

                   Purdue:

                o “[W]e’ve discovered that the simplicity and convenience of twice-daily dosing also

                    enhances patient compliance with their doctor’s instructions.”311




                o Purdue ran a series of advertisements for OxyContin in 2012 in medical journals

                    titled “Pain vignettes,” which were case studies featuring patients, each with pain

                    conditions persisting over several months, recommending OxyContin for each. One

                    such patient, “Paul,” is described to be a “54-year-old writer with osteoarthritis of

                    the hands,” and the vignettes imply that an OxyContin prescription will help him

                    work more effectively.

                o Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

                    Management, which inaccurately claimed that “multiple clinical studies” have



311
      Ryan, Description of Hell, http://documents.latimes.com/oxycontin-press-release-1996/




                                                          194
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 200 of 314 Pageid#: 200




             shown that opioids are effective in improving daily function, psychological health,

             and health-related quality of life for chronic pain patients.” The sole reference for

             the functional improvement claim noted the absence of long-term studies and

             actually stated: “For functional outcomes, the other analgesics were significantly

             more effective than were opioids.” The Policymaker’s Guide is still available

             online.

         o Purdue sponsored APF’s Treatment Options: A Guide for People Living with Pain

             (2007), which counseled patients that opioids, when used properly, “give [pain

             patients] a quality of life we deserve.” APF distributed 17,200 copies in one year

             alone, according to its 2007 annual report, and the guide currently is available

             online.

         o Purdue sponsored APF’s Exit Wounds (2009), which taught veterans that opioid

             medications “increase your level of functioning.” Exit Wounds also omits warnings

             of the risk of interactions between opioids and benzodiazepines, which would

             increase fatality risk. Benzodiazepines are frequently prescribed to veterans

             diagnosed with post-traumatic stress disorder.

         o Purdue sponsored the FSMB’s Responsible Opioid Prescribing (2007), which

             taught that relief of pain itself improved patients’ function. Responsible Opioid

             Prescribing explicitly describes functional improvement as the goal of a “long-term

             therapeutic treatment course.” Purdue also spent over $100,000 to support

             distribution of the book.

            Janssen:




                                              195
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 201 of 314 Pageid#: 201




                 o Misrepresented that patients experienced “[s]ignificantly reduced nighttime

                     awakenings.”312

                 o Misrepresented “[s]ignificant improvement in disability scores as measured by the

                     Oswestry Disability Questionnaire and Pain Disability Index.”313

                 o Misrepresented “[s]ignificant improvement in social functioning.”

                 o Misrepresented outcome claims that were misleading because they lacked

                     substantial support, evidence or clinical experience and “impl[ied] that patients will

                     experience improved social or physical functioning or improved work productivity

                     when using Duragesic,” including: “1,360 loaves . . . and counting, [w]ork,

                     uninterrupted, [l]ife, uninterrupted, [g]ame, uninterrupted, [c]hronic pain relief that

                     supports functionality, [h]elps patients think less about their pain, and

                     [i]mprove[s] . . . physical and social functioning.”314

                 o Misrepresented that “[o]pioid analgesics, for example, have no true ‘ceiling dose’

                     for analgesia and do not cause direct organ damage.”315




312
  NDA 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to Cynthia Chianese, Janssen
Pharmaceutica (Mar. 30, 2000) at 2.
313
      Id.
314
      Id. at 3 (internal quotations omitted).
315
    Use of Opioid Analgesics in Pain Management, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/opioid-pain-management (last visited Dec. 11, 2017).




                                                       196
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 202 of 314 Pageid#: 202




                o Myth: Opioids make it harder to function normally.

                Fact: When used correctly for appropriate conditions, opioids may make it easier for

                    people to live normally.316

                o Janssen sponsored a patient education guide titled Finding Relief: Pain

                    Management for Older Adults (2009), which its personnel reviewed and approved

                    and its sales force distributed. This guide features a man playing golf on the cover

                    and lists examples of expected functional improvement from opioids, like sleeping

                    through the night, returning to work, recreation, sex, walking, and climbing stairs.

                    The guide states as a “fact” that “opioids may make it easier for people to live

                    normally” (emphasis in the original). The myth/fact structure implies authoritative

                    backing for the claim that does not exist. The targeting of older adults also ignored

                    heightened opioid risks in this population.

                o Janssen sponsored, developed, and approved content of a website, Let’s Talk Pain

                    in 2009, acting in conjunction with the APF and AAPM whose participation in

                    Let’s Talk Pain Janssen financed and orchestrated. This website featured an

                    interview, which was edited by Janssen personnel, claiming that opioids were what

                    allowed a patient to “continue to function,” inaccurately implying her experience

                    would be representative. This video is still available today on youtube.com.

                o Janssen provided grants to APF to distribute Exit Wounds to veterans, which taught

                    that opioid medications “increase your level of functioning” (emphasis in the

                    original). Exit Wounds also omits warnings of the risk of interactions between



316
      Finding Relief, Pain Management for Older Adults, (2009) (emphasis in original).




                                                          197
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 203 of 314 Pageid#: 203




             opioids and benzodiazepines, which would increase fatality risk. Benzodiazepines

             are frequently prescribed to veterans diagnosed with post-traumatic stress disorder.

            Cephalon:

          o Cephalon sponsored the FSMB’s Responsible Opioid Prescribing (2007), which

             taught that relief of pain itself improved patients’ function. Responsible Opioid

             Prescribing explicitly describes functional improvement as the goal of a “long-term

             therapeutic treatment course.” Cephalon also spent $150,000 to purchase copies of

             the book in bulk and distributed the book through its pain sales force to 10,000

             prescribers and 5,000 pharmacists.

          o Cephalon sponsored the American Pain Foundation’s Treatment Options: A Guide

             for People Living with Pain (2007), which taught patients that opioids when used

             properly “give [pain patients] a quality of life we deserve.” The Treatment Options

             guide notes that non-steroidal anti-inflammatory drugs have greater risks with

             prolonged duration of use, but there was no similar warning for opioids. APF

             distributed 17,200 copies in one year alone, according to its 2007 annual report,

             and the publication is currently available online.

          o Cephalon sponsored a CME written by Dr. Webster, titled Optimizing Opioid

             Treatment for Breakthrough Pain, which was offered online by Medscape, LLC

             from September 28, 2007, through December 15, 2008. The CME taught that

             Cephalon’s Actiq and Fentora improve patients’ quality of life and allow for more

             activities when taken in conjunction with long-acting opioids.



            Endo:




                                              198
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 204 of 314 Pageid#: 204




                  o Opana ER “will benefit patients, physicians and payers.”317




                  o “Endo distributed a pamphlet in New York and posted on its public website,

                     www.opana.com, photographs of purported Opana ER patients that implied that

                     patients can achieve higher function with Opana ER.”318

                  o Endo sponsored a website, painknowledge.com, through APF and NIPC, which

                     claimed in 2009 that with opioids, “your level of function should improve; you may

                     find you are now able to participate in activities of daily living, such as work and

                     hobbies, that you were not able to enjoy when your pain was worse.” Endo

                     continued to provide funding for this website through 2012, and closely tracked

                     unique visitors to it.

                  o A CME sponsored by Endo, titled Persistent Pain in the Older Patient, taught that

                     chronic opioid therapy has been “shown to reduce pain and improve depressive

                     symptoms and cognitive functioning.”

                  o Endo distributed handouts to prescribers that claimed that use of Opana ER to treat

                     chronic pain would allow patients to perform work as a chef. This flyer also

                     emphasized Opana ER’s indication without including equally prominent disclosure

                     of the “moderate to severe pain” qualification.



317
   FDA Approves Endo Pharmaceuticals’ Crush-Resistant Opana ER, December 12, 2011,
https://www.biospace.com/article/releases/fda-approves-endo-pharmaceuticals-crush-resistant-opana-er-/.
318
      Id. at 8.




                                                       199
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 205 of 314 Pageid#: 205




             o Endo’s sales force distributed FSMB’s Responsible Opioid Prescribing (2007).

                 This book taught that relief of pain itself improved patients’ function. Responsible

                 Opioid Prescribing explicitly describes functional improvement as the goal of a

                 “long-term therapeutic treatment course.”

             o Endo provided grants to APF to distribute Exit Wounds to veterans, which taught

                 that opioid medications “increase your level of functioning” (emphasis in the

                 original). Exit Wounds also omits warnings of the risk of interactions between

                 opioids and benzodiazepines, which would increase fatality risk. Benzodiazepines

                 are frequently prescribed to veterans diagnosed with post-traumatic stress disorder.

        514.     The RICO Marketing Defendants misrepresented that addiction risks can be

avoided or managed through screening tools and prescription guidelines:

                Purdue:

             o Purdue’s unbranded website, In the Face of Pain (inthefaceofpain.com) states that

                 policies that “restrict[] access to patients with pain who also have a history of

                 substance abuse” and “requiring special government-issued prescription forms for

                 the only medications that are capable of relieving pain that is severe” are “at odds

                 with” best medical practices.319

             o Purdue sponsored a 2012 CME program taught by a KOL titled Chronic Pain

                 Management and Opioid Use: Easing Fears, Managing Risks, and Improving

                 Outcomes. This presentation recommended that use of screening tools, more




319
    See In the Face of Pain Fact Sheet: Protecting Access to Pain Treatment, Purdue Pharma L.P. (Resources verified
Mar. 2012), www.inthefaceofpain.com/content/uploads/2011/12/factsheet_ProtectingAccess.pdf.




                                                       200
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 206 of 314 Pageid#: 206




                 frequent refills, and switching opioids could treat a high-risk patient showing signs

                 of potentially addictive behavior.

             o Purdue sponsored a 2011 webinar taught by Dr. Lynn Webster, titled Managing

                 Patient’s Opioid Use: Balancing the Need and Risk. This publication taught

                 prescribers that screening tools, urine tests, and patient agreements have the effect

                 of preventing “overuse of prescriptions” and “overdose deaths.”

             o Purdue sales representatives told prescribers that screening tools can be used to

                 select patients appropriate for opioid therapy and to manage the risks of addiction.

                Cephalon:

             o Cephalon sponsored APF’s Treatment Options: A Guide for People Living with

                 Pain (2007), which taught patients that “opioid agreements” between doctors and

                 patients can “ensure that you take the opioid as prescribed.”

                Endo:

             o Endo paid for a 2007 supplement320 available for continuing education credit in the

                 Journal of Family Practice and written by a doctor who later became a member of

                 Endo’s speakers bureau. This publication, titled Pain Management Dilemmas in

                 Primary Care: Use of Opioids, recommended screening patients using tools like

                 the Opioid Risk Tool or the Screener and Opioid Assessment for Patients with Pain,

                 and advised that patients at high risk of addiction could safely (e.g., without




320
  The Medical Journal, The Lancet found that all of the supplement papers it received failed peer-review. Editorial,
“The Perils of Journal and Supplement Publishing,” 375 The Lancet 9712 (347) 2010.




                                                        201
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 207 of 314 Pageid#: 207




              becoming addicted) receive chronic opioid therapy using a “maximally structured

              approach” involving toxicology screens and pill counts.

       515.   The RICO Marketing Defendants misrepresented that signs of opioid addiction

were not addiction, withdrawal could be simply managed, and promoted the concept of

pseudoaddiction:

             Purdue:

           o Purdue published a prescriber and law enforcement education pamphlet in 2011

              entitled Providing Relief, Preventing Abuse, which described pseudoaddiction as a

              concept that “emerged in the literature to describe the inaccurate interpretation of

              [drug-seeking behaviors] in patients who have pain that has not been effectively

              treated.”

           o Purdue distributed to physicians, at least as of November 2006 and posted on its

              unbranded website, Partners Against Pain, a pamphlet copyrighted 2005 and titled

              Clinical Issues in Opioid Prescribing. This pamphlet included a list of conduct

              including “illicit drug use and deception” it defined as indicative of

              pseudoaddiction or untreated pain. It also states: “Pseudoaddiction is a term which

              has been used to describe patient behaviors that may occur when pain is

              undertreated. . . . Even such behaviors as illicit drug use and deception can occur in

              the patient’s efforts to obtain relief. Pseudoaddiction can be distinguished from true

              addiction in that the behaviors resolve when the pain is effectively treated.”

           o Purdue sponsored FSMB’s Responsible Opioid Prescribing (2007), which taught

              that behaviors such as “requesting drugs by name, “demanding or manipulative

              behavior,” seeing more than one doctor to obtain opioids, and hoarding, are all signs




                                               202
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 208 of 314 Pageid#: 208




             of pseudoaddiction. Purdue also spent over $100,000 to support distribution of the

             book.

          o Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

             Management, which states: “Pseudo-addiction describes patient behaviors that may

             occur when pain is undertreated. . . . Pseudo-addiction can be distinguished from

             true addiction in that this behavior ceases when pain is effectively treated.”

          o A Policymaker’s Guide to Understanding Pain & Its Management also taught that

             “Symptoms of physical dependence can often be ameliorated by gradually

             decreasing the dose of medication during discontinuation,” but did not disclose the

             significant hardships that often accompany cessation of use.

          o Purdue sales representatives told prescribers that the effects of withdrawal from

             opioid use can be successfully managed.

          o Purdue sales representatives told prescribers that the potential for withdrawal on

             Butrans was low due to Butrans’ low potency and its extended release mechanism.

            Janssen:

          o Janssen’s website, Let’s Talk Pain, stated from 2009 through 2011 that

             “pseudoaddiction . . . refers to patient behaviors that may occur when pain is under-

             treated” and “[p]seudoaddiction is different from true addiction because such

             behaviors can be resolved with effective pain management.”

          o A Janssen PowerPoint presentation used for training its sales representatives titled

             “Selling Nucynta ER” indicates that the “low incidence of withdrawal symptoms”

             is a “core message” for its sales force. This message is repeated in numerous

             Janssen training materials between 2009 and 2011. The studies supporting this




                                              203
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 209 of 314 Pageid#: 209




             claim did not describe withdrawal symptoms in patients taking Nucynta ER beyond

             90 days or at high doses and would therefore not be representative of withdrawal

             symptoms in the chronic pain population. Patients on opioid therapy long-term and

             at high doses will have a harder time discontinuing the drugs and are more likely to

             experience withdrawal symptoms. In addition, in claiming a low rate of withdrawal

             symptoms, Janssen relied upon a study that only began tracking withdrawal

             symptoms in patients two to four days after discontinuing opioid use, when Janssen

             knew or should have known that these symptoms peak earlier than that for most

             patients. Relying on data after that initial window painted a misleading picture of

             the likelihood and severity of withdrawal associated with chronic opioid therapy.

             Janssen also knew or should have known that the patients involved in the study

             were not on the drug long enough to develop rates of withdrawal symptoms

             comparable to rates of withdrawal suffered by patients who use opioids for chronic

             pain—the use for which Janssen promoted Nucynta ER.

          o Janssen sales representatives told prescribers that patients on Janssen’s drugs were

             less susceptible to withdrawal than those on other opioids.

            Cephalon:

          o Cephalon sponsored FSMB’s Responsible Opioid Prescribing (2007), which taught

             that behaviors such as “requesting drugs by name,” “demanding or manipulative

             behavior,” seeing more than one doctor to obtain opioids, and hoarding are all signs

             of pseudoaddiction. Cephalon also spent $150,000 to purchase copies of the book

             in bulk and distributed it through its pain sales force to 10,000 prescribers and 5,000

             pharmacists.




                                              204
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 210 of 314 Pageid#: 210




                  Endo:

                o Endo distributed copies of a book by KOL Dr. Lynn Webster entitled Avoiding

                   Opioid Abuse While Managing Pain (2007). Endo’s internal planning documents

                   describe the purpose of distributing this book as to “[i]ncrease the breadth and depth

                   of the Opana ER prescriber base.” The book claims that when faced with signs of

                   aberrant behavior, the doctor should regard it as pseudoaddiction and thus,

                   increasing the dose in most cases . . . should be the clinician’s first response.”

                o Endo spent $246,620 to buy copies of FSMB’s Responsible Opioid Prescribing

                   (2007), which was distributed by Endo’s sales force. This book asserted that

                   behaviors such as “requesting drugs by name,” “demanding or manipulative

                   behavior,” seeing more than one doctor to obtain opioids, and hoarding, are all signs

                   of “pseudoaddiction.”

                o A CME sponsored by Endo, titled Persistent Pain in the Older Adult, taught that

                   withdrawal symptoms can be avoided entirely by tapering the dose by 10-20% per

                   day for ten days.

                o Endo misrepresented that “symptoms of withdrawal do not indicate addiction.”321

                o “Endo also trained its sales representatives to distinguish addiction from

                   ‘pseudoaddiction.’”322




321
   In the Matter of Endo Health Solutions Inc. and Endo Pharmaceuticals Inc., Assurance No. 15-228, Assurance of
Discontinuance Under Executive Law Section 63, Subdivision 15, at 7 (Mar. 1, 2016),
https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.
322
      Id.




                                                      205
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 211 of 314 Pageid#: 211




        516.     The RICO Defendants misrepresented that opioids were safe for the long-term

treatment of chronic, non-acute, and non-cancer pain:

                Purdue:

            o “[W]e do not want to niche OxyContin just for cancer pain.”323




            o OxyContin was safe and non-addictive when using extended release formulations,

                 and appropriate for use in non-cancer patients.324

            o OxyContin should be prescribed not merely for severe short-term pain associated

                 with surgery or cancer, but also for less acute, longer-lasting pain like arthritis, back

                 pain, sports injuries, fibromyalgia with almost limitless treatment potential.325

                Janssen:

            o Duragesic was “more useful in a broader range of conditions or patients than has

                 been demonstrated by substantial evidence.”326




323
  Ryan, Description of Hell, http://documents.latimes.com/oxycontin-launch-1995/ (emphasis in the L.A. Times
document).
324
    Charles Ornstein & Tracy Weber, American Pain Foundation Shuts Down as Senators Launch Investigation of
Prescription Narcotics, ProPublica (May 8, 2012, 8:57 PM),
http://www.opb.org/news/article/america_pain_foundation_shuts_down_as_senators_launch_investigation_of_presc
ription_narcotis/ (hereinafter “Ornstein, American Pain Foundation”).
325
   Patrick Keefe, The Family that Built an Empire of Pain, New Yorker (Oct. 30, 2017),
https://www.newyorker.com/magazine/2017/10/30/the-family-that-built-an-empire-of-pain
326
    NDA 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to Cynthia Chianese, Janssen
Pharmaceutica (Mar. 30, 2000) at 2.




                                                     206
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 212 of 314 Pageid#: 212




                    o Duragesic was “not just for end stage cancer anymore” when the FDA only

                       approved Duragesic for “the management of chronic pain in patients who require

                       continuous opioid analgesia for pain that cannot be managed by lesser means.”327

                    o Misrepresented that “Duragesic can be used for any type of pain management”

                       despite the fact that the FDA approved warning stated that “BECAUSE SERIOUS

                       OR     LIFE-THREATENING              HYPOVENTILATION            COULD        OCCUR,

                       DURAGESIC®             (FENTANYL            TRANSDERMAL             SYSTEM)         IS

                       CONTRAINDICATED:             In the management of acute or post-operative pain,

                       including use in outpatient surgeries . . . .”328

                    o Misrepresented “numerous claims for the efficacy and safety of Duragesic,” but

                       failed to “present[] any risk information concerning the boxed warnings,

                       contraindications, warnings, or side effects associated with Duragesic’s use . . .

                       [and] . . . fail[ed] to address important risks and restrictions associated with

                       Duragesic therapy.”329

                    o Misrepresented “[d]emonstrated effectiveness in chronic back pain with additional

                       patient benefits, . . . 86% of patients experienced overall benefit in a clinical study

                       based on: pain control, disability in ADLs, quality of sleep.”330

                      Cephalon:




327
      Id.
328
      Id.
329
      Id.
330
      Id. at 2-3.




                                                          207
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 213 of 314 Pageid#: 213




                o “[P]romoting [Actiq] for non-cancer patients to use for such maladies as migraines,

                   sickle-cell pain crises, injuries, and in anticipation of changing wound dressings or

                   radiation therapy.”331

                o “[P]romot[ing] Actiq for use in patients who were not yet opioid tolerant, and for

                   whom it could have life-threatening results.”332

                o In 2011, Cephalon wrote an article titled “2011 Special Report: An Integrated Risk

                   Evaluation and Risk Mitigation Strategy for Fentanyl Buccal Tablet (FENTORA®)

                   AND Oral Transmucosal Fentanyl Citrate (Actiq®), published in Pain Medicine

                   News. Plaintiff is informed and believes that Cephalon misrepresented that its drugs

                   were “shown to be effective in treatment of [break through pain] associated with

                   multiple causes of pain,” not just cancer.

            517.   The RICO Defendants also misrepresented that opioids were safer that non-opioid

analgesics because there is no ceiling dose for opioid treatment.

                  Purdue:

                o Purdue’s In the Face of Pain website, along with initiatives of APF, promoted the

                   notion that if a patient’s doctor does not prescribe them what—in their view—is a

                   sufficient dose of opioids, they should find another doctor who will. In so doing,

                   Purdue exerted undue, unfair, and improper influence over prescribers who face

                   pressure to accede to the resulting demands.




331
   Press Release, U.S. Department of Justice, Pharmaceutical Company Cephalon To Pay $425 Million For Off-
Label Drug Marketing (Sept. 29, 2008),
https://www.justice.gov/archive/usao/pae/News/2008/sep/cephalonrelease.pdf.
332
      Id.




                                                     208
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 214 of 314 Pageid#: 214




         o Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

            Management, which taught that dose escalations are “sometimes necessary,” even

            indefinitely high ones, which suggested that high dose opioids are safe and

            appropriate and did not disclose the risks from high dose opioids. This publication

            is still available online.

         o Purdue sponsored APF’s Treatment Options: A Guide for People Living with Pain

            (2007), which taught patients that opioids have “no ceiling dose” and are therefore

            the most appropriate treatment for severe pain. The guide also claimed that some

            patients “need” a larger dose of the drug, regardless of the dose currently

            prescribed. This language fails to disclose heightened risks at elevated doses.

         o Treatment Options, also taught that opioids differ from NSAIDs in that they have

            “no ceiling dose” and are therefore the most appropriate treatment for severe pain.

            Treatment Options continued, warning that risks of NSAIDs increase if “taken for

            more than a period of months,” with no corresponding warning about opioids. The

            publication attributed 10,000 to 20,000 deaths annually to NSAID overdose.

         o Purdue sponsored a CME issued by the American Medical Association in 2003,

            2007, 2010, and 2013. The CME, Overview of Management Options, was edited by

            KOL Dr. Russell Portenoy, among others, and taught that other drugs, but not

            opioids, are unsafe at high doses. The 2013 version is still available for CME credit.

         o Overview of Management Options also taught NSAIDs and other drugs, but not

            opioids, are unsafe at high doses.

         o Purdue sponsored APF’s Exit Wounds (2009), which omits warnings of the risk of

            interactions between opioids and benzodiazepines, which would increase fatality




                                             209
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 215 of 314 Pageid#: 215




             risk. Exit Wounds also contained a lengthy discussion of the dangers of using

             alcohol to treat chronic pain but did not disclose dangers of mixing

          o Purdue sales representatives told prescribers that opioids were just as effective for

             treating patients long-term and omitted any discussion that increased tolerance

             would require increasing, and increasingly dangerous, doses.

          o Purdue sales representatives told prescribers that NSAIDs were more toxic than

             opioids.

            Janssen:

          o Janssen sponsored a patient education guide entitled Finding Relief: Pain

             Management for Older Adults (2009), which its personnel reviewed and approved

             and its sales force distributed. This guide listed dose limitations as “disadvantages”

             of other pain medicines but omitted any discussion of risks of increased doses from

             opioids. The publication also falsely claimed that it is a “myth” that “opioid doses

             have to be bigger over time.”

          o Finding Relief: Pain Management for Older Adults also described the advantages

             and disadvantages of NSAIDs on one page, and the “myths/facts” of opioids on the

             facing page. The disadvantages of NSAIDs are described as involving “stomach

             upset or bleeding,” “kidney or liver damage if taken at high doses or for a long

             time,” “adverse reactions in people with asthma,” and “can increase the risk of heart

             attack and stroke.” The only adverse effects of opioids listed are “upset stomach or

             sleepiness,” which the brochure claims will go away, and constipation.

          o Janssen sponsored APF’s Exit Wounds (2009), which omits warnings of the risk of

             interactions between opioids and benzodiazepines. Janssen’s label for Duragesic,




                                              210
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 216 of 314 Pageid#: 216




             however, states that use with benzodiazepines “may cause respiratory depression,

             [low blood pressure], and profound sedation or potentially result in coma. Exit

             Wounds also contained a lengthy discussion of the dangers of using alcohol to treat

             chronic pain but did not disclose dangers of mixing alcohol and opioids.

          o Janssen sales representatives told prescribers that Nucynta was not an opioid,

             making it a good choice for chronic pain patients who previously were unable to

             continue opioid therapy due to excessive side effects. This statement was

             misleading because Nucynta is an opioid and has the same effects as other opioids.

            Cephalon:

          o Cephalon sponsored APF’s Treatment Options: A Guide for People Living with

             Pain (2007), which claims that some patients “need” a larger dose of their opioid,

             regardless of the dose currently prescribed.

          o Treatment Options, also taught patients that opioids differ from NSAIDs in that

             they have “no ceiling dose” and are therefore the most appropriate treatment for

             severe pain. Treatment Options continued, warning that risks of NSAIDs increase

             if “taken more than a period of months.” With no corresponding warning about

             opioids. The publication attributed 10,000 to 20,000 deaths annually to NSAID

             overdose.

          o Cephalon sponsored a CME written by KOL Dr. Lynn Webster, Optimizing Opioid

             Treatment for Breakthrough Pain, which was offered online by Medscape, LLC

             from September 28, 2007 through December 15, 2008. The CME taught that non-

             opioid analgesics and combination opioids that include aspirin and acetaminophen

             are less effective to treat breakthrough pain because of dose limitations.




                                              211
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 217 of 314 Pageid#: 217




                o Cephalon sales representatives assured prescribers that opioids were safe, even at

                   high doses.

                o Cephalon sales representatives told prescribers that NSAIDs were more toxic than

                   opioids.

                o “[P]romot[ing] Actiq for use in patients who were not yet opioid tolerant, and for

                   whom it could have life-threatening results.”333

                  Endo:

                o Endo sponsored a website, painknowledge.com, through APF and NIPC, which

                   claimed in 2009 that opioids may be increased until “you are on the right dose of

                   medication for your pain,” and once that occurs, further dose increases would not

                   occur. Endo funded the site, which was a part of Endo’s marketing plan, and tracked

                   visitors to it.

                o Through painknowledge.com Endo distributed a flyer called “Pain: Opioid

                   Therapy.” This publication included a list of adverse effects from opioids that

                   omitted significant adverse effects like hyperalgesia, immune and hormone

                   dysfunction, cognitive impairment, tolerance, dependence, addiction, and death.

                   Endo continued to provide funding for this website through 2012, and closely

                   tracked unique visitors to it.

                o Endo provided grants to APF to distribute Exit Wounds (2009), which omitted

                   warnings of the risk of interactions between opioids and benzodiazepines, which

                   would increase fatality risk. Exit Wounds also contained a lengthy discussion of



333
      Id.




                                                    212
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 218 of 314 Pageid#: 218




               the dangers of using alcohol to treat chronic pain but did not disclose dangers of

               mixing alcohol and opioids.

           o Endo sales representatives told prescribers that NSAIDs were more toxic than

               opioids.

           o Endo distributed a patient education pamphlet edited by KOL Dr. Russell Portenoy

               titled Understanding Your Pain: Taking Oral Opioid Analgesics. In Q&A format,

               it asked: “If I take the opioid now, will it work later when I really need it?” The

               response was: “The dose can be increased . . . . You won’t ‘run out’ of pain relief.”

           o Endo distributed a “case study” to prescribers titled Case Challenges in Pain

               Management: Opioid Therapy for Chronic Pain. The study cites an example, meant

               to be representative, of a patient “with a massive upper gastrointestinal bleed

               believed to be related to his protracted use of NSAIDs” (over eight years), and

               recommends treating with opioids instead.

       518.    These misrepresentations, and the legion of other representations made by the

RICO Marketing Defendants and members of Opioid Marketing Enterprise all furthered the

common purpose and fraudulent scheme of the Opioid Marketing Enterprise. But they were

demonstrably false, as confirmed by investigations and enforcement actions against the RICO

Marketing Defendants.

       519.    In May 2007, Purdue and three of its executives pled guilty to federal charges of

misbranding OxyContin in what the company acknowledged was an attempt to mislead doctors

about the risk of addiction. Purdue was ordered to pay $600 million in fines and fees. In its plea,

Purdue admitted that its promotion of OxyContin was misleading and inaccurate, misrepresented

the risk of addiction and was unsupported by science. The Order adopting the guilty pleas provide:




                                                213
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 219 of 314 Pageid#: 219




            520.   Additionally, Michael Friedman (“Friedman”), the company’s president, pled

guilty to a misbranding charge and agreed to pay $19 million in fines; Howard R. Udell (“Udell”),

Purdue’s top lawyer, also pled guilty and agreed to pay $8 million in fines; and Paul D.

Goldenheim (“Goldenheim”), its former medical director, pled guilty as well and agreed to pay

$7.5 million in fines.334

            521.   In a statement announcing the guilty plea, John Brownlee (“Brownlee”), the U.S.

Attorney for the Western District of Virginia, stated:

            Purdue claimed it had created the miracle drug – a low risk drug that could provide
            long acting pain relief but was less addictive and less subject to abuse. Purdue’s
            marketing campaign worked, and sales for OxyContin skyrocketed – making
            billions for Purdue and millions for its top executives.



334
      Id.




                                                   214
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 220 of 314 Pageid#: 220




            But OxyContin offered no miracles to those suffering in pain. Purdue’s claims that
            OxyContin was less addictive and less subject to abuse and diversion were false –
            and Purdue knew its claims were false. The result of their misrepresentations and
            crimes sparked one of our nation’s greatest prescription drug failures. . . .
            OxyContin was the child of marketers and bottom line financial decision making.335

            522.   Brownlee characterized Purdue’s criminal activity as follows:

            First, Purdue trained its sales representatives to falsely inform health care providers
            that it was more difficult to extract the oxycodone from an OxyContin tablet for the
            purpose of intravenous abuse. Purdue ordered this training even though its own
            study showed that a drug abuser could extract approximately 68% of the oxycodone
            from a single 10 mg OxyContin tablet by simply crushing the tablet, stirring it in
            water, and drawing the solution through cotton into a syringe.

            Second, Purdue falsely instructed its sales representatives to inform health care
            providers that OxyContin could create fewer chances for addiction than immediate-
            release opioids.

            Third, Purdue sponsored training that falsely taught Purdue sales supervisors that
            OxyContin had fewer “peak and trough” blood level effects than immediate-release
            opioids resulting in less euphoria and less potential for abuse than short-acting
            opioids.

            Fourth, Purdue falsely told certain health care providers that patients could stop
            therapy abruptly without experiencing withdrawal symptoms and that patients who
            took OxyContin would not develop tolerance to the drug.

            And fifth, Purdue falsely told health care providers that OxyContin did not cause a
            “buzz” or euphoria, caused less euphoria, had less addiction potential, had less
            abuse potential, was less likely to be diverted than immediate-release opioids, and
            could be used to “weed out” addicts and drug seekers.336

            523.   Purdue pled guilty to illegally misbranding OxyContin in an effort to mislead and

defraud physicians and consumers, while Friedman, Udell and Goldenheim pled guilty to the




335
  Press Release, U.S. Attorney for the Western District of Virginia, Statement of United States Attorney John
Brownlee on the Guilty Plea of the Purdue Frederick Company and Its Executives for Illegally Misbranding
OxyContin (May 10, 2007), https://assets.documentcloud.org/documents/279028/purdue-guilty-plea.pdf.
336
      Id.




                                                       215
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 221 of 314 Pageid#: 221




misdemeanor charge of misbranding OxyContin for introducing misbranded drugs into interstate

commerce in violation of 21 U.S.C. §§ 331(a), 333(a)(1)-(2) and 352(a).

            524.     Similarly, Endo’s marketing of Purdue was criticized and punished by the FDA and

New York Attorney General.

            525.     On February 18, 2017, the State of New York announced a settlement with Endo

requiring it “to cease all misrepresentations regarding the properties of Opana ER [and] to describe

accurately the risk of addiction to Opana ER.”337 In the Assurance of Discontinuance that

effectuated the settlement, the State of New York stated that Endo knew about the risks arising

from the reformulated Opana ER even before it received FDA approval. Among other things, the

investigation concluded that:

                    Endo improperly marketed Opana ER as designed to be crush resistant, when

            Endo’s own studies dating from 2009 and 2010 showed that the pill could be crushed and

            ground;

                    Endo improperly instructed its sales representatives to diminish and distort the risks

            associated with Opana ER, including the serious danger of addiction; and

                    Endo made unsupported claims comparing Opana ER to other opioids and failed to

            disclose accurate information regarding studies addressing the negative effects of Opana

            ER.338




337
   Press Release, Attorney General Eric T. Schneiderman, A.G. Schneiderman Announces Settlement With Endo
Health Solutions Inc. & Endo Pharmaceuticals Inc. Over Marketing Of Prescription Opioid Drugs (Mar. 3, 2016),
https://ag.ny.gov/press-release/ag-schneiderman-announces-settlement-endo-health-solutions-inc-endo-
pharmaceuticals (last accessed on March 9, 2018).
338
      Id.




                                                      216
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 222 of 314 Pageid#: 222




            526.   The 2017 settlement also identified and discussed a February 2013 communication

from a consultant hired by Endo to the company, in which the consultant concluded that “‘[t]he

initial data presented do not necessarily establish that the reformulated Opana ER is tamper

resistant.’” The same consultant also reported that the distribution of the reformulated Opana ER

had already led to higher levels of abuse of the drug via injection.339

            527.   The Office of the Attorney General of New York also revealed that the “managed

care dossier” Endo provided to formulary committees of healthcare plans and pharmacy benefit

managers misrepresented the studies that had been conducted on Opana ER. According to Endo’s

vice president for pharmacovigilance and risk management, the dossier was presented as a

complete compendium of all research on the drug. However, it omitted certain studies: Study 108

(completed in 2009) and Study 109 (completed in 2010), which showed that reformulated Opana

ER could be ground and chewed.

            528.   The settlement also detailed Endo’s false and misleading representations about the

non-addictiveness of opioids and Opana. For example, until April 2012, Endo’s website for the

drug, www.opana.com, contained the following representation: “‘Most healthcare providers who

treat patients with pain agree that patients treated with prolonged opioid medicines usually do not

become addicted.’”340 However, Endo neither conducted nor possessed a survey demonstrating

that most healthcare providers who treat patients with pain agree with that representation.

            529.   The Office of the Attorney General of New York also disclosed the following facts

that it determined to violate Opana’s obligations to truthfully market its products:




339
      Id. at 6.
340
      Id.




                                                  217
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 223 of 314 Pageid#: 223




                   a. Training materials provided by Endo to sales representatives stated: “‘Symptoms
                      of withdrawal do not indicate addiction.’”341 This representation is inconsistent
                      with the diagnosis of opioid-use disorder as provided in the Diagnostic and
                      Statistical Manual of Mental Disorders by the American Psychiatric Association
                      (Fifth Edition).

                   b. Endo trained its sales representatives to falsely distinguish addiction from
                     “pseudoaddiction,” which it defined as a condition in which patients exhibit drug-
                     seeking behavior that resembles but is not the same as addiction. Endo’s vice
                     president for pharmacovigilance and risk management testified that he was not
                     aware of any research validating the concept of pseudoaddiction.

            530.    On June 9, 2017, the FDA asked Endo to voluntarily cease sales of Opana ER after

determining that the risks associated with its abuse outweighed the benefits. According to Dr. Janet

Woodcock, director of the FDA’s Center for Drug Evaluation and Research, the risks include

“several serious problems,” including “outbreaks of HIV and Hepatitis C from sharing the drug

after it was extracted by abusers” and “”a serious disease outbreak.”342 If Endo did not comply,

the FDA stated that it “intends to take steps to formally require its removal by withdrawing

approval.”343

            531.    Like Purdue and Endo, Janssen was the subject of an FDA enforcement action that

identified its marketing statements as misrepresentations. For example:

            532.    On February 15, 2000, the FDA sent Janssen a letter concerning the alleged

dissemination of “homemade” promotional pieces that promoted Duragesic in violation of the

Federal Food, Drug, and Cosmetic Act. In a subsequent letter, dated March 30, 2000, the FDA

explained that the “homemade” promotional pieces were “false or misleading because they contain




341
      Id. at 7.
342
   FDA requests removal of Opana ER for risks related to abuse, June 8, 2017,
https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm.
343
      Id.




                                                    218
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 224 of 314 Pageid#: 224




misrepresentations of safety information, broaden Duragesic’s indication, contain unsubstantiated

claims, and lack fair balance.”344

            533.   The    March    30,   2000     letter   identified    specific    violations,    including

misrepresentations that Duragesic had a low potential for abuse:

            You present the claim, “Low abuse potential!” This claim suggests that Duragesic
            has less potential for abuse than other currently available opioids. However, this
            claim has not been demonstrated by substantial evidence. Furthermore, this claim
            is contradictory to information in the approved product labeling (PI) that states,
            “Fentanyl is a Schedule II controlled substance and can produce drug dependence
            similar to that produced by morphine.” Therefore, this claim is false or
            misleading.345

            534.   The March 30, 2000 letter also stated that the promotional materials represented

that Duragesic was “more useful in a broader range of conditions or patients than has been

demonstrated by substantial evidence.”346 Specifically, the FDA stated that Janssen was marketing

Duragesic for indications other than the treatment of chronic pain that cannot otherwise be

managed, for which it was approved:

            You present the claim, “It’s not just for end stage cancer anymore!” This claim
            suggests that Duragesic can be used for any type of pain management. However,
            the PI for Duragesic states, “Duragesic (fentanyl transdermal system) is indicated
            in the management of chronic pain in patients who require continuous opioid
            analgesia for pain that cannot be managed by lesser means . . . .” Therefore, the
            suggestion that Duragesic can be used for any type of pain management promotes
            Duragesic[] for a much broader use than is recommended in the PI, and thus, is
            misleading. In addition, the suggestion that Duragesic can be used to treat any kind
            of pain is contradictory to the boxed warning in the PI. Specifically, the PI states,




344
    NDA 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to Cynthia Chianese, Janssen
Pharmaceutica (Mar. 30, 2000) at 2.
345
      Id.
346
      Id.




                                                     219
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 225 of 314 Pageid#: 225




            BECAUSE SERIOUS OR LIFE-THREATENING HYPOVENTILATION
            COULD OCCUR, DURAGESIC® (FENTANYL TRANSDERMAL SYSTEM)
            IS CONTRAINDICATED:

            In the management of acute or post-operative pain, including use in outpatient
            surgeries . . . .347

            535.     The March 30, 2000 letter also stated Janssen failed to adequately present

“contraindications, warnings, precautions, and side effects with a prominence and readability

reasonably comparable to the presentation of information relating to the effectiveness of the

product.”348

            536.     On February 15, 2000, the FDA sent Janssen a letter concerning the alleged

dissemination of “homemade” promotional pieces that promoted Duragesic in violation of the

Federal Food, Drug, and Cosmetic Act. In a subsequent letter, dated March 30, 2000, the FDA

explained that the “homemade” promotional pieces were “false or misleading because they contain

misrepresentations of safety information, broaden Duragesic’s indication, contain unsubstantiated

claims, and lack fair balance.”349

            537.     The      March      30,   2000   letter   identified   specific   violations,   including

misrepresentations that Duragesic had a low potential for abuse:

            You present the claim, “Low abuse potential!” This claim suggests that Duragesic
            has less potential for abuse than other currently available opioids. However, this
            claim has not been demonstrated by substantial evidence. Furthermore, this claim
            is contradictory to information in the approved product labeling (PI) that states,
            “Fentanyl is a Schedule II controlled substance and can produce drug dependence




347
      Id. at 2-3.
348
      Id. at 3 (emphasis in original).
349
    NDA 19-813 Letter from Spencer Salis, U.S. Food & Drug Administration, to Cynthia Chianese, Janssen
Pharmaceutica (Mar. 30, 2000) at 2.




                                                         220
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 226 of 314 Pageid#: 226




            similar to that produced by morphine.” Therefore, this claim is false or
            misleading.350

            538.    The March 30, 2000 letter also stated that the promotional materials represented

that Duragesic was “more useful in a broader range of conditions or patients than has been

demonstrated by substantial evidence.”351 Specifically, the FDA stated that Janssen was marketing

Duragesic for indications other than the treatment of chronic pain that cannot otherwise be

managed, for which it was approved:

            You present the claim, “It’s not just for end stage cancer anymore!” This claim
            suggests that Duragesic can be used for any type of pain management. However,
            the PI for Duragesic states, “Duragesic (fentanyl transdermal system) is indicated
            in the management of chronic pain in patients who require continuous opioid
            analgesia for pain that cannot be managed by lesser means . . . .” Therefore, the
            suggestion that Duragesic can be used for any type of pain management promotes
            Duragesic[] for a much broader use than is recommended in the PI, and thus, is
            misleading. In addition, the suggestion that Duragesic can be used to treat any kind
            of pain is contradictory to the boxed warning in the PI. Specifically, the PI states,

            BECAUSE SERIOUS OR LIFE-THREATENING HYPOVENTILATION
            COULD OCCUR, DURAGESIC® (FENTANYL TRANSDERMAL SYSTEM)
            IS CONTRAINDICATED:

            In the management of acute or post-operative pain, including use in outpatient
            surgeries . . . .352

            539.    The March 30, 2000 letter also stated Janssen failed to adequately present

“contraindications, warnings, precautions, and side effects with a prominence and readability

reasonably comparable to the presentation of information relating to the effectiveness of the

product”:

            Although this piece contains numerous claims for the efficacy and safety of
            Duragesic, you have not presented any risk information concerning the boxed


350
      Id.
351
      Id.
352
      Id. at 2-3.




                                                    221
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 227 of 314 Pageid#: 227




            warnings, contraindications, warnings, precautions, or side effects associated with
            Duragesic’s use . . . . Therefore, this promotional piece is lacking in fair balance,
            or otherwise misleading, because it fails to address important risks and restrictions
            associated with Duragesic therapy.353

            540.     On September 2, 2004, the U.S. Department of Health and Human Services

(“HHS”) sent Janssen a warning letter concerning Duragesic due to “false or misleading claims

about the abuse potential and other risks of the drug, and . . . unsubstantiated effectiveness claims

for Duragesic,” including, specifically, “suggesting that Duragesic has a lower potential for abuse

compared to other opioid products.”

            541.     The September 2, 2004 letter warned Janssen regarding its claims that Duragesic

had a low reported rate of mentions in the Drug Abuse Warning Network (“DAWN”) as compared

to other opioids. The letter stated that the claim was false or misleading because the claim was not

based on substantial data and because the lower rate of mentions was likely attributable to

Duragesic’s lower frequency of use compared to other opioids listed in DAWN:

            The file card presents the prominent claim, “Low reported rate of mentions in
            DAWN data,” along with Drug Abuse Warning Network (DAWN) data comparing
            the number of mentions for Fentanyl/combinations (710 mentions) to other listed
            opioid products, including Hydrocodone/combinations (21,567 mentions),
            Oxycodone/combinations (18,409 mentions), and Methadone (10,725 mentions).
            The file card thus suggests that Duragesic is less abused than other opioid drugs.

            This is false or misleading for two reasons. First, we are not aware of substantial
            evidence or substantial clinical experience to support this comparative claim. The
            DAWN data cannot provide the basis for a valid comparison among these products.
            As you know, DAWN is not a clinical trial database. Instead, it is a national public
            health surveillance system that monitors drug-related emergency department visits
            and deaths. If you have other data demonstrating that Duragesic is less abused,
            please submit them.

            Second, Duragesic is not as widely prescribed as other opioid products. As a result,
            the relatively lower number of mentions could be attributed to the lower frequency



353
      Id. at 3 (emphasis in original).




                                                    222
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 228 of 314 Pageid#: 228




            of use, and not to a lower incidence of abuse. The file card fails to disclose this
            information.354

            542.    The September 2, 2004 letter also detailed a series of unsubstantiated false or

misleading claims regarding Duragesic’s effectiveness. The letter concluded that various claims

made by Janssen were insufficiently supported, including:

           “‘Demonstrated effectiveness in chronic back pain with additional patient benefits, . . .

            86% of patients experienced overall benefit in a clinical study based on: pain control,

            disability in ADLs, quality of sleep.’”

           “‘All patients who experienced overall benefit from DURAGESIC would recommend it to

            others with chronic low back pain.’”

           “‘Significantly reduced nighttime awakenings.’”

           “‘Significant improvement in disability scores as measured by the Oswestry Disability

            Questionnaire and Pain Disability Index.’”

           “‘Significant improvement in physical functioning summary score.’”

           “‘Significant improvement in social functioning.’”355

            543.    In addition, the September 2, 2004 letter identified “outcome claims [that] are

misleading because they imply that patients will experience improved social or physical

functioning or improved work productivity when using Duragesic.” The claims include “‘1,360

loaves . . . and counting,’ ‘[w]ork, uninterrupted,’ ‘[l]ife, uninterrupted,’ ‘[g]ame, uninterrupted,’




354
   Warning Letter from Thomas W. Abrams, U.S. Department of Health and Human Services, to Ajit Shetty,
Janssen Pharmaceutica, Inc. (Sept. 2, 2004),
https://www.pharmamedtechbi.com/~/media/Images/Publications/Archive/The%20Pink%20Sheet/66/038/00660380
018/040920_ duragesic_letter.pdf at 2.
355
      Id. at 2-3.




                                                      223
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 229 of 314 Pageid#: 229




‘[c]hronic pain relief that supports functionality,’ ‘[h]elps patients think less about their pain,’ and

‘[i]mprove[s] . . . physical and social functioning.’” The September 2, 2004 letter stated: “Janssen

has not provided references to support these outcome claims. We are not aware of substantial

evidence or substantial clinical experience to support these claims.”356

            544.   On July 15, 2005, the FDA issued a public health advisory warning doctors of

deaths resulting from the use of Duragesic and its generic competitor, manufactured by Mylan

N.V. Plaintiff is informed and believes that the advisory noted that the FDA had been “‘examining

the circumstances of product use to determine if the reported adverse events may be related to

inappropriate use of the patch’” and noted the possibility “that patients and physicians might be

unaware of the risks” of using the fentanyl transdermal patch, which is a potent opioid analgesic

meant to treat chronic pain that does not respond to other painkillers.357

            545.   Finally, Cephalon has been the subject of investigations and enforcement actions

for is misrepresentations concerning Actiq.

            546.   For example: in October 2000, Cephalon acquired the worldwide product rights to

Actiq and began marketing and selling Actiq in the United States. The FDA explicitly stated that

Actiq “must not be used in opioid non-tolerant patients,” was contraindicated for the management

of acute or postoperative pain, could be deadly to children, and was “intended to be used only in

the care of opioid-tolerant cancer patients and only by oncologists and pain specialists who are

knowledgeable of and skilled in the use of Schedule II opioids to treat cancer pain.”358 The FDA




356
      Id. at 3.
357
  New Fentanyl Warnings: More Needed to Protect Patients, Institute for Safe Medication Practices, August 11,
2005, https://www.ismp.org/newsletters/acutecare/articles/20050811.asp
358
      Id.




                                                      224
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 230 of 314 Pageid#: 230




also required that Actiq be provided only in compliance with a strict risk management program

that explicitly limited the drug’s direct marketing to the approved target audiences, defined as

oncologists, pain specialists, their nurses and office staff.359

        547.     Cephalon purchased the rights to Fentora, an even faster-acting tablet formulation

of fentanyl, from Cima Labs, and submitted a new drug application to the FDA in August 2005.

In September 2006, Cephalon received FDA approval to sell this faster-acting version of Actiq;

but once again, concerned about the power and risks inherent to fentanyl, the FDA limited

Fentora’s approval to the treatment of BTP in cancer patients who were already tolerant to around-

the-clock opioid therapy for their underlying persistent cancer pain. Cephalon began marketing

and selling Fentora in October 2006.

        548.     Due to the FDA’s restrictions, Actiq’s consumer base was limited, as was its

potential for growing revenue. In order to increase its revenue and market share, Cephalon needed

to find a broader audience and thus began marketing its lollipop to treat headaches, back pain,

sports injuries and other chronic non-cancer pain, targeting non-oncology practices, including, but

not limited to, pain doctors, general practitioners, migraine clinics, anesthesiologists and sports

clinics. It did so in violation of applicable regulations prohibiting the marketing of medications for

off-label use and indirect contravention of the FDA’s strict instructions that Actiq be prescribed

only to terminal cancer patients and by oncologists and pain management doctors experienced in

treating cancer pain.

        549.     Beginning in or about 2003, former Cephalon employees filed four whistleblower

lawsuits claiming the company had wrongfully marketed Actiq for unapproved off-label uses. On


359
    See John Carreyrou, Narcotic “Lollipop” Becomes Big Seller Despite FDA Curbs, Wall St. J. (Nov. 3, 2006),
https://www.opiates.com/media/narcotic-lollipop-becomes-big-seller-despite-fdacurbs/.




                                                      225
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 231 of 314 Pageid#: 231




September 29, 2008, Cephalon finalized and entered into a corporate integrity agreement with the

Office of the Inspector General of HHS and agreed to pay $425 million in civil and criminal

penalties for its off-label marketing of Actiq and two other drugs (Gabitril and Provigil).

            According to a DOJ press release, Cephalon trained sales representatives to disregard

restrictions of the FDA-approved label, employed sales representatives and healthcare

professionals to speak to physicians about off-label uses of the three drugs and funded CME to

promote off-label uses. Specifically, the DOJ stated:

            From 2001 through at least 2006, Cephalon was allegedly promoting [Actiq] for
            non-cancer patients to use for such maladies as migraines, sickle-cell pain crises,
            injuries, and in anticipation of changing wound dressings or radiation therapy.
            Cephalon also promoted Actiq for use in patients who were not yet opioid-tolerant,
            and for whom it could have life-threatening results.360

            550.   Then-acting U.S. Attorney Laurie Magid commented on the dangers of Cephalon’s

unlawful practices:

            “This company subverted the very process put in place to protect the public from harm,
            and put patients’ health at risk for nothing more than boosting its bottom line. People have
            an absolute right to their doctors’ best medical judgment. They need to know the
            recommendations a doctor makes are not influenced by sales tactics designed to convince
            the doctor that the drug being prescribed is safe for uses beyond what the FDA has
            approved.”361

            551.   Upon information and belief, documents uncovered in the government’s

investigations confirm that Cephalon directly targeted non-oncology practices and pushed its sales

representatives to market Actiq for off-label use. For instance, the government’s investigations

confirmed:




360
   Press Release, U.S. Department of Justice, Pharmaceutical Company Cephalon To Pay $425 Million For Off-
Label Drug Marketing (Sept. 29, 2008),
https://www.justice.gov/archive/usao/pae/News/2008/sep/cephalonrelease.pdf.
361
      Id.




                                                     226
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 232 of 314 Pageid#: 232




             a. Cephalon instructed its sales representatives to ask non-cancer doctors whether they
                have the potential to treat cancer pain. Even if the doctor answered “no,” a decision
                tree provided by Cephalon instructed the sales representatives to give these
                physicians free Actiq coupons;

             b. Cephalon targeted neurologists in order to encourage them to prescribe Actiq to
                patients with migraine headaches;

             c. Cephalon sales representatives utilized the assistance of outside pain management
                specialists when visiting non-cancer physicians to pitch Actiq. The pain
                management specialist would falsely inform the physician that Actiq does not cause
                patients to experience a “high” and carries a low risk of diversion toward
                recreational use;

             d. Cephalon set sales quotas for its sales and marketing representatives that could not
                possibly have been met solely by promoting Actiq for its FDA-approved indication;

             e. Cephalon promoted the use of higher doses of Actiq than patients required by
                encouraging prescriptions of the drug to include larger-than-necessary numbers of
                lozenges with unnecessarily high doses of fentanyl; and

             f. Cephalon promoted Actiq for off-label use by funding and controlling CME
                seminars that promoted and misrepresented the efficacy of the drug for off-label
                uses such as treating migraine headaches and for patients not already opioid-
                tolerant.362

        552.     The FDA’s letters and safety alerts, the DOJ and state investigations, and the

massive settlement seemed to have had little impact on Cephalon as it continued its deceptive

marketing strategy for both Actiq and Fentora.

        553.     On September 27, 2007, the FDA issued a public health advisory to address

numerous reports that patients who did not have cancer or were not opioid-tolerant had been




362
    John Carreyrou, Cephalon Used Improper Tactics to Sell Drug, Probe Finds, Wall St. J., Nov. 21, 2006, at B1
(hereinafter “Carreyrou, Cephalon Used Improper Tactics”).




                                                       227
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 233 of 314 Pageid#: 233




prescribed Fentora, and death or life-threatening side effects had resulted. The FDA warned:

“Fentora should not be used to treat any type of short-term pain.”363

           554.     Nevertheless, in 2008, Cephalon pushed forward to expand the target base for

Fentora and filed a supplemental drug application requesting FDA approval of Fentora for the

treatment of non-cancer BTP. In the application and supporting presentations to the FDA,

Cephalon admitted both that it knew the drug was heavily prescribed for off-label use and that the

drug’s safety for such use had never been clinically evaluated.364 An FDA advisory committee

noted that Fentora’s existing risk management program was ineffective and stated that Cephalon

would have to institute a risk evaluation and mitigation strategy for the drug before the FDA would

consider broader label indications. In response, Cephalon revised Fentora’s label and medication

guide to add strengthened warnings.

           555.     But in 2009, the FDA once again informed Cephalon that the risk management

program was not sufficient to ensure the safe use of Fentora for already approved indications.

           556.     On March 26, 2009, the FDA warned Cephalon against its misleading advertising

of Fentora (“Warning Letter”). The Warning Letter described a Fentora Internet advertisement as

misleading because it purported to broaden “the indication for Fentora by implying that any patient

with cancer who requires treatment for breakthrough pain is a candidate for Fentora . . . when this




363
    Press Release, U.S. Food & Drug Administration, Public Health Advisory: Important Information for the Safe
Use of Fentora (fentanyl buccal tablets) (Sept. 26, 2007),
https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm051273.htm.
364
      FENTORA (fentanyl buccal tablet) CII, Joint Meeting of Anesthetic and Life Support Drugs and
Drug Safety and Risk Management Advisory Committee, U.S. Food & Drug Administration (May 6, 2008),
https://www.fda.gov/ohrms/dockets/ ac/08/slides/2008-4356s2-03-Cephalon.pdf.




                                                        228
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 234 of 314 Pageid#: 234




is not the case.”365 Rather, Fentora was only indicated for those who were already opioid tolerant.

It further criticized Cephalon’s other direct Fentora advertisements because they did not disclose

the risks associated with the drug.

        557.     Flagrantly disregarding the FDA’s refusal to approve Fentora for non-cancer BTP

and its warning against marketing the drug for the same, Cephalon continued to use the same sales

tactics to push Fentora as it did with Actiq.

        558.     The misrepresentations disseminated by members of the Opioid Marketing

Enterprise, and the RICO Marketing Defendants, caused the Plaintiff and Virginia consumers to

pay for excessive opioid prescriptions, suffer injuries and losses, and to incur costs associated with

the opioid epidemic caused by the Opioid Marketing Enterprise.

        559.     The RICO Marketing Defendants alone could not have accomplished the purpose

of the Opioid Marketing Enterprise without the assistance of the Front Groups and KOLs, who

were perceived as “neutral” and more “scientific” than the RICO Defendants themselves. Without

these misrepresentations, the Opioid Marketing Enterprise could not have achieved its common

purpose.

        560.     The impact of the Opioid Marketing Enterprise’s scheme is still in place – i.e., the

opioids continue to be prescribed and used for chronic pain throughout the State of Virginia, and

the epidemic continues to injure the Plaintiff, and consume the resources of the Plaintiff and

Virginia’s health care and law enforcement systems.

        561.     The foregoing evidences that the RICO Marketing Defendants, the Front Groups,

and the KOLs were each willing participants in the Opioid Marketing Enterprise, had a common


365
    Letter from Michael Sauers, Regulatory Review Officer, Division of Drug Marketing, Advertising and
Communications, to Carole S. Marchione, Senior Director and Group Leader, Regulatory Affairs (March 26, 2009).




                                                     229
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 235 of 314 Pageid#: 235




purpose and interest in the object of the scheme, and functioned within a structure designed to

effectuate the Enterprise’s purpose.

       B.       CONDUCT OF THE OPIOID MARKETING ENTERPRISE.

       562.     During time period described in this Complaint, from approximately the late 1990s

to the present, the RICO Marketing Defendants exerted control over the Opioid Marketing

Enterprise and participated in the operation or management of the affairs of the Opioid Marketing

Enterprise, directly or indirectly, in the following ways:

       a. Creating a body of deceptive, misleading and unsupported medical and popular

            literature about opioids that (a) understated the risks and overstated the benefits of long-

            term use; (b) appeared to be the result of independent, objective research; and (c) was

            thus more likely to be relied upon by physicians, patients, and payors;

       b. Creating a body of deceptive, misleading and unsupported electronic and print

            advertisements about opioids that (a) understated the risks and overstated the benefits

            of long-term use; (b) appeared to be the result of independent, objective research; and

            (c) was thus more likely to be relied upon by physicians, patients, and payors;

       c. Creating a body of deceptive, misleading and unsupported sales and promotional

            training materials about opioids that (a) understated the risks and overstated the benefits

            of long-term use; (b) appeared to be the result of independent, objective research; and

            (c) was thus more likely to be relied upon by physicians, patients, and payors;

       d. Creating a body of deceptive, misleading and unsupported CMEs and speaker

            presentations about opioids that (a) understated the risks and overstated the benefits of

            long-term use; (b) appeared to be the result of independent, objective research; and (c)

            was thus more likely to be relied upon by physicians, patients, and payors;




                                                  230
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 236 of 314 Pageid#: 236




      e. Selecting, cultivating, promoting and paying KOLs based solely on their willingness to

         communicate and distribute the RICO Defendants’ messages about the use of opioids

         for chronic pain;

      f. Providing substantial opportunities for KOLs to participate in research studies on topics

         the RICO Defendants suggested or chose, with the predictable effect of ensuring that

         many favorable studies appeared in the academic literature;

      g. Paying KOLs to serve as consultants or on the RICO Defendants’ advisory boards, on

         the advisory boards and in leadership positions on Front Groups, and to give talks or

         present CMEs, typically over meals or at conferences;

      h. Selecting, cultivating, promoting, creating and paying Front Groups based solely on

         their willingness to communicate and distribute the RICO Defendants’ messages about

         the use of opioids for chronic pain;

      i. Providing substantial opportunities for Front Groups to participate in and/or publish

         research studies on topics the RICO Defendants suggested or chose (and paid for), with

         the predictable effect of ensuring that many favorable studies appeared in the academic

         literature;

      j. Paying significant amounts of money to the leaders and individuals associated with

         Front Groups;

      k. Donating to Front Groups to support talks or CMEs that were typically presented over

         meals or at conferences;

      l. Disseminating many of their false, misleading, imbalanced, and unsupported

         statements through unbranded materials that appeared to be independent publications

         from Front Groups;




                                                231
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 237 of 314 Pageid#: 237




       m. Sponsoring CME programs put on by Front Groups that focused exclusively on the use

           of opioids for chronic pain;

       n. Developing and disseminating pro-opioid treatment guidelines with the help of the

           KOLs as authors and promoters, and the help of the Front Groups as publishers, and

           supporters;

       o. Encouraging Front Groups to disseminate their pro-opioid messages to groups targeted

           by the RICO Defendants, such as veterans and the elderly, and then funded that

           distribution;

       p. Concealing their relationship to and control of Front Groups and KOLs from the

           Plaintiff and the public at large; and

       q. Intending that Front Groups and KOLs would distribute through the U.S. mail and

           interstate wire facilities, promotional and other materials that claimed opioids could be

           safely used for chronic pain.

       563.    The Front Groups also participated in the conduct of the Opioid Marketing

Enterprise, directly or indirectly, in the following ways:

       a. The Front Groups promised to, and did, make representations regarding opioids and

           the RICO Marketing Defendants’ drugs that were consistent with the RICO Marketing

           Defendants’ messages;

       b. The Front Groups distributed, through the U.S. Mail and interstate wire facilities,

           promotional and other materials which claimed that opioids could be safely used for

           chronic pain without addiction, and misrepresented the benefits of using opioids for

           chronic pain outweighed the risks;




                                                 232
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 238 of 314 Pageid#: 238




               c. The Front Groups echoed and amplified messages favorable to increased opioid use—

                  and ultimately, the financial interests of the RICO Marketing Defendants;

               d. The Front Groups issued guidelines and policies minimizing the risk of opioid

                  addiction and promoting opioids for chronic pain;

               e. The Front Groups strongly criticized the 2016 guidelines from the Center for Disease

                  Control and Prevention (CDC) that recommended limits on opioid prescriptions for

                  chronic pain; and

               f. The Front Groups concealed their connections to the KOLs and the RICO Marketing

                  Defendants.

               564.   The RICO Marketing Defendants’ Front Groups, “with their large numbers and

credibility with policymakers and the public—have ‘extensive influence in specific disease

areas.’” The RICO Marketing Defendants’ larger Front Groups “likely have a substantial effect

on policies relevant to their industry sponsors.”366 “By aligning medical culture with industry

goals in this way, many of the groups described in this report may have played a significant role

in creating the necessary conditions for the U.S. opioid epidemic.”367

               565.   The KOLs also participated, on information and belief, in the conduct of the affairs

of the Opioid Marketing Enterprise, directly or indirectly, in the following ways:




366
   Fueling an Epidemic: Exposing the Financial Ties Between Opioid Manufacturers and Third Party Advocacy
Groups, U.S. Senate Homeland Security & Governmental Affairs Committee, Ranking Members’ Office, February
12, 2018 https://www.hsdl.org/?abstract&did=808171 (“Fueling an Epidemic”), at 1.
367
      Id. 2.




                                                      233
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 239 of 314 Pageid#: 239




       a. The KOLs promised to, and did, make representations regarding opioids and the RICO

           Marketing Defendants’ drugs that were consistent with the RICO Marketing

           Defendants’ messages themselves;

       b. The KOLs distributed, through the U.S. Mail and interstate wire facilities, promotional

           and other materials which claimed that opioids could be safely used for chronic pain

           without addiction, and misrepresented the benefits of using opioids for chronic pain

           outweighed the risks;

       c. The KOLs echoed and amplified messages favorable to increased opioid use—and

           ultimately, the financial interests of the RICO Marketing Defendants;

       d. The KOLs issued guidelines and policies minimizing the risk of opioid addiction and

           promoting opioids for chronic pain;

       e. The KOLs strongly criticized the 2016 guidelines from the Center for Disease Control

           and Prevention (CDC) that recommended limits on opioid prescriptions for chronic

           pain; and

       f. The KOLs concealed their connections to the Front Groups and the RICO Defendants,

           and their sponsorship by the RICO Marketing Defendants.

       566.    The scheme devised and implemented by the RICO Marketing Defendants and

members of the Opioid Marketing Enterprise, amounted to a common course of conduct intended

to increase the RICO Marketing Defendants sales from prescription opioids by encouraging the

prescribing and use of opioids for long-term chronic pain. The scheme was a continuing course

of conduct, and many aspects of it continue through to the present.




                                                 234
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 240 of 314 Pageid#: 240




       C.      PATTERN OF RACKETEERING ACTIVITY

       567.    The RICO Marketing Defendants conducted and participated in the conduct of the

Opioid Marketing Enterprise through a pattern of racketeering activity within the meaning of 18

U.S.C. § 1961(1) that employed the use of mail and wire facilities, in violation of 18 U.S.C. § 1341

(mail fraud) and § 1343 (wire fraud).

       568.    The RICO Marketing Defendants committed, conspired to commit, and/or aided

and abetted in the commission of at least two predicate acts of racketeering activity (i.e. violations

of 18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of racketeering activity

that the RICO Marketing Defendants committed, or aided and abetted in the commission of, were

related to each other, posed a threat of continued racketeering activity, and therefore constitute a

“pattern of racketeering activity.” The racketeering activity was made possible by the RICO

Marketing Defendants’ regular use of the facilities, services, distribution channels, and employees

of the Opioid Marketing Enterprise, the U.S. Mail and interstate wire facilities. The RICO

Marketing Defendants participated in the scheme to defraud by using mail, telephones and the

Internet to transmit mailings and wires in interstate or foreign commerce.

       569.    The pattern of racketeering activity described herein used by the RICO Marketing

Defendants and the Opioid Marketing Enterprise likely involved thousands of separate instances

of the use of the U.S. Mail or interstate wire facilities in furtherance of the unlawful Opioid

Marketing Enterprise, including virtually uniform misrepresentations, concealments and material

omissions regarding the beneficial uses and non-addictive qualities for the long-term treatment of

chronic, non-acute and non-cancer pain, with the goal of profiting from increased sales of the

RICO Marketing Defendants’ drugs induced by consumers, prescribers, regulators and the

Plaintiff’s reliance on the RICO Marketing Defendants’ misrepresentations.




                                                 235
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 241 of 314 Pageid#: 241




       570.    Each of these fraudulent mailings and interstate wire transmissions constitutes

racketeering activity and collectively, these violations constitute a pattern of racketeering activity,

through which Defendants, the Front Groups and the KOLs defrauded and intended to defraud

Virginia consumers, the State, and other intended victims.

       571.    In devising and executing the illegal scheme, the RICO Marketing Defendants

devised and knowingly carried out a material scheme and/or artifice to defraud by means of

materially false or fraudulent pretenses, representations, promises, or omissions of material facts

regarding the safe, non-addictive and effective use of opioids for long-term chronic, non-acute and

non-cancer pain. The RICO Marketing Defendants and members of the Opioid Marketing

Enterprise knew that these representations violated the FDA approved use these drugs, and were

not supported by actual evidence. For the purpose of executing the illegal scheme, the RICO

Marketing Defendants intended that that their common purpose and scheme to defraud would, and

did, use the U.S. Mail and interstate wire facilities, intentionally and knowingly with the specific

intent to advance their illegal scheme.

       572.    The RICO Marketing Defendants’ predicate acts of racketeering (18 U.S.C. §

1961(1)) include, but are not limited to:

   a. Mail Fraud: The RICO Marketing Defendants violated 18 U.S.C. § 1341 by sending or

       receiving, or by causing to be sent and/or received, materials via U.S. mail or commercial

       interstate carriers for the purpose of executing the unlawful scheme to design, manufacture,

       market, and sell the prescription opioids by means of false pretenses, misrepresentations,

       promises, and omissions.

   b. Wire Fraud: The RICO Marketing Defendants violated 18 U.S.C. § 1343 by transmitting

       and/or receiving, or by causing to be transmitted and/or received, materials by wire for the




                                                 236
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 242 of 314 Pageid#: 242




       purpose of executing the unlawful scheme to design, manufacture, market, and sell the

       prescription opioids by means of false pretenses, misrepresentations, promises, and

       omissions.

       573.    Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including Virginia consumers, prescribers, regulators and the

Plaintiff. The RICO Marketing Defendants, Front Groups and KOLs calculated and intentionally

crafted the scheme and common purpose of the Opioid Marketing Enterprise to ensure their own

profits remained high.     In designing and implementing the scheme, the RICO Marketing

Defendants understood and intended that those in the distribution chain rely on the integrity of the

pharmaceutical companies and ostensibly neutral third parties to provide objective and scientific

evidence regarding the RICO Marketing Defendants’ products.

       574.    By intentionally misrepresenting the risks and benefits of using opioids for chronic

pain, and then subsequently failing to disclose such practices to Virginia consumers, prescribers,

regulators and the Plaintiff. Defendants, the Front Groups and the KOLs engaged in a fraudulent

and unlawful course of conduct constituting a pattern of racketeering activity.

       575.    The racketeering activities conducted by the RICO Marketing Defendants, Front

Groups and KOLs amounted to a common course of conduct, with a similar pattern and purpose,

intended to deceive Virginia consumers, prescribers, regulators and the Plaintiff. Each separate

use of the U.S. Mail and/or interstate wire facilities employed by Defendants was related, had

similar intended purposes, involved similar participants and methods of execution, and had the

same results affecting the same victims, including Virginia consumers, prescribers, regulators and




                                                237
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 243 of 314 Pageid#: 243




the Plaintiff. The RICO Marketing Defendants have engaged in the pattern of racketeering activity

for the purpose of conducting the ongoing business affairs of the Opioid Marketing Enterprise.

       576.      The RICO Marketing Defendants’ pattern of racketeering activity alleged herein

and the Opioid Marketing Enterprise are separate and distinct from each other. Likewise, the

RICO Marketing Defendants are distinct from the Opioid Marketing Enterprise.

       577.      The pattern of racketeering activity alleged herein is continuing as of the date of

this complaint, and, upon information and belief, will continue into the future unless enjoined by

this Court.

       578.      Many of the precise dates of the Opioid Marketing Enterprise’s uses of the U.S.

Mail and interstate wire facilities (and corresponding predicate acts of mail and wire fraud) have

been hidden and cannot be alleged without access to the books and records maintained by the

RICO Marketing Defendants, Front Groups, and KOLs. Indeed, an essential part of the successful

operation of the Opioid Marketing Enterprise alleged herein depended upon secrecy. However,

Plaintiff has described the occasions on which the RICO Marketing Defendants, Front Groups,

and KOLs disseminated misrepresentations and false statements to Virginia consumers,

prescribers, regulators and the Plaintiff, and how those acts were in furtherance of the scheme, and

do so further below.

       579.      The RICO Marketing Defendants’ use of the U.S. Mail and interstate wire facilities

to perpetrate the opioids marketing scheme involved thousands of communications, publications,

representations, statements, electronic transmissions, payments, including, inter alia:

       a. Marketing materials about opioids, and their risks and benefits, which the RICO

              Marketing Defendants sent to health care providers, transmitted through the internet




                                                 238
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 244 of 314 Pageid#: 244




         and television, published, and transmitted to Front Groups and KOLs located across

         the country and the State;

      b. Written representations and telephone calls between the RICO Marketing Defendants

         and Front Groups regarding the misrepresentations, marketing statements and claims

         about opioids, including the non-addictive, safe use of chronic long-term pain

         generally;

      c. Written representations and telephone calls between the RICO Marketing Defendants

         and KOLs regarding the misrepresentations, marketing statements and claims about

         opioids, including the non-addictive, safe use of chronic long-term pain generally;

      d. E-mails, telephone and written communications between the RICO Marketing

         Defendants and the Front Groups agreeing to or implementing the opioids marketing

         scheme;

      e. E-mails, telephone and written communications between the RICO Marketing

         Defendants and the KOLs agreeing to or implementing the opioids marketing scheme;

      f. Communications between the RICO Marketing Defendants, Front Groups and the

         media regarding publication, drafting of treatment guidelines, and the dissemination of

         the same as part of the Opioid Marketing Enterprise;

      g. Communications between the RICO Marketing Defendants, KOLs and the media

         regarding publication, drafting of treatment guidelines, and the dissemination of the

         same as part of the Opioid Marketing Enterprise;

      h. Written and oral communications directed to State agencies, federal and state courts,

         and private insurers throughout the State that fraudulently misrepresented the risks and

         benefits of using opioids for chronic pain; and




                                             239
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 245 of 314 Pageid#: 245




       i. Receipts of increased profits sent through the U.S. Mail and interstate wire facilities –

            the wrongful proceeds of the scheme.

       580.    In addition to the above-referenced predicate acts, it was foreseeable to the RICO

Marketing Defendants that the Front Groups and the KOLs would distribute publications through

the U.S. Mail and by interstate wire facilities, and, in those publications, claim that the benefits of

using opioids for chronic pain outweighed the risks of doing so.

       581.    The RICO Marketing Defendants aided and abetted others in the violations of the

above laws, thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343

offenses.

       582.    To achieve the common goal and purpose of the Opioid Marketing Enterprise, the

RICO Marketing Defendants and members of the Opioid Marketing Enterprise hid from the

consumers, prescribers, regulators and the Plaintiff: (1) the fraudulent nature of the RICO

Marketing Defendants’ marketing scheme; (2) the fraudulent nature of statements made by the

RICO Marketing Defendants and by their KOLs, Front Groups and other third parties regarding

the safety and efficacy of prescription opioids; and (3) the true nature of the relationship between

the members of the Opioid Marketing Enterprise.

       583.    The RICO Marketing Defendants, and each member of the Opioid Marketing

Enterprise agreed, with knowledge and intent, to the overall objective of the RICO Marketing

Defendants’ fraudulent scheme and participated in the common course of conduct to commit acts

of fraud and indecency in marketing prescription opioids.

       584.    Indeed, for the RICO Marketing Defendants’ fraudulent scheme to work, each of

the RICO Marketing Defendants had to agree to implement similar tactics regarding fraudulent

marketing of prescription opioids. This conclusion is supported by the fact that the RICO




                                                 240
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 246 of 314 Pageid#: 246




Marketing Defendants each financed, supported, and worked through the same KOLs and Front

Groups, and often collaborated on and mutually supported the same publications, CMEs,

presentations, and prescription guidelines.

       585.    As described herein, the RICO Marketing Defendants engaged in a pattern of

related and continuous predicate acts for years. The predicate acts constituted a variety of unlawful

activities, each conducted with the common purpose of obtaining significant money and revenue

from the marketing and sale of their highly addictive and dangerous drugs. The predicate acts also

had the same or similar results, participants, victims, and methods of commission. The predicate

acts were related and not isolated events.

       586.    The RICO Marketing Defendants predicate acts all had the purpose of creating the

opioid epidemic that substantially injured the Plaintiff’s business and property, while

simultaneously generating billion-dollar revenue and profits for the RICO Marketing Defendants.

The predicate acts were committed or caused to be committed by the RICO Marketing Defendants

through their participation in the Opioid Marketing Enterprise and in furtherance of its fraudulent

scheme.

       587.    The RICO Marketing Defendants’ predicate acts and pattern of racketeering

activity were a substantial and foreseeable cause of the Plaintiff’s injury and the relationship

between the RICO Marketing Defendants’ conduct and the Plaintiff’s injury is logical and not

speculative. It was foreseeable to the RICO Marketing Defendants that when they fraudulently

marketed highly-addictive and dangerous drugs, that were approved for very limited and specific

uses by the FDA, as non-addictive and safe for off-label uses such as moderate pain, non-cancer

pain, and long-term chronic pain, that the RICO Marketing Defendants would create an opioid-

addiction epidemic that logically, substantially and foreseeably harmed the Plaintiff.




                                                241
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 247 of 314 Pageid#: 247




            588.     The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court. The last racketeering incident occurred within five years of the commission of a prior

incident of racketeering.

            D.       DAMAGES.

            589.     The RICO Marketing Defendants’ violations of law and their pattern of

racketeering activity directly and proximately caused the Plaintiff’s injury in its business and

property.          The RICO Marketing Defendants’ pattern of racketeering activity logically,

substantially and foreseeably caused an opioid epidemic. The Plaintiff’s injuries, as described

below, were not unexpected, unforeseen or independent.368 Rather, as Plaintiff alleges, the RICO

Marketing Defendants knew that the opioids were unsuited to treatment of long-term chronic, non-

acute, and non-cancer pain, or for any other use not approved by the FDA, and knew that opioids

were highly addictive and subject to abuse.369 Nevertheless, the RICO Marketing Defendants

engaged in a scheme of deception that utilized the mail and wires as part of their fraud, in order to

increase sales of their opioid products.

            590.     It was foreseeable and expected that a massive marketing campaign utilized by the

RICO Marketing Defendants that misrepresented the non-addictive and effective use of

prescription opioids for purposes for which they are not suited and not approved by the FDA would

lead to a nationwide opioid epidemic.370 It was also foreseeable and expected that the RICO

Marketing Defendants’ marketing campaign would lead to increased opioid addiction and



368
      Traveler’s Property Casualty Company of America v. Actavis, Inc., 22 Cal. Rptr. 3d 5, 19 (Cal. Ct. App. 2017).
369
      Id.
370
      Id.




                                                          242
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 248 of 314 Pageid#: 248




overdose.371 Plaintiff’s injuries were logically, foreseeable, and substantially caused by the opioid

epidemic that the RICO Marketing Defendants created.

            591.   Specifically, the RICO Marketing Defendants’ predicate acts and pattern of

racketeering activity caused the opioid epidemic which has injured the Plaintiff in the form of

substantial losses of money and property that logically, directly and foreseeably arise from the

opioid-addiction epidemic.         Plaintiff’s injuries, as alleged throughout this Complaint, and

expressly incorporated herein by reference, include:

            a. Losses caused by purchasing and/or paying reimbursements for the RICO Marketing

               Defendants’ prescription opioids, Plaintiff would not have paid for or purchased but

               for the RICO Marketing Defendants’ conduct;

            b. Losses caused by the decrease in funding available for Plaintiff’s public services for

               which funding was lost because it was diverted to other public services designed to

               address the opioid epidemic;

            c. Costs for providing healthcare and medical care, additional therapeutic, and

               prescription drug purchases, and other treatments for patients suffering from opioid-

               related addiction or disease, including overdoses and deaths;

            d. Costs of training emergency and/or first responders in the proper treatment of drug

               overdoses;

            e. Costs associated with providing police officers, firefighters, and emergency and/or first

               responders with Naloxone – an opioid antagonist used to block the deadly effects of

               opioids in the context of overdose;



371
      Id.




                                                     243
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 249 of 314 Pageid#: 249




      f. Costs associated with emergency responses by police officers, firefighters, and

         emergency and/or first responders to opioid overdoses;

      g. Costs for providing mental-health services, treatment, counseling, rehabilitation

         services, and social services to victims of the opioid epidemic and their families;

      h. Costs for providing treatment of infants born with opioid-related medical conditions,

         or born addicted to opioids due to drug use by mother during pregnancy;

      i. Costs associated with law enforcement and public safety relating to the opioid

         epidemic, including but not limited to attempts to stop the flow of opioids into local

         communities, to arrest and prosecute street-level dealers, to prevent the current opioid

         epidemic from spreading and worsening, and to deal with the increased levels of crimes

         that have directly resulted from the increased homeless and drug-addicted population;

      j. Costs associated with increased burden on the Plaintiff’s judicial system, including

         increased security, increased staff, and the increased cost of adjudicating criminal

         matters due to the increase in crime directly resulting from opioid addiction;

      k. Costs associated with providing care for children whose parents suffer from opioid-

         related disability or incapacitation;

      l. Loss of tax revenue due to the decreased efficiency and size of the working population

         in Plaintiff’s Community;

      m. Losses caused by diminished property values in neighborhoods where the opioid

         epidemic has taken root; and

      n. Losses caused by diminished property values in the form of decreased business

         investment and tax revenue.




                                                 244
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 250 of 314 Pageid#: 250




        592.    The Plaintiff’s injuries were proximately caused by the RICO Marketing

Defendants’ racketeering activities because they were the logical, substantial and foreseeable

cause of the Plaintiff’s injuries. But for the opioid-addiction epidemic created by the RICO

Marketing Defendants’ conduct, the Plaintiff would not have lost money or property.

        593.    The Plaintiff’s injuries were directly caused by the RICO Marketing Defendants’

pattern of racketeering activities.

        594.    The Plaintiff is the most directly harmed entity and there is no other Plaintiff better

suited to seek a remedy for the economic harms at issue here.

        595.    Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

attorney’s fees and all costs and expenses of suit and pre- and post-judgment interest.

                                     COUNT III
       RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                                18 U.S.C. 1961, et seq.
(Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis, McKesson, Cardinal,
                               and AmerisourceBergen)
                         (The “Opioid Diversion Enterprise”)

        596.    Plaintiff hereby incorporates by reference all other paragraphs of this Complaint

as if fully set forth herein, and further alleges as follows.

        597.    The Plaintiff brings this Claim against the following Defendants, as defined above:

Purdue, Cephalon, Endo, Mallinckrodt, Actavis (the “Manufacturer Defendants”), McKesson,

Cardinal, and AmerisourceBergen (the “Distributor Defendants”) (collectively, for purposes of

this Claim, the “RICO Diversion Defendants”).

        598.    The RICO Diversion Defendants conducted and continue to conduct their business

through legitimate and illegitimate means in the form of an association-in-fact enterprise and/or a

legal entity enterprise as defined in 18 U.S.C. § 1961(4). Alternatively, the RICO Diversion




                                                  245
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 251 of 314 Pageid#: 251




Defendants were members of a legal entity enterprise within the meaning of 18 U.S.C. § 1961(4).

Specifically, each of the RICO Diversion Defendants was a member of the Healthcare Distribution

Alliance (the “HDA”)372 which is a distinct legal entity that satisfies the definition of a RICO

enterprise because it is a non-profit corporation and, therefore, and “enterprise” within the

definition set out in 18 U.S.C. § 1961(4). On information and belief, each of the RICO Diversion

Defendants is a member, participant, and/or sponsor of the HDA and utilized the HDA to conduct

the Opioid Diversion Enterprise and to engage in the pattern of racketeering activity that gives rise

to this cause of action. The legal and association-in-fact enterprises alleged in the previous and

subsequent paragraphs are pleaded in the alternative and are collectively referred to as the “Opioid

Diversion Enterprise.”

        599.     For over a decade, the RICO Diversion Defendants aggressively sought to bolster

their revenue, increase profit, and grow their share of the prescription painkiller market by

unlawfully and surreptitiously increasing the volume of opioids they sold. However, the RICO

Diversion Defendants are not permitted to engage in a limitless expansion of their sales through

the unlawful sales of regulated painkillers. As “registrants” under the Controlled Substances Act,

21 U.S.C. § 821, et seq. (the “CSA”), the RICO Diversion Defendants operated and continue to

operate within a “closed-system.” The CSA restricts the RICO Diversion Defendants’ ability to

manufacture or distribute Schedule II substances like opioids by: (1) requiring them to make sales

within a limited quota set by the DEA for the overall production of Schedule II substances like

opioids; (2) register to manufacture or distribute opioids; (3) maintain effective controls against

diversion of the controlled substances that they manufacturer or distribute; and (4) design and


372
   Health Distribution Alliance, History, Health Distribution Alliance, (last accessed on September 15, 2017),
https://www.healthcaredistribution.org/about/hda-history.




                                                        246
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 252 of 314 Pageid#: 252




operate a system to identify suspicious orders of controlled substances, halt such unlawful sales,

and report them to the DEA.

        600.     The closed-system created by the CSA, and the establishment of quotas, was

specifically intended to reduce or eliminate the diversion of Schedule II substances like opioids

from “legitimate channels of trade” to the illicit market by controlling the “quantities of the basic

ingredients needed for the manufacture of [controlled substances].”373

        601.     Finding it impossible to legally achieve their ever increasing sales ambitions,

members of the Opioid Diversion Enterprise (defined below) engaged in the common purpose of

fraudulently increasing the quotas that governed the manufacture and distribution of their

prescription opioids. The RICO Diversion Defendants formed and pursued their common purpose

through the many personal interactions that they had, confidentially, in organizations like the Pain

Care Forum and the Healthcare Distribution Alliance.

        602.     The RICO Diversion Defendants’ common purpose and fraudulent scheme to

unlawfully increase the DEA quotas violated the RICO Act in two ways. First, the RICO Diversion

Defendants violated the RICO Act because they engaged in the felonious manufacture, buying

selling, or otherwise dealing in controlled substances that are punishable by law in the United

States. Specifically, the RICO Diversion Defendants “furnish[ed] false or fraudulent material

information in, or omit[ted] material information from, applications, reports, records, and other

document required to be made, kept, and filed under 21 U.S.C. §§ 801, et seq.”, in violation of 21

U.S.C. § 843(b), which is a felony. Second, the RICO Diversion Defendants violated the RICO




373
    1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the Caucus on International
Narcotics Control, United States Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).




                                                      247
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 253 of 314 Pageid#: 253




Act by engaging in mail and wire fraud. The RICO Diversion Defendants common purpose and

fraudulent scheme was intended to, and did, utilize interstate mail and wire facilities for the

commission of their fraud in violation 18 U.S.C. §§ 1341 (mail fraud) and 1343 (wire fraud).

           603.      The RICO Diversion Defendants’ fraudulent scheme arises at the intersection

between the quotas governing the RICO Diversion Defendants’ prescription opioids and the RICO

Diversion Defendants’ duty to identify, report, and halt suspicious orders of controlled substances.

The RICO Diversion Defendants’ formed an enterprise with the intent to fraudulently increase the

quotas for prescription opioids by refusing to identify, report and halt suspicious orders, thereby

omitting both the fact and the RICO Diversion Defendants’ knowledge of widespread diversion of

prescription opioids into illegitimate channels.

           604.      The RICO Diversion Defendants engaged in systematic and fraudulent acts as part

of the Opioid Diversion Enterprise that furnished false or fraudulent material information in, and

omitted material information from their applications, reports, records and other documents that the

RICO Defendants were required to make, keep and/or file. Furthermore, the RICO Diversion

Defendants engaged in systematic and fraudulent acts as part of the Opioid Diversion Enterprise

that were intended to and actually did utilize the mail and wire facilities of the United States and

Virginia, including refusing to maintain effective controls against diversion of their drugs, to

design and operate a system to identify suspicious orders of their drugs, to halt unlawful sales of

suspicious orders, and to notify the DEA of suspicious orders.374

           605.      Through the RICO Diversion Defendants’ scheme, members of the Opioid

Diversion Enterprise repeatedly requested increases of the quotas governing the manufacture, sale



374
      21 U.S.C. § 823(a)(1), (b)(1); 21 C.F.R. § 1301.74(b)-(c).




                                                           248
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 254 of 314 Pageid#: 254




and distribution of prescription opioids, misrepresented that they were complying with their duties

under the CSA, furnished false or fraudulent material information in, and omitted material

information from their applications, reports, records and other documents, engaged in unlawful

sales of painkillers that resulted in diversion of controlled substances through suspicious orders,

and refused to identify or report suspicious orders of controlled substances sales to the DEA.375

Defendants’ refusal to report suspicious orders resulted in artificial and illegal increases in the

annual production quotas for opioids allowed by the DEA. The end result of the RICO Diversion

Defendants’ fraudulent scheme and common purpose was continually increasing quotas that

generated obscene profits and, in turn, fueled an opioid epidemic.

           606.     The RICO Diversion Defendants’ illegal scheme was hatched by an enterprise

between the Manufacturer Defendants and the Distributor Defendants, and executed in perfect

harmony by each of them. In particular, each of the RICO Diversion Defendants were associated

with, and conducted or participated in, the affairs of the Opioid Diversion Enterprise, whose

common purpose was fraudulently increase the quotas governing the manufacture and sale of

prescription opioids.

           607.     The success of the RICO Diversion Defendants’ scheme allowed them to

unlawfully increase and/or maintain high production quotas and, as a direct result, allowed them

to make billions from the unlawful sale and diversion of opioids.

           608.     Simultaneously, the opioid epidemic created by the RICO Diversion Defendants’

actions caused the Plaintiff’s injuries.             The Plaintiff’s injuries were and are a reasonably

foreseeable consequence of the prescription opioid addiction epidemic that the RICO Diversion



375
      21 C.F.R. § 1303.11(b); 21 C.F.R. § 1303.23.




                                                        249
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 255 of 314 Pageid#: 255




Defendants created by fraudulently increasing quotas, misrepresenting their compliance with their

duties under the CSA, and allowing the widespread diversion of legally produced prescription

opioids into the illicit market. As explained in detail below, the RICO Diversion Defendants’

misconduct violated Section 1962(c) and the Plaintiff is entitled to treble damages for their injuries

under 18 U.S.C. § 1964(c).

           A.      THE OPIOID DIVERSION ENTERPRISE.

           609.    Recognizing that there is a need for greater scrutiny over controlled substances due

to their potential for abuse and danger to public health and safety, the United States Congress

enacted the Controlled Substances Act in 1970.376 The CSA and its implementing regulations

created a closed-system of distribution for all controlled substances and listed chemicals.377

Congress specifically designed the closed chain of distribution to prevent the diversion of legally

produced controlled substances into the illicit market.378 Congress was concerned with the

diversion of drugs out of legitimate channels of distribution and acted to halt the “widespread

diversion of [controlled substances] out of legitimate channels into the illegal market.”379

Moreover, the closed-system was specifically designed to ensure that there are multiple ways of

identifying and preventing diversion through active participation by registrants within the drug




376
   Joseph T. Rannazzisi Decl. ¶ 4, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No. 12-
cv-185 (Document 14-2 February 10, 2012).
377
      See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566.
378
  Gonzalez v. Raich, 545 U.S. 1, 12-14 (2005); 21 U.S.C. § 801(20; 21 U.S.C. §§ 821-824, 827, 880; H.R. Rep.
No. 91-1444, 1970 U.S.C.C.A.N. 4566, 4572 (Sept. 10, 1970).
379
    See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United States
Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).




                                                       250
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 256 of 314 Pageid#: 256




delivery chain.380 All registrants -- manufacturers and distributors alike -- must adhere to the

specific security, recordkeeping, monitoring and reporting requirements that are designed to

identify or prevent diversion.381 When registrants at any level fail to fulfill their obligations, the

necessary checks and balances collapse.382 The result is the scourge of addiction that has occurred

            610.   Central to the closed-system created by the CSA was the directive that the DEA

determine quotas of each basic class of Schedule I and II controlled substances each year. The

quota system was intended to reduce or eliminate diversion from “legitimate channels of trade” by

controlling the “quantities of the basic ingredients needed for the manufacture of [controlled

substances], and the requirement of order forms for all transfers of these drugs.”383 When

evaluating production quotas, the DEA was instructed to consider the following information:

            a. Information provided by the Department of Health and Human Services;

            b. Total net disposal of the basic class by all manufacturers;

            c. Trends in the national rate of disposal of the basic class;

            d. An applicant’s production cycle and current inventory position;

            e. Total actual or estimated inventories of the class and of all substances manufactured

               from the class and trends in inventory accumulation; and




380
   See Statement of Joseph T. Rannazzisi before the Caucus on International Narcotics Control United States
Senate, July 18, 2012 (available at
https://www.justice.gov/sites/default/files/testimonies/witnesses/attachments/07/18/12/07-18-12-dea-rannazzisi.pdf).
381
      Id.
382
   Joseph T. Rannazzisi Decl. ¶ 10, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No.
12-cv-185 (Document 14-2 February 10, 2012).
383
    1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the Caucus on International
Narcotics Control, United States Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).




                                                        251
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 257 of 314 Pageid#: 257




            g. Other factors such as: changes in the currently accepted medical use of substances

                manufactured for a basic class; the economic and physical availability of raw materials;

                yield and sustainability issues; potential disruptions to production; and unforeseen

                emergencies.384

            611.     It is unlawful for a registrant to manufacture a controlled substance in Schedule II,

like prescription opioids, that is (1) not expressly authorized by its registration and by a quota

assigned to it by DEA, or (2) in excess of a quota assigned to it by the DEA.385

            612.     At all relevant times, the RICO Diversion Defendants operated as an association-

in-fact enterprise formed for the purpose of unlawfully increasing sales, revenues and profits by

fraudulently increasing the quotas set by the DEA that would allow them to collectively benefit

from a greater pool of prescription opioids to manufacture and distribute. In support of this

common purpose and fraudulent scheme, the RICO Diversion Defendants jointly agreed to

disregard their statutory duties to identify, investigate, halt and report suspicious orders of opioids

and diversion of their drugs into the illicit market so that those orders would not result in a

decrease, or prevent an increase in, the necessary quotas. The RICO Diversion Defendants

conducted their pattern of racketeering activity in this jurisdiction and throughout the United States

through this enterprise.

            613.     The opioid epidemic has its origins in the mid-1990s when, between 1997 and 2007,

per capita purchase of methadone, hydrocodone, and oxycodone increased 13-fold, 4-fold, and 9-




384
   See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United State
Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
385
      Id. (citing 21 U.S.C. 842(b)).




                                                       252
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 258 of 314 Pageid#: 258




fold, respectively. By 2010, enough prescription opioids were sold in the United States to medicate

every adult in the country with a dose of 5 milligrams of hydrocodone every 4 hours for 1 month.386

On information and belief, the Opioid Diversion Enterprise has been ongoing for at least the last

decade.387

        614.     The Opioid Diversion Enterprise was and is a shockingly successful endeavor. The

Opioid Diversion Enterprise has been conducting business uninterrupted since its genesis.

However, it was not until recently that federal and state regulators finally began to unravel the

extent of the enterprise and the toll that it exacted on the American public.

        615.     At all relevant times, the Opioid Diversion Enterprise: (a) had an existence separate

and distinct from each RICO Diversion Defendant; (b) was separate and distinct from the pattern

of racketeering in which the RICO Diversion Defendants engaged; (c) was an ongoing and

continuing organization consisting of legal entities, including each of the RICO Diversion

Defendants; (d) was characterized by interpersonal relationships among the RICO Diversion

Defendants; (e) had sufficient longevity for the enterprise to pursue its purpose; and (f) functioned

as a continuing unit.. Each member of the Opioid Diversion Enterprise participated in the conduct

of the enterprise, including patterns of racketeering activity, and shared in the astounding growth

of profits supplied by fraudulently inflating opioid quotas and resulting sales.

        616.     The Opioid Diversion Enterprise also engaged in efforts to constrain the DEA’s

authority to hold the RICO Diversion Defendants liable for disregarding their duty to prevent




386
   Keyes KM, Cerdá M, Brady JE, Havens JR, Galea S. Understanding the rural-urban differences in nonmedical
prescription opioid use and abuse in the United States. Am J Public Health. 2014;104(2):e52-9.
387
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public
Integrity (September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-
chamber-shaped-policy-amid-drug-epidemic.




                                                       253
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 259 of 314 Pageid#: 259




diversion. Members of the Pain Care Forum (described in greater detail below) and the Healthcare

Distribution Alliance lobbied for the passage of legislation to weaken the DEA’s enforcement

authority. To this end, the Ensuring Patient Access and Effective Drug Enforcement Act

significantly reduced the DEA’s ability to issue orders to show cause and to suspend and/or revoke

registrations.388 The HDA and other members of the Pain Care Forum contributed substantial

amounts of money to political campaigns for federal candidates, state candidates, political action

committees and political parties. Upon information and belief, the Pain Care Forum and its

members and HDA, poured millions into such efforts.

        617.     The RICO Diversion Defendants, through their illegal enterprise, engaged in a

pattern of racketeering activity that involves a fraudulent scheme to profit from the unlawful sale

of prescription opioids by increasing the quotas governing the manufacture and sale of these

controlled substances. In order to achieve that goal, the RICO Diversion Defendants knowingly

allowed suspicious orders of controlled substances to occur unhindered while millions of opioid

doses diverted into illegal markets. The end result of this strategy was exactly as the RICO

Diversion Defendants intended – artificially increased quotas for the manufacture and distribution

of opioids, all of which resulted in a National opioid epidemic.




388
    See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016, updated
July 6, 2016), http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-
alliance/; Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid
Epidemic Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-
slowed-enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had no
Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.




                                                     254
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 260 of 314 Pageid#: 260




       618.    The Opioid Diversion Enterprise engaged in, and its activities affected, interstate

and foreign commerce because the enterprise involved commercial activities across states lines,

such as manufacture, sale, distribution, and shipment of prescription opioids throughout the United

States, and the corresponding payment and/or receipt of money from such interstate sales.

       619.    Within the Opioid Diversion Enterprise, there were interpersonal relationships and

common communication by which the RICO Diversion Defendants shared information on a

regular basis. These interpersonal relationships also formed the organization of the Opioid

Diversion Enterprise. The Opioid Diversion Enterprise used their interpersonal relationships and

communication network for the purpose of conducting the enterprise through a pattern of

racketeering activity.

       620.    Each of the RICO Diversion Defendants had systematic links to each other through

joint participation in trade industry organizations, contractual relationships and continuing

coordination of activities. The RICO Diversion Defendants participated in the operation and

management of the Opioid Diversion Enterprise by directing its affairs, as described herein. While

the RICO Diversion Defendants participated in, and are members of, the enterprise, they each have

a separate existence from the enterprise, including distinct legal statuses, different offices and

roles, bank accounts, officers, directors, employees, individual personhood, reporting

requirements, and financial statements.

       621.    The RICO Diversion Defendants exerted substantial control over the Opioid

Diversion Enterprise through their membership in the Pain Care Forum, the HDA, and through

their contractual relationships.

       622.    The Pain Care Forum (“PCF”) has been described as a coalition of drug makers,

trade groups and dozens of non-profit organizations supported by industry funding. The PCF




                                               255
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 261 of 314 Pageid#: 261




recently became a national news story when it was discovered that lobbyists for members of the

PCF quietly shaped federal and state policies regarding the use of prescription opioids for more

than a decade.

            623.    The Center for Public Integrity and The Associated Press obtained “internal

documents shed[ding] new light on how drug makers and their allies shaped the national response

to the ongoing wave of prescription opioid abuse.”389 Specifically, PCF members spent over $740

million lobbying in the nation’s capital and in all 50 statehouses on an array of issues, including

opioid-related measures.390

            624.    Not surprisingly, each of the RICO Diversion Defendants who stood to profit from

expanded prescription opioid use is a member of and/or participant in the PCF.391 In 2012,

membership and participating organizations included the HDA (of which all RICO Manufacturer

Defendants are members), Endo, Purdue, Actavis (i.e., Allergan), and Teva (the parent company

of Cephalon).392 Each of the Manufacturer Defendants worked together through the PCF to

advance the interests of the enterprise. But, the Manufacturer Defendants were not alone. The

Distributor Defendants actively participated, and continue to participate in the PCF, at a minimum,

through their trade organization, the HDA.393 Upon information and belief, the Distributor

Defendants participated directly in the PCF as well.



389
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public
Integrity (September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-
chamber-shaped-policy-amid-drug-epidemic (emphasis added).
390
      Id.
391
   PAIN CARE FORUM 2012 Meetings Schedule, (last updated December 2011),
https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-Meetings-Schedule-amp.pdf
392
      Id. Upon information and belief, Mallinckrodt became an active member of the PCF sometime after 2012.
393
  Id. The Executive Committee of the HDA (formerly the HDMA) currently includes the Chief Executive Officer,
Pharmaceutical Segment for Cardinal Health, Inc., the Group President, Pharmaceutical Distribution and Strategic




                                                        256
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 262 of 314 Pageid#: 262




            625.   Additionally, the HDA – or Healthcare Distribution Alliance – led to the formation

of interpersonal relationships and an organization between the RICO Diversion Defendants.

Although the entire HDA membership directory is private, the HDA website confirms that each of

the Distributor Defendants and the Manufacturer Defendants named in the Complaint, including

Actavis (i.e., Allergan), Endo, Purdue, Mallinckrodt and Cephalon were members of the HDA.394

Additionally, the HDA and each of the Distributor Defendants, eagerly sought the active

membership and participation of the Manufacturer Defendants by advocating for the many benefits

of members, including “strengthening . . . alliances.”395

            626.   Beyond strengthening alliances, the benefits of HDA membership included the

ability to, among other things, “network one on one with manufacturer executives at HDA’s

members-only Business and Leadership Conference,” “networking with HDA wholesale

distributor members,” “opportunities to host and sponsor HDA Board of Directors events,”

“participate on HDA committees, task forces and working groups with peers and trading partners,”

and “make connections.”396 Clearly, the HDA and the Distributor Defendants believed that

membership in the HDA was an opportunity to create interpersonal and ongoing organizational

relationships and “alliances” between the Manufacturers and Defendants.




Global Source for AmerisourceBergen Corporation, and the President, U.S. Pharmaceutical for McKesson
Corporation. Executive Committee, Healthcare Distribution Alliance (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/executive-committee.
394
   Manufacturer Membership, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/membership/manufacturer.
395
   Manufacturer Membership Benefits, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-benefits.ashx?la=en.
396
      Id.




                                                     257
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 263 of 314 Pageid#: 263




        627.     The application for manufacturer membership in the HDA further indicates the

level of connection between the RICO Defendants and the level of insight that they had into each

other’s businesses.397 For example, the manufacturer membership application must be signed by

a “senior company executive,” and it requests that the manufacturer applicant identify a key

contact and any additional contacts from within its company.

        628.     The HDA application also requests that the manufacturer identify its current

distribution information, including the facility name and contact information.

        629.     And, Manufacturer Members were asked to identify their “most recent year end net

sales” through wholesale distributors, including the Distributor Defendants AmerisourceBergen,

Cardinal Health, and McKesson and their subsidiaries.

        630.     The closed meetings of the HDA’s councils, committees, task forces and working

groups provided the Manufacturer and Distributor Defendants with the opportunity to work closely

together, confidentially, to develop and further the common purpose and interests of the enterprise.

        631.     The HDA also offers a multitude of conferences, including annual business and

leadership conferences. The HDA, and the Distributor Defendants advertise these conferences to

the Manufacturer Defendants as an opportunity to “bring together high-level executives, thought

leaders and influential managers . . . to hold strategic business discussions on the most pressing

industry issues.”398 The conferences also gave the Manufacturer and Distributor Defendants

“unmatched opportunities to network with [their] peers and trading partners at all levels of the



397
   Manufacturer Membership Application, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-
application.ashx?la=en.
398
   Business and Leadership Conference – Information for Manufacturers, Healthcare Distribution
Alliancehttps://www.healthcaredistribution.org/events/2015-business-and-leadership-conference/blc-for-
manufacturers (last accessed on September 14, 2017).




                                                       258
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 264 of 314 Pageid#: 264




healthcare distribution industry.”399 The HDA and its conferences were significant opportunities

for the Manufacturer and Distributor Defendants to interact at a high-level of leadership. It is clear

that the Manufacturer Defendants embraced this opportunity by attending and sponsoring these

events.400

            632.   Third, the RICO Diversion Defendants maintained their interpersonal relationships

by working together, through contractual chargeback arrangements, to exchanging sales

information and drive the unlawful sales of their opioids.                 To this end, the Manufacturer

Defendants engaged in an industry-wide practice of paying rebates to the Distributor Defendants

for sales of prescription opioids.401

            633.   For example, the Washington Post reported that “[o]n Aug. 23, 2011, DEA

supervisors met with Mallinckrodt executives at the agency’s headquarters in Arlington, Va., the

day a rare 5.8-magnitude earthquake hit the Washington region. People involved in the case still

call the gathering ‘the earthquake meeting.’ DEA officials showed the company the remarkable

amounts of its oxycodone going to distributors and the number of arrests being made for




399
      Id.
400
   2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance,
https://www.healthcaredistribution.org/events/2015-distribution-management-conference (last accessed on
September 14, 2017).
401
   Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid manufacturers accountable, The
Washington Post, (April 2, 2017), https://www.washingtonpost.com/graphics/investigations/dea-
mallinckrodt/?utm_term=.b24cc81cc356; see also, Letter from Sen. Claire McCaskill, (July 27, 2017),
https://www.mccaskill.senate.gov/imo/media/image/july-opioid-investigation-letter-manufacturers.png; Letter from
Sen. Claire McCaskill, (July 27, 2017), https://www.mccaskill.senate.gov/imo/media/image/july-opioid-
investigation-letter-manufacturers.png; Letters From Sen. Claire McCaskill, (March 28, 2017),
https://www.mccaskill.senate.gov/opioid-investigation; Purdue Managed Markets, Purdue Pharma, (accessed on
September 14, 2017), http://www.purduepharma.com/payers/managed-markets/.




                                                      259
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 265 of 314 Pageid#: 265




oxycodone possession and distribution on the street, according to one participant in the meeting

who also spoke on the condition of anonymity because the case is pending.”402

            634.   “Three weeks after the Aug. 23 meeting, Mallinckrodt notified 43 of its distributors

that they would no longer receive rebates from the company if they continued to supply certain

pharmacies whose orders appeared to be suspicious.”403

            635.   “On Nov. 30, 2011, the DEA served a subpoena on Mallinckrodt, demanding

documents related to its suspicious-order-monitoring program, according to the company’s filings

with the Securities and Exchange Commission. The subpoena brought a windfall of information.

The DEA gained access to data from Mallinckrodt’s rebate or ‘chargeback’ program, an industry-

wide practice that provides reimbursements to wholesale distributors. That information and other

records showed where Mallinckrodt’s oxycodone was going — from the company to its network

of distributors to retailers down the chain.”404

            636.   In addition, the Distributor Defendants and Manufacturer Defendants participated,

through the HDA, in Webinars and other meetings designed to exchange detailed information

regarding their prescription opioid sales, including purchase orders, acknowledgements, ship

notices, and invoices.405 For example, on April 27, 2011, the HDA offered a Webinar to

“accurately and effectively exchange business transactions between distributors and

manufacturers…”:




402
      https://www.washingtonpost.com/graphics/investigations/dea-mallinckrodt/?utm_term=.f336835fd5da
403
      Id.
404
      Id.
405
   Webinars, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/resources/webinar-leveraging-edi.




                                                       260
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 266 of 314 Pageid#: 266




       637.    On information and belief, the Manufacturer Defendants used this information to

gather high-level data regarding overall distribution and direct the Distributor Defendants on how

to most effectively sell the prescription opioids.

       638.    The contractual relationships among the RICO Defendants also include vault

security programs. The RICO Diversion Defendants are required to maintain certain security

protocols and storage facilities for the manufacture and distribution of their opiates. Upon

information and belief, the manufacturers negotiated agreements whereby the Manufacturers

installed security vaults for Distributors in exchange for agreements to maintain minimum sales

performance thresholds. Upon information and belief, these agreements were used by the RICO

Diversion Defendants as a tool to violate their reporting and diversion duties in order to reach the

required sales requirements.




                                                 261
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 267 of 314 Pageid#: 267




        639.     Taken together, the interaction and length of the relationships between and among

the Manufacturer and Distributor Defendants reflects a deep level of interaction and cooperation

between two groups in a tightly knit industry. The Manufacturer and Distributor Defendants were

not two separate groups operating in isolation or two groups forced to work together in a closed

system. The RICO Diversion Defendants operated together as a united entity, working together

on multiple fronts, to engage in the unlawful sale of prescription opioids. The HDA and the Pain

Care Forum are but two examples of the overlapping relationships, and concerted joint efforts to

accomplish common goals and demonstrates that the leaders of each of the RICO Diversion

Defendants were in communication and cooperation.

        640.     Alternatively, the RICO Diversion Defendants were members of a legal entity

enterprise within the meaning of 18 U.S.C. § 1961(4), through which the RICO Diversion

Defendants conducted their pattern of racketeering activity in this jurisdiction and throughout the

United States. As alleged, the Healthcare Distribution Alliance (the “HDA”)406 is a distinct legal

entity that satisfies the definition of a RICO enterprise because it is a corporation formed under

the laws of the District of Columbia, doing business in Virginia. As such, the HDA qualifies as an

“enterprise” within the definition set out in 18 U.S.C. § 1961(4).

        641.     On information and belief, each of the RICO Diversion Defendants is a member,

participant, and/or sponsor of the HDA, and has been since at least 2006, and utilized the HDA to

conduct the Opioid Diversion Enterprise and to engage in the pattern of racketeering activity that

gives rise to the Count.




406
   Health Distribution Alliance, History, Health Distribution Alliance, (last accessed on September 15, 2017),
https://www.healthcaredistribution.org/about/hda-history.




                                                        262
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 268 of 314 Pageid#: 268




       642.    Each of the RICO Diversion Defendants is a legal entity separate and distinct from

the HDA. Additionally, the HDA serves the interests of distributors and manufacturers beyond

the RICO Diversion Defendants. Therefore, the HDA exists separately from the Opioid Diversion

Enterprise, and each of the RICO Diversion Defendants exists separately from the HDA.

Therefore, the HDA may serve as a RICO enterprise.

       B.      CONDUCT OF THE OPIOID DIVERSION ENTERPRISE.

       643.    During the time period alleged in this Complaint, the RICO Diversion Defendants

exerted control over, conducted and/or participated in the Opioid Diversion Enterprise by

fraudulently claiming that they were complying with their duties under the CSA to identify,

investigate and report suspicious orders of opioids in order to prevent diversion of those highly

addictive substances into the illicit market, and to halt such unlawful sales, so as to increase

production quotas and generate unlawful profits, as follows:

       644.    Defendants disseminated false and misleading statements to state and federal

regulators claiming that (1) the quotas for prescription opioids should be increased, (2) they were

complying with their obligations to maintain effective controls against diversion of their

prescription opioids, (3) they were complying with their obligations to design and operate a system

to disclose to the registrant suspicious orders of their prescription opioids, (4) they were complying

with their obligation to notify the DEA of any suspicious orders or diversion of their prescription

opioids and (5) they did not have the capability to identify suspicious orders of controlled

substances despite their possession of national, regional, state, and local prescriber- and patient-

level data that allowed them to track prescribing patterns over time, which the Defendants obtained

from data companies, including but not limited to:             IMS Health, QuintilesIMS, Iqvia,

Pharmaceutical Data Services, Source Healthcare Analytics, NDS Health Information Services,




                                                 263
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 269 of 314 Pageid#: 269




Verispan, Quintiles, SDI Health, ArcLight, Scriptline, Wolters Kluwer, and/or PRA Health

Science, and all of their predecessors or successors in interest (the “Data Vendors”).

        645.     The RICO Diversion Defendants applied political and other pressure on the DOJ

and DEA to halt prosecutions for failure to report suspicious orders of prescription opioids and

lobbied Congress to strip the DEA of its ability to immediately suspend registrations pending

investigation by passing the “Ensuring Patient Access and Effective Drug Enforcement Act.”407

        646.     The Distributor Defendants developed “know your customer” questionnaires and

files. This information, compiled pursuant to comments from the DEA in 2006 and 2007 was

intended to help the RICO Diversion Defendants identify suspicious orders or customers who were

likely to divert prescription opioids.408 On information and belief, the “know your customer”

questionnaires informed the RICO Diversion Defendants of the number of pills that the pharmacies

sold, how many non-controlled substances are sold compared to controlled substances, whether

the pharmacy buys from other distributors, the types of medical providers in the area, including




407
    See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016, updated
July 6, 2016), http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-
alliance/; Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid
Epidemic Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-
slowed-enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had no
Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.
408
   Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug Enforcement
Administration (available at
https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf); Richard Widup, Jr.,
Kathleen H. Dooley, Esq. Pharmaceutical Production Diversion: Beyond the PDMA, Purdue Pharma and
McGuireWoods LLC, (available at https://www.mcguirewoods.com/news-
resources/publications/lifesciences/product_diversion_beyond_pdma.pdf).




                                                      264
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 270 of 314 Pageid#: 270




pain clinics, general practitioners, hospice facilities, cancer treatment facilities, among others, and

these questionnaires put the recipients on notice of suspicious orders.

        647.     The RICO Diversion Defendants purchased nationwide, regional, state, and local

prescriber- and patient-level data from the Data Vendors that allowed them to track prescribing

trends, identify suspicious orders, identify patients who were doctor shopping, identify pill mills,

etc. The Data Vendors’ information purchased by the RICO Diversion Defendants allowed them

to view, analyze, compute, and track their competitors sales, and to compare and analyze market

share information.409

        648.     IMS, for example, IMS provided the RICO Diversion Defendants with reports

detailing prescriber behavior and the number of prescriptions written between competing

products.410




409
   A Verispan representative testified that the RICO Defendants use the prescribing information to “drive market
share.” Sorrell v. IMS Health Inc., 2011 WL 661712, *9-10 (Feb. 22, 2011).
410
    Paul Kallukaran & Jerry Kagan, Data Mining at IMS HEALTH: How we Turned a Mountain of Data into a Few
Information-rich Molehills, (accessed on February 15, 2018),
http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.198.349&rep=rep1&type=pdf, Figure 2 at p.3.




                                                       265
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 271 of 314 Pageid#: 271




           649.     Similarly, Wolters Kluwer, an entity that eventually owned data mining companies

that were created by McKesson (Source) and Cardinal Health (ArcLight), provided the RICO

Defendants with charts analyzing the weekly prescribing patterns of multiple physicians,

organized by territory, regarding competing drugs, and analyzed the market share of those drugs.411




411
      Sorrell v. IMS Health Inc., 2011 WL 705207, *467-471 (Feb. 22, 2011).




                                                         266
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 272 of 314 Pageid#: 272




                                     267
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 273 of 314 Pageid#: 273




        650.     This information allowed the RICO Diversion Defendants to track and identify

instances of, overprescribing.412         In fact, one of the Data Venders’ experts testified that a




412
    See Sorrell v. IMS Health Inc., 2011 WL 1449043, *37-38 (March 24, 2011) (arguing that data had been used to
“identify overuse of antibiotics in children,” and “whether there is a wide use of anthrax prophylactic medicines
after the scares happened in 2001.”). The Data Vender Respondents also cited evidence from the trial court proving
that “because analysis of PI data makes it possible to ‘identify overuse of a pharmaceutical in specific conditions,
the government employs the data to monitor usage of controlled substances.” Id.




                                                        268
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 274 of 314 Pageid#: 274




manufacturer of “narcotic analgesics” used the Data Venders’ information to track, identify, report

and halt suspicious orders of controlled substances.413




         651.     The RICO Diversion Defendants were, therefore, collectively aware of the

suspicious orders that flowed daily from their manufacturing and distribution facilities.

         652.     The RICO Diversion Defendants refused to identify, investigate and report

suspicious orders to the DEA when they became aware of the same despite their actual knowledge

of drug diversion rings. The RICO Diversion Defendants refused to identify suspicious orders and

diverted drugs despite the DEA issuing final decisions against the Distributor Defendants in 178




413
    Id. at *38. Eugene “Mick” Kolassa testified as an expert on behalf of the Data Vender stating that "a firm that
sells narcotic analgesics was able to use prescriber-identifiable information to identify physicians that seemed to be
prescribing an inordinately high number of prescriptions for their product.” Id; see also Joint Appendix in Sorrell v.
IMS Health, 2011 WL 687134, at *204 (Feb. 22, 2011).




                                                         269
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 275 of 314 Pageid#: 275




registrant actions between 2008 and 2012414 and 117 recommended decision in registrant actions

from The Office of Administrative Law Judges. These numbers include seventy-six (76) actions

involving orders to show cause and forty-one (41) actions involving immediate suspension orders

– all for failure to report suspicious orders.415

            653.   Defendants’ scheme had a decision-making structure driven by the Manufacturer

Defendants and corroborated by the Distributor Defendants. The Manufacturer Defendants worked

together to control the State and Federal Government’s response to the manufacture and

distribution of prescription opioids by increasing production quotas through a systematic refusal

to maintain effective controls against diversion, and identify suspicious orders and report them to

the DEA.

            654.   The RICO Diversion Defendants worked together to control the flow of information

and influence state and federal governments and political candidates to pass legislation that was

pro-opioid. The Manufacturer and Distributor Defendants did this through their participation in

the PCF and HDA.

            655.   The RICO Diversion Defendants also worked together to ensure that the Aggregate

Production Quotas, Individual Quotas and Procurement Quotas allowed by the DEA remained

artificially high and ensured that suspicious orders were not reported to the DEA in order to ensure

that the DEA had no basis for refusing to increase or decrease production quotas due to diversion.

The RICO Diversion Defendants influenced the DEA production quotas in the following ways:




414
  Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
415
      Id.




                                                       270
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 276 of 314 Pageid#: 276




       656.    The scheme devised and implemented by the RICO Diversion Defendants

amounted to a common course of conduct characterized by a refusal to maintain effective controls

against diversion, and all designed and operated to ensure the continued unlawful sale of controlled

substances.

       C.      PATTERN OF RACKETEERING ACTIVITY.

       657.    The RICO Diversion Defendants conducted and participated in the conduct of the

Opioid Diversion Enterprise through a pattern of racketeering activity as defined in 18 U.S.C. §

1961(1)(D), including ; the felonious manufacture, importation, receiving, concealment buying

selling, or otherwise dealing in a controlled substance or listed chemical (as defined in section 102

of the Controlled Substance Act), punishable under any law of the United States; and 18 U.S.C.

1961(1)(B), including mail fraud (18 U.S.C. § 1341) and wire fraud (18 U.S.C. § 1343).

                       1. The RICO Diversion Defendants Manufactured, Sold and/or Dealt
                          in Controlled Substances and Their Actions Constitute Crimes
                          Punishable as Felonies.

       658.    The RICO Diversion Defendants conducted and participated in the conduct of the

affairs of the Opioid Diversion Enterprise through a pattern of racketeering activity as defined in

18 U.S.C. § 1961(1)(D) by the felonious manufacture, importation, receiving, concealment,

buying, selling, or otherwise dealing in a controlled substance or listed chemical (as defined in

section 102 of the Controlled Substance Act), punishable under any law of the United States.

       659.    The RICO Diversion Defendants committed crimes that are punishable as felonies

under the laws of the United States. Specifically, 21 U.S.C. § 843(a)(4) makes it unlawful for any

person to knowingly or intentionally furnish false or fraudulent information in, or omit any

material information from, any application, report, record or other document required to be made,




                                                271
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 277 of 314 Pageid#: 277




kept or filed under this subchapter. A violation of section 843(a)(4) is punishable by up to four

years in jail, making it a felony. 21 U.S.C. § 843(d)(1).

       660.    Each of the RICO Diversion Defendants qualifies as a registrant under the CSA.

Their status as registrants under the CSA requires that they maintain effective controls against

diversion of controlled substances in schedule I or II, design and operate a system to disclose to

the registrant suspicious orders of controlled substances and inform the DEA of suspicious orders

when discovered by the registrant. 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b).

       661.    The CSA and the Code of Federal Regulations, require the RICO Diversion

Defendants to make reports to the DEA of any suspicious orders identified through the design and

operation of their system to disclose suspicious orders. The failure to make reports as required by

the CSA and Code of Federal Regulations amounts to a criminal violation of the statute.

       662.    The RICO Diversion Defendants knowingly and intentionally furnished false or

fraudulent information in their reports to the DEA about suspicious orders, and/or omitted material

information from reports, records and other document required to be filed with the DEA including

the Manufacturer Defendants’ applications for production quotas. Specifically, the RICO

Diversion Defendants were aware of suspicious orders of prescription opioids and the diversion of

their prescription opioids into the illicit market, and failed to report this information to the DEA in

their mandatory reports and their applications for production quotas.

       663.    Upon information and belief, the foregoing examples reflect the RICO Diversion

Defendants’ pattern and practice of willfully and intentionally omitting information from their

mandatory reports to the DEA as required by 21 C.F.R. § 1301.74. The sheer volume of




                                                 272
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 278 of 314 Pageid#: 278




enforcement actions available in the public record against the Distributor Defendants supports this

conclusion.416 For example:

        664.     On April 24, 2007, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the AmerisourceBergen Orlando, Florida distribution center (“Orlando

Facility”) alleging failure to maintain effective controls against diversion of controlled substances.

On June 22, 2007, AmerisourceBergen entered into a settlement that resulted in the suspension of

its DEA registration.

        665.     On November 28, 2007, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Auburn, Washington Distribution Center (“Auburn

Facility”) for failure to maintain effective controls against diversion of hydrocodone.

        666.     On December 5, 2007, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center (“Lakeland

Facility”) for failure to maintain effective controls against diversion of hydrocodone.

        667.     On December 7, 2007, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Swedesboro, New Jersey Distribution Center

(“Swedesboro Facility”) for failure to maintain effective controls against diversion of

hydrocodone.

        668.     On January 30, 2008, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Stafford, Texas Distribution Center (“Stafford

Facility”) for failure to maintain effective controls against diversion of hydrocodone.




416
  Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.




                                                       273
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 279 of 314 Pageid#: 279




       669.    On May 2, 2008, McKesson Corporation entered into an Administrative

Memorandum of Agreement (“2008 MOA”) with the DEA which provided that McKesson would

“maintain a compliance program designed to detect and prevent the diversion of controlled

substances, inform DEA of suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the

procedures established by its Controlled Substance Monitoring Program.”

       670.    On September 30, 2008, Cardinal Health entered into a Settlement and Release

Agreement and Administrative Memorandum of Agreement with the DEA related to its Auburn

Facility, Lakeland Facility, Swedesboro Facility and Stafford Facility.        The document also

referenced allegations by the DEA that Cardinal failed to maintain effective controls against the

diversion of controlled substances at its distribution facilities located in McDonough, Georgia

(“McDonough Facility”), Valencia, California (“Valencia Facility”) and Denver, Colorado

(“Denver Facility”).

       671.    On February 2, 2012, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center (“Lakeland

Facility”) for failure to maintain effective controls against diversion of oxycodone.

       672.    On May, 14, 2012, Cardinal Health entered into an Administrative Memorandum

of Agreement with the DEA in which, among other things, Cardinal Health “admits that its due

diligence efforts for some pharmacy customers and its compliance with the 2008 MOA, in certain

respects, were inadequate.”

       673.    Thereafter, on December 23, 2016, Cardinal Health agreed to pay a $44 million

fine to the DEA to resolve the civil penalty portion of the administrative action taken against its

Lakeland, Florida Distribution Center.




                                                274
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 280 of 314 Pageid#: 280




       674.    On January 5, 2017, McKesson Corporation entered into an Administrative

Memorandum Agreement with the DEA wherein it agreed to pay a $150,000,000 civil penalty for

violation of the 2008 MOA as well as failure to identify and report suspicious orders at its facilities

in Aurora CO, Aurora IL, Delran NJ, LaCrosse WI, Lakeland FL, Landover MD, La Vista NE,

Livonia MI, Methuen MA, Santa Fe Springs CA, Washington Courthouse OH and West

Sacramento CA.

      675.     In its Administrative Memorandum Agreement, McKesson acknowledged its

wrongdoing and failure to comply with the obligations imposed by the CSA:

       676.    On April 23, 2015, McKesson filed a Form-8-K announcing a settlement with the




DEA and DOJ wherein it admitted to violating the CSA and agreed to pay $150 million and have

some of its DEA registrations suspended on a staggered basis.




                                                 275
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 281 of 314 Pageid#: 281




        677.    In 2016, the Los Angeles Times reported that Purdue was aware of a pill mill

operating out of Los Angeles yet failed to alert the DEA. The LA Times uncovered that Purdue

began tracking a surge in prescriptions in Los Angeles, including one prescriber in particular.

Documents published by the L.A. Times reveal that a Purdue sales manager spoke with company

officials, asking:

        678.    Purdue was clearly aware of diversion. As a registrant, Purdue has the same

obligation to report suspicious orders as a wholesale distributor. Although Purdue claimed that it

was considering making a report to the DEA, it shirked its responsibility, claimed that it was the

wholesaler's responsibility and then reserved the right to make the report:

        679.    Despite its knowledge of obvious diversion, "Purdue did not shut off the supply of

highly addictive OxyContin and did not tell authorities what it knew about [a pill mill] until several

years later when the clinic was out of business and its leaders indicted. By that time, 1.1 million

pills had spilled into the hands of Armenian mobsters, the Crips gang and other criminals."

        680.    Finally, Mallinckrodt was recently the subject of a DEA and Senate investigation

for its opioid practices. Specifically, in 2011, the DEA targeted Mallinckrodt arguing that it

ignored its responsibility to report suspicious orders as 500 million of its pills ended up in Florida

between 2008 and 2012. After six years of DEA investigation, Mallinckrodt agreed to a settlement

involving a $35 million fine. Federal prosecutors summarized the case by saying that

Mallinckrodt's response was that everyone knew what was going on in Florida but they had no

duty to report it.

        681.    These actions against the Distributor Defendants confirm that the Distributor

Defendants knew they had a duty to maintain effective controls against diversion, design and

operate a system to disclose suspicious orders, and to report suspicious orders to the DEA. These




                                                 276
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 282 of 314 Pageid#: 282




actions also demonstrate, on information and belief, that the Manufacturer Defendants were aware

of the enforcement against their Distributors and the diversion of the prescription opioids and a

corresponding duty to report suspicious orders.

       682.    The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court.

       683.    Many of the precise dates of the RICO Diversion Defendants’ criminal actions at

issue herein were hidden and cannot be alleged without access to their books and records. Indeed,

an essential part of the successful operation of the Opioid Diversion Enterprise depended upon the

secrecy of the participants in that enterprise.

       684.    Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, Plaintiff’s Community and the Plaintiff. Defendants calculated

and intentionally crafted the diversion scheme to increase and maintain profits from unlawful sales

of opioids, without regard to the effect such behavior would have on this jurisdiction, its citizens

or the Plaintiff. The Defendants were aware that the Plaintiff and the citizens of this jurisdiction

rely on the Defendants to maintain a closed system of manufacturing and distribution to protect

against the non-medical diversion and use of their dangerously addictive opioid drugs.

       685.    By intentionally refusing to report and halt suspicious orders of their prescription

opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

a pattern of racketeering activity.

       686.    The RICO Diversion Defendants’ predicate acts and pattern of racketeering activity

were a substantial and foreseeable cause of the Plaintiff’s injury and the relationship between the




                                                  277
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 283 of 314 Pageid#: 283




RICO Diversion Defendants’ conduct and the Plaintiff’s injury are logical and not speculative. It

was foreseeable to the RICO Diversion Defendants that when they refused to identify, report and

halt suspicious orders as required by the CSA and Code of Federal Regulations, it would allow the

wide-spread diversion of prescriptions opioids into the illicit market and create an opioid-addiction

epidemic that logically, substantially, and foreseeably harmed the Plaintiff.

       687.    The RICO Diversion Defendants’ predicate acts and pattern of racketeering activity

were a substantial and foreseeable cause of the Plaintiff’s injury and the relationship between the

RICO Diversion Defendants’ conduct and the Plaintiff’s injury is logical and not speculative. It

was foreseeable to the RICO Diversion Defendants that when they fraudulently marketed highly-

addictive and dangerous drugs, that were approved for very limited and specific uses by the FDA,

as non-addictive and safe for off-label uses such as moderate pain, non-cancer pain, and long-term

chronic pain, that the RICO Diversion Defendants would create an opioid-addiction epidemic that

logically, substantially and foreseeably harmed the Plaintiff.

       The last racketeering incident occurred within five years of the commission of a prior

incident of racketeering.

                       2. The RICO Diversion Defendants Engaged in Mail and Wire Fraud.

       688.    The RICO Diversion Defendants carried out, or attempted to carry out, a scheme to

defraud federal and state regulators, and the American public by knowingly conducting or

participating in the conduct of the Opioid Diversion Enterprise through a pattern of racketeering

activity within the meaning of 18 U.S.C. § 1961(1) that employed the use of mail and wire

facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

       689.    The RICO Diversion Defendants committed, conspired to commit, and/or aided and

abetted in the commission of at least two predicate acts of racketeering activity (i.e. violations of




                                                278
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 284 of 314 Pageid#: 284




18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of racketeering activity

that the RICO Diversion Defendants committed, or aided and abetted in the commission of, were

related to each other, posed a threat of continued racketeering activity, and therefore constitute a

“pattern of racketeering activity.” The racketeering activity was made possible by the RICO

Diversion Defendants’ regular use of the facilities, services, distribution channels, and employees

of the Opioid Diversion Enterprise. The RICO Diversion Defendants participated in the scheme to

defraud by using mail, telephone and the Internet to transmit mailings and wires in interstate or

foreign commerce.

        690.    The RICO Diversion Defendants used, directed the use of, and/or caused to be used,

thousands of interstate mail and wire communications in service of their scheme through virtually

uniform misrepresentations, concealments and material omissions regarding their compliance with

their mandatory reporting requirements and the actions necessary to carry out their unlawful goal

of selling prescription opioids without reporting suspicious orders or the diversion of opioids into

the illicit market.

        691.    In devising and executing the illegal scheme, the RICO Diversion Defendants

devised and knowingly carried out a material scheme and/or artifice to defraud by means of

materially false or fraudulent pretenses, representations, promises, or omissions of material facts.

For the purpose of executing the illegal scheme, the RICO Diversion Defendants committed these

racketeering acts, which number in the thousands, intentionally and knowingly with the specific

intent to advance the illegal scheme.

        692.    The RICO Diversion Defendants’ predicate acts of racketeering (18 U.S.C. §

1961(1)) include, but are not limited to:




                                                279
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 285 of 314 Pageid#: 285




   a. Mail Fraud: The RICO Defendants violated 18 U.S.C. § 1341 by sending or receiving, or

       by causing to be sent and/or received, materials via U.S. mail or commercial interstate

       carriers for the purpose of executing the unlawful scheme to design, manufacture, market,

       and sell the prescription opioids by means of false pretenses, misrepresentations, promises,

       and omissions.

   b. Wire Fraud: The RICO Defendants violated 18 U.S.C. § 1343 by transmitting and/or

       receiving, or by causing to be transmitted and/or received, materials by wire for the purpose

       of executing the unlawful scheme to design, manufacture, market, and sell the prescription

       opioids by means of false pretenses, misrepresentations, promises, and omissions.

       693.      The RICO Diversion Defendants’ use of the mail and wires includes, but is not

limited to, the transmission, delivery, or shipment of the following by the Manufacturers,

Distributors, or third parties that were foreseeably caused to be sent as a result of the RICO

Diversion Defendants’ illegal scheme, including but not limited to:

   a. The prescription opioids themselves;

   b. Documents and communications that supported and/or facilitated the Defendants’ request

       for higher aggregate production quotas, individual production quotas, and procurement

       quotas;

   c. Documents and communications that facilitated the manufacture, purchase and sale of

       prescription opioids;

   d. Defendants’ DEA registrations;

   e. Documents and communications that supported and/or facilitated Defendants’ DEA

       registrations;




                                               280
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 286 of 314 Pageid#: 286




   f. Defendants’ records and reports that were required to be submitted to the DEA pursuant to

      21 U.S.C. § 827;

   g. Documents and communications related to the Defendants’ mandatory DEA reports

      pursuant to 21 U.S.C. § 823 and 21 C.F.R. § 1301.74;

   h. Documents intended to facilitate the manufacture and distribution of Defendants’

      prescription opioids, including bills of lading, invoices, shipping records, reports and

      correspondence;

   i. Documents for processing and receiving payment for prescription opioids;

   j. Payments from the Distributors to the Manufacturers;

   k. Rebates and chargebacks from the Manufacturers to the Distributors;

   l. Payments to Defendants’ lobbyists through the PCF;

   m. Payments to Defendants’ trade organizations, like the HDA, for memberships and/or

      sponsorships;

   n. Deposits of proceeds from Defendants’ manufacture and distribution of prescription

      opioids; and

   o. Other documents and things, including electronic communications.

   694.       On information and belief, the RICO Diversion Defendants (and/or their agents),

      for the purpose of executing the illegal scheme, sent and/or received (or caused to be sent

      and/or received) by mail or by private or interstate carrier, shipments of prescription

      opioids and related documents by mail or by private carrier affecting interstate commerce,

      including the following:




                                              281
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 287 of 314 Pageid#: 287




                                        Drugs
 Defendant
 Group Name Company Names               Drug Name        Chemical Name      CSA
                                                                            Schedule
                                                         Oxycodone
                                        OxyContin        hydrochloride      Schedule II
                                                         extended release
                                                         Morphine sulfate
                                       MS Contin                            Schedule II
                                                         extended release
                (1) Purdue Pharma, LP,                   Hydromorphone
                (2) Purdue Pharma,     Dilaudid                             Schedule II
                                                         hydrochloride
 Purdue         Inc.,                                    Hydromorphone
                (3) The Purdue         Dilaudid-HP                          Schedule II
                                                         hydrochloride
                Frederick Company
                                       Butrans           Buprenorphine      Schedule II
                                                         Hydrocodone
                                        Hysinga ER                          Schedule II
                                                         bitrate
                                                         Oxycodone
                                        Targiniq ER                         Schedule II
                                                         hydrochloride
                (1) Cephalon, Inc.,
                (2) Teva                Actiq            Fentanyl citrate   Schedule II
                Pharmaceutical
 Cephalon       Industries, Ltd.,       Fentora          Fentanyl citrate   Schedule II
                (3) Teva
                Pharmaceuticals USA,    Generic        Oxycodone            Schedule II
                Inc.                    oxycontin      hydrochloride
                                                       Oxymorphone
                                        Opana ER       hydrochloride        Schedule II
                                                       extended release
                                                       Oxymorphone
                (1) Endo Health         Opana                               Schedule II
                                                       hydrochloride
                Solutions, Inc.,                       Oxymorphone
                (2) Endo                Percodan       hydrochloride and    Schedule II
                Pharmaceuticals Inc.,                  aspirin
 Endo           (3) Qualitest                          Oxymorphone
                Pharmaceuticals, Inc.   Percocet       hydrochloride and    Schedule II
                (wholly-owned                          acetaminophen
                subsidiary of Endo)
                                        Generic oxycodone                   Schedule II
                                        Generic oxymorphone                 Schedule II
                                        Generic hydromorphone               Schedule II
                                        Generic hydrocodone                 Schedule II
                (1) Mallinckrodt PLC,                     Hydromorphone
                (2) Mallinckrodt LLC    Exalgo                              Schedule II
                                                          hydrochloride
 Mallinckrodt   (wholly-owned
                subsidiary of                              Oxycodone
                                        Roxicodone                          Schedule II
                Mallinckrodt PLC)                          hydrochloride
                (1) Allergan Plc,                          Morphine
                                        Kadian                              Schedule II
                (2) Actavis LLC,                           Sulfate
 Allergan       (3) Actavis Pharma,                        Hydrocodone
                Inc.,                   Norco (Generic     and              Schedule II
                (4) Actavis Plc,        of Kadian)         acetaminophen




                                           282
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 288 of 314 Pageid#: 288




                                              Drugs
 Defendant
 Group Name Company Names                     Drug Name         Chemical Name          CSA
                                                                                       Schedule
                  (5) Actavis, Inc.,          Generic
                  (6) Watson                                       Fentanyl            Schedule II
                                              Duragesic
                  Pharmaceuticals, Inc.,
                  (7) Watson Pharma,                               Oxymorphone
                  Inc.                        Generic Opana                            Schedule II
                                                                   hydrochloride

       695.    Each of the RICO Diversion Defendants identified manufactured, shipped, paid for

and received payment for the drugs identified above, throughout the United States.

       696.    The RICO Diversion Defendants also used the internet and other electronic

facilities to carry out their scheme and conceal the ongoing fraudulent activities. Specifically, the

RICO Diversion Defendants made misrepresentations about their compliance with Federal and

State laws requiring them to identify, investigate and report suspicious orders of prescription

opioids and/or diversion of the same into the illicit market.

       697.    At the same time, the RICO Diversion Defendants misrepresented the superior

safety features of their order monitoring programs, ability to detect suspicious orders, commitment

to preventing diversion of prescription opioids, and their compliance with all state and federal

regulations regarding the identification and reporting of suspicious orders of prescription opioids.

       698.    Upon information and belief, the RICO Diversion Defendants utilized the internet

and other electronic resources to exchange communications, to exchange information regarding

prescription opioid sales, and to transmit payments and rebates/chargebacks.

       699.    The RICO Diversion Defendants also communicated by U.S. Mail, by interstate

facsimile, and by interstate electronic mail with each other and with various other affiliates,

regional offices, regulators, distributors, and other third-party entities in furtherance of the scheme.

       700.    The mail and wire transmissions described herein were made in furtherance of

Defendants’ scheme and common course of conduct to deceive regulators, the public and the




                                                  283
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 289 of 314 Pageid#: 289




Plaintiff that Defendants were complying with their state and federal obligations to identify and

report suspicious orders of prescription opioids all while Defendants were knowingly allowing

millions of doses of prescription opioids to divert into the illicit drug market. The RICO Diversion

Defendants’ scheme and common course of conduct was to increase or maintain high production

quotas for their prescription opioids from which they could profit.

       701.    Many of the precise dates of the fraudulent uses of the U.S. mail and interstate wire

facilities have been deliberately hidden by Defendants and cannot be alleged without access to

Defendants’ books and records. However, Plaintiff had described the types of, and in some

instances, occasions on which the predicate acts of mail and/or wire fraud occurred. They include

thousands of communications to perpetuate and maintain the scheme, including the things and

documents described in the preceding paragraphs.

       702.    The RICO Diversion Defendants did not undertake the practices described herein

in isolation, but as part of a common scheme. Various other persons, firms, and corporations,

including third-party entities and individuals not named as defendants in this Complaint, may have

contributed to and/or participated in the scheme with the RICO Diversion Defendants in these

offenses and have performed acts in furtherance of the scheme to increase revenues, increase

market share, and /or minimize the losses for the RICO Diversion Defendants.

       703.    The RICO Diversion Defendants aided and abetted others in the violations of the

above laws, thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343

offenses.

       704.    The RICO Diversion Defendants hid from the general public and suppressed and/or

ignored warnings from third parties, whistleblowers and governmental entities about the reality of




                                                284
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 290 of 314 Pageid#: 290




the suspicious orders that the RICO Diversion Defendants were filling on a daily basis – leading

to the diversion of hundreds of millions of doses of prescriptions opioids into the illicit market.

       705.    The RICO Diversion Defendants, with knowledge and intent, agreed to the overall

objective of their fraudulent scheme and participated in the common course of conduct to commit

acts of fraud and indecency in manufacturing and distributing prescription opioids.

       706.    Indeed, for the Defendants’ fraudulent scheme to work, each of the Defendants had

to agree to implement similar tactics regarding manufacturing prescription opioids and refusing to

report suspicious orders.

       707.    As described herein, the RICO Diversion Defendants engaged in a pattern of related

and continuous predicate acts for years. The predicate acts constituted a variety of unlawful

activities, each conducted with the common purpose of obtaining significant monies and revenues

from the sale of their highly addictive and dangerous drugs. The predicate acts also had the same

or similar results, participants, victims, and methods of commission. The predicate acts were

related and not isolated events.

       708.    The predicate acts all had the purpose of creating the opioid epidemic that

substantially injured the Plaintiff’s business and property, while simultaneously generating billion-

dollar revenue and profits for the RICO Diversion Defendants. The predicate acts were committed

or caused to be committed by the RICO Diversion Defendants through their participation in the

Opioid Diversion Enterprise and in furtherance of its fraudulent scheme.

       709.    The pattern of racketeering activity alleged herein and the Opioid Diversion

Enterprise are separate and distinct from each other. Likewise, Defendants are distinct from the

enterprise.




                                                 285
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 291 of 314 Pageid#: 291




       710.    The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future unless enjoined by

this Court.

       711.    Many of the precise dates of the RICO Diversion Defendants’ criminal actions at

issue here have been hidden by Defendants and cannot be alleged without access to Defendants’

books and records. Indeed, an essential part of the successful operation of the Opioid Diversion

Enterprise alleged herein depended upon secrecy.

       712.    Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including Plaintiff’s Community and the Plaintiff. Defendants

calculated and intentionally crafted the Opioid Diversion Enterprise and their scheme to increase

and maintain their increased profits, without regard to the effect such behavior would have on

Plaintiff’s Community, its citizens or the Plaintiff. In designing and implementing the scheme, at

all times Defendants were cognizant of the fact that those in the manufacturing and distribution

chain rely on the integrity of the pharmaceutical companies and ostensibly neutral third parties to

provide objective and reliable information regarding Defendants’ products and their manufacture

and distribution of those products. The Defendants were also aware that the Plaintiff and the

citizens of this jurisdiction rely on the Defendants to maintain a closed system and to protect

against the non-medical diversion and use of their dangerously addictive opioid drugs.

       713.    By intentionally refusing to report and halt suspicious orders of their prescription

opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

a pattern of racketeering activity.




                                               286
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 292 of 314 Pageid#: 292




           714.     It was foreseeable to Defendants that the Plaintiff would be harmed when they

refused to report and halt suspicious orders, because their violation of the duties imposed by the

CSA and Code of Federal Regulations allowed the widespread diversion of prescription opioids

out of appropriate medical channels and into the illicit drug market – causing the opioid epidemic

that the CSA intended to prevent.

           715.     The last racketeering incident occurred within five years of the commission of a

prior incident of racketeering.

           D.       DAMAGES.

           716.     The RICO Diversion Defendants’ violations of law and their pattern of racketeering

activity directly and proximately caused the Plaintiff’s injury in its business and property. The

RICO Diversion Defendants’ pattern of racketeering activity, including their refusal to identify,

report and halt suspicious orders of controlled substances, logically, substantially and foreseeably

cause an opioid epidemic. The Plaintiff was injured by the RICO Diversion Defendants’ pattern

of racketeering activity and the opioid epidemic that they created.

           717.     As the Plaintiff alleges, the RICO Diversion Defendants knew that the opioids they

manufactured and supplied were unsuited to treatment of long-term, chronic, non-acute, and non-

cancer pain, or for any other use not approved by the FDA, and knew that opioids were highly

addictive and subject to abuse. 417 Nevertheless, the RICO Diversion Defendants engaged in a

scheme of deception, that utilized the mail and wires as part of their fraud, in order to increase

sales of their opioid products by refusing to identify, report suspicious orders of prescription




417
      Traveler’s Property Casualty Company of America v. Actavis, Inc., 22 Cal. Rptr. 3d 5, 19 (Cal. Ct. App. 2017).




                                                          287
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 293 of 314 Pageid#: 293




opioids that they knew were highly addictive, subject to abuse, and were actually being diverted

into the illegal market.418

            718.    Here, as the Plaintiff alleges, the link of causation generally breaks down into three

very short steps: (1) the RICO Diversion Defendants’ affirmative action to continue supplying

prescription opioids through legal channels with knowledge that they were being diverted into the

illicit market; (2) an opioid epidemic in the form of criminal drug trafficking, misuse and abuse;

and (3) injuries to the Plaintiff.419 Although not as direct as a car accident or a slip-and-fall case,

this causal chain is still a “direct sequence” and a logical, substantial and foreseeable cause of the

Plaintiff’s injury.420

            719.    Specifically, the RICO Diversion Defendants’ predicate acts and pattern of

racketeering activity caused the opioid epidemic which has injured the Plaintiff in the form of

substantial losses of money and property that logically, directly and foreseeably arise from the

opioid-addiction epidemic. The Plaintiff’s injuries, as alleged throughout this complaint, and

expressly incorporated herein by reference, include:

            a. Losses caused by purchasing and/or paying reimbursements for the RICO Defendants’

               prescription opioids, that the Plaintiff would not have paid for or purchased but for the

               RICO Diversion Defendants’ conduct;

            b. Losses caused by the decrease in funding available for the Plaintiff’s public services

               for which funding was lost because it was diverted to other public services designed to

               address the opioid epidemic;



418
      City of Everett v. Purdue Pharma L.P., 2017 WL 4236062, *6 (W.D. Wash. Sept. 25, 2017).
419
      Id.
420
      Id.




                                                        288
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 294 of 314 Pageid#: 294




      c. Costs for providing healthcare and medical care, additional therapeutic, and

         prescription drug purchases, and other treatments for patients suffering from opioid-

         related addiction or disease, including overdoses and deaths;

      d. Costs of training emergency and/or first responders in the proper treatment of drug

         overdoses;

      e. Costs associated with providing police officers, firefighters, and emergency and/or first

         responders with Naloxone – an opioid antagonist used to block the deadly effects of

         opioids in the context of overdose;

      f. Costs associated with emergency responses by police officers, firefighters, and

         emergency and/or first responders to opioid overdoses;

      g. Costs for providing mental-health services, treatment, counseling, rehabilitation

         services, and social services to victims of the opioid epidemic and their families;

      h. Costs for providing treatment of infants born with opioid-related medical conditions,

         or born addicted to opioids due to drug use by mother during pregnancy;

      i. Costs associated with law enforcement and public safety relating to the opioid

         epidemic, including but not limited to attempts to stop the flow of opioids into local

         communities, to arrest and prosecute street-level dealers, to prevent the current opioid

         epidemic from spreading and worsening, and to deal with the increased levels of crimes

         that have directly resulted from the increased homeless and drug-addicted population;

      j. Costs associated with increased burden on the Plaintiff’s judicial system, including

         increased security, increased staff, and the increased cost of adjudicating criminal

         matters due to the increase in crime directly resulting from opioid addiction that

         include, but are not limited to, increased incarceration and pre-trial detention rates;




                                               289
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 295 of 314 Pageid#: 295




       k. Costs associated with providing care for children whose parents suffer from opioid-

           related disability or incapacitation;

       l. Loss of tax revenue due to the decreased efficiency and size of the working population

           in Plaintiff’s Community;

       m. Losses caused by diminished property values in neighborhoods where the opioid

           epidemic has taken root; and

       n. Losses caused by diminished property values in the form of decreased business

           investment and tax revenue.

       720.    The Plaintiff’s injuries were proximately caused by Defendants’ racketeering

activities because they were the logical, substantial and foreseeable cause of the Plaintiff’s injuries.

But for the opioid-addiction epidemic created by Defendants’ conduct, the Plaintiff would not have

lost money or property.

       721.    The Plaintiff’s injuries were directly caused by the RICO Diversion Defendants’

pattern of racketeering activities.

       722.    The Plaintiff’s are most directly harmed and there is no other Plaintiff better suited

to seek a remedy for the economic harms at issue here.

       723.    Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

attorney’s fees and all costs and expenses of suit and pre- and post-judgment interest.

                                                   COUNT IV
       NEGLIGENCE AND NEGLIGENT MISREPRESENTATION
                       (Against All Defendants)
       724.    Plaintiff incorporatse by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.




                                                   290
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 296 of 314 Pageid#: 296




       725.    Plaintiff seeks economic damages which were the foreseeable result of

Defendants’ intentional and/or unlawful actions and omissions.

       726.    Under State law, to establish actionable negligence, one must show in addition to

the existence of a duty, a breach of that duty, a casual connect between the breach of duty and

injuries, and damages resulting proximately therefrom. All such essential elements exist here.

       727.    Each Defendant had an obligation to exercise reasonable care in manufacturing,

marketing, selling, and distributing highly dangerous opioid drugs to the State and Plaintiff’s

Community.

       728.    Each Defendant had an obligation to exercise due care in manufacturing,

marketing, selling, and distributing highly dangerous opioid drugs in the State and Plaintiff’s

Community.

       729.    The existence of a duty depends on the foreseeability of the injury.          Each

Defendant owed a duty to the Plaintiff and to Plaintiff’s Community because the injuries alleged

herein were foreseeable, and in fact foreseen, by the Defendants.

       730.    Reasonably prudent manufacturers and distributors of prescription opioids would

have anticipated that the scourge of opioid addiction would wreak havoc on communities, and the

significant costs which would be imposed upon the governmental entities associated with those

communities. The closed system of opioid distribution whereby wholesale distributors are the

gatekeepers between manufacturers and pharmacies, and wherein all links in the chain have a

duty to prevent diversion, exists for the purpose of controlling dangerous substances such as

opioids and preventing diversion and abuse.

       731.    Reasonably prudent manufacturers of pharmaceutical products would know that

aggressively pushing highly addictive opioids for chronic pain would result in the severe harm of

addiction, foreseeably causing patients to seek increasing levels of opioids, frequently turning to

the illegal drug market as a result of a drug addiction that was foreseeable to the Manufacturer

Defendants.




                                                291
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 297 of 314 Pageid#: 297




          732.   Moreover, Defendants were repeatedly warned by law enforcement of the

unlawfulness and consequences of their actions and omissions.

          733.   The escalating amounts of addictive drugs flowing through Defendants’

businesses, and the sheer volume of these prescription opioids, further alerted Defendants that

addiction was fueling increased consumption and that legitimate medical purposes were not being

served.

          734.   As described above in language expressly incorporated herein, Distributor

Defendants breached their duties to exercise due care in the business of wholesale distribution of

dangerous opioids, which are Schedule II Controlled Substances, by failing to monitor for, failing

to report, and filling highly suspicious orders time and again. Because the very purpose of these

duties was to prevent the resulting harm – diversion of highly addictive drugs for non-medical

purposes – the causal connection between Defendants’ breach of duties and the ensuing harm was

entirely foreseeable.

          735.   As described elsewhere in the Complaint in language expressly incorporated

herein, Distributor Defendants misrepresented their compliance with their duties under the law

and concealed their noncompliance and shipments of suspicious orders of opioids to Plaintiff’s

Community and destinations from which they knew opioids were likely to be diverted into

Plaintiff’s Community, in addition to other misrepresentations alleged and incorporated herein.

          736.   As described elsewhere in the Complaint in language expressly incorporated

herein, Manufacturer Defendants breached their duties to exercise due care in the business of

pharmaceutical manufacturers of dangerous opioids, which are Schedule II Controlled

Substances, and by misrepresenting the nature of the drugs and aggressively promoting them for

chronic pain for which they knew the drug were not safe or suitable.

          737.   The Manufacturer Defendants misrepresented and concealed the addictive nature

of prescription opioids and its lack of suitability for chronic pain, in addition to other

misrepresentations alleged and incorporated herein.




                                               292
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 298 of 314 Pageid#: 298




       738.    All Defendants breached their duties to prevent diversion and report and halt

suspicious orders, and all Defendants misrepresented their compliance with their legal duties.

       739.    Defendants’ breaches were intentional and/or unlawful, and Defendants’ conduct

was willful, wanton, malicious, reckless, oppressive, and/or fraudulent.

       740.    The causal connection between Defendants’ breaches of duties and

misrepresentations and the ensuing harm was entirely foreseeable.

       741.    As described above in language expressly incorporated herein, Defendants’

breaches of duty and misrepresentations bears a causal connection with, and/or proximately

resulted in the damages sought herein.

       742.    Defendants were selling dangerous drugs statutorily categorized as posing a high

potential for abuse and severe dependence. Defendants’ knowingly traded in drugs that presented

a high degree of danger if prescribed incorrectly or diverted to other than medical, scientific, or

industrial channels. However, Defendants breached their duties to monitor for, report, and halt

suspicious orders, breached their duties to prevent diversion, and, further, misrepresented what

their duties were and their compliance with their legal duties.

       743.    Defendants’ unlawful and/or intentional actions create a rebuttable presumption

of negligence under State law.

       744.    Plaintiff’s seek economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ actions and omissions.
       745.    Plaintiff’s seek all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including inter alia injunctive relief, restitution, disgorgement of

profits, compensatory and punitive damages, and all damages allowed by law to be paid by the

Defendants, attorney fees and costs, and pre- and post-judgment interest.




                                                293
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 299 of 314 Pageid#: 299




                                        COUNT V
                       FRAUD AND FRAUDULENT MISREPRESENTATION
                                  (Against All Defendants)

       746.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       747.    Defendants violated their general duty not to actively deceive, and have made

knowingly false statements and have omitted and/or concealed information which made

statements Defendants did make knowingly false.           Defendants acted intentionally and/or

unlawfully.

       748.    As alleged herein, Defendants made false statements regarding their compliance

with state and federal law regarding their duties to prevent diversion, their duties to monitor,

report and halt suspicious orders, and/or concealed their noncompliance with these requirements.

       749.    As alleged herein, the Manufacturer Defendants engaged in false representations

and concealments of material fact regarding the use of opioids to treat chronic non-cancer pain.

       750.    As    alleged   herein,   Defendants     knowingly    and/or    intentionally   made

representations that were false. Defendants had a duty to disclose material facts and concealed

them. These false representations and concealed facts were material to the conduct and actions at

issue. Defendants made these false representations and concealed facts with knowledge of the

falsity of their representations, and did so with the intent of misleading Plaintiff, Plaintiff’s

community, the public, and persons on whom Plaintiff relied.

       751.    These false representations and concealments were reasonably calculated to

deceive Plaintiff, Plaintiff’s Community, and the physicians who prescribed opioids for persons

in Plaintiff’s Community, were made with the intent to deceive, and did in fact deceive these

persons, Plaintiff, and Plaintiff’s Community.

       752.    Plaintiff, Plaintiff’s Community, and the physicians who prescribed opioids

reasonably relied on these false representations and concealments of material fact.




                                                  294
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 300 of 314 Pageid#: 300




       753.    Plaintiff justifiably relied on Defendants’ representations and/or concealments,

both directly and indirectly. Plaintiff’s injuries were proximately caused by this reliance.

       754.    The injuries alleged by the Plaintiff herein were sustained as a direct and proximate

cause of Defendants’ fraudulent conduct.

       755.    Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ fraudulent activity, including fraudulent misrepresentations

and fraudulent concealment.

       756.    Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the Distributor

Defendants, attorney fees and costs, and pre- and post-judgment interest.


                                              COUNT VI
                                        UNJUST ENRICHMENT
                                        (Against All Defendants)

       757.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

       758.    Defendants have unjustly retained a benefit conferred by Plaintiff to their
detriment while the Defendants’ had knowledge regarding the retention of the benefit and said

benefit violates the fundamental principles of justice, equity, and good conscience. Microstrategy,
Inc. v. Netsolve, Inc., 368 F. Supp. 2d 533, 537 (E.D. Va. 2005).


       759.    As an expected and intended result of their conscious wrongdoing as set forth in

this Complaint, Defendants have profited and benefited from the increase in the distribution and

purchase of opioids within Plaintiff’s Community, including from opioids foreseeably and

deliberately diverted within and into Plaintiff’s Community.




                                                    295
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 301 of 314 Pageid#: 301




        760.   Unjust enrichment arises not only where an expenditure by one party adds to the

property of another, but also where the expenditure saves the other from expense or loss.

        761.   Plaintiff has expended substantial amounts of money in an effort to remedy or

mitigate the societal harms caused by Defendants’ conduct.

        762.   These expenditures include the provision of healthcare services and treatment

services to people who use opioids.

        763.   These expenditures have helped sustain Defendants’ businesses.

        764.   Plaintiff has conferred a benefit upon Defendants by paying for Defendants’

externalities: the cost of the harms caused by Defendants’ improper distribution practices.

        765.   Defendants were aware of these obvious benefits, and their retention of the benefit

is unjust.

        766.   Plaintiff has paid for the cost of Defendants’ externalities and Defendants have

benefited from those payments because they allowed them to continue providing customers with

a high volume of opioid products. Because of their deceptive marketing of prescription opioids,

Manufacturer Defendants obtained enrichment they would not otherwise have obtained. Because

of their conscious failure to exercise due diligence in preventing diversion, Defendants obtained

enrichment they would not otherwise have obtained. The enrichment was without justification

and the Plaintiff lacks a remedy provided by law.

        767.   Defendants have unjustly retained benefits to the detriment of the Plaintiff, and

Defendants’ retention of such benefits violates the fundamental principles of justice, equity, and

good conscience.

        768.   Defendants’ misconduct alleged in this case is ongoing and persistent.




                                               296
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 302 of 314 Pageid#: 302




       769.    Defendants’ misconduct alleged in this case does not concern a discrete event or

discrete emergency of the sort a political subdivision would reasonably expect to occur, and is not

part of the normal and expected costs of a local government’s existence. The Plaintiff alleges

wrongful acts which are neither discrete nor of the sort a local government can reasonably expect.

       770.    The Plaintiff has incurred expenditures for special programs over and above its

ordinary public services.

       771.    In addition, the Plaintiff has made payments for opioid prescriptions, and

Defendants benefitted from those payments. Because of their deceptive promotion of opioids,

Defendants obtained enrichment they would not otherwise have obtained. The enrichment was

without justification and the Plaintiff lacks a remedy provided by law.

       772.    By reason of Defendants’ unlawful acts, the Plaintiff has been damaged and

continue to be damaged, in a substantial amount to be determined at trial.

       The Plaintiff seeks an order compelling Defendants to disgorge all unjust enrichment to

the Plaintiff; and awarding such other, further, and different relief as this Honorable Court may

deem just.

                                              COUNT VII
                                        NEGLIGENCE PER SE
                                        (Against All Defendants)

       773.    Plaintiff re-alleges all prior paragraphs of this Complaint as if set forth fully herein.

       774.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       775.    VA. CODE ANN. § 54.1-3300 et seq., VA. CODE ANN. § 54.1-3400 et seq., and 18

VA. ADMIN. CODE 110-50-10 et seq. are public safety laws. Each Defendant had a duty under, inter




                                                  297
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 303 of 314 Pageid#: 303




alia, these laws maintain effective controls against diversion of prescription opioids and to guard

against, prevent, and report suspicious orders of opioids.

          776.   Defendants’ actions and omissions in violation of the law constitute negligence

per se.

          777.   Defendants’ actions and omissions were intentional and/or unlawful, and

Defendants acted with actual malice.

          778.   It was foreseeable that the breach of duty described herein would result in the

economic damages for which Plaintiff seeks recovery.

          779.   As described above in language expressly incorporated herein, Defendants

breached their duties to maintain effective controls against diversion of dangerously addictive

opioids, including violating public safety statutes requiring that as wholesale drug distributors,

Defendants could only distribute these dangerous drugs under a closed system – a system

Defendants were responsible for guarding. See also 18 VA. ADMIN. CODE 110-50-90

          780.   As described above in language expressly incorporated herein, Defendants’ breach

of statutory and regulatory duties bears a causal connection with, and proximately resulted in, harm

and damages sought by the Plaintiff.

          781.   Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ negligence per se.

          782.   Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the Distributor

Defendants, attorney fees and costs, and pre- and post-judgment interest. Plaintiffs do not seek




                                                  298
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 304 of 314 Pageid#: 304




damages for the wrongful death, physical personal injury, serious emotional distress, or any

physical damage to property caused by Defendants’ actions.

                                              COUNT VIII
                                         NEGLIGENCE PER SE
                                         (Against All Defendants)

       783.    Plaintiff re-alleges all prior paragraphs of this Complaint as if set forth fully herein.

       784.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth here, and further alleges as follows.

       785.     The Virginia Drug Control Act is a public safety law. VA. CODE ANN. § 54.1-3400

et seq. Each Manufacturer Defendant had a duty under, inter alia, these laws to not make

misleading statements, to not make deceptive statements, to not falsely or deceptively advertise

their drugs and to not make false guarantees. VA. CODE ANN. § 54.1-3457.

       786.    Plaintiff was intended to benefit from the protections of the Virginia Drug Control

Act.

       787.    Defendants violated their duties owed to Plaintiff’s Community under the Virginia

Drug Control Act by making misleading statements about their drugs, by making deceptive

statements about their drugs, by falsely and deceptively advertising their drugs,by making false

guarantees about their drugs and falsely promoting their drugs.

       788.    The injuries alleged by Plaintiff herein were sustained as a direct and proximate

cause of Defendants’ misleading, deceptive and fraudulent conduct.

       789.    Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from the Defendants’ deceptive and fraudulent activity, including fraudulent

misrepresentations and fraudulent concealment.




                                                  299
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 305 of 314 Pageid#: 305




       790.    Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

disavowed herein, including inter alia injunctive relief, restitution, disgorgement of profits,

compensatory and punitive damages, and all damages allowed by law to be paid by the Distributor

Defendants, attorney fees and costs, and pre- and post-judgment interest.

                                            COUNT IX
                                      CIVIL CONSPIRACY
                                     (Against All Defendants)

       791.     Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

       792.    As set forth herein, Defendants engaged in a civil conspiracy to create an absolute

public nuisance in conjunction with their unlawful distribution and diversion of opioids into the

State and Plaintiff’s Community.

       793.    As set forth herein, Defendants engaged in a civil conspiracy to commit fraud and

misrepresentation in conjunction with their unlawful distribution and diversion of opioids into the

State and Plaintiff’s Community.

       794.    Distributor and Manufacturer Defendants unlawfully failed to act to prevent

diversion and failed to monitor for, report, and prevent suspicious orders of opioids.

       795.    The Manufacturer Defendants further unlawfully marketed opioids in the State and

Plaintiff’s Community in furtherance of that conspiracy.

       796.    Defendants’ conspiracy and acts in furtherance thereof are alleged in greater detail

earlier in the complaint, including, without limitation, in Plaintiff’s federal and state law

racketeering allegations. Such allegations are incorporated herein.




                                                    300
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 306 of 314 Pageid#: 306




       797.       Defendants acted with a common understanding or design to commit unlawful acts,

as alleged herein, and acted purposely, without a reasonable or lawful excuse, to create the injuries

alleged herein.

       798.       Defendants acted with malice, purposely, intentionally, unlawfully, and without a

reasonably or lawful excuse.

       799.       Defendants’ conspiracy, and Defendants’ actions and omissions in furtherance

thereof, caused the direct and foreseeable losses alleged herein.

       800.       Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

losses) resulting from Defendants’ civil conspiracy.

       801.       Plaintiff seeks all legal and equitable relief as allowed by law, including inter alia

injunctive relief, restitution, disgorgement of profits, compensatory and punitive damages, and all

damages allowed by law to be paid by the Defendants, attorney fees and costs, and pre- and post-

judgment interest.

                                        COUNT X
                          VIRGINIA CONSUMER PROTECTION ACT
                             VIRGINIA CODE ANN. § 59.1-1 et seq.
                                  (Against All Defendants)

       802.       Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

set forth herein, and further alleges as follows.

       803.       Defendants intentionally violated VA. CODE ANN 59.1-196 et seq., by committing

fraudulent and prohibited acts in this state. Defendants’ actions also violated Virginia common

law.

       804.       Defendants committed committing repeated and willful unfair or deceptive acts or

practices, and unconscionable trade practices, in the conduct of commerce.




                                                    301
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 307 of 314 Pageid#: 307




        805.    Each Defendant failed to report and/or prevent the diversion of highly addictive

prescription drugs to illegal sources.

        806.    Because of the dangerously addictive nature of these drugs, the Defendants’

manufacturing, marketing, sales, and/or distribution practices unlawfully caused an opioid and

heroin plague and epidemic in the State and Plaintiff’s Community. Each Defendant had a non-

delegable duty to guard against and prevent the diversion of prescription opioids to other than

legitimate medical, scientific, and industrial channels.

        807.    The Defendants also omitted material facts, causing confusion or misunderstanding

as to approval or certification of goods or services.

        808.    The Defendants failed to disclose the material facts that inter alia they were not in

compliance with laws and regulations requiring that they maintain a system to prevent diversion,

protect against addiction and severe harm, and specifically monitor, investigate, report, and refuse

suspicious orders. But for these material factual omissions, Defendants would not have been able

to sell opioids, and the Distributor Defendants would not have been able to receive and renew

licenses to sell opioids.

        809.    As alleged herein, each Manufacturer Defendant wrongfully represented that the

opioid prescription medications they manufactured, marketed, and sold had characteristics, uses,

or benefits that they do not have.

        810.    The Manufacturer Defendants also wrongfully misrepresented that the opioids were

safe and effective when such representations were untrue, false, and misleading.

        811.    The Manufacturer Defendants also used exaggeration and/or ambiguity as to

material facts and omitted material facts, which tended to deceive and/or did in fact deceive.




                                                 302
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 308 of 314 Pageid#: 308




        812.     Because of the dangerously addictive nature of these drugs, which the Manufacturer

Defendants concealed and misrepresented, they lacked medical value, and in fact caused addiction

and overdose deaths; therefore, Defendants’ sales and marketing of opioids constituted a violation

of State law.

        813.     The Manufacturer Defendants made deceptive representations about the use of

opioids to treat chronic non-cancer pain. Each Manufacturer Defendant also omitted or concealed

material facts and failed to correct prior misrepresentations and omissions about the risks and

benefits of opioids. Each Defendant’s omissions rendered even their seemingly truthful statements

about opioids deceptive.

        814.     Defendants’ unfair, deceptive, and unconscionable representations, concealments,

and omissions were reasonably calculated to deceive the State, the public, Plaintiff’s Community,

and Plaintiff.

        815.     As described more specifically above, Defendants’ representations, concealments,

and omissions constitute a willful course of conduct which continues to this day.

        816.     The damages which Plaintiff seeks to recover were sustained as a direct and

proximate cause of the Manufacturer and Distributor Defendants’ intentional and/or unlawful

actions and omissions.

        817.     Defendants’ actions and omissions in the course of marketing, selling, and

distributing prescriptions opioids constituted deceptive trade practices under State law.

        818.     State law prohibits representing that goods or services have sponsorship, approval,

characteristics, uses, or benefits that they do not have. State law further prohibits representing that

goods are of a standard, quality, or grade if they are of another.




                                                 303
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 309 of 314 Pageid#: 309




        819.    Defendants committed committing repeated and willful unfair or deceptive acts or

practices, and unconscionable trade practices, in the conduct of commerce in this State.

        820.    Each Defendant failed to report and/or prevent the diversion of highly addictive

prescription drugs.

        821.    Because of the dangerously addictive nature of these drugs, the Distributor

Defendants’ manufacturing, marketing, sales, and distribution practices unlawfully caused an

opioid and heroin plague and epidemic in the State and Plaintiff’s Community. Each Defendant

had a non-delegable duty to guard against and prevent the diversion of prescription opioids to other

than legitimate medical, scientific, and industrial channels.

        822.    The Defendants also omitted material facts, causing confusion or misunderstanding

as to approval or certification of goods or services.

        823.    The Defendants failed to disclose the material facts that inter alia they were not in

compliance with laws and regulations requiring that they maintain a system to prevent diversion,

protect against addiction and severe harm, and specifically monitor, investigate, report, and refuse

suspicious orders. But for these material factual omissions, Defendants would not have been able

to sell opioids, and the Distributor Defendants would not have been able to receive and renew

licenses to sell opioids.

        824.    As alleged herein, each Manufacturer Defendant wrongfully represented that the

opioid prescription medications they manufactured, marketed, and sold had characteristics, uses,

or benefits that they do not have.

        825.    The Manufacturer Defendants also wrongfully misrepresented that the opioids were

safe and effective when such representations were untrue, false, and misleading.




                                                 304
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 310 of 314 Pageid#: 310




       826.     The Manufacturer Defendants also used exaggeration and/or ambiguity as to

material facts and omitted material facts, which had a tendency to deceive and/or did in fact

deceive.

       827.     Because of the dangerously addictive nature of these drugs, which the Manufacturer

Defendants concealed and misrepresented, they lacked medical value, and in fact caused addiction

and overdose deaths; therefore, Defendants’ sales and marketing of opioids constituted a violation

of State law.

       828.     The Manufacturer Defendants made deceptive representations about the use of

opioids to treat chronic non-cancer pain. Each Manufacturer Defendant also omitted or concealed

material facts and failed to correct prior misrepresentations and omissions about the risks and

benefits of opioids. Each Defendant’s omissions rendered even their seemingly truthful statements

about opioids deceptive.

       829.     Defendants acted intentionally and/or unlawfully.

       830.     Plaintiff seeks all damages for injuries sustained because of Defendants’ violation

of VA. CODE ANN 59.1-196 et seq., and all legal and equitable relief as allowed by law, including

inter alia injunctive relief, restitution, disgorgement of profits, compensatory and punitive

damages, and all damages allowed by law to be paid by the Defendants, attorney fees and costs,

and pre- and post-judgment interest.

                                      PUNITIVE DAMAGES

       831.     Plaintiff re-alleges all paragraphs of this Complaint as if set forth fully herein.

       832.     By engaging in the above-described unfair acts or practices, Defendants acted with

actual malice, wantonly, and oppressively. Defendants acted with conscious disregard to the rights

of others and/or in a reckless, wanton, willful, or gross manner. Defendants acted wantonly,




                                                  305
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 311 of 314 Pageid#: 311




oppressively, or with such malice as to evince a spirit of malice or criminal indifference to civil

obligations.

       833.    Here, Defendants were selling dangerous drugs statutorily categorized as posing a

high potential for abuse and severe dependence. Thus, Defendants knowingly traded in drugs that

presented a high degree of danger if prescribed incorrectly or diverted to other than legitimate

medical, scientific, or industrial channels. Because of the severe level of danger posed by, and

indeed visited upon the State and Plaintiff’s Community by, these dangerous drugs, Defendants

owed a high duty of care to ensure that these drugs were only used for proper medical purposes.

Defendants chose profit over prudence, and the safety of the community, and an award of punitive

damages is appropriate, as punishment and a deterrence.

       834.    By engaging in the above-described wrongful conduct, Defendants acted wantonly,

oppressively, or with such malice as to evince a spirit of malice or criminal indifference.


                                             RELIEF


   WHEREFORE, Plaintiff respectfully prays that this Court grant the following relief:

       835.    Entering Judgment in favor of the Plaintiff in a final order against each of the

Defendants.

       836.    Declare that Defendants have created a public nuisance in violation of Virginia law.

       837.    Enjoin the Defendants from performing any further acts in violation of Virginia

law.

       838.    Order Defendants to fund an “abatement fund” on behalf of the Plaintiff for the

purposes of prospectively abating the ongoing opioid nuisance;




                                                306
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 312 of 314 Pageid#: 312




       839.    Order that Defendants compensate the Plaintiff for damages to its property due to

the ongoing public nuisance caused by the opioid epidemic;

       840.    Awarding actual damages, treble damages, injunctive and equitable relief, and

forfeiture as deemed proper by the Court, and attorney fees and all costs and expenses of suit

pursuant to the Plaintiff’s racketeering claims;

       841.    Awarding the Plaintiff the damages caused by the opioid epidemic, and their

negligent misrepresentations, fraud and deceit, including (A) costs for providing medical care,

additional therapeutic and prescription drug purchases, and other treatments for patients suffering

from opioid-related addiction or disease, including overdoses and deaths; (B) costs for providing

treatment, counseling, and rehabilitation services; (C) costs for providing treatment of infants born

with opioid-related medical conditions; (D) costs for providing care for children whose parents

suffer from opioid-related disability or incapacitation; and (E) costs associated with law

enforcement and public safety relating to the opioid epidemic;

       842.    Enter a judgment against the Defendants requiring Defendants to pay punitive

damages to Plaintiff;

       843.    Granting the Plaintiff:

       1.      The cost of investigation, reasonable attorneys’ fees, and all costs and expenses;

       2.      Pre-judgment and post-judgment interest; and,

       3.      All other relief as provided by law and/or as the Court deems appropriate and just.

Date: June 6, 2019

                                                         Respectfully submitted,

                                                         City Of Danville
                                                         Plaintiff




                                                   307
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 313 of 314 Pageid#: 313




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                                              308
Case 4:19-cv-00025-EKD Document 1 Filed 06/06/19 Page 314 of 314 Pageid#: 314




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                                            309
